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                 EXHIBIT 3
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


IN RE: JOHNSON & JOHNSON TALCUM :                 Civil Action No. 3:16-md-2738-MAS-RLS
POWDER PRODUCTS MARKETING,          :
SALES PRACTICES AND PRODUCTS :
LIABILITY LITIGATION                :
___________________________________ :




                                  EXPERT REPORT*
                                DAVID A. KESSLER, M.D.




       Submitted November 15, 2023




* This Amended Report should substitute for my 2018 report.


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1
    The schedules were prepared by legal staff at my direction and under my review.
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I.      QUALIFICATIONS AND INTRODUCTION

1.      My name is David A. Kessler, M.D. I received my M.D. degree from Harvard Medical

School in 1979 and my J.D. degree from the University of Chicago Law School in 1978.

2.      I did my pediatrics training at Johns Hopkins Hospital.

3.      In 1990, I was appointed by President George H. W. Bush as Commissioner of the United

States Food and Drug Administration (“Commissioner”) and was confirmed by the United States

Senate. I also served in that position under President William Jefferson Clinton until February

1997.

4.      I am currently professor of Pediatrics and Epidemiology, and Biostatistics at University

of California, San Francisco.

5.      From January 20, 2021-January 19, 2023, I served as Chief Science Officer of the United

States Covid-19 Response and co-led what was known as Operation Warp Speed (subsequently

known as the Counter Measures Acceleration Group (CAG)).

6.      I have taught food and drug law at Columbia University Law School, and I have testified

many times before the United States Congress on food, drug, and consumer protection issues

under federal and state law. Over the last thirty years, I have published numerous articles in

legal, medical, and scientific journals on the federal regulation of food, drugs, and medical

devices. I have had special training in pharmacoepidemiology at Johns Hopkins Hospital.

7.      My resume is attached as Appendix A. A list of cases in which I have testified as an

expert witness in the last ten years, and documentation of my expert witness fee, is attached as

Appendix B.

8.      As Commissioner, I had ultimate responsibility for implementing and enforcing the

United States Food, Drug, and Cosmetic Act (the “Act”). I was responsible for overseeing five


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Centers within the FDA. They included, among others, the Center for Drug Evaluation and

Research, the Center for Devices and Radiological Health, the Center for Food Safety and

Applied Nutrition which regulated cosmetics, and the Center for Biologics Evaluation and

Research. In addition to those duties, I placed high priority on getting promising therapies for

serious and life-threatening diseases to patients as quickly as possible. During my tenure as

Commissioner, the FDA announced a number of new programs including: the regulation of the

marketing and sale of tobacco products to children; nutrition labeling for food; user fees for

drugs and biologics; preventive controls to improve food safety; measures to strengthen the

nation’s blood supply; and the MEDWatch program for reporting adverse events and product

problems. I created an Office of Criminal Investigation within the Agency to investigate

suspected criminal violations of the Act, FDA regulations and other related laws. While I was

Commissioner, I attempted to institute a voluntary reporting system of adverse events from

cosmetics. The cosmetic industry, through its association, vigorously opposed such regulation.

9.     Over the past forty years, I have published numerous articles in legal, medical, and

scientific journals on the FDA federal regulation.

10.    I have served as senior advisor to TPG Capital, a leading global private equity firm,

which owns pharmaceutical and biomedical companies. I served on the board of Aptalis Pharma,

Stoke Pharmaceuticals, Tokai Pharmaceuticals and the medical device and biologics company

Immucor, Inc. In these advisory and fiduciary capacities, I have advised companies on the

standards and duties of care within the pharmaceutical and medical device industry. I also

chaired the compliance committee of Aptalis Pharma, and currently chair the quality committee

at Immucor, Inc., which involves ensuring compliance with the FDA’s regulations and

requirements.




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11.     I have served as a consultant/staff to the United States Senate Labor and Human

Resources Committee and was responsible for, among other things, FDA issues.

12.     I have had access to 1) MDL discovery repository; 2) deposition transcripts and exhibits;

3) trial testimony and exhibits; 4) all of the documents available on Johnson & Johnson’s (JNJ)

website Review the Evidence page of https://www.factsabouttalc.com;2 5) FDA’s website.

13.     The documents I have considered are listed in Appendix C.

14.     At my request, and subject to my directions and review, the attached Schedules were

prepared by legal staff.

15.     Based on my review of the documents listed in Appendix C, and utilizing methods I have

used while at FDA, academia, and on boards of corporate entities, including my training and

experience, I have a number of opinions that are detailed below.

16.     It is my understanding that the cases in this litigation include, but are not limited to, the

following claims3 as they relate to talcum powder products:

        a.       Negligence;

        b.       Negligent Misrepresentation;

        c.       Strict Products Liability – Failure to Warn;

        d.       Strict Product Liability – Defective Manufacture and Design;

        e.       Breach of Express Warranties;

        f.       Breach of Implied Warranty of Merchantability;

        g.       Breach of Implied Warranty of Fitness for a Particular Purpose;

        h.       Fraud;



2
 https://jjcloud.ent.box.com/s/2x692lcj24crvjunf0lnu590zw5g528e
3
 It is my understanding that a Motion to Amend the Complaint is currently pending. Should the Court amend the
Complaint as proposed, this will not affect my opinions within this report.


                                                       3
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         i.     Fraudulent Concealment;

         j.     Violation of Consumer Protection Laws;

         k.     Civil Conspiracy;

         l.     Loss of Consortium;

         m.     Punitive Damages;

         n.     Discovery Rule and Tolling;

         o.     Wrongful Death;

         p.     Survival Action.4

17.      It is my understanding the Defendants in this case are Johnson & Johnson; Johnson &

Johnson Consumer Inc. f/k/a Johnson & Johnson Consumer Companies, Inc.; Imerys Talc

America, Inc., f/k/a Luzenac, Inc., f/k/a Rio Tinto Materials, Inc.; and Personal Care Products

Council (“PCPC”) f/k/a Cosmetic, Toiletry, and Fragrance Association (“CTFA”). Use of any

individual Defendant name is meant to reflect the totality of Defendants.

18.      It is my understanding that the products at issue in this matter include JNJ’s talcum

powder products, including Johnson’s Baby Powder and Shower to Shower.

19.      It is my understanding that the talc that went into these products was mined at5:

    1946-1964              Val Chisone, IT             2000-2001               Argonaut
                                                                               Rainbow
                                                                               Hamm (Windham)
    1964-1966              Hammondsville, VT           2001-2003               Argonaut
                           Val Chisone, IT
    1966-1979              Hammondsville               2003-2009               Zhizhua quarry
                                                                               Guping quarry
                                                                               Huamei mine
                                                                               Shang Lang quarry
                                                                               Tongzi quarry

4
  See Plaintiffs First Amended Master Long Form Complaint and Jury Demand for MDL 3:16-md-2738-FLW-
LHG, Dkt. 132 filed March 16, 2017.
5
  See Defendants Johnson & Johnson Consumer, Inc. and JNJ’s Responses to Plaintiffs’ Supplemental
Interrogatories and Requests for Production of Documents Dated November 10, 2017, at 12-13.


                                                   4
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    1980                      Hammondsville               2009-2010              Zhizhua quarry
                              Val Chisone, IT
    1981-1988                 Hammondsville               2010                   Argonaut
    1989-1990                 Hammondsville               2010-Present           Zhizhua quarry
                              Argonaut
                              Rainbow
    1990-2000                 Hammondsville
                              Argonaut
                              Rainbow
                              Hamm (Windham)


20.        The plaintiffs in this case consist of all current plaintiffs in or subsequently added to

MDL No. 3:16-md-2738-FLW-LHG. It is my understanding that the plaintiffs in this litigation

have been diagnosed with various forms of ovarian cancer, including ovarian cancer, cancer of

the fallopian tube, and primary peritoneal cancer.6

21.        Talcum powder products can be regulated as either drugs or cosmetics depending on their

intended use and the claims that are made for the product. Talc may also be used as an inactive

ingredient in a number of regulated products. It has also had certain historical uses as a food and

color additive and in medical devices. It is my understanding that the products at issue in this

matter have been regulated as cosmetic.

22.        My opinions in this case focus on the responsibilities of cosmetic manufacturers,

focusing on the regulatory interface between cosmetic manufacturers and the FDA, as well as

industry standards. I have not been asked to opine on causation issues. I have been asked to

address the duties and conduct of defendant cosmetic companies in the face of a potential health

hazard. In formulating my regulatory and safety opinions in this case, reviews of the

epidemiology, laboratory testing methodology, chemical and geological relationship between talc




6
 See Plaintiffs First Amended Master Long Form Complaint and Jury Demand for MDL 3:16-md-2738-FLW-LHG,
Dkt. 132 filed March 16, 2017.


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and asbestos, health consequences with asbestos and elongated mineral particles, and product

formulation and manufacturing were performed. The approach and methods utilized here are

consistent with those I have taken to address regulatory questions in academia, my work as a

government official, and as a board member advising corporate entities for over forty years.

23.      The following is a general timeframe of events:

         23.1.    In 1894, Johnson & Johnson first marketed talcum powder products.7

         23.2.    In the 1930’s, scientists began exploring the geological formation and relationship

between asbestos and talc. 8

         23.3.    By the mid-1950’s, asbestos was recognized as a human carcinogen. Over the

next two decades, it was generally agreed that there was no known safe level of asbestos

exposure.9

         23.4.    In the early 1960’s, inert particles were shown to be capable of ascending through

the open human female reproductive tract to the ovaries and peritoneal cavity.10

         23.5.    By the early 1970’s, concern was expressed about the presence of asbestos and

other fibers in talc. Laboratory tests began to report asbestos fibers in talc products. Asbestos was

identified in human lung tissue. Shortly thereafter, talc was identified in human ovarian tissue.11

         23.6.    By the early 1980’s, the first epidemiological study demonstrated an association

between perineal talcum powder use and ovarian cancer.12



7
  https://ourstory.jnj.com/ accessed 11/14/2023.
8
  Bain, G.W. 1934, Serpentinization, origin of certain asbestos, talc and soapstone depositions. Economic Geology v.
29, no. 4, 397-400.
9
  Doll R. 1955a. Mortality from lung cancer in asbestos workers. Br J Ind Med 12: 81-86.
10
   Egli & Newton. 1961. “The Transport of Carbon Particles in the Human Female Reproductive Tract.” Fertility and
Sterility 12 (April): 151-55.
11
   See Section IV. of this report. Henderson, et al. A replication technique for the identification of asbestos fibres in
mesotheliomas. Eur J Cancer (1969) DEC;5(6:621); Henderson, et al. Talc and Carcinoma of the Ovary and Cervix.
The Journal of Obstetrics and Gynecology of the British Commonwealth March 1971 Vol. 78. Pp. 266-272.
12
   Cramer et al. Ovarian cancer and talc: a case-control study. Cancer 1982; 50:372-6.


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        23.7.    Over the next four decades, additional epidemiological studies were performed,

continuing to raise concerns about an association between talc and ovarian cancer.13

        23.8.    In 2010, IARC published findings that talc not containing asbestiform fibers was

a Group 2B possible human carcinogen. In 2012, IARC confirmed all six forms of asbestos,

including fibrous talc (i.e., talc containing asbestiform fibers), as Group 1 known human

carcinogens.14

        23.9.    In 2019, FDA found asbestos and fibrous talc in a bottle of Johnson’s Baby

Powder. That resulted in a lot recall.15

        23.10. In 2020, Johnson & Johnson discontinued North American sales of talcum powder

products. In 2023, Johnson & Johnson stopped the global sale of talcum powder products.16

24.     Based on my recollection, I was not substantially involved in talc cosmetic matters while

I was Commissioner.

25.     On November 16, 2018, I submitted an opening expert report. Since that time, and after

leaving government service in January 2023, I have had the opportunity to review more

documents discussed above. For convenience, I now submit this report which includes my

cumulative opinions. Formally, this amended report should substitute for my 2018 report.




13
   See Section V. of this report.
14
   IARC Working Group on the Evaluation of Carcinogenic Risks to Humans. “Carbon Black, Titanium Dioxide,
and Talc.” IARC Monographs on the Evaluation of Carcinogenic Risks to Humans/World Health Organization,
International Agency for Research on Cancer 93 (2010): 1-413; IARC Monographs of the Evaluation of
Carcinogenic Risks to Humans: Volume 100C,” 2012.
15
   https://www.fda.gov/news-events/press-announcements/baby-powder-manufacturer-voluntarily-recalls-products-
asbestos
16
   https://www.jnj.com/our-company/johnson-johnson-consumer-health-announces-discontinuation-of-talc-based-
johnsons-baby-powder-in-u-s-and-canada.


                                                      7
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 II.    COSMETIC MANUFACTURERS HAVE A RESPONSIBILITY TO
        SUBSTANTIATE THE SAFETY OF THEIR PRODUCTS PRIOR TO
        MARKETING

        A.      The regulatory standards for cosmetics

III.    Unlike drugs, the Federal Food, Drug, and Cosmetic Act does not require the premarket
        approval of
 cosmetics.

 27.    FDA promulgated regulations on March 3, 1975, which remain in effect today that

 require that, “[e]ach ingredient used in a cosmetic product and each finished cosmetic product

 shall be adequately substantiated for safety prior to marketing.” 21 CFR §740.10.

 28.    The regulations further state that, “[a]ny such ingredient or product whose safety is not

 adequately substantiated prior to marketing is misbranded unless it contains the following

 conspicuous, statement on the principal display panel: Warning-The safety of this product has not

 been determined.” 21 CFR §740.10.

 29.     A manufacturer who has not adequately substantiated the safety of their cosmetic

 product or their ingredients and has not displayed the appropriate warning as noted above cannot

 ship their product in interstate commerce and would be considered misbranded under the Act. 21

 USC §331(a).

 30.     In reality, most cosmetic manufacturers who are selling a product for which they could

 not substantiate the safety would likely not choose to put the “Warning-The safety of this product

 has not been determined” on the product and would attempt to reformulate or remove the product

 from the market.

 31.     In addition, a manufacturer of a cosmetic product must assure that the cosmetic’s label

 “shall bear a warning statement whenever necessary or appropriate to prevent a health hazard

 that may be associated with the product.” 21 CFR §740.10.




                                                 8
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32.       The regulations also state that, “[a]n ingredient or product having a history of use in or

as a cosmetic may at any time have its safety brought into question by new information that in

itself is not conclusive. The warning required by paragraph (a) of this section is not required for

such an ingredient or product If: (1) The safety of the ingredient or product had been adequately

substantiated prior to development of the new information; (2) The new information does not

demonstrate a hazard to human health; and (3) Adequate studies are being conducted to

determine expeditiously the safety of the ingredient or product.”17 21 CFR §740.10(b) [emphasis
                                                                               3F




added].

33.       A cosmetic is adulterated if it bears or contains, “any poisonous or deleterious substance

which may render it injurious to users.” 21 USC §361.

34.       In my opinion, of all the products that fall under FDA’s jurisdiction, cosmetics are

among the least regulated. This is reflected in the fact that there is no premarket approval of

cosmetic products.

35.       Moreover, only very limited resources have ever been committed to cosmetic product

review, monitoring, or safety.

36.       The limited oversight of cosmetics products has been recognized.

37.       In 1978, the United States General Accounting Office (GAO) “concluded that the

effectiveness of FLN’S regulatory actions was limited by inadequacies in both FDA’S legislative

authority and the industry’s participation.”18      4F




38.       In March 1990, the GAO reported to the Subcommittee on Regulation, Business




17
   The regulation continues, this requirement “. . . does not constitute an exemption to the adulteration provisions of
the act or to any other requirement in the act or this chapter.” 21 USC 740.10(c).
18
   Cosmetics Regulation. Information on Voluntary Actions Agreed to by FDA and the Industry.
(GAO/HRD-90-58, Mar. 1990), citing Lack of Authority Hampers Attempts to Increase Cosmetic Safety.
(GAO/HRD-78-139, Aug. 1978).


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Opportunities, and Energy that the “FDA’s regulatory authority over the cosmetics industry is

less comprehensive than its authority over food and drugs. Consequently, in its oversight of the

cosmetics industry, FDA must rely, in part, on voluntary industry cooperation . . . FDA does not

have authority to require the industry to do safety testing and injury reports. FDA must rely on

manufacturers to volunteer the data and reports. FDA officials have found that many

manufacturers lack adequate data on safety tests and have generally refused to disclose the

results of these tests . . . Finally, FDA has been studying the industry report on toxic chemicals

used in cosmetics, but has committed no resources to do its own safety reviews and ranking.” 6

39.      In their 2017 article, Robert Califf, et al. wrote, “[t]he debate about regulation of the

cosmetics industry to protect the public health has gone unresolved for more than a century . . .

The challenge for regulators is daunting; the global cosmetics industry is enormous, with an

expected $265 billion in revenue in 2017. The Office of Cosmetics and Colors within the FDA’s

Center for Food Safety and Applied Nutrition [CFSAN] is tiny in contrast and, with a budget of

around $13 million for Fiscal Year 2017, chronically underfunded, even considering its limited

responsibilities and scope of authority . . . History has repeatedly shown that when there is

insufficient regulatory oversight, a few unscrupulous people or companies will exploit the

vulnerable public for profit . . . [a]lthough FDA oversight of drugs and medical devices has been

substantially strengthened by later legislation, the lack of similar enhancements for cosmetics

means that the cosmetic industry remains largely self-regulated . . .For cosmetics—and for
                                                            6F




dietary supplements—the FDA’s oversight authority remains stuck at the levels established in

1938, nearly 80 years ago . . . The FDA is vastly underresourced for even the very limited




                                                 10
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responsibility it currently has for the safety of cosmetics.”19

40.       In 2017, Kwa, et al. wrote, “[b]etter cosmetic surveillance is needed given their ubiquity

and lack of a premarket approval pathway. Unlike devices, pharmaceuticals, and dietary

supplements, cosmetic manufacturers have no legal obligation to forward adverse events to the

FDA; CFSAN reflects only a small proportion of all events. The data suggest that consumers

attribute a significant proportion of serious health outcomes to cosmetics. The lack of high-

quality data leads to reactionary responses by the FDA subject to consumer pressure.”20             F




41.       In July 2018, Senators Dianne Feinstein and Susan Collins wrote in the Journal of the

American Medical Association, “[t]here is no other class of products so widely used in the
                    8F




United States with so little regulation . . . [t]he lack of oversight is a broad threat to public health.

. . As a result, US companies that market personal care products largely determine their own

safety standards.”21

42.       On November 11, 2008, Anna Prilutsky, then Senior Director Research & Development

at Johnson & Johnson, sent a PowerPoint from Lori Dolginoff, then Director, Global

Communications at JNJ, containing “the latest version of the content for the Pure Truth website”

which stated on a slide titled “Ingredients in JOHNSON’s Baby products” that there is “[l]imited

role of FDA.” JNJ000367482-3.

43.       In a December 2013 PowerPoint presentation, Defendant Imerys stated “[c]osmetics are

different from foods and drugs and are governed by much looser regulation . . . Companies are in



19
   Califf, Robert M., Jonathan McCall, and Daniel B. Mark. “Cosmetics, Regulations, and the Public Health:
Understanding the Safety of Medical and Other Products.” JAMA Internal Medicine 177, no. 8 (August 1, 2017):
1080–82. https://doi.org/10.1001/jamainternmed.2017.2773.
20
   Kwa, Michael, Leah J. Welty, and Shuai Xu. “Adverse Events Reported to the US Food and Drug Administration
for Cosmetics and Personal Care Products.” JAMA Internal Medicine 177, no. 8 (August 1, 2017): 1202–4.
https://doi.org/10.1001/jamainternmed.2017.2762.
21
   Feinstein, Dianne, and Susan Collins. “The Personal Care Products Safety Act.” JAMA Internal Medicine 178, no.
5 (May 1, 2018): 601–2. https://doi.org/10.1001/jamainternmed.2018.0064.


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charge of performing the analysis and conforming to the standards. The FDA requires no prior

testing for cosmetic products.” IMERYS 068497.

44.      A 2009 JNJ memorandum regarding “Cosmetics Regulation” stated that “the oversight

of the FDA is secondary to individual company responsibility to self-regulate in meeting these

standards.” JNJTALC00494340.

45.      The memorandum continued, “[v]oluntary self-regulation of the cosmetics industry in

the United States is not working. Consumers deserve a government that protects them from

unsafe chemical exposures in the cosmetics they use every day.” JNJTALC000494340 at 49.

46.      In my opinion, a cosmetic manufacturer has a responsibility to substantiate the safety of

their product or must warn consumers that the safety of their product has not been determined or

not sell the product.

 47.     In my opinion, in addition, if a health hazard may be associated with the product, a

 cosmetic manufacturer must include a warning on their product.

       B.      The standards in the cosmetic industry to substantiate the safety of cosmetic
               products

48.    Defendants have been long standing members of the Personal Care Products Council

(formerly the CTFA). Deposition of Mark Pollack, August 29, 2018. 44:7-45:6; 62:15-64:2;

105:13-18; 110:12-21; 128:10-21; Prepared Statement of Pamela G. Bailey, President Personal

Care Products Council, May 14, 2008, United States House of Representatives Committee on

Energy and Commerce.

49.    The CTFA established the Cosmetic Ingredient Review in 1976. “The Cosmetic

Ingredient Review (CIR) was established in 1976 by the industry trade association with the

participation of the U.S. Food and Drug Administration and the Consumer Federation of

America. The CIR is the industry funded panel that reviews the safety of the ingredients used in



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cosmetics today. Its meetings are open to the public and its findings and minutes are publicly

available on its website." FLDI Primer on Cosmetic Regulation, P. 12, PCPC_MDL00000998 at

1012.

50.     According to the CIR, the purpose of such review is “ to determine those cosmetic

ingredients for which there is a reasonable certainty in the judgment of competent scientists that

the ingredient is safe under its conditions of use.” [emphasis added] CIR Procedures Report June

2018, at 3.

51.     The CIR has stated, “‘Safe’ or ‘safety’ means no evidence in the available information

that demonstrates or suggests reasonable grounds to suspect a hazard to the public under the

conditions of use that are now current or that might reasonably be expected in the future, e.g., a

low incidence of minor adverse reactions (as shown in animal or human testing or product

experience). Such information includes, but is not limited to, the chemical structure of the

ingredient, published and unpublished tests on the ingredient and products containing the

ingredient, significant human experience on products containing the ingredient during marketing,

and information on similar or related substances. A lack of information about an ingredient shall

not be sufficient to justify a determination of safety.” [emphasis added] CIR Procedures Report

June 2018, at 2.

52.     Executive Vice President and Legal and General Counsel Elizabeth H. Anderson and

Associate General Counsel Farah K. Ahmed of the Personal Care Products Council authored the

2012 Food and Drug Law Institute’s Primer on the Cosmetic Regulatory Process which states,

“[c]osmetics are not subject to premarket approval by the Food and Drug Administration (FDA),

but the product and ingredients must be tested for safety. If the manufacturer cannot substantiate

safety, a warning is required . . . The ‘intended use’ doctrine states that cosmetic or drug status is




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determined by claims about the intended use of the product.” PCPC_MDL00000998 at 1004.

53.     In my opinion, consistent with FDA regulations and statutes, a cosmetic manufacturer

under the cosmetic industry standards must assure the safety of their ingredients. It is the

responsibility of the cosmetic manufacturer to assure that there is reasonable certainty in the

judgment of competent scientists that the product is safe. Safe as defined by the industry

standards means “no evidence in the available information that demonstrates or suggests

reasonable grounds to suspect a hazard to the public under the conditions of use that are now

current or that might reasonably be expected in the future . . ..” Cosmetic Ingredient Review

Procedures, October, 2010/June 2018 Part A – General, Section 1. Definitions. (m).

54.     Thus, in my opinion, manufacturers have a responsibility to assure that there is

reasonable certainty there is no evidence to suspect their cosmetic may pose harm. Furthermore,

in my opinion, if there is evidence that there are reasonable grounds to suspect that the cosmetic

product may pose harm for the proposed conditions of use, such product does not meet the

industry standards for safety.

        C.      Defendants’ statements that cosmetic manufacturers have responsibility to
                substantiate the safety of their product.

55.     On January 26, 1994, Dr. Stephen D. Gettings, Director-Toxicology of the CTFA sent a

final draft of a manuscript for presentation at a symposium 22 to the “Talc Interested Party Task

Force,” which included Dr. William Ashton and Michael Chudkowski (both at JNJ), as well as

Dennis Christensen and Richard Zazenksi (both at Luzenac America, Inc., now Imerys). Dr.

Gettings thanked the Talc Interested Party Task for members “for all your help” and stated he

still had questions that he needs answered before he gives the presentation. In the attached



22
  The symposium, “Workshop on Talc: Consumer Uses and Health Perspectives” was held on January 31, 1994, at
the National Institutes of Health. IMERYS_00057325.


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manuscript, Dr. Gettings stated, “In the United States, the safety of cosmetic ingredients and

finished formulations must be substantiated by manufacturers. Raw material suppliers also bear

a responsibility for the safety substantiation of ingredients they supply to the cosmetic industry

since Section 201(i) of the FD&C Act defines ‘cosmetic’ to include articles used as components

of cosmetic products (21 U.S.C. 321(i)).” IMERYS-A_0005946.

56.    Dr. Gettings further stated, “The talc industry has a moral and legal responsibility to

supply products that can be used safely . . . Talc facilities engaged in the manufacture of USP,

FCC, or CRFA-grade talc products are subject to the general provisions of the FDC&C Act and

are prohibited from introducing adulterated articles into interstate commerce . . .” IMERYS-

A_0005946.

57.    In a June 24, 2003, PowerPoint, JNJ stated that Johnson’s Baby products are “assessed for

safety based on the intended use.” JNJTALC000777136.

58.    On November 11, 2008, in the aforementioned email and PowerPoint presentation sent

by Anna Prilutsky, Senior Director Research & Development at JNJ, Ms. Prilutsky stated, “The

FDA requires an ingredient declaration on the product’s packaging to enable you to make

informed purchasing decisions . . . The FDA also requires that each ingredient used in personal

care products and each finished product be adequately substantiated for safety prior to marketing.

FDA regulations do not have prescriptive tests that manufacturers are required to follow to

substantiate safety. The responsibility for determining and conducting appropriate tests to

substantiate safety is that of the manufacturer. Furthermore, if the safety is not substantiated, the

label must bear the statement: Warning – The safety of this product has not been determined.”

JNJ000367482-3.

59.    The same PowerPoint continued, “Our baby products are composed of a variety of

ingredients obtained from reputable, trusted suppliers. We hold these suppliers to high standards


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of material safety, purity and quality based on our best for baby standards. The safety and quality

of these materials are critical to the success – how well they meet your needs – and safety of the

final products. When we acquire raw materials and active ingredients from our suppliers, we

don’t simply take their word for the safety of ingredients. We rely on validated scientific proof of

safety for individual ingredients and finished products. Every lot of every raw material is

evaluated before it is released for use in any finished product. And we ensure that all ingredients

comply fully with regulations in all countries where our baby products are sold.” JNJ000367483.

60.    In a June 1, 2010, PowerPoint presentation, sent by David Stanavage, then Senior

Product Director, JNJ and Kathleen Wille, Manager, Regulatory Affairs, JNJ and meant to

address concerns raised by retailer Walmart about what was “best for baby” and stated that it

“assessed each ingredient that we consider for use in our personal care products for baby.” JNJ

000438939-41. The PowerPoint continues, “[a]ll final baby product formulations are

comprehensively assessed for safety . . . Johnson’s Brand is responsible for the ethical

management of health, safety, and environmental aspects of our products through their total

lifecycle.” JNJ 000438939-41.

61.    The PowerPoint continued, “the FDA has limited resources and enforces according to the

risk to public health. The FDA does not pre-approve personal care product labeling prior to

marketing. It is the manufacturer’s responsibility to ensure that labeling is accurate. We follow

strict rules for nomenclature to ensure an accurate representation of the contents of our

products.” JNJ 000438941.

62.    On October 15, 2012, Lorena Telofski testified on behalf of Johnson & Johnson that

Johnson & Johnson goes “through a process to substantiate safety for the present use. If it

doesn’t meet the threshold of safety for present use, it is not going to go on the market.”



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201:198-23; see also 199:21-23.

63.      On December 16, 2014, Jay Ansell, Vice President – Cosmetics Program, Personal Care

Products Council (Formerly CTFA), sent an email stating his “primary concern” regarding the

statement in a “Frequently Asked Questions” document for the Look Good Feel Better

Program23 that, “Cosmetic Ingredients are not required by federal or state laws to be tested for

their contributions to the risks of acquiring cancer or other adverse health conditions from long-

term use.” Ansell continued that “While it is true that Federal law does not require ‘Testing’,

Federal law absolutely requires the safety be substantiated. 21 CFR 740.10(a).”

PCPC_MDL00122041.

        D.       Modernization of Cosmetic Regulation Act of 2022 (MoCRA)

64.     At the end of the 117th Congress, the 102nd Session, Congress enacted the Consolidated

Appropriations Act, 2023. As part of that omnibus appropriations, Congress enacted the

Modernization of Cosmetic Regulation Act of 2022 (MoCRA). The implementation date for a

number of these new requirements is December 29, 2023. FDA issued a new Guidance Document

in November 2023, announcing that, “FDA does not intend to enforce the requirements under

section 607 of the FD&C Act related to cosmetic product facility registration and cosmetic

product listing for an additional six months after the December 29, 2023, statutory deadline, or

until July 1, 2024, to provide regulated industry additional time to comply with these

requirements. In addition, FDA does not intend to enforce the registration requirement for

owners or operators of facilities that first engaged in manufacturing or processing a cosmetic

product after December 29, 2022, or the listing requirement for cosmetic products first marketed


23
   According to the Personal Care Products Council, the Look Good Feel Better program is offered as a collaboration
of the Personal Care Products Council Foundation, the American Cancer Society, and the Professional Beauty
Association that “teaches cancer patients how to cope with the appearance (related) side-effects of cancer treatment.
PCPC_MDL00122043.


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after December 29, 2022, until July 1, 2024.” Compliance Policy for Cosmetic Product Facility

Registration and Cosmetic Product Listing, Guidance for Industry, U.S. Dept. of Health and

Human Services, Food and Drug Administration, Office of Chief Scientist (OCS), November

2023.

65.     While the new requirements are yet to be effective, it is important to note that the new

legislation builds upon the concept of safety substantiation that currently exists in the regulation

under 21 CFR 740.10. Prior to the implementation of MoCRA, 21 CFR 740.10 required

companies to substantiate the safety of their product prior to marketing but, in lieu of safety

substantiation, it permitted cosmetic manufacturers to label the Warning disclaimer. The new

legislation requires companies to adequately substantiate that a cosmetic product is safe and

maintain records to support such representations. There is no Warning that can substitute for

substantiating the safety of the product.

66.     Both in the past and going forward, cosmetic manufacturers must substantiate the safety

of their product.

III.    DEFENDANTS DID NOT SUBSTANTIATE THE SAFETY OF THEIR TALCUM
        POWDER PRODUCTS IN LIGHT OF QUESTIONS ABOUT ASBESTOS, NON-
        ASBESTIFORM AMPHIBOLES, AND FIBROUS TALC IN THEIR PRODUCT

67.     In my opinion, once JNJ had evidence of a) the presence of asbestos because of its known

carcinogenicity and absence of a threshold dose; or b) the presence of non-asbestiform

amphiboles or fibrous talc, the safety of their product was not established.

68.     In my opinion, beginning in the 1970’s, the safety of JNJ’s talcum powder products had

not been substantiated, consumers were not warned of potential health risks, and there was a

reasonable basis to believe that such an association between the product and health risks existed.

69.     In my opinion, beginning in the 1970’s, because the safety of their product was not



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established, their talcum powder products should not have been sold.

        A.       Asbestos is a known carcinogen

70.     According to the National Cancer Institute, “Asbestos has been classified as a known

human carcinogen (a substance that causes cancer) by the U.S. Department of Health and Human

Services (HHS), the U.S. Environmental Protection Agency (EPA), and the International Agency

for Research on Cancer (IARC).”24

71.     According to the International Agency for Research on Cancer (IARC), “There is sufficient

evidence in humans for the carcinogenicity of all forms of asbestos (chrysotile, crocidolite,

amosite, tremolite, actinolite, and anthophyllite). All forms of asbestos (chrysotile, crocidolite,

amosite, tremolite, actinolite, and anthophyllite) are carcinogenic in humans.” (IARC, “Asbestos

(Chrysotile, Amosite, Crocidolite, Tremolite, Actinolite, and Anthophyllite,” p. 294).

72.     In regard to asbestos, talc containing asbestos, and talc containing asbestiform fibers

(fibrous talc), IARC published Monograph 100c, which found that, “[t]here is sufficient evidence

in humans for the carcinogenicity of all forms of asbestos (chrysotile, crocidolite, amosite,

tremolite, actinolite, and anthophyllite). Asbestos causes mesothelioma and cancer of the lung,

larynx, and ovary . . . There is sufficient evidence in experimental animals for the carcinogenicity

of all forms of asbestos (chrysotile, crocidolite, amosite, tremolite, actinolite and anthophyllite).

All forms of asbestos (chrysotile, crocidolite, amosite, tremolite, actinolite and anthophyllite) are

carcinogenic to humans (Group 1).” “The conclusions reached in this Monograph about asbestos




24
  See, Agency for Toxic Substances and Disease Registry. Toxicological Profile for Asbestos. September 2001.
Retrieved April 18, 2017, National Toxicology Program. Asbestos. In: Report on Carcinogens. Fourteenth
Edition. U.S. Department of Health and Human Services, Public Health Service, National Toxicology Program,
2016. U.S. Environmental Protection Agency. Health Effects Assessment for Asbestos. September 1984. EPA/540/1-
86/049 (NTIS PB86134608). Retrieved April 18, 2017. IARC Working Group on the Evaluation of Carcinogenic
Risk to Humans. Arsenic, Metals, Fibres and Dusts Lyon (FR): International Agency for Research on Cancer; 2012.
(IARC Monographs on the Evaluation of Carcinogenic Risks to Humans, No. 100C).


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and its carcinogenic risks apply to these six types of fibres wherever they are found, and that

includes talc containing asbestiform fibres.” IARC Monographs on the Evaluation of Carcinogenic

Risks to Humans: Volume 100c, 2012.25

73.      In 2010, IARC published Monograph 93, which found that “[t]he relative risks for ovarian

cancer among users of body powder (versus non-users) were homogenous across this relatively

diverse set of eight studies, each of which indicated a 30–60% increase in risk . . . Perineal use of

talc-based body powder is possibly carcinogenic to humans (Group 2B).” “IARC Monographs on

the Evaluation of Carcinogenic Risks to Humans: Volume 93,” 2010. This monograph specifically

addresses the safety of talc not containing asbestiform fibers.



25
   In IARC 100c published in 2012, “the Working Group noted that a causal relationship between exposure to
asbestos and cancer of the ovary was clearly established, based on five strongly positive cohort studies of women
with heavy occupational exposure to asbestos [references omitted]. The conclusion received additional support from
studies showing that women and girls with environmental, but not occupational exposure to asbestos [references
omitted] had positive, though non-significant, increases in both ovarian cancer incidence and mortality”

Since IARC’s review, while published in 2012, included studies through 2009, there have been three meta-analyses
regarding asbestos exposure and ovarian cancer risk:

In 2011, Camargo, et al. performed a meta-analysis of 18 cohort studies of women occupationally exposed to
asbestos. “The overall pooled SMR [standardized mortality ratio] estimate for ovarian cancer was 1.77 (95%
confidence interval, 1.37-2.28) . . . Our study supports the IARC conclusion that exposure to asbestos is associated
with increased risk of ovarian cancer.” Camargo et al. Occupational exposure to asbestos and ovarian cancer: a
meta-analysis. Environ Health Perspect. 2011;119:1211-1217.

In 2011, Reid, et al. also performed a meta-analysis to “quantify the evidence that exposure to asbestos causes
ovarian cancer.” . . . “Fourteen cohort and two case-controlled studies were identified. . . When all studies were
included in a meta-analysis, the effect size was 1.75 (95% CI, 1.45-2.10 attenuating to 1.29 (95% CI, 0.97-1.73) in
studies with confirmed ovarian cancers. The authors “suggest that the IARC decision was premature and not wholly
supported by the evidence.” Reid et al. Cancer Epidemiol Biomarkers Prev.; 21(7) July 2011.

More recently in 2021, the German Medical Expert Advisory Board on Occupational Diseases at the Federal
Ministry of Labour and Social Affairs (BMAS) conducted its own meta-analysis. This meta-analysis yielded an
overall SMR of 1.88 (95% CI 1.47-2.39). “If the distinction is made according to “ovarian cancers confirmed”, as in
Reid et al., a pooled effect estimate of 1.89 (95% CI 1.40-2.55) is obtained for the studies without histological
verification of ovarian cancer and a pooled effect estimate of 1.98 (95% CI 1.32-2.97) for those with histological
confirmation of ovarian cancer. The difference is thus negligible (p>0.8.).” Nowak, et al. Asbestos Exposure and
Ovarian Cancer – a Gynaecological Occupational Disease. Background, Mandatory Notification, Practical
Approach. Published online 2021 May 20. doi: 10. 1055/a-1361-1715.




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                 i.          No safe threshold for asbestos

74.      According to a Rio Tinto Minerals presentation, “Talc: Asbestos Issues and Management,”

“Asbestos has long been considered a human carcinogen” J&J 252.

         74.1.        “Because there is no recognized ‘safe’ level of exposure to asbestos, the presence

of any amount in talc would be a serious problem.” J&J 252.26

75.      According to OSHA, “There is no ‘safe’ level of asbestos exposure for any type of asbestos

fiber.”27

76.      NIOSH, similarly, states, “Evaluation of all available human data provides no evidence for

a threshold or for a ‘safe’ level of asbestos exposure.” (“WORKPLACE EXPOSURE TO

ASBESTOS Review and Recommendations,” DHHS (NIOSH) Publication No. 81-103,

November 1980).




26
   See also, Trial Testimony of Susan Nicholson in Prudencio v. Johnson & Johnson, RG20061303, June 18, 2021, at
p. 964 (“Q. Are you aware of there being a safe level of exposure to asbestos? MS. BROWN: Objection. Beyond the
scope. Calls for expert opinion. THE WITNESS: Well, as an expert, I could opine on that. Our policy at Johnson &
Johnson is no asbestos in our products. So our company position is no asbestos is safe”); Trial Testimony of Dr. John
Hopkins in Weirick v. Brenntag North America, Inc., JCCP 4647, Case No. BC656423, April 11, 2018, at p. 108-109
(“Q Okay. And Johnson & Johnson knows there's no safe level of asbestos exposure, especially for children,
correct, sir? MR. BICKS: Objection to the form. No foundation. A. Again, there is no known safe level. Q. That's
right. Especially for children, correct? A. Yes.”); Trial Testimony of Dr. John Hopkins in Barden v. Brenntag North
America, et. al, MID-L-0932-17AS, July 22, 2019, at p. 48-49 (Q “Johnson & Johnson knows there is no safe level
of asbestos exposure, correct? A. Scientists have not shown a safe level. So, yeah, I would not disagree. Q. There is
no known safe level of asbestos exposure, especially, for children, correct? A. Again, same answer. There's no -- no
evidence to say otherwise, so we'll assume it's correct. Q. Well, in fact, your answer, if you could go right below on
Page 108, you were asked this question. "Okay, and Johnson & Johnson knows there's no safe level of asbestos
exposure, especially for children, correct, sir?” And your answer was again, "There is no known safe level," correct?
A. Yes. That's what I said. Q. And then the followup question was, "That's right, especially, for children, correct?"
And you said, "yes," correct? A. That's right. That's what I agree, yeah.”).
27
   See Skammeritz, E. et al. "Asbestos Exposure and Survival in Malignant Mesothelioma: A Description of 122
Consecutive Cases at an Occupational Clinic." The International Journal of Occupational and Environmental
Medicine (IJOEM), Vol 2, No 4 October 2011., Greenberg M., Davies L, T. A. Mesothelioma Register 1967-68.
British Journal of Industrial Medicine, 31, 91-104, 1974, Asbestos (Actinolite, amosite, anthophyllite, chrysotile,
crocidolite, tremolite). World Health Organization (WHO), International Agency for Research on Cancer (IARC)
Monographs on the Evaluation of Carcinogenic Risks to Humans, Overall Evaluations of Carcinogenicity: An
Updating of IARC Monographs Volumes 1 to 42, Supplement 7, 1998.


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77.     Per the World Health Organization, “No safe level can be proposed for asbestos because a

threshold is not known to exist.”28,29

        B.       Definition of asbestos

78.     Asbestos is the generic commercial designation for a group of naturally occurring mineral

silicate fibers of the serpentine and amphibole series. These include the serpentine mineral

chrysotile, and the 5 amphibole minerals – actinolite, amosite, anthophyllite, crocidolite and

tremolite. IARC Monogr Eval Carcinog Risk Chem Man. 1973;2:1–181.

79.     Johnson and Johnson, from the 1960’s through 2019, defined asbestos as follows:

        79.1.    “Asbestos is defined to be the fibrous serpentine, chrysotile and the fibrous forms

of the amphibole group as represented by amosite, anthophyllite, crocidolite, tremolite asbestos

and actinolite”.30

        C.           The safety of nonasbestiform amphibole was and still has not been
                     established

                i.         Geological relationships between asbestos and talc

80.     According to Rio Tinto Minerals, as documented in a presentation in June 2009 titled

“Analytical Capabilities and Test Methods,” there are different pathways that lead to the

formation of talc. They cite the following breakdown of Talc Deposit mineralization by world

production (IMERYS 300644, at p. 10):




28
   WHO Air Quality Guidelines 2nd edition http://www.euro.who.int/document/aiq/6_2_asbestos.pdf
29
   https://www.niehs.nih.gov/health/materials/asbestos_508.pdf
30
   See 4/21/64, Johnson & Johnson Baby Products Company Material Specification for Windsor 66 Talc, Bates
labeled JNJNL61_000021162 (DX7144), 1/28/77, J&J Audit Testing of Windsor 66 Talc for Asbestos, Bates
Labeled J&J-0086339, 2/23/78 Letter from J&J’s George Lee to R. N. Miller, Bates labeled JNJ 000285031 (J&J
159), JJCPI Authorization for Interim Specification 11/20/1989, amended 6/5/91, Bates labeled
JNJMX68_0000000440, 9/23/97 Material Specification for Windsor Grade 66 Talc by Luzenac America, Inc., Bates
labeled JNJAZ55_000020366, Imerys certificate of analysis dated 11/30/2017, Bates labeled JNJTALC0000580245,
Imerys certificate of analysis dated 2019, Bates labeled JNJTALC001427814.


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       a.      20%= Serpentine Host Rock (RTM Vermont, Ontario) Potential for serpentine

               asbestos

       b.      <10% = Amphibole-bearing host rock* (non-RTM; New York State) Potential for

               amphibole asbestos

       c.      10% = Meta-sedimentary host rock (RTM Trimouns, France)

       d.      60% = Mg-rich carbonate host rock (RTM Montana, Chinese Guangxi)

81.    According to another Rio Tinto Materials presentation, “All talc deposits have the risk of

localized asbestos occurrence if isolated metamorphic events (intrusion, etc.) occur in or near the

deposit.” (IMERYS_422064).

82.    A September 13, 2011 presentation, titled “Fiber Management Overview,” asked the

question, “Can asbestos occur with talc?” The slide answered that question by stating

(PLT-04451-0001, at p. 8):

       82.1.   “Talc derived from a metamorphic host rock can contain amphiboles and serpentine

       82.2.   “Ultramafic (serpentine) host rocks can contain chrysotile.

       82.3.   “All types: localized metamorphic events can produce amphiboles.”

83.    At a U.S. Food and Drug Administration Public Meeting: Testing Methods for Asbestos in

Talc and Cosmetic Products Containing Talc on February 4, 2020, Dr. Bradley Van Gosen from

the United States Geological Survey described “the mineral fibers that can be naturally intergrown

with talc and show that their presence or absence is based on the mineral deposit type, that is the

geologic conditions that form the talc deposit.” (U.S. Food and Drug Administration Public

Meeting: Testing Methods for Asbestos in Talc And Cosmetic Products Containing Talc,. In a slide

deck and published article, Dr. Van Gosen stated,




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       83.1.   “Talc formation. Talc is a replacement mineral – It replaces a preexisting

magnesium-rich mineral.” (p.10).

       83.2.   “This process can be driven by:

               * Regional metamorphism (tectonics)

               * Contact metamorphism (igneous intrusion)

               * Circulation of magmatic hydrothermal fluids (heated by magma at depth).”

  (p.10).

       83.3.   “The geologic environments that form asbestos bring together magnesium and

silica in solution, the same chemistry that forms talc.” (p. 9).

       83.4.   In the article titled “Using the geologic setting of talc deposits as an indicator of

amphibole asbestos content,” Dr. Van Gosen states, “Talc deposits are products of metasomatism

caused by regional metamorphism, contact metamorphism, or hydrothermal metamorphism

(meteoric fluids or brines heated by distant or buried intrusion).

       83.5.   “A number of U.S. talc deposits of commercial size (under past or present economic

conditions) were formed by metasomatic processes driven by regional metamorphism; these large

bodies consistently contain talc intergrown with amphiboles, such as tremolite and (or)

anthophyllite. Debate over the asbestos mineral content (major versus trace amounts) within these

talc-amphibole deposits is the result of differing interpretations of the predominant habit

(asbestiform versus non-asbestiform) of the amphibole particles.” (p. 920).

       83.6.   “The host rock composition and process of formation determines the qualities of

talc, which in turn affects the industrial applications of a particular deposit. The grain size and

shape, color, and purity of talc influence its uses (Piniazkiewicz et al. 1994).




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       83.7. “In addition, the talc-forming mechanism – hydrothermal processes, contact

metamorphism, or regional metamorphism – directly influenced the ultimate amphibole content of

the talc ore body, described below through examples. Within a single mineral deposit, such as some

talc ore bodies, amphibole crystals may range in habit from blocky to prismatic to acicular to

asbestiform.” (p. 922).

       83.8. “Talc deposits in Vermont are typical “black wall” deposits, formed by regional

metamorphism and metasomatism of ultramafic rocks, originally composed of dunite or peridotite.

       83.9. “These deposits form as zoned alteration “rinds” around ultramafic bodies; the

altered zones can be 6.5 km or more long and 460 km wide (Cady and others 1963)” (p. 933).

       83.10. “Black-wall talc deposits are associated spatially with serpentine masses that in

some areas host well-developed chrysotile asbestos (Bain 1942; Cady and others 1963). The

alteration zone locally contains actinolite, tremolite, anthophyllite, and (or) cummingtonite,

as described by Cady and others (1963)." (p. 934).

       83.11. At the FDA meeting, Dr. Van Gosen stated, “Talc and anthophyllite form in the

same – can form in the same geologic environment. You’ll see that magnesium, silica, and water

are the essential ingredients to form both talc and the asbestos minerals.” (p. 27:5-9).

       83.12. Dr. Van Gosen further stated, “When an amphibole bearing rock, including talc is

pulverized, micronized, and put into a product, it can be difficult to determine whether a very

small, thin, elongate amphibole particle that you observe, even under high magnification, whether

it represents a cleavage fragment or instead is a fiber that was once part of a fiber bundle. And just

to complicate matters, some amphibole particles, such as this example in the lower right, can

display characteristics of both fibers and cleavage fragments.” (p. 29:10-21).




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       83.13. “The same geologic processes that form talc can also form amphiboles, sometimes

including the asbestiform varieties of the amphiboles.” (p. 30:1-4).

       83.14. In 2020, Van Gosen at the FDA Public Meeting suggested “…that a very detailed

mineralogy examination of the talc ores from this deposit types, taken from samples at the mine

site, is a study that should be undertaken.” (p. 39:14-17). He further stated, “that it would be much

easier to determine the amphibole and chrysotile content of a talc that was used in a commercial

product, including cosmetics, if the mineralogy was examined from samples that were collected in

place at the mine site before the talc rock had been mined, pulverized, micronized, and then mixed

into a product where the mineral particles now, including fibers are now extremely small and

scattered, and are difficult to observe or to analyze." (p. 44:1-11).

       83.15. In comments submitted to the FDA as part of the public docket, Dr. Laura Webb, a

professor of geology at the University of Vermont, and a Defendant expert witness in this matter,

stated with regard to Dr. Van Gosen’s publication in 2004 and 2005, “Although a good summary,

one cannot accept at face value generalizations about the association of talc and amphibole

asbestos made by Van Gosen [citation omitted]. That is, those generalizations are not

representative of an exclusive suite of talc ores formed under conditions favorable neither to

chrysotile or amphibole asbestos formation (or preservation). One must in fact understand the

details of the local and regional geology of any give [sic] mine – including the potential for a

complex distribution of rocks of different metamorphic grades resulting from complex tectonic

history.” (Webb, “Comments on Testing Methods for Asbestos in Talc and Cosmetic Products

Containing Talc, FDA-2020-N-0025,” p. 12).

84.    In an email dated January 30, 2008, from Rio Tinto Materials Regulatory Affairs Manager

Richard Zazenski to colleagues Peter Argust, Julie Pier, and Greg Hunter, Mr. Zazenski stated:




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       84.1.   “Geologically, it doesn’t make sense to me that you can have a mineral deposit that

just contains ‘non-asbestiform’ tremolite. I believe the USGS study of talc from Death Valley,

California, nailed it correctly that if a deposit contains ‘non-asbestiform’ tremolite, there is also

asbestiform tremolite naturally present as well. And since tremolite was never really a large

commercial mineral such as chrysotile or crocidolite, there is not enough medical data to conclude

that ‘blocky’ tremolite is simply a nuisance dust. But that has been the story line for Vanderbilt for

years and they’re sticking to it.

       84.2.   “I closely followed the OSHA/Vanderbilt debate during the 1980’s and early

1990’s. Essentially, OSHA ‘threw in the towel’ rather than expend their limited resources any

longer on this issue. Their decision by no means should be interpreted as a vindication of

Vanderbilt’s arguments.” IMERYS 442002-4.

85.    A confidential report of the Geology Section, Windsor Minerals, Inc. by William J. Gregg

dated February 20, 1978, written “under the direction of R. Roger N. Miller, President of Windsor

Minerals” stated, “the amphibolites in the Moretown usually occur not more than 100 to 200 meters

away from the ultramafics and are generally more abundant than the amphibolites in the Cram

Hill. In rarer cases very thin amphibolite layers less than 1 foot thick may run parallel to the

ultramafic zone at less than 2 feet from the contact. These rocks are medium to coarse-grained and

may occur as strongly layered lenses or larger, unlayered bodies up to 1 meter thick. The rocks

contain abundant blue-green amphibole and albite, and minor amounts of carbonate, chlorite and

opaque minerals”. IMERYS 437016.

       85.1.   “The amphibolites within the Cram Hill usually occur within 10 to 20 meters of the

ultramafic zone. They are usually fine-grained rocks composed of blue-green pleochroic

amphiboles, albite, carbonates and chlorite in varying proportions. The feldspathic and carbonate




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minerals are often segregated in layers with little or no amphiboles present. These layers are the

dominant element of the earliest compositional layering recognized in the amphibolite (S0). This

layering is disposed in tight to isoclinal early folds and is later refolded by open folds. (Fig. 9)

IMERYS 437013.

       85.2.   A photographic image demonstrating the layering in the amphibolites of the Cram

Hill is shown in Figure 9. IMERYS 437017.

86.    A Literature Review of Geology and Mineralogy of the Vermont Talcs started with general

description of the authigenesis of talc mineral and stated “The authigenesis of ‘pure talc’ mineral,

Mg3 [Si4010] (OH)2 is generally represented as being the end member (lowest free energy) of a

long chain of mineralogical or geothermal or geochemical alterations (weathering events) taking

place along very diverse paths depending basically on the geothermal and geohydraulic conditions

of exposure over many millions of years. However, there is general agreement that the basic chain

of events was about as follows:

       86.1.   “An intrusive ultramafic (high in magnesium) magma which is essentially

magnesian silicate glass with a large number of minor associated constituents;

       86.2.   “Crystallization to a ‘serpentine’ or ‘serpentinite’ which is not a mineral but is a

rock name for a rock formation with a high magnesium silicate content. The serpentines may alter

or crystallize by a number of hydrothermal, geothermal, or a combination of sequences or reactions

requiring ionic mobilities, disporportionations, solution replacements, etc., into a rather wide

variety of recognizable and identifiable crystallographic types or ‘minerals.’ The most common of

these are the platy hydrous magnesium (2-layer) phyllosilicates, antigorite or lizardite; the rare

form of this group is the fibrous (asbestiform morphology) chrysotile. Other related minerals

commonly found associated with the crystalline serpentine minerals are those few amphibole




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structures - - tremolite, actinolite, and rarely, anthophyllite which are some of the

crystallographically recognizable forms of the amphibole rock formations.

       86.3.   “Under certain conditions all of these minerals, depending on temperature,

pressure, ground water solutions, and/or other factors, alter first to chlorite, then to carbonates or

dolomite, and finally to talc; there is some debate whether dolomite precedes talc or both are

formed more or less simultaneously from the chlorite and there can be said to be evidence for both

sequences. In some cases the dolomitic limestone is well separated from the steatite (talc); in other

cases, there is much intermixing in various proportions where the ore is generally known by the

miners as ‘grit’. The important aspect of these series of alterations is that talc is always the lowest

free energy end-member and the alteration sequence has never been observed to go in the opposite

direction. In many cases, however, there may be isomorphous replacements by talc of the

preceding mineral morphologies, as well as occasional unaltered relicts of preceding mineral

species.

       86.4.   “The so-called “black-wall chlorite” is in fact the geochemical transition zone

between the serpentine or other host rock and the talcose series replacements. This transition zone

(the blackwall) may vary from a few inches to several free in thickness and ‘fingers’ or extensions

of it may occasionally intrude into the talc ore body. It is at this transition interface that the

associated minerals, i.e., chlorite, tremolite, actinolite, and rarely, chrysotile, may be found.

Occasionally some small parts of this materials is mined and mixed up along with the talc ore. The

blackwall is thermodynamically and geothermally only metastable and it moves very slowly as the

replacements and transitions occur as described above through geologic time.” JNJ000263852.

87.    A chart titled “Vermont Rock Type Code” identify as accessory minerals “amphiboles” on

the first and second page. IMERYS 426609.




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88.    A memo from J.J. Godla and D. G. Ogden to J.S. Forbes dated January 5, 1988, re: Visit to

Ludlow, VT operations of Windsor Minerals, Inc. with Roger Miller, President and Winston

Dezaine, Mine Supt. December 31, 1987, stated under a section titled Argonaut Mine: “The bladed

amphibole mineral actinolite was observed in numerous areas within the chlorite schist

inclusions.” In the General Comment section the memo states:

       88.1.         “As far as asbestos problems [sic] are concerned, Miller states that he has been

sampling all mine ore and produce shipped for 14 years. Composites have been submitted to

McCrone Laboratory in Chicago, and no asbestiform minerals have been reported. The amphibole,

actinolite (bladed) was observed in the chlorite schist inclusions and wall rock at all of the Ludlow

mining operations.” IMERYS 542268.

89.    A document entitled Windsor Minerals, Inc. “Geology of the Talc Mine at East Johnson,

Vermont” incorporated a thesis written by Barry O. Seymour titled “Geology of the Talc Mine at

East Johnson, Vermont.” JNJ 000287099. The thesis stated:

       89.1.         “As mentioned earlier, serpentinization is much less intense in Quebec, than in the

north-central Vermont area, and most deposits contain a combination of talc and asbestos, instead

of just talc.” JNJ 000287264.

90.    A Luzenac February 2010 report written by E.F. McCarthy titled Talc Geology, Mining and

Processing for Cosmetic, Pharma and Food Applications, included a table titled Talc Ore

Mineralogy (Cosmetic Source), which included columns for Montana, Vermont, Australia, China,

and India. Under the heading “China”, a row titled “Tremolite” reported “0-5” and a row titled

“Serp’tine” reported “trace”. IMERYS 081025.

               ii.          Distinguishing asbestos, non-asbestiform amphiboles and talc

91.    According to the Rio Tinto Materials presentation, “Analytical Capabilities and Test

Methods,” the slide “Asbestos is a possible trace contaminant in talc” states it is “difficult to


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determine if individual fibers were originally associated with a bundle (may be disaggregated from

milling and/or sample prep).” IMERYS 448613 (p. 14).

          91.1.   The presentation went on to state:

                  a.       “Talc vs. Chrysotile [Identification]: Easy! (p. 15).

                  b.       Serpentine Interpretation: Easy! (p. 16).

                  c.       Amphibole Interpretation: May be difficult…” (p. 17).

          91.2.   According to this industry presentation, there is an overlap of the Amphibole Fiber

Mean Aspect Ratio between tremolite cleavage fragments and tremolite asbestos fibers. (p. 18).

          91.3.   According to this presentation, elongated mineral particles are fibers which are “a

regulated term defined by aspect ratio and length – varies according to method/regulation,” which

include a subset that are asbestiform and a further subset that are asbestos. (p. 12).

92.       Another presentation by Rio Tinto Materials, “Talc: Asbestos Issues and Management,”

stated:

          92.1.   “It is not known whether cleavage fragments of similar dimensions to asbestiform

fibers pose the similar health risks.31

          92.2.   “On a microscopic scale, one cannot distinguish between asbestiform and cleavage

fragment.

          92.3.   “Deposits can contain both asbestiform and non-asbestiform particles.” J&J 252 (p.

11).

93.       According to a presentation by the RJ Lee Group, Inc. on January 29, 2009 titled “What is

Asbestos? Analytical Methods for Asbestos,” RJ Lee stated, “Controversy over whether asbestos


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  As I have stated previously, I am not offering any causation opinions regarding the health effects of cleavage
fragments.


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and non-asbestos elongated mineral particles have different biological and health effects.”

IMERYS 441186.

94.     According to an official statement from The American Thoracic Society titled “Health

Effects of Tremolite” dated June 1990 and distributed by the American Mining Congress, “A

troublesome issue has been the mineralogical distinction between fibers and cleavage fragments,

and whether this distinction has biological implications.” IMERYS-MDL-AB_000194. The

American Thoracic Society statement went on to state,

        94.1.   “…the focus on tremolite has raised the issue of the importance of cleavage

fragments as opposed to asbestiform fibers. The issue, fundamentally, is whether two fibrous

particles of identical size and shape will have different biologic properties if the particles are pieces

of mineral which have broken off a larger sample parallel to a crystal face (i.e., cleavage fragments)

as opposed to particles which have originally grown in a fibrous habitat (i.e., asbestiform fibers).

        94.2.   “It became apparent both from our review of the literature and from submissions

made to this Committee by experienced mineralogists, that the distinction between cleavage

fragment and asbestiform fibers, although theoretically clear, is in practice extremely murky. Some

mineralogists believe that these two types of particles are always distinct, whereas others believe

they shade off one into the other, and that intermediate forms (byssolite) exist. Further, these same

submissions were at odds with each other in identifying particular samples used in various

experiments (including the play sand samples analyzed by members of the Committee) as

asbestiform fibers or cleave fragments. To complicate matters, it was also suggested to us that the

important distinction is not that between cleavage fragments and asbestiform fibers, but between

non-asbestiform and asbestiform fibers.




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       94.3.   “Because of the lack of consensus among mineralogists, as well as the limited

information about the minerals present in most published human and animal data (i.e., whether the

particles used or observed really are fibers or cleavage fragments), we have to a great extent

ignored the distinction, and ended up treating most of the data as based on ‘fibers’ of various sizes.

The Committee recognizes that this is not an ideal solution, and where stronger evidence for the

cleavage fragment or asbestiform nature of a particular fiber exists, we have noted it. However,

until there is reasonable mineralogic unanimity both on general definition and the classification of

specific samples, and then animal experimentation with such classified materials, it appears to us

impossible to draw general conclusions about biologic effects based on the distinction between

cleave fragments and asbestiform fibers.” IMERYS-MDL-AB_0001941.

       94.4.   The society concluded, “Unquestioned health effects of tremolite asbestos have

been demonstrated in both man and animals. These effects are identical to those produced by other

forms of asbestos.

       94.5.   “There may be important physico-chemical distinctions between asbestiform and

non-asbestiform tremolite dust particles. However, there appears to be considerable controversy in

applying these mineralogic definitions to specific samples of mineral, particularly individual

particles viewed microscopically after collection by air sampling or found in human lung, or when

used experimentally.

       94.6.   “The evidence for biological effect distinctions based on mineralogical parameters,

other than fiber dimension and fiber number, is currently inadequate.

       94.7.   “At present, the prudent public health policy course is to regard appropriately sized

tremolite ‘fibers,’ in sufficient exposure dose (concentration and duration), as capable of producing




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the recognized asbestos-related diseases, and they should be regulated accordingly.” IMERYS-

MDL-AB_0001953.

95.     In the correspondence section in the British Journal of Industrial Medicine dated 1991,

author Dr. B.W.K from the University of Pittsburgh said three questions needed to be answered

before non-asbestiform tremolite could be “let off the hook” from a health perspective: “Firstly,

can ‘non-asbestiform’ fibres, by mineralogical definition, be unambiguously identified to the

satisfaction of experts and regulators? Secondly, if they can be identified, are they present to the

exclusion of ‘asbestiform’ fibres in the same mix? Thirdly, if both of the previous conditions can

be satisfied, do they inform as to the biological effects of long, thin, durable fibres that do not meet

the crystallographic growth characteristics for asbestiform nature required by some experts? The

answer to all three questions-without tergiversation-is no.” JNJ00000049.

        95.1.    They concluded, “Until there is actual evidence, that ‘non-asbestiform’ fibres are

easily defined, clearly separated from tremolite asbestos in real world work environments, and not

productive of lung fibrosis or other health effects, it seems folly to declare them exempt from

regulation.” JNJ00000049-50.

        95.2.    According to an Executive Summary of Preliminary Recommendations on Testing

Methods for Asbestos in Talc and Consumer Products Containing Talc, dated January 6, 2020,

written by US federal government subject matter experts on the (IWGACP32):

        95.3.    “The difficulty of identifying and quantifying individual asbestos or other mineral

particles present at low concentrations in talc is compounded by the presence of non-asbestiform


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  The IWGACP, Interagency Working Group on Asbestos in Consumer Products, is made up of subject matter
experts from eight federal agencies: Dept. of Health and Human Services (including experts from Food and Drug
Administration (FDA), National Institute of Occupational Safety and Health (NIOSH), and National Institutes of
Health (NIH)/National Institute of Environmental Health Sciences (NIEHS)), Dept. of Labor: Occupational Safety
and Health Administration (OSHA), Environmental Protection Agency (EPA), Consumer Product Safety
Commission (CPSC), Dept. of the Interior: U.S. Geological Survey (ISGS), and Dept. of Commerce: National
Institute of Standards and Technology (NIST). IWGACP Public Meeting, 4 February 2020.


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analogs with the same elemental composition and crystal structure, but different growth habit.

Using TEM, differentiation of chrysotile from non-asbestiform serpentine analogs is relatively

straightforward; however, each of the non-asbestiform amphiboles can disaggregate into particles

resembling asbestiform fibers, giving rise to disputes between laboratories over whether elongate

amphibole particles are truly asbestos, or are particles resulting from attrition of larger particles of

a non-asbestiform analog. Because both types of elongate minerals are suspected of having

biological activity with similar pathological outcomes, the distinction is irrelevant. Lack of

consensus concerning what should be called ‘asbestos’ has persisted since the first reports

indicating that asbestos might be present in talc used in cosmetics and has inhibited thorough

toxicological and epidemiological investigations of disease attributable to talc that contains

asbestos.” (p. 3)33.

96.       According to the White Paper, “IWGACP Scientific Opinions on Testing Methods for

Asbestos in Cosmetic Products Containing Talc” that provided “the scientific opinions of subject

matter experts (SMEs) from an interagency working group related to testing cosmetic products

containing talc and talc intended for use in cosmetics for the presence of asbestos, as well as other

potentially harmful amphibole particles that can affect cosmetic product safety” (p. 4). That White

Paper stated,

          96.1.   “The difficulty of identifying and quantifying amphibole asbestos particles in talc

is compounded by the potential presence of amphibole particles that have the same elemental

composition and crystal structure as one of the asbestos minerals but may have originated from

their non-asbestiform analogues. (See Appendix D) The characteristic feature of an ‘asbestos

structure’ is the ‘bundle’ consisting of multiple particles that may show definitive characteristics



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     See JNJTALC0015234748


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of asbestos particles such as splaying or longitudinal splitting at either end of the structure.

However, asbestos structures are less readily identifiable after extensive processing that can result

in attrition, such as milling of talc to produce cosmetics. In the milling process, non-asbestos

amphibole particles in the ore can be reduced in size, resulting in particles that may look like

asbestos.” (White Paper: IWGACP Scientific Opinions on Testing Methods for Asbestos in

Cosmetic Products Containing Talc, p. 14).

       96.2.   According to Appendix D of the White Paper (p. 29), forces “applied to prismatic

amphibole crystals can result in perfect cleavage along planes of weakness, often referred to as

cleavage fragments. Similarly, attrition of bundles of asbestiform amphibole fibers can lead to

structures such as the fibrils.” Appendices to White Paper: IWGACP Scientific Opinions on

Testing Methods for Asbestos in Cosmetic Products Containing Talc (p. 33).

       96.3.   Appendix D went on to state, “Alternatively, fracture at points of structural

weakness caused by defects in amphibole crystals can result in particles having random shapes.

Consequently, significant variation in morphology of amphibole particles can occur even within a

mineral deposit and it may be difficult to classify individual particles as being asbestiform or non-

asbestiform.” (p. 34)

       96.4.   It further stated, “Because fiber bundles undergo attrition, it is difficult to draw

conclusions about the (asbestiform/non-asbestiform) habit of any individual amphibole particle at

the levels of magnification afforded by electron microscope.” (p. 36).

97.    Appendix E of the White Paper titled “Health-Based Characteristics to Address Impacts of

Asbestos and Other Elongate Mineral Particles in Talc Intended for Use in Cosmetics,” stated the

following:




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        97.1.   “Asbestos is a known human carcinogen…there is no established threshold for

health effects from asbestos exposure.

        97.2.   “These effects are rarely seen acutely but are more likely to occur many months or

years following exposure.

        97.3.   “The specific biological mechanisms underlying asbestos and other elongate

mineral particle (EMP) [footnote omitted] induced inflammation and/or diseases in humans and

other animals remain uncertain… a more complete understanding of particle characteristics

associated with activation of these biological mechanisms is lacking…

        97.4.   “Decisions to limit elongate particle size definition to specific size fractions (e.g.,

length >5 μm; width > 0.2 μm, and aspect ratio >3:1) were established for the convenience of using

light microscopy to estimate exposures in occupational environments [citation omitted]. Thus,

while it may be a useful index for exposure in certain situations, ‘the fiber counting protocol using

a 3:1 aspect ratio and a length of 5 μm or greater as being in some way a definition of asbestos has

no scientific basis.’

        97.5.   “Particle size, tensile strength, morphology, chemical composition, bio-persistence,

surface charge, surface porosity, and reactivity have all been implicated in the pathogenic

processes associated with EMP exposure. (HEI 1991). Our general understanding of the

mechanisms and progression of EMP-related disease comes from studies about biophysical,

cellular, animal, and human responses to exposure. (NATO 1990, Fubini and Arean 1999, Xu,

Zhou et al. 2002). Elongate particle interactions with cellular components can result in aberrations

in cell division (Livingston, Rom et al. 1980, Achard, Perderiset et al. 1987, Renier, Levy et al.

1990, Korkina, Durnev et al. 1992), generation of reactive oxygen species (Brown, Fisher et al.

1998) and an inflammatory response (Shukla, Ramos-Nino et al. 2003, Mossman 2018, Pfau,




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McNew et al. 2019). Several studies in animal models report that longer fibers are more strongly

associated with cancer incidence (Stanton M.F. and Layard 1981, Davis, Addison et al. 1991,

Berman,Crump et al. 1995).

       97.6.   “Particle size, aspect ratio (length-to-width ratio), dissolution characteristics, and

cellular processes affect exposure. Additionally, anatomy and physiology of the host, internal

distribution, retention, and clearance from the body are all determinants of internal exposure.

(CDC/NIOSH 2011).

       97.7.   “Generally, thinner particles with higher aspect ratios, may penetrate more deeply

into the lungs (Timbrell1982, Lippmann 1990, Bernstein, Rogers et al. 2011). Larger particles and

those with higher density may impact the nasopharyngeal region of the upper airways, where they

are more efficiently removed from the respiratory tract…

       97.8.   “…censored exposure indices are not capable of, nor were intended to, be used in

context of consumer exposure to the presence of asbestos in cosmetics.

       97.9.   “More than four decades ago (prior to the practice of indexing fibers), the

CDC/NIOSH fully characterized the presence of EMPs (including subsets of regulated asbestos

and asbestiform minerals), in a talc mining and milling operation in St. Lawrence County, New

York; where morbidity and mortality was significant in workers exposed to dusts (NIOSH1980).

It was observed that 97% of the worker exposures to tremolite and 90-92% of the worker exposures

to anthophyllite were to fibers <5 μm in length, well below the size range commonly recorded by

less sensitive light microscopic techniques.

       97.10. “Once inside the body through inhalation, ingestion, or perineal exposure, EMPs

can migrate through tissues and organs to secondary sites of exposure where progressive cell

damage can occur (Cook and Olson 1979, Wehner 1994, Heller, Westhoff et al. 1996). The risks




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of irreversible damage to cells and tissues of the body following exposure are associated with the

accumulation of elongate particles in susceptible tissues. Retention and accumulation of elongate

particles in biological tissue is influenced by the nature of the EMP, magnitude of the exposure,

host physiology, type of tissue, migration and transformation of particles within the body, and

clearance of particles through cellular mechanisms, including dissolution and removal by alveolar

macrophages.

       97.11. “Research findings of Stayner et al. (2008) show that cumulative exposures to ‘all

fibre size indices, including fibres <5 um in length, were highly statistically significant predictors

of lung cancer or asbestosis mortality.’ (Stayner, Kuempel et al. 2008).

       97.12. “Together, many characteristics contribute to EMP toxicity, such as biological

persistence, inter-tissue migration, or in vivo comminution (splitting of bundles into elongate

fragments or fibers). Interactions of EMP at the biological interface can trigger intracellular

multiprotein complexes associated with inflammation.

       97.13. “A number of studies (Goodglick and Kane 1990, Dodson, Atkinson et al. 2003, Ji,

Wang et al. 2012) report an association between fiber length, width, and disease in laboratory

animals and in exposed human populations. However, the methods, definitions, and protocols used

to measure and count fibers in environmental samples are not independent of the specific analyst

or microscope used to character exposures. (Rooker, Vaughan et al. 1982).

       97.14. “Although shorter particles are generally more rapidly cleared than longer ones, at

a steady state of exposure, short EMPs can accumulate, presenting a persistent and much larger

bioactive surface area than the commonly recorded longer fibers. (Lehnert, Valdez et al. 1989).

       97.15. “When comprehensive dose characterization has been available, biologically active

EMPs, also known as censored EMPs (i.e., <5 μm in length), are often implicated as contributing




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to disease. These EMPs have been frequently removed from the exposure analysis due to the

limitations of optical microscopy. Further, our understanding of disease in relation to exposure

(exposure-response analysis) is severely limited. The presence of elongate amphibole and

serpentine minerals in some talc deposits have been known for many years (Kleinfeld, Messite et

al. 1967, Rohl and Langer 1974, NIOSH 1980), yet analytical methods restricted by available

technology (Rooker, Vaughan et al. 1982, Kenny, Rood et al. 1987) and developed for other

purposes, have been adopted as tools for the scientific characterization of toxicological response

and risk assessment in both occupational and non-occupational epidemiologic studies. This has

severely limited our understanding of how exposure to EMPs of various size and characteristics

contribute to asbestos-related disease (Stayner, Kuempel et al. 2008) [figure omitted].

       97.16. “Thus, for the purpose of evaluating the presence of asbestos in talc intended for

use in cosmetics and talc-containing cosmetics, measurement and characterization of EMPs should

be more inclusive in order to consider biologically relevant physical-chemical characteristics as

they relate to biological actions of the offending mineral particles.” Appendices to White Paper:

IWGACP Scientific Opinions on Testing Methods for Asbestos in Cosmetic Products Containing

Talc (p. 42-49).

98.    According to Appendix F of the White Paper, titled “Testing Issues,” “Some researchers

have suggested that populations of amphibole asbestos fibers can be differentiated from non-

asbestiform particles or cleavage fragments based on population width distributions reflecting

differing tendencies in particle attrition among the two growth habits (Blount 1991; Van Orden et

al. 2008, 2009; Harper et al. 2008). General guidelines for differentiation based on dimensions do

not exist, although there are minima for length and aspect ratio for asbestos counting in published

standards. The strict application of length and aspect ratio as measures to differentiate asbestiform




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and non-asbestiform particles remains debated in the scientific literature. Thus, IWGACP is not in

favor of using dimensional criteria to differentiate asbestiform and non-asbestiform particles in

talc and cosmetics.” Appendices to White Paper: IWGACP Scientific Opinions on Testing

Methods for Asbestos in Cosmetic Products Containing Talc (p. 71).

99.    The significance of asbestiform versus nonasbestiform fibers was discussed by the

pharmaceutical firm Pfizer, Inc. in 1977. Commenting on statements by the talc firm, R.T.

Vanderbilt Co., Inc., Pfizer’s official J.P. Bartels wrote in a memo, “Vanderbilt Talc Letter,”

“Tremolite then has always been classified as a form of asbestos.” (p. 3).

       99.1.   Pfizer’s Mr. Bartels stated, “[R.T. Vanderbilt] launched a massive effort to block

the [OSHA] standard and later to overturn it. Initially their thrust was that the amphiboles were

not asbestos and should not be included in the asbestos standard. Later they took the position that

the five amphiboles involved, especially tremolite, existed in both ‘asbestiform’ and ‘non-

asbestiform’ varieties and that Vanderbilt talc contained the non-harmful variety. Although their

position has never been supported by any scientist of renown or any other talc company, Vanderbilt

has remained adamant in their defense of it.” Booker-MTI001061.

       99.2. Pfizer’s Mr. Bartels further stated, “Johns-Manville, another major talc producer,

with considerable expertise in asbestos took a radically different approach. On September 30,

1974, they issued a letter stating that their Grantham talcs contained amphiboles of asbestos and

placed asbestos warning labels on their talc packages. In June 1976, they officially shut down their

Grantham talc operation in Death Valley and went out of business.

       99.3. “Cyprus Mines and Engelhard have issued weak statements claiming that their

products do not contain any asbestiform minerals.” Booker-MTI001062.

100.   In a Cyprus Ore Reserve Evaluation “Preliminary Summary,” R.C. Munro stated,




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       100.1. “Fibrous minerals – tremolite and actinolite are ubiquitous in several zones of the

Vermont mines. The potential problems involved with fibre in dumps, and to some degree in

products, must be carefully evaluated.” IMERYS 416201.

       100.2. Discussing impurities, Munro further stated, “Actinolite: can be present (needles

and blades) in most of the deposits (2*), generally in well known locations (close to walls or waste

contacts, in the chloritic fault zones, in pinched zones of deposits). The miners know these zones

and seem to master the problem (what for contractors?), but it is impossible to get rid of accidental

traces.” IMERYS 416215.

101.   In an interoffice memo from Cyprus Mines dated March 25, 1992, R. C. Munro, under the

heading “Tremolite,” stated:

       101.1. “The other serious mineralogical contaminant in the talc ores of Vermont is the

fibrous variety of the amphibole minerals, tremolite and actinolite (hydrous calcium iron-

magnesium silicates) which have been classified as asbestiform minerals by OSHA and EPA.

OSHA was expected to de-classify non-fibrous (blocky) tremolite on February 29, but has not yet

announced their decision.

       101.2. “As a result, all tremolite, the fibrous varieties of al all amphiboles and chrysotile

asbestos in talc ores are a source of great concern to all talc producers and especially to marketers

of cosmetic products.

       101.3. “Cyprus claims that there are not fibres in their cosmetic talc products and they

work rigorously to ensure this. However, a recent paper published by Rutgers University worker,

Alice Blount, suggests the presence of fibre in several cosmetic talcs, some of which might have

been from Cyprus West Windsor material, which is a source of great concern to Cyprus

management and potentially to their principal customer, Johnson & Johnson. Talc de Luzenac




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personnel are well aware of the situation and Phillipe Moreau is currently quietly working to

identify the reality and the magnitude of the problem.

       101.4. “Vermont talcs are derived from altered serpentine - a natural host for asbestiform

minerals. There is certainly visible tremolite and actinolite in specific zones of the Vermont

deposits -fibrous tremolite was identified by the writer in exposures and cores at the East Argonaut

and Black Bear mines. Cyprus staff report past tremolite from the Hammondsville and Clifton

deposits.

       101.5. “Tremolite in these deposits is encountered in the contact zones between the talc

and the surrounding schist; in ‘grey talcs’ in the vicinity of the contacts; and associated with the

chlorite/amphibole waste zones within the talc ores that are locally termed “cinders.” Cyprus

maintains a selective mining program in Vermont that is directed toward exclusion of all of these

potentially fibre-bearing zones from the ores sent to the mills, and those suspect tonnages,

including the associated talc, are left in the pit walls or sent to waste piles.” IMERYS 219721.

102.   In response to the position taken by some asbestos testing laboratory scientists that, “there

is a toxicological difference between asbestos structures which formed as fiber crystals and fibers

which formed by cleavage plane separation” (p. 11), the Environmental Protection Agency (EPA)

Region 9 stated on April 20, 2006,

       102.1. “It is the position of EPA, the U.S. Centers for Disease Control and Prevention,

Agency for Toxic Substances and Disease Registry (ATSDR) and National Institute for

Occupational Safety and Health (NIOSH), and the American Thoracic Society, among others, that

microscopic structures of amphibole and serpentine minerals that are asbestiform and meet the size

definition of PCM fibers, should be counted as asbestos, regardless of the manner by which they

were formed.




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       102.2. “There are four reasons why the health agencies have taken this position: (1) The

epidemiologic and health studies underlying EPA, and California EPA, cancer risk assessment

methods were based on exposures to both cleavage fragments and fibers, but were unable to

distinguish between the two, (2) The most recent panel of experts to review asbestos risk

assessment methods, the 2003 Peer Consultation Panel convened by EPA, concluded that “it is

prudent at this time to conclude equivalent potency [of cleavage fragments and fibers] for cancer,

(3) No well-designed animal or human epidemiological studies have been conducted to date to test

the hypothesis that cleavage fragments with the same dimensions of a fiber are benign, or that the

human body makes any distinction, and studies that purport to show that cleavage fragments are

benign are questioned by many asbestos health experts, (4) There are no routine air analytical

methods, including those used by EPA, NIOSH, the Mine Safety and Health Administration

(MSHA), the American Society for Testing and Materials (ASTM), and the ISO which differentiate

between cleavage fragments and crystalline fibers.” (p. 11) (footnotes omitted).

103.   In my opinion, the safety of nonasbestiform amphibole or cleavage fragments was and has

not been established.

104.   In my opinion, determination by a laboratory that certain amphibole particles were

nonasbestiform in nature does not mean the safety of those nonasbestiform amphiboles was

substantiated.

105.   In my opinion, the controversies and/or complexities surrounding: 1) the definition of

asbestos; 2) what was excluded from the definition of asbestos; 3) the geologic relationship

between asbestos and talc; 4) the difficulty of laboratory tests to characterize individual amphibole

fibers as asbestiform or non-asbestiform; 5) whether cleavage fragments of similar dimensions to

asbestiform fibers pose similar risks; 6) the difficulties distinguishing between asbestiform and




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cleavage fragments as discussed below; 7) the limitations of detection by various laboratory

measurements; 8) epidemiological results; 9) the inability over the decades of FDA to arrive at a

definitive testing method for asbestos in talc; 10) the significance of talc fibers; and 11) the extent

and routes of exposure, reinforce the conclusion that the safety of the product had not been

established.

106.    In my opinion, unable to substantiate the safety of their talcum powder products, JNJ was

required to place the following conspicuous statement on the principal display panel: “Warning-

The safety of this product has not been determined.” 21 CFR §740.10.

IV.     IN LIGHT OF LABORATORY TEST FINDINGS CONDUCTED BY, PROVIDED
        TO, OR MADE AVAILABLE TO JNJ, BEGINNING IN AT LEAST THE EARLY
        1970S, JNJ COULD NOT SUBSTANTIATE THE SAFETY OF ITS TALCUM
        POWDER PRODUCTS AND SHOULD HAVE NOT SOLD ITS PRODUCTS

107.    JNJ’s corporate representative, Dr. John Hopkins, testified:

                Q.      And [JNJ] has always told the public that there’s never been a single
                        fiber of asbestos in any of its talc for Johnson’s Baby Powder or
                        Shower to Shower, correct?
                A.      Yes.
                Q.      It told that to customers, nurses, doctors and regulators and
                        hospitals, correct?
                A.      Yes.34
        107.1. Dr. Hopkins further testified:

                Q.      [JNJ] agrees that if the baby powder has asbestos, it should be
                        withdrawn from the market immediately, correct?
                A.      It wouldn’t be sold in the first place.
                ...
                Q.      And [JNJ] agrees with that, the acceptable level of asbestos in
                        cosmetic talc [is] zero, right?


34
  Trial Testimony of Dr. John Hopkins in Barden v. Brenntag North America, et. al, MID-L-0932-17AS, July 22,
2019, at p. 43.


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                  A.       Yes.35
         A.       From the 1950s through the 2000s, JNJ received and acknowledged reports
                  from affiliated and non-affiliated laboratories identifying or suspecting the
                  presence of naturally occurring mineral silicate fibers of the serpentine and
                  amphibole series including, but not limited to, tremolite fibers, actinolite
                  fibers, anthophyllite fibers, amphibole asbestos, chrysotile (serpentine
                  asbestos), fibrous talc and non-asbestiform amphibole in talc sample

108.     JNJ’s corporate representative, Dr. John Hopkins, and Imerys’ corporate representative,

Julie Pier, confirmed that from the 1950s through the 2000s, JNJ received and acknowledged

reports from affiliated and non-affiliated laboratories identifying or suspecting the presence of

naturally occurring mineral silicate fibers of the serpentine and amphibole series including, but not

limited to, tremolite fibers, amphibole asbestos, chrysotile (serpentine asbestos), fibrous talc and

non-asbestiform amphibole in talc samples.36

109.     I have reviewed Exhibit D-1-A to Dr. John Hopkins’ corporate representative deposition

and Dr. Hopkins’ deposition testimony about JNJ’s response to the reports to JNJ of talc samples

containing naturally occurring mineral silicate fiekutabers of the serpentine and amphibole

series.37 In his corporate representative deposition testimony, Dr. Hopkins confirmed that many of

the reports JNJ received of naturally occurring mineral silicate fibers of the serpentine and

amphibole series met the company’s definition of asbestos.38

110.     A May 10, 1971, report to JNJ from Colorado School of Mines identified: “Report results:

‘Free nontalc needles’ .6%. ‘Free talc needles’ 2.21%”. JNJ 000294462 (J&J-255). In a May 14,

1971, internal memorandum, JNJ stated, “The attached letter shows the particle size-shape consists


35
   Id. at p. 198.
36
   Hopkins Dep. Ex. D-1-A; Hopkins Dep. Ex. 28; Pier Dep. Ex. 47; Deposition of Julie Pier, September 12-13, 2018.
37
   Hopkins Dep. Ex. D-1-A; Deposition of John Hopkins, Ph.D., October 17, 2018. See also Trial Testimony of Dr.
John Hopkins in Barden v. Brenntag North America, et. al, MID-L-0932-17AS, July 22, 2019, at pp. 38-39 (“Q.
Alright. Johnson & Johnson understood that it would be very, very bad for business and J&J’s representation if it ever
came out that baby powder or any of its talc products ever contained asbestos, correct? A. If the baby powder did
contain asbestos, it would be bad for business, if it did, yes.”).
38
   Hopkins Dep., October 17, 2018, 1070:3-22; Hopkins Dep. Ex. 27; Hopkins Dep. Ex. D-1-A.


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of a production batch of our product produced in December, 1970.” JNJ 000294462 (Ex. J&J-

255). The internal memorandum concluded, “We consider the free non-talc needles but a trace,

both on a count and area basis. Those particles are tremolite.” JNJ 000294462 (Ex. J&J-255).

111.       A JNJ memorandum dated July 29, 1971, stated, “The talc used in JOHNSON’S Baby

Powder is obtained from a selected mine in Vermont where the ore consists mainly of platy talc

with only trace amounts of fibrous minerals (tremolite/actinolite).” The memorandum continues,

“The resulting talc has been shown by three independent consulting laboratories* [Colorado

School of Mines Research Institute, McCrone Associates, Inc., and Dartmouth College Geology

Department] to contain negligible traces of fibrous minerals and no chrysotile fibers.”

JNJMX88__000004646 (Ex. J&J-19).

112.       A November 10, 1971, letter to Johnson & Johnson from Dr. Arthur M. Langer at Mount

Sinai School of Medicine stated, “We have also analyzed one of your talc samples in some detail.

In addition to the normal platy talc present, we have observed many ‘fibrous talcs’ as well.” Dr.

Langer continued, “We also observed trace amounts of chrysotile asbestos only when the talc was

sonified and markedly dispersed. The amounts of chrysotile are relatively small, occurring in

amounts, we estimate, at less than .01%.” JNJTALC000292656.

113.       An internal JNJ memorandum dated September 26, 1972, discussed the results of testing

performed on Johnson and Johnson’s product by FDA consultant Dr. S. Lewin on August 3, 1972

and September 21, 1972. The results showed, “J&J Medicated Powder sample: 4% tremolite,”

“Johnson's Baby Powder sample: 2% chrysotile,” another “Johnson’s Baby Powder sample: 3%

chrysotile,” “J&J Shower to Shower samples: 2% chrysotile” in 3 samples and “5% +/- 2%” in a

4th sample.” JNJ000232996 (J&J-31)39.


39
     See also Ex. J&J-28 (August 3, 1972 report).



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114.   An October 1972 internal JNJ handwritten note stated, “There are trace quantities present

confirmed both by McCrone & Bill Ashton. Levels are extremely low but occasionally can be

detected optically. This is not new.” JNJAZ55_000004156 (J&J-26).

115.   In 1972, University of Minnesota Space Science Center received “specimens of powdered

talc” from “[JNJ] and from McCrone Associates. Analysis of these samples using the scanning

electron microscope was requested in order to determine the possible content of fibrous chrysotile

asbestos contained in the talc samples. The University of Minnesota reported “Numerous fibrous

structures were observed during this examination of both the original Lewin material [the samples

from McCrone] and the Shower to Shower material supplied by [JNJ].” Under the section titled

“Transmission Electron Microscopy,” the testing found “A large number of grids were examined

and numerous examples of fibrous material were seen. Of the large number of grids examined,

three examples of fibers which upon examination by electron diffraction could be classified as

likely candidates for chrysotile asbestos in the [S]hower to [S]hower material and one example

was found in the Lewin material,” and “[i]n Figures 17a and 18a, electron micrographs of the

transmission type show the typical stranded appearance of chrysotile asbestos.” The University of

Minnesota concluded, “It is felt therefore that chrysotile asbestos does exist in the specimens of

[S]hower to [S]hower and Lewin supplied to this laboratory.” JOJO-MA2546-01282 (J&J-33).

The University of Minnesota’s Thomas Hutchinson provided images of “Chrysotile Fibers

Embedded in Talc Particles,” and handwritten notes that stated, “Five fibrous particles were found

which gave electron diffraction patterns unmistakably chrysotile asbestos” and “‘Shower to

Shower’ . . . Three clear examples were found of serpentine material and which gave perfect

chrysotile patterns.” JOJO-MA2546-00138.




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116.   An internal JNJ memorandum dated April 19, 1973 titled “Dispersion Staining

Examination of Retained Samples of Johnson's Baby Powder" stated, “Twenty-five samples of

Johnson’s Baby Powder representing retained samples from both ESDP and Chicago facilities

were examined microscopically by the Dispersion-Staining technique for the presence of tremolite.

Four of these samples are suspected of containing tremolite based on the finding of one or two

‘fibers’ per sample which satisfy the color/morphology criteria.” JNJ 000245155 (J&J-296).

117.   An internal JNJ memorandum dated April 26, 1973 stated: “It is our joint conclusion that

we should not rely on the ‘Clean Mine’ approach as a protective device for Baby Powder in the

current Asbestos or Asbestos-Form controversy. We believe this mine to be very clean; however,

we are also confident that fiber forming or fiber type minerals could be found. The usefulness of

the ‘Clean Mine’ approach for asbestos only is over.” The memorandum went on, “Our Baby

Powder contains talc fragments classifiable as fiber. Occasionally sub-trace quantities of tremolite

or actinolite are identifiable (Optical Microscope) and these might be classified as asbestos fiber.”

The memorandum further “cautioned” that “no final product will ever be made which will be

totally free from respirable particles.” JNJMX68_000013464 (J&J-44).

118.   An April 27, 1973 internal JNJ memorandum titled “Microscopic Examination of

Johnson’s Baby Powder” stated, “Petrographic optical microscopy revealed ‘trace’ amounts of

amphibole in each of the above samples. Based on the number of particles scanned, we estimate

‘trace’ amounts to be .001 to .01% by weight.” JNJMX68_000010608 (J&J-335).

119.   A May 8, 1973 internal “Personal” memorandum from JNJ’s William Ashton stated, “Baby

Powder lots 108T & 109T were alleged to contain asbestiforms by Lewin. . .. The first showing of

actinolite we know about is October 1972.” JNJ 000301719 (J&J-368).




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120.   An internal JNJ memorandum dated May 16, 1973, titled “Proposed Specs for Analyzing

Talc” stated, “’Preconcentration of Asbestos’: "This technique has not been written up yet, but

evidently when applied to Vermont talc, 0.05% of tremolite-type is found. The limitation of this

method is that it may be too sensitive.” JNJ 000232679.

121.   An August 27, 1973 internal JNJ memorandum acknowledged that the “Dutch Consumer

Organization” analyzed Johnson’s Baby Powder and “detected asbestos-content of 1.59%.”

Johnson & Johnson noted that the Organization’s definition of asbestos “could cause some errors,”

and “At this moment they are analyzing our powder again, because we remarked that our powder

was free of asbestos. However, when they stick to the same method and definition they might

trace asbestos again, and . . .. publicize the results.” JNJAZ55_000006341 (J&J-299). A December

13, 1973 internal JNJ memorandum titled “asbestos in baby powder” stated, “On our request they

have tested another sample and the result of this second test was 0.3% . . . ” JNJAZ55_000006532.

122.   A December 27, 1973 report prepared for JNJ by Colorado School of Mines titled “A

Procedure to Examine Talc for the Presence of Chrysotile and Tremolite-Actinolite Fibers” stated,

“Since developing the procedure, it has been applied to various talc samples examined for

chrysotile and/or tremolite, as follows: A memorandum report dated April 2, 1973 [to JNJ] on the

examination of four talc samples identified tremolite at levels of less than 20 ppm in one sample,

and chrysotile at levels of less than 7 ppm in three samples. A letter report dated December 21,

1973 [to JNJ] on the examination of Italian and Vermont talc identified chrysotile at a level of less

than 10 ppm in the Vermont sample.” 57-0198 (J&J-263).

123.   In March 1974, Dartmouth College sent a “Confidential” memorandum to Johnson &

Johnson subsidiary Windsor Minerals Inc. titled “Analysis of Talc Products and Ores for

Asbestiform Amphiboles.” Dartmouth stated, “The purpose of this study is to develop methods for




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measuring the concentration of asbestiform amphiboles in fine grained talc products and talc ores,”

and “For the reasons described above, a concentration technique is mandatory because it brings

the amphiboles into a reasonable concentration range for optical or other methods of analysis."

Dartmouth continued, “Talc ore and talc product, provided by V. Zeitz of Windsor Minerals, were

run through this procedure.” The memorandum concluded, “Conclusions: ‘(2) The ore sample

contains 2300 ppm actinolite, and the talc product contains [approx.] 170ppm actinolite. (3)

Actinolite is the dominant fiberform amphibole in the ore and talc product provided by Windsor

Minerals. Small amounts of anthophyllite may be present.’” Further, “Plate 2” noted, “the length-

striated character of actinolite; this is characteristic;” and “Plate 7” noted “Actinolite, talc,

chromite, and a large anthophyllite fiber.” JNJNL61_000029411 (J&J-58).

124.      A May 8, 1974, report from JNJ subsidiary Windsor Minerals Company titled

“Examination of Talc Ores and Products: Beneficiation Processes,” examined McCrone

Associates’ testing of “6 samples of talc ores and talc products produced from these ores using the

methods of light microscopy and transmission electron microscopy.” The results included, “one

fiber, probably tremolite” and “a few other fibrous or rod-shaped particles” in Sample 66A-ore,

“fibrous forms of talc” in Sample 66U-ore, “one very small fiber” that “resembled chrysotile” in

Sample 66U-product, “eight chrysotile fibers” in Sample 66AC-ore, “fibrous talc” and “one

chrysotile fiber” in Sample 66AC-product. JNJ 000326107 (J&J-66).

125.      On November 5, 1975, JNJ’s testing agency McCrone Associates, Inc. sent a letter to

Johnson & Johnson’s subsidiary Windsor Materials Company “supplement[ing their] report of 1

July 1975 on a series of talc ore samples which we have analyzed for you.” JNJNL6 _000079335

(J&J-97).40 McCrone stated, “Table 1 shows the actual fiber counts . . .. Some of them seem rather


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     See also JNJMX68_000012745 (J&J-89).



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high, one had 10 and one had 9 amphiboles. Most of these come in bundles of 1, 2, or 3 fibers with

anywhere from 2-5 amphiboles in a bundle.” The attached “Table 1” reported “Fibers of Asbestos”

in 10 samples. JNJNL61_000079335 (J&J-97).

126.    On March 16, 1976, Johnson & Johnson sent “two nine ounce bottles of our Baby Powder”

to Colorado School of Mines for testing. Handwritten notes dated July 5, 1976, stated, “Optical

Mic shows small (1%?) amounts of amphibole needles.” JNJ 000064762 (J&J-303).

127.    An April 23, 1998, letter from Rutgers Professor Alice M. Blount, Ph.D. advised Johnson

& Johnson that “as [she] told [JNJ],” her 1991 paper titled “Amphibole Content of Cosmetic and

Pharmaceutical Talcs” identified JNJ’s Baby Powder (Vermont Talc) as having “trace amounts of

asbestos.” J&J-0049150.41

128.    On February 24, 2004, JNJ was faxed a report titled “Quantitative Analysis Report

Asbestos in Bulk Material” describing results from a January 5, 2004, Transmission Electron

Microscopy test of a Johnson’s Baby Powder sample performed by Forensic Analytical. The

“Analytical Results” found 3.8% anthophyllite asbestos in the Johnson’s Baby Powder sample,

equating to an “Asbestos Weight Percent” of .20%. JNJ 000375389.42

129.    A 2013 JNJ “Draft” “Copy for Safety and Care Commitment Website” describing the

company’s “Use of Cosmetic Talc in Personal Care Products” was edited internally from “Our

talc-based consumer products have always been asbestos free” to “Our talc-based products are

asbestos free,” noting that “we cannot say ‘always.’” JNJTALC000067661.




41
    See also Blount, A.M., Amphibole Content of Cosmetic and Pharmaceutical Talcs, Environmental Health
Perspective, Vol. 94, at pp. 225-230 (1991).
42
   See also IMERYS299277 (March 22, 2004, email from Julie Pier stating, “Johnson & Johnson called us frantically,
because some outside lab apparently found asbestos in off-the-shelf baby powder. . .. [I]t prompted J&J to ask us
where all the data was on their product. I was supposed to be doing quarterly samples by TEM, but they were all in
the backlog. Since 2001. Oops . . .”).


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130.     In September 2018, FDA awarded AMA Analytical Services, Inc. “a one-year contract to

test talc-containing cosmetics for the presence of asbestos fibers.”43 “AMA used Polarized Light

Microscopy (PLM) and Transmission Electron Microscopy (TEM) to detect and quantify mineral

particles suspected of being a form of asbestos.”44 “As part of this testing, two samples of

Johnson’s Baby Powder were tested: one sample from lot #22318RB was found to be positive for

asbestos; a second Johnson’s Baby Powder sample, lot #00918RA, tested negative for asbestos.”45

Specifically, “FDA testing [ ] found that [the sample from lot #22318RB] contains chrysotile fibers,

a type of asbestos” and “a few talc fibers.”46

131.     On October 16, 2019, FDA advised JNJ that “Asbestos is a poisonous and/or deleterious

substance, and, therefore, Johnson’s Baby Powder Batch #22318RB is adulterated within the




43
      https://www.fda.gov/food/cfsan-constituent-updates/fda-releases-data-agencys-year-long-sampling-assignment-
test-talc-containing-cosmetic-products. During the February 4, 2020 FDA “Public Meeting: Testing Methods for
Asbestos in Talc and Cosmetic Products Containing Talc,” FDA’s Dr. Linda Katz acknowledged, “The manufacturers
are responsible for making sure that the cosmetics that they market are safe for their intended conditions of use. They
may do testing, and whatever testing they decide to do is up to them. We are not specific as to how these products
must       be    tested.”      See      Transcript      of    the     FDA’s       Public     Meeting,      available   at
https://www.fda.gov/media/136305/download?attachment, at p. 12. Dr. Katz noted that FDA became aware of issues
with testing “going back to the 1960s and ‘70s” and “began to grapple with what would be the best approach and
proposed a mandatory optical microscopy method. But at the same time, in around 1976, the [CTFA] also began
developing a new method. And that method was referred to as the CTFA Method J4-1. The method was actually
published in the ‘Asbestiform Amphibole Minerals in Cosmetic Talc.’ And this method became the standard that
industry used to assess for talc that was being used in cosmetic products. That basically this is a method that uses
Polarized Light Microscopy only if the X-ray Diffraction is positive. . . . But that in terms of being able to identify
chrysotile fibers, that its sensitivity is not really very good.” Id. at pp. 14-15. Dr. Katz further stated that FDA “did
not have capabilities to do the testing ourself,” and “FDA has still no established labs to conduct this testing.” Id. at
p. 17. FDA has retained contract labs to conduct testing on limited occasions. See Dr. Lewin testing in 1972 (Ex. J&J-
31, Ex. J&J-28); Sperry Rand confirmatory testing in 1972 (Ex. J&J-29); 2009-2010 AMA testing of 34 samples
(“FDA Summary of Results from Testing of Official Samples of Talc-Containing Cosmetics of Asbestiform Fibers
by AMA Laboratories During 2009-2010,” available at https://www.fda.gov/media/122418/download?attachment);
AMA 2019 testing (AMA Certificate of Analysis, available at: https://www.fda.gov/media/131989/download).
44
      https://www.fda.gov/food/cfsan-constituent-updates/fda-releases-data-agencys-year-long-sampling-assignment-
test-talc-containing-cosmetic-products.
45
     https://www.fda.gov/news-events/press-announcements/baby-powder-manufacturer-voluntarily-recalls-products-
asbestos.
46
     See AMA Certificate of Analysis, found at: https://www.fda.gov/media/131989/download; see also
https://www.fda.gov/news-events/press-announcements/baby-powder-manufacturer-voluntarily-recalls-products-
asbestos.


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meaning of Section 601(a) of the Federal Food, Drug, and Cosmetics Act.” JNJTALC001281991.

On October 18, 2019, JNJ voluntarily recalled “Lot #22318RB of Johnson’s Baby Powder.”47

132.    JNJ provided FDA with an “Investigation Final Report” regarding Lot #22318RB.

According to JNJ, “the resulting investigation has determined that [Johnson’s Baby Powder] does

not contain chrysotile based on the totality of the evidence,” and “the most probable causes are lab

contamination error and/or chrysotile mis-identification.” JNJTALC001284148. In a prior draft of

JNJ’s report, JNJ internally suggested removing language that chrysotile asbestos has never been

“detected” (“I know this is accurate but since Imerys detected but later confirmed it was an

environmental contaminate should we choose the word like confirmed?) and questioned why TEM

was not used in sampling (“But no TEM? Would there be a rationale why not?”; “Do we really

have a good answer regarding the lack of TEM done by Imerys?”; “How do we resolve that less

TEM is done or am I wrong that it is and doesn’t matter?”). JNJTALC001298411.

133.    AMA’s Andreas Saldivar confirmed AMA’s results in his March 19, 2020, deposition:

        “Q.      Here's my question: For the results you turned over to the U.S.F.D.A., as a result of
                 this·contract of some 50 samples, whether or not those were -- those results reported
                 in non-detect or a positive finding of asbestos, does AMA stand behind all of its
                 results?

        A.       Yes.

        MR. MASSENBURG:· Form.

        BY MR. PANATIER:

        Q.       Okay. And did AMA follow all of the appropriate separation and analytical
                 methodologies that it told the F.D.A. it would?

        A.       We did, and we also followed all instructions from the F.D.A.

        Q.       Okay. All right. In that respect, sir, did you turn over valid results to the F.D.A.?

47
     https://www.jnj.com/johnson-johnson-consumer-inc-to-voluntarily-recall-a-single-lot-of-johnsons-baby-powder-
in-the-united-states.



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         A.       We did.

Andreas Saldivar Dep., 129:2-17.

134.     On May 19, 2020, JNJ “announced the discontinuation of talc-based baby powder in the

United States and Canada.”48 Following this announcement, the House Subcommittee on

Economic and Consumer Policy stated, “My Subcommittee’s 14-month investigation revealed that

[JNJ] knew for decades that its product contains asbestos, and the company fought to keep using

a testing method that would never have allowed it to be detected.”49

135.     In addition, I have reviewed other documents describing JNJ conducting or learning about

additional findings of naturally occurring mineral silicate fibers of the serpentine and amphibole

series in talc samples.50


48
        https://oversightdemocrats.house.gov/news/press-releases/oversight-subcommittee-s-year-long-investigation-
leads-to-johnson-johnson.
49
        https://oversightdemocrats.house.gov/news/press-releases/oversight-subcommittee-s-year-long-investigation-
leads-to-johnson-johnson.
50
   See, e.g., JNJNL61_000000266 (July 13, 1966 internal Johnson & Johnson memorandum titled “Microscopic
Examination Museum Baby Powder Samples, identifying “tremolite” and “fibrous talc”); JNJAZ55_000004563
(October 10, 1967 internal Johnson & Johnson memorandum reporting microscopic examination of three talc samples
and finding “nonplaty talc” and “serpentine” non-talc particles in all three samples); JNJAZ55_000006090, J&J-15
(July 7, 1971 report from Colorado School of Mines on the “344-L Vermont talc product and the six monthly Vermont
talc product samples, detecting minor amounts (below 1%) of “tremolite and actinolite.”); JNJAZ55_000008893, J&J-
257 (September 3, 1971 finding low percentages of “chrysotile” in Shower to Shower tested by McCrone);
JNJAZ55_000005958, J&J-23 (October 12, 1971 McCrone analysis finding traces of chrysotile in one of the additives
in Shower to Shower); JNJ 000248615, J&J-29 (August 24, 1972 Johnson & Johnson handwritten notes regarding
“Talc/Asbestos Shower to Shower Talc,” detailing Sperry Rand report of asbestos fibers detected in the Shower to
Shower sample previously examined by Dr. Lewin.”); JNJ000260833, J&J-34 (October 27, 1972 McCrone report to
Johnson & Johnson with handwritten “Do not use this Report. Replaced by Another Version,” which deleted references
to specific amount of tremolite detected in talc samples); JNJNL61_000008084, J&J-100 (February 26, 1973 report
from Colorado School of Mines titled “Mineralogical Examination of Five Talc Samples,” finding “slight traces of
tremolite-actinolite minerals,” “a very minor amount of serpentine which may be chrysotile,” and “possible serpentine
fibers.”); JNJMX68_000002666, J&J-65 (April 24, 1974 McCrone report of core samples taken from ore body and
reporting chrysotile asbestos and fibrous tremolite when using transmission electron microscopy); J&J-74 (October
10, 1974 McCrone report of samples from Windsor Materials, finding one sample to “contain fibrous asbestiform
material,” and other samples to contain “chrysotile fibers”); JNJMX68_000012745, J&J-89 (July 1, 1975 McCrone
report to Windsor Materials, finding “these samples do show some amphiboles at an extremely low level,” and “We
kept a running tabulation of the asbestos which we could positively identify . . . In no case did the asbestos content
exceed medium.”); JNJNL61_000064366, J&J-92 (September 9, 1975 Johnson & Johnson memorandum regarding
Dr. Langer’s analysis of talcum powder products, stating “He has identified the products by name and claims that he


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has detected tremolite and anthophyllite in Johnson’s Baby Powder.”); J&J-0150033 (March 31, 1976 Johnson &
Johnson internal memorandum regarding “meeting with Johnson & Johnson personnel and the Mt. Sinai School of
Medicine,” stating, “The Mt. Sinai group indicated that over the weekend the Selikoff group had been studying 6 new
samples of talc and had reported that all of them contained minimal amounts of asbestos.”); J&J-0043753 (November
14, 1978 letter regarding “Reducing the Number of ore Samples Collected for Analysis by McCrone Associates,” and
stating from “Mid-1975 to May 1978 . . . Three samples only contained asbestiform fibers, one in each of these
samples, i.e., 2 amphiboles and 1 chrysotile fiber.”); Ex. J&J-164 (February 9, 1979 report from George Lee’s Group
finding tremolite and actinolite in composite samples); J&J-0085506 (March 4, 1981 Johnson & Johnson internal
memorandum analyzing Guang Dong talc and noting “Classification of the various components in this talc sample is
as follows: . . . Approximately 1% tremolite. (US Health agencies will classify this component under asbestos fiber
definition); Ex. J&J-305 (January 12, 1984 McCrone report analyzing “for asbestos in the talc sample . . . identified
as ‘Talc Powder – Superior Grade EV’ and finding that “Using polarized light microscopy with dispersion staining, it
was determined that the sample contains 2 to 3% by weight tremolite-actinolite. The tremolite-actinolite in the sample
is considered to be asbestos by current government regulations; however it appears to be cleavage fragments of the
massive form rather than true asbestiform.”); Ex. J&J-177 (May 15, 1984 report from Mine Safety and Health
Administration documenting asbestos at a mill used to supply Johnson & Johnson talc); J&J-0145303 (February 26,
1985 “Analytical Request and Report” submitted to Johnson & Johnson identifying sample of 100T lot of cosmetic
grade Chinese talc to be “asbestiforms positive” using “Microscopy.”); J&J-0034630 (August 22, 1985 McCrone
report to Windsor Minerals, Inc. analyzing seven talc samples and finding “The presence of asbestos minerals was
verified by selected area electron diffraction (SAED), energy dispersive x-ray analysis (EDX) and by morphology,”
and reporting “chrysotile asbestos” in 2 of the 7 talc samples); Ex. J&J-182 (April 29, 1986 McCrone report to Windsor
Minerals analyzing “three (3) talc samples for asbestos analysis,” and finding that “Examinations by transmission
electron microscopy resulted in the detection of trace amounts of chrysotile asbestos in the samples.”); Ex. J&J-260
(March 14, 1988 letter to Johnson & Johnson from R.J. Lee analyzing “a talc sample using transmission electron
microscopy to determine the serpentine and amphibole content,” with analysis “confined to the fibrous forms,” and
concluding that “talc sample 879-57 Talc L contains approximately .0024% of chrysotile and .014% of fibrous
tremolite.”); J&J-0145151 (January 17, 1989 “Talc Analysis” of Talc Powder, 200 Mesh Quixia Shan Dong performed
by ES Laboratories, Inc. for Johnson & Johnson’s Baby Powder division using the “CTFA J4-1 Method,” and finding
“0.5%” in “Amphibole Group [‘Tremolite, Actinolite, and Anthophyllite’]” and “1.0%” in “Serpentine Group
[‘Chrysotile’’]”); JNJNL_000006792 (Pier Dep. Ex. 36) (May 23, 1989 letter from RJ Lee Group to Johnson &
Johnson regarding “detailed analytical electron microscopical analysis of [Sample 731-116]” and detecting “two
chrysotile fibers in the area examined (10 grid squares).”); JNJ 000223449 (July 31, 1989 RJ Lee Group letter to
Johnson & Johnson regarding “detailed analytical electron microscopical analysis of [Sample 731-120]” and detecting
“three (3) chrysotile fibers in the area examined (10 grid squares).”); Ex. J&J-202 (March 25, 1992 report titled
“Cyprus Ore Reserves-Arsenic and Tremolite” noting that “serious mineralogical contaminant in the talc ores of
Vermont is the fibrous variety of the amphibole minerals, tremolite and actinolite (hydrous calcium iron-magnesium
silicates) which have been classified as asbestiform minerals by OSHA and EPA.”); Ex. J&J-327 (April 1, 1992 report
titled “Cyprus Ore Reserve Evaluation Preliminary Summary” stating that “Fibrous minerals – tremolite and actinolite
are ubiquitous in several zones of the Vermont mines.”); J&J-0077385 (October 13, 1995 letter from RJ Lee Group to
Johnson & Johnson finding “One tremolite particle” in the Johnson’s Baby Powder sample tested); J&J-0021092
(August 25, 1997 report from State University of New York examining sample of Johnson’s Baby Powder, and finding
“Intermixed with the platy particles were long fibrous particles which had a chemical composition of talc. Several of
the fibers observed were asbestiform in nature with diameters less than 5 micrometers and lengths greater than 10
micrometers. Some curved ‘serpentine’ fibers were found with similar composition.”). See also The Analysis of
Johnson & Johnson’s Historical Product Containers and Imerys’ Historical Railroad Car Samples from the 1960’s to
the Early 2000’s for Amphibole Asbestos, 2nd Supplemental Report of William E. Longo, Ph.D. and Mark W. Rigler,
Ph.D., February 1, 2019 ((providing results from PLM, ATEM and HLS testing of 72 historical talc samples from both
the Italian (from 1960 to 1967) and Vermont talc mines (from the last 1960s, 1970s, 1980s, 1990s, and early 2000s):
57 Johnson & Johnson powder samples (including 34 from Johnson’s Baby Powder, 23 from Johnson and Johnson’s
Shower to Shower containers), and 15 separate cosmetic talc samples from Imerys labeled “Railroad Car,” and finding
that 42 of the 57 historical Johnson & Johnson talc samples (73%) were positive for amphibole asbestos and possessed


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136.     I also reviewed trial testimony of Dr. Hopkins during which he detailed and confirmed

various laboratory tests JNJ received of talc samples containing naturally occurring mineral silicate

fibers of the serpentine and amphibole series.51

137.     I have reviewed multiple JNJ documents describing talc samples in which no naturally

occurring mineral silicate fibers of the serpentine and amphibole series were detected.52 This is not

surprising since, as detailed below, JNJ opposed testing methods that were too sensitive and

implemented methods that had significant limits of detection.53 I also recognize that on subsequent

testing, or retesting or reinterpretation, findings changed.




significant amounts of amphibole asbestos fibers/bundles per gram of talc, and 8 of the 15 Imerys “Railroad Car”
samples (53%) were positive for asbestos); Trial Testimony of Matthew Sanchez, Ph.D. in Ingham, et. al v. Johnson
& Johnson, et. al, Cause No. 1522-CC10417-01, June 27-28, 2018. In an email dated June 2, 2009, sent by Rio Tinto’s
Rhea Kincaid, Product Stewardship, distributed an attachment labeled “May Highlights – Product
Stewardship/Regulatory Affairs.” The document states, “Chinese authorities informed J&J that its internal testing
confirmed asbestos in several talc body powders marketed in China including two products from J&J. However, four
independent Chinese laboratories using similar test method to the Chinese authorities did not find any asbestos. J&J
approached RTM for help on the issue. RTM provided initial support in identifying potential drawback of the test
method used by the Chinese authorities. Chinese authorities invited J&J, the other concerned talc body powder
companies, and the four independent Chinese laboratories whose asbestos test results were negative to discuss and
resolve the test method discrepancies.” IMERYS 309325-28.
51
   See, e.g., Trial Testimony of Dr. John Hopkins in Ingham, et. al v. Johnson & Johnson, et. al, Cause No. 1522-
CC10417-01, April 16, 2019, at pp. 5342-5365, 5371-5373; Trial Testimony of Dr. John Hopkins in Barden v. Brenntag
North America, et. al, MID-L-0932-17AS, July 22, 2019, at pp. 118-119, 193-194 (regarding Dr. Langer’s
confirmation that his team found asbestos in Johnson’s Baby Powder), at pp. 225-226 (regarding Colorado School of
Mines May 1971 findings), at pp. 271-274 (regarding Dr. Langer’s 1970s analysis of talc samples).
52
  See, e.g., Exs. D-0263 to D-0732 (identifying non-detect results from 1990 to 1994); D-0916 to D-1919 (2005); D-
1019, D-1029 (2009); D-1256 to D-1258 (2013); D-1447 to D-1471 (1973 to 1979).
53
   See also JNJMX68_000009139 (December 17, 1974 JNJ letter stating, “We believe it is critical for the C.T.F.A. to
now recommend these methods to the F.D.A. before the art advances to more sophisticated techniques with higher
levels of sensitization.”); J&J-0084545 (February 18, JNJ letter regarding analytical testing methods stating, “I have
also included our test method for the proposed Xray technique which was drawn up by Boots Ltd in conjunction with
Dr. Pooley. We deliberately have not included a concentration technique as we felt it would not be in worldwide
company interests to do this.”); JNJ000242147 (November 24, 1976 Johnson & Johnson letter from William Ashton
to George Lee discussing FDA’s proposal request regarding “Separation of Asbestos in Foods, Drugs and Talc for
Identification and Determination,” recognizing that “As I have pointed out many times, there are many talcs on all
markets which will be hard pressed in supporting purity claims when ultra sophisticated assay separation and isolation
techniques are applied. Chances are that this FDA proposal will open up new problem areas with asbestos and talc
minerals.”); IMERYS446794 (April 4, 2002, email from Julie Pier discussing R.J. Lee’s approach); IMERYS299322
(Pier Dep. Ex. 18) (March 1, 2004 emails between Julie Pier and Rich Zazenski detailing “J&J criteria” for testing
and reporting “no asbestos”).



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138.   I recognize that all laboratory tests have some limitations and can be “explained away.”

The opinions below are based on the totality of evidence JNJ and its affiliates accumulated over

50 years, not on any one laboratory test or set of tests.

139.   In my opinion, based on the totality of evidence, JNJ’s findings and notice of naturally

occurring mineral silicate fibers of the serpentine and amphibole series including, but not limited

to, tremolite fibers, actinolite fibers, anthophyllite fibers, amphibole asbestos, chrysotile

(serpentine asbestos), fibrous talc and non-asbestiform amphibole in talc samples prohibited JNJ

from selling JNJ talcum powder products because they contained poisonous and deleterious

substances, which “may render” the products “injurious to users under the conditions of use

described in the labeling thereof or under such conditions of use as are customary or usual . . . ,”

and were therefore adulterated. 21 U.S.C. § 361 (emphasis added).

140.   In my opinion, based on the totality of evidence, at a minimum, Johnson & Johnson’s

findings and notice of naturally occurring mineral silicate fibers of the serpentine and amphibole

series including, but not limited to, tremolite fibers, actinolite fibers, anthophyllite fibers,

amphibole asbestos, chrysotile (serpentine asbestos), fibrous talc and non-asbestiform amphibole

in talc samples prohibited the company from determining that the safety of Johnson & Johnson

talcum powder products had been substantiated.

V.     THE DEFENDANTS DID NOT SUBSTANTIATE THE SAFETY OF THEIR
       PRODUCT IN LIGHT OF QUESTIONS RAISED BY SCIENTIFIC
       EPIDEMIOLOGICAL STUDIES AND REVIEWS CONCERNING THE SAFETY
       OF TALC

141.     As noted above, according to industry standards, if there is evidence that there are

reasonable grounds to suspect that the cosmetic product may pose harm for the proposed

conditions of use, such products do not meet the industry standards for safety.

142.     Further, as noted above, FDA regulations require that a cosmetic manufacturer has a



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responsibility to substantiate the safety of their product or must warn consumers that the safety of

their product has not been determined.

143.     The safety of a cosmetic, as is the case for other FDA regulated products, needs to be

determined “under such conditions of use that are customary or usual . . .”54 Thus, it is not the
                                                                                          1F




safety of talc that is determinative, rather it is the safety of talc as it is in fact used. Thus safety

needed to be substantiated for talcum powder products that come into contact with the

perineum/genital area.

         A.       FDA’s 2014 Citizen’s Petition Response stated there was some evidence to
                  suspect or question the safety of talcum powder products

144.     In its 2014 response to the 199455 and 2008 Citizen’s Petitions, the FDA stated,

“epidemiologic data [] show a statistically significant but modest increased risk of epithelial

ovarian cancer, especially with serous histology, among women with a history of genital dusting

with talcum powder. While the growing body of evidence to support a possible association

between genital talc exposure and serous ovarian cancer is difficult to dismiss, the evidence is

insufficient for FDA to require as definitive a warning as you are seeking.”56 Steven M. Musser,
                                                                                               1 F




Ph.D., letter to Samuel S. Epstein, April 1, 2014.

145.     The FDA’s response continued, “While there exists no direct proof of talc and ovarian

carcinogenesis, the potential for particulates to migrate from the perineum and vagina to the

peritoneal cavity is indisputable. It is, therefore, plausible that perineal talc (and other

particulate) that reaches the endometrial cavity, Fallopian Tubes, ovaries and peritoneum may



54
   Section 601 of the FD&C Act [21 U.S.C. 361].
55
   As I stated above, based on my recollection, I was not personally and substantially involved in talc matters while
Commissioner. There were certain letters that were addressed to the Commissioner during that time period
concerning talc.
56
   The FDA response reviewed data dating back to at least 1961 and performed an expanded literature search from
2008-2014.


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elicit a foreign body type reaction and inflammatory response that, in some exposed women, may

progress to epithelial cancers.”

146.     While I am a professor of Epidemiology and Biostatistics, I leave it to other experts to

discuss in detail the strengths, weaknesses, and specifics of the scientific evidence. FDA’s

statement that “epidemiological data which show a statistically significant but modest increased

risk of epithelial ovarian cancer, especially with serous histology, among women with a history

of genital dusting with talcum powder,” while not supporting, in FDA’s opinion, the petition’s

request for a “definitive” warning, demonstrates that the safety of talcum powder products was in

question. Schedule 4 provides a summary of epidemiologic studies concerning the association of

talcum powder products and ovarian cancer.

147.     Searches of PubMed for “talc and ovarian cancer” and “body powders and ovarian

cancer” from 01/01/2014-11/09/2023 demonstrates since the FDA response to the citizens petition
                                                                1 F




in 2014 there are ten (10) publications of original data including meta-analyses, clinical studies,

clinical trials, systematic reviews, and observational studies.57

148.      I reviewed the abstracts from these 10 articles. From those, I selected all epidemiological

studies, including cohort studies (1), and meta-analyses (5) relating to talcum powder usage and

the risk of ovarian cancer.58

149.     These epidemiological studies include:

         a.       A meta-analysis published by Berge et al. “resulted in a weak but statistically

                  significant association between genital use of talc and ovarian cancer, which



57
   The searches yielded ten (10) articles and one (1) article respectively. Note that there is no “article type” or
“filter” for pooled study. See below for listing of additional studies that this PubMed search did not identify with the
above search criteria.
58
   The remaining four (4) include: 1) Leemans, et al.; and 2) Frost, et al. that are both related the use of talc with
pleurodesis; 3) Rasmussen, et al., studies the association between pelvic inflammatory disease and ovarian cancer;
and 4) Mundt, et al. is a systematic review that does not have a meta-analysis associated with it.


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           appears to be limited to serous carcinoma.” However, the authors concluded:

           “Several aspects of our results, including the heterogeneity of results between

           case-control and cohort studies, and the lack of a dose-response with duration and

           frequency of use, however, do not support a causal interpretation of the

           association.” Berge 2017.

      b.   Another meta-analysis published by Penninkilampi and Eslick found that “[any]

           perineal talc use was associated with increased risk of ovarian cancer (OR = 1.31;

           95% CI = 1.24, 1.39). More than 3600 lifetime applications (OR = 1.42; 95% CI

           = 1.25, 1.61) were slightly more associated with ovarian cancer than <3600 (OR =

           1.32; 95% CI = 1.15, 1.50). An association with ever use of talc was found in

           case-control studies (OR = 1.35; 95% CI = 1.27, 1.43), but not cohort studies (OR

           = 1.06; 95% CI = 0.90, 1.25). However, cohort studies found an association

           between talc use and invasive serous type ovarian cancer (OR = 1.25; 95% CI =

           1.01, 1.55).” This is the most common type of ovarian epithelial cancer.

           Penninkilampi 2018.

      c.   Regarding a potential mechanism for the observed increased risk, Penninkilampi

           and Eslick state “[t]he mechanism by which perineal talc use may increase the

           risk of ovarian cancer is uncertain. It has been previously proposed that talc, as a

           foreign body, may ascend from the vagina through to the uterine tubes and

           instigate a chronic inflammatory response, which may predispose to the

           development of ovarian cancer. It is argued that cellular injury, oxidative stress,

           and local increase in inflammatory mediators such as cytokines and

           prostaglandins may be mutagenic and hence promote carcinogenesis. If chronic



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                  inflammation due to ascending foreign body is indeed the mechanism by which

                  talc use is associated with increased ovarian cancer risk, then these results fit the

                  picture.” Id.

         d.       Taher, et al. (2019) is a meta-analysis that showed a positive association between

                  a perineal use of talc powder and ovarian cancer was found [OR: 1.28 (95% CI:

                  1.20-1.37)]. A significant risk was noted in Hispanics and Whites, in women

                  applying talc to underwear, in pre-menopausal women and in post-menopausal

                  women receiving hormonal therapy. A negative association was noted with tubal

                  ligation.

         e.       Woolen, et al. (2022) studied women with frequent perineal talcum powder use

                  and finding “[f]requent talcum powder use was associated with an elevated risk of

                  ovarian cancer (adjusted pooled summary odds ratio 1.47 (95% CI 1.31, 1.65,

                  P<0.0001). There was no evidence of bias and low heterogeneity (I2= 24%,

                  P=0.22).”

         f.       Houghton, et al. (2014) is a cohort study59 based on data from the Women's



59
  JNJ’s “Facts About Talc” under “Explore the Science: Studies on Talc and Ovarian Cancer” describes three [or four
depending on whether the Nurses’ Health Study is broken down NHS (Gertig 2000) and NHSII (Gates 2010)]
prospective studies published between 2000 and 2016 that considered an association between the perineal use of talc
and ovarian cancer. (https://www.factsabouttalc.com/studies). These are the Nurse’s Health Study (Gertig, 2000 and
Gates 2010), the Women’s Health Initiative (Houghton 2014) and The Sister Study (Gonzalez 2016). None of these
three cohort studies found a significantly increased overall risk of ovarian cancer.

These studies cited their limitations:

The Nurses’ Health Study authored by Gertig (2000) cites for example: a) “the questions on talcum powder use refer
to ever use and we cannot determine the age at which women began using talc or the duration of use”; b) “our
relatively short follow up period may be inadequate to detect an association if the latency for development of
ovarian cancer is more than 15 years”; c) “although we controlled of tubal ligation history the tubal ligation question
was asked as part of a question on contraception use: therefore, postmenopausal women who were not sexually
active may not have responded to the question”; and d) “[t]he prevalence of talc use in our study is somewhat higher
than that in other studies and may reflect the fact that we asked about frequency of ever use rather than current use.”



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                  Health Initiative. Perineal powder use was assessed at baseline by self-report

                  regarding application to genitals, sanitary napkins, or diaphragms and duration of

                  use.” The authors found, “[e]ver use of perineal powder (hazard ratio [HR]adj =

                  1.06, 95% confidence interval [CI] = 0.87 to 1.28) was not associated with risk of


The Nurses’ Health Study authored by Gates (2010) cites for example: a) “although our analysis included a large
number of epithelial cases, we had a limited number of cases with certain subtypes and there was incomplete data
for a few exposures, in particular talc use and family history of ovarian cancer”; and b) “the incomplete data may
have influenced the observed associations for these exposures”. Of note, the Nurses’ Health Study by Gates only
obtained information about talc use at baseline (“information on frequency of genital talc use was collected in
1982.”).

The Women’s Health Initiative authored by Houghton (2014) cites for example: a) “our analysis includes a lack of
information regarding oophorectomy after baseline, which would result in the inclusion of some women not at risk
for ovarian cancer in the analytical cohort”; b) “we have information on duration of powder use but not frequency”;
c) “those using powder prior to 1976 may have been potentially exposed to asbestos, a known carcinogen”; d) “the
WHI queried general perineal powder use rather than talc powder use and we had no specific information regarding
the content of talc in products used.”

The Sister Study authored by Gonzalez (2016) cites for example: a) “An important limitation of our study is that we
collected douching and talc information on individuals for the year prior to study entry and have not accounted for
the latency of ovarian cancer, which is likely to be long”; and b) “[a]t baseline participants were asked about
douching and talc use during the previous 12 months”. Of note, the Sister Study had a median follow up period of
6.6 years.

Recent meta-analysis that included: a) cohort studies; b) case-control studies; or c) combine cohort and case-control
studies, were done by Penninkilampi (2018), Berge (2018), Taher (2019), Woolen (2022).

In Penninkilampi meta-analysis (2018), for all cohort and case-control studies found “Any perineal talc use was
associated with increased risk of ovarian cancer (OR = 1.31; 95% CI = 1.24, 1.39).” Subgroup analysis: Cohort
studies for all ovarian cancer found an “(OR = 1.06; 95% CI = 0.90, 1.25). However, cohort studies found an
association between talc use and invasive serous type ovarian cancer (OR = 1.25; 95% CI = 1.01, 1.55).”

In Berge meta-analysis (2018), the “main meta-analysis” for the combined cohort and case-controlled studies found
“the summary relative risk (RR) for ever use of genital talc and ovarian cancer was 1.22 [95% confidence interval
CI 1.13-1.30]. The stratified meta-analysis showed a RR for case–control studies was 1.26 (95% CI: 1.17–1.35) and
for cohort studies was 1.02 (95% CI: 0.85–1.20).”

In Taher meta-analysis (2019), for the combined cohort and case-control studies, found “[a] positive association
between perineal use of talc powder and ovarian cancer was found [OR: 1.28 (95% CI: 1.20-1.37)].” Subgroup
analysis: cohort effect was 1.06 (0.90, 1.25).

In Woolen meta-analysis (2022), for the combined cohort and case-control studies, found “[f]requent talcum powder
use was associated with an elevated risk of ovarian cancer (adjusted pooled summary odds ratio 1.47 (95% CI 1.31,
1.65, P<0.0001).”

A recent pooled analysis of the four large cohort studies by O’Brien (2021) found that “the estimated HR for
frequent vs never use was 1.09 (95% CI, 0.97 to 1.23 and for long-term vs never use, the HR was 1.01 (95% CI,
0.82 to 1.25). However, the estimated HR for the association between ever use of powder in the genital area and
ovarian cancer risk among women with a patent reproductive tract was 1.13 (95% CI, 1.01 to 1.26).”


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                ovarian cancer compared with never use. Individually, ever use of powder on the

                genitals (HRadj = 1.12, 95% CI = 0.92 to 1.36), sanitary napkins (HRadj = 0.95,

                95% CI = 0.76 to 1.20), or diaphragms (HRadj = 0.92, 95% CI = 0.68 to 1.23)

                was not associated with risk of ovarian cancer compared with never use, nor were

                there associations with increasing durations of use.”

150.   I am aware of several studies since 2014 that the PubMed search on 11/9/2023 did not

identify. For completeness they are:

       150.1. In a case-control and pooled study from Cramer et al., overall, “genital talc use

was associated [with EOC] with an OR (95% CI) of 1.33 (1.16, 1.52) with a trend for increasing

risk by talc years.” The authors stated that “[t]hese observations provide a framework for talc

carcinogenicity in EOC involving chronic inflammation. Cramer 2016.

       150.2.    Using four case-control studies, Wu et al., examined six “well-accepted” risk

factors for invasive epithelial ovarian cancer, including talc use, among Hispanics, African-

Americans, and non-Hispanic whites. The population attributable risk percentage (PAR%)

estimate was “12.2% to 15.1% for using talc in the three groups.” The combined OR with talc use

was 1.46 (95% CI 1.27-1.69 (Wu 2015).

       150.3.    In a study of African American women from Schildkraut et al., “[g]enital powder

was associated with an increased risk of [epithelial ovarian cancer] EOC (OR = 1.44; 95% CI,

1.11-1.86) and a dose-response relationship was found for duration of use and number of lifetime

applications (P < 0.05).” The authors concluded that “[t]he results support that body powder is a

modifiable risk factor for EOC among AA women.”

       150.4. Regarding mechanism, Schildkraut et al. stated that their results “are consistent

with localized chronic inflammation in the ovary due to particulates that travel through a direct




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transvaginal route. The dose-response observed for duration of genital powder use provides

further evidence for the relationship between genital powder and overall EOC risk.”

       150.5. Davis, et al. (2021) is a meta-analysis using “data from five studies in the

Ovarian Cancer in Women of African Ancestry consortium” and found “[e]ver use of genital

powder was associated with higher odds of ovarian cancer among African-American women [OR

= 1.22; 95% confidence interval (CI) = 0.97-1.53] and White women (OR = 1.36; 95% CI =

1.19-1.57). In African-American women, the positive association with risk was more pronounced

among high-grade serous tumors (OR = 1.31; 95% CI = 1.01-1.71) than with all other histotypes

(OR = 1.05; 95% CI = 0.75-1.47). In White women, a significant association was observed

irrespective of histotype (OR = 1.33; 95% CI = 1.12-1.56 and OR = 1.38; 95% CI = 1.15-1.66,

respectively).” Davis further concluded, “[w]hile genital powder use was more prevalent among

African-American women, the associations between genital powder use and ovarian cancer risk

were similar across race and did not materially vary by histotype.”

       150.6. O’Brien, et al. (2020) is a pooled study using data from the Nurses’ Health Study.

“Ovarian cancer incidence was 61 cases/100 000 person-years among ever users and 55 cases/100

000 person-years among never users (estimated risk difference at age 70 years, 0.09% [95% CI, -

0.02% to 0.19%]; estimated HR, 1.08 [95% CI, 0.99 to 1.17]). The estimated HR for frequent vs

never use was 1.09 (95% CI, 0.97 to 1.23) and for long-term vs never use, the HR was 1.01 (95%

CI, 0.82 to 1.25).” The authors found further that “While the estimated HR for the association

between ever use of powder in the genital area and ovarian cancer risk among women with a patent

reproductive tract was 1.13 (95% CI, 1.01 to 1.26), the P value for interaction comparing women

with vs without patent reproductive tracts was .15.”

       150.7. Gonzalez, et al. reported on data from the Sister Study looking at douching, talc




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use, and risk of ovarian cancer. The authors found, “[t]here was little association between

baseline perineal talc use and subsequent ovarian cancer (HR: 0.73, CI: 0.44, 1.2). Douching was

more common among talc users (odds ratio: 2.1, CI: 2.0, 2.3), and douching at baseline was

associated with increased subsequent risk of ovarian cancer (HR: 1.8, CI: 1.2, 2.8).” The authors

concluded, “[d]ouching but not talc use was associated with increased risk of ovarian cancer in

the Sister Study.”

151.       In my opinion, based on FDA’s analysis to the citizens petitions and the totality of the

medical literature since FDA’s 2014 petition response, there is scientific evidence to suspect or

question the safety of talcum powder products.

           B.       The International Association for Research on Cancer (IARC) concluded
                    that there was evidence of talcum powder’s carcinogenicity.

152.         In 2010, IARC published Monograph 93, which found that “[t]he relative risks for

ovarian cancer among users of body powder (versus non-users) were homogenous across this

relatively diverse set of eight studies, each of which indicated a 30–60% increase in risk . . .

Perineal use of talc-based body powder is possibly carcinogenic to humans (Group 2B).” “IARC

Monographs on the Evaluation of Carcinogenic Risks to Humans: Volume 93,” 2010.4F60 This

monograph specifically addresses the safety of talc not containing asbestiform fibers.

153.         In regard to asbestos, talc containing asbestos, and talc containing asbestiform fibers

(fibrous talc), IARC published Monograph 100c, which found that, “[t]here is sufficient evidence

in humans for the carcinogenicity of all forms of asbestos (chrysotile, crocidolite, amosite,

tremolite, actinolite, and anthophyllite). Asbestos causes mesothelioma and cancer of the lung,

larynx, and ovary . . . There is sufficient evidence in experimental animals for the carcinogenicity




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     IARC looked at data dating from at least 1933.


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of all forms of asbestos (chrysotile, crocidolite, amosite, tremolite, actinolite and anthophyllite).

All forms of asbestos (chrysotile, crocidolite, amosite, tremolite, actinolite and anthophyllite) are

carcinogenic to humans (Group 1).” “IARC Monographs on the Evaluation of Carcinogenic

Risks to Humans: Volume 100c,” 2012. “The conclusions reached in this Monograph about

asbestos and its carcinogenic risks apply to these six types of fibres wherever they are found, and

that includes talc containing asbestiform fibres.”61

         C.       Defendants failed to substantiate the safety of their talcum powder products

 154.     In my opinion, in light of a) the FDA’s 2014 petition response acknowledging that there

 remains some evidence to suspect or question the safety of talcum powder products, b) the

 totality of the medical literature since 2014 that continues to raise safety questions; and c)

 IARC’s classification, defendants failed to substantiate the safety of their talcum powder

 products.

VI.      ALTHOUGH CONTROVERSIES AND COMPLEXITIES EXISTED, JNJ
         DEFENDED ITS PRODUCT DESPITE SIGNIFICANT QUESTIONS
         REGARDING ITS SAFETY AND PUT THE PUBLIC AT RISK

         A.       JNJ recognized iconic nature of their product

155.     On July 22, 2019, JNJ’s corporate representative John Hopkins testified, JNJ’s Baby

Powder had been “sold for over 100 years,” “was a historical product . . . from the 1890’s” and

was referred to as “[JNJ’s] flagship product.”62

156.     An August 4, 1999, Communication with Europe Strategic Planning states, “classic

Johnson's Baby Powder fragrance is the most recognizable fragrance in the world”.                                   JNJ

000559770.


61
   Id. It is my understanding that other experts will discuss the specific aspects of asbestos and talc with asbestiform
fibers (fibrous talc).
62
   Trial Testimony of Dr. John Hopkins in Barden v. Brenntag North America, et. al, MID-L-0932-17AS, July 22,
2019, at pp. 102:10-104:1.


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157.   A June 20, 2003, JNJ email titled “JB Powder w China Talc” references baby powder as a

sacred cow: “My sense is that the Baby Powder is such a ‘Scared Cow’ that we will just leave it

alone.” JNJL4T5 000004485.

158.   A JNJ document dated October 5, 1976, stated that the Market Share based volume in

ounces for Johnson’s Baby Powder was 53.6% and for Shower to Shower was 11.1%. The other

four named products together accounted for approximately 25%. JNJ000300223

159.   On JNJ affiliated website ourstory.jnj.com, the home page displays the title JOHNSON’S

BABY POWDER 1894: “The company’s baby product business was born in 1894 when

JOHNSON’S BABY POWDER hit the market.”

160.   A JNJ document regarding Johnson’s Baby Powder Talc Aspiration states “Baby Powder

represents the cornerstone of our baby products franchise.” JNJNL_61_000009898.

       B.      JNJ was in possession of evidence and/or had concerns regarding asbestos
               and the safety of its product beyond what is discussed above

161.   A letter to H.L. Warner, Office of General Counsel at JNJ on April 12, 1960, from W.E.

Chase at Batelle Memorial Institute, concerns a patent application for “Platy Talc Beneficiation.”

The purpose of the study was to determine if various reagents were “effective in selective flotation

of platy talc” In the chart, Summary of Flotation Experiments with Surface Active Reagents, Float

Results indicated reduction but continued presence of nonplaty talc and tremolite. (D-0182). A

patent was never obtained to reduce the recognized presence of fibrous talc and tremolite.

162.   In a JNJ memo dated March 30, 1973, Tom Shelley, director of JNJ’s Central Research

Laboratories writes to Mr. Warner’s colleagues: “[W]e will want to carefully consider the Pooley

patents re. asbestos in talc. It’s quite possible that we may wish to keep the whole thing confidential

rather than allow it to be published in patent form and thus let the whole world know.”

J&J 0070263; JNJAZ65 000014444.



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163.   Medical literature beginning in the 1960s raised concerns about the presence of fibers in

cosmetic talcum products.

       163.1. Cralley et al. studied 22 talcum products, finding “fiber contents ranging from 8%

to 30% by count of the total particulates with an average of 19%. Although the specific fibrous

materials were not identified, they were predominantly fibrous talc, as shown by X-ray diffraction,

with the probably [sic] presence in minor amounts of other fibrous minerals such as tremolite,

anthophyllite, chrysotile and pyrophyllite.” JNJ000018189.

164.   The following year, in a letter to Dr. G. Hildick-Smith, dated April 9, 1969, W.H. Ashton

discusses the subject, Alternate Domestic Talc Sources:

       164.1. “[We] have to firm up the position the Company should have on the presence of the

mineral Tremolite in talc. Your staff will have to do this for us since the objections to that mineral

have been mainly medical or clinical as opposed to chemical or physical.

       164.2. “The reason we have to firm up our position is that we moved into high gear on

some alternate talc sources and it is normal to find different levels of Tremolite in many U.S. talcs.

       164.3. “Historically, in our Company, Tremolite has been bad because it has needle type

crystals. . . Over the past year or two, the medical literature has made reference to potential hazards

of talcs containing Tremolite and I have seen some articles under the umbra of environmental

health agencies from here and abroad which pinpoint severe objections to that mineral in talcum

powders.” JNJAZ55_000001073-74.

165.   Dr. C. S. Thompson with R. T. Vanderbilt, copying JNJ’s Dr. Hildrick-Smith replies that he

has occasionally received inquiries from various individuals, including General Johnson and

several pediatricians expressing concern over the possibility of the adverse effects on the lungs of

babies or mothers who might inhale any substantial amounts of our talc formulations.”




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       165.1. The possibility of litigation was also discussed: “It might be that someone in the

Law Department should be consulted with regard to the defensibility of our position in the event

that such a situation could ever arise.”

       165.2. Dr. Thompson concluded, “It is my personal feeling that until we have at least

substantial evidence, based on animal work, to the effect that the presence of Tremolite in our talc

does not produce adverse effects, we should not extend its usage beyond an absolute minimum

previously mentioned.” factsabouttalc.com 0144.pdf; JNJL61_000001535.

166.   On April 26, 1973, JNJ’s D.R. Petterson wrote a memo to D.D. Johnston, Subject: Windsor

Minerals and Talc. That memo discusses a number of points of “considerable concern” that were

discussed between JNJ’s D.R. Petterson, Bill Ashton, Roger Miller and Vernon Zeitz. According

to the memo, the points that were covered at that meeting were:

       166.1. “1. It is our joint conclusion that we should not rely on the ‘Clean Mine’ approach

as a protective device for Baby Powder in the current Asbestos or Asbestos-Form controversy. We

believe this mine to be very clean; however, we are also confident that fiber forming or fiber type

minerals could be found. The usefulness of the ‘Clean Mine’ approach for asbestos only is over.

       166.2. “2. It is possible that the technique of identification for asbestos or asbestos-form

materials will be an optical approach. It probably will be some variation of the McCrone method.

This method with appropriate concentrating techniques will permit a good laboratory to identify

asbestos or tremolite in a talc sample.

       166.3. “3. The current medical research is confirming that it is particle shape, not chemical

substance which is harmful as such-fiber-like materials will be suspect. The argument rages as to

whether an aspect ratio of 3/1, 5/1, or 10/1 will be adopted.

       166.4. “4. The problem then is two fold, one for Windsor and one for Baby Powder




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               a. At Windsor the mine is currently under the jurisdiction of the Bureau of Mines.

The inspections of the mine indicate that we are well within the limits presently accepted for non-

fibrous dust. Roger Miller feels that they could live within the current TLV values for fibrous talc

of 5 parts per million. We don’t know the impact of a TLV of 2 fibers per cubic meter.

               The May 8th meeting will primarily be an information meeting on mine and

manufacturing safety. We would not expect standards to be set, however, there will be agitation

probably by OSHA, NIOSH, and the Consumer Group (Selikoff), to lower the standards for the

industrial exposure to the same level as asbestos…

               b. As for Baby Powder, the entire thrust of communications with the FDA has

concentrated on asbestos as harmful fiber-like material. Sophisticated techniques have been

proposed to make sure that fiber-form materials present in the samples were identified as being

asbestos. The implication is that all other fiber-forms, if present, were talc or other minerals and

these were safe. This posture will no longer be satisfactory. If the FDA Food Division, which is

moving more rapidly than the Cosmetic Division, publishes a standard, it will probably be to ban

asbestos-form or fibrous material in talc. That could eliminate the current uses of talc in packaging

materials. These talcs contain widely varying amounts of tremolite or fibrous talc. Our Baby

Powder contains talc fragments classifiable as fiber. Occasionally sub-trace quantities of tremolite

or actinolite are identifiable (Optical Microscope) and these might be classified as asbestos fiber.

       166.5. “5. We have been pursuing several alternatives to better protect our powder

franchise. These include:

               “a. An improvement in the flotation technique to better select platy talc, and perhaps

reduce any tremolite or talc shards. The work is still in the lab and the timetable for




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commercialization is unknown. It is, however, a chemical procedure and therefore would probably

not require major equipment change.

               “b. A program investigating two different ways of removing a large portion of the

very fine particles presently found in talc. We have demonstrated the feasibility of both approaches.

The equipment and process development would take between 9 and 12 months on a crash basis.

Other approaches which might be less expensive or more effective, have only been talked about.

A crash engineering program could be undertaken with a good chance of success in this area. It

should be cautioned, however, that no final product will ever be made which will be totally free

from respirable particles. We are talking about a significant reduction in fine particle count but not

100% clean-up.

               “c. Corn starch is obviously another answer. The product by its very nature does

not contain fibers. Furthermore, it is assimilated by the body.

       166.6. “We would recommend that items ‘a’ and ‘c’ receive top priority. The Corn Starch

program, is primarily one of merchandising and the development of explosion proof facilities. We

would recommend this program be spear-headed by a task force under Jim Dettre.

       166.7. “The flotation program is currently being worked on at Windsor by Vernon Zeitz.

We would propose a task force of Zeitz, Goodman, and Ashton and Rolle, to identify the

opportunities in removing fiber-like materials from the beneficiated talc, with a recommendation

to Management in 30 days.

       166.8. “If we are agreed with the above, then the Battelle program should be restudied to

include cells of animals on a, b, and c. We might wish these to be new cells, or to delete certain

cells now in the program.” JNJ000251888-90.




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       C.      JNJ failed to report to the FDA that laboratory tests found evidence of
               naturally occurring mineral silicate fibers of the serpentine and amphibole
               series. In my opinion, that failure misled the FDA over the last half a century

167.   Dr. John Hopkins, 30(b)(6) corporate representative of Johnson & Johnson, testified over

four days (August 16, 2018, August 17, 2018, October 17, 2018, and November 5, 2018).

       167.1. Over the course of those four days, Dr. Hopkins reviewed numerous laboratory

testing results of JNJ talc. His response was recorded in a chart, with a column made to

document the results as provided in the testing reports. A second column was used to record Dr.

Hopkins’ comments regarding those results. On Dr. Hopkins’ final day of testimony, he went

through each result and responded with whether the results met JNJ’s definition of asbestos.

Hopkins Dep. Vol. III-IV.

       167.2. The samples tested varied from research samples, ore, Shower to Shower, Baby

Powder, medicated powders, talc, processed talc, air samples, core, and plant run samples.

       167.3. According to chart D-1-AA, developed during the deposition, Dr.

Hopkins answered that there were approximately 28 times when Dr. Hopkins

responded that the laboratory findings met JNJ’s definition of asbestos.

       167.4. One of the affirmative responses was for the laboratory results set forth in a report

from Walter C. McCrone Associates, Inc. dated May 8, 1974, titled “Examination of Talc Ores

and Products: Benefication Processes. “In sample 66-AC-Product, the report stated, “Only one

chrysotile fiber was found in this sample; a significant reduction from the level in the ore sample.

Again, no asbestiform amphibole minerals were detected.” JNJ 000326106 (J&J-66).

       167.5. The corresponding ore sample, 66-AC-ore, reported that “Eight chrysotile fibers

were found in this sample, however, their lengths were all less than 1/3 of 1 μm. No asbestiform

amphiboles were observed.” JNJ 000326106 (J&J-66).



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        167.6. In the summary section, this report stated in regards to the 66-AC-Product

chrysotile fiber finding, “At the level of one fiber in a sample it is debatable whether this

represents a true chrysotile level in the sample or whether it represents contamination during

taking or preparation of the sample.” JNJ 000326106 (J&J-66).

        167.7. When asked at his November 5, 2018, deposition whether these findings met

JNJ’s definition of asbestos, Dr. Hopkins stated: “Q. Right. Chrysotile satisfies the [JNJ]

definition of asbestos, correct? A. If chrysotile is present, it would satisfy the definition, correct.”

Hopkins Dep., November 5, 2018, 1238:8-12.

        167.8. Another affirmative response was for the laboratory results set forth in a report

from Walter C. McCrone Associates, Inc. dated September 3, 1971. titled “Preliminary Report on

Examination of Grantham Ore, Medicated Talcum Powder, and Shower to Shower Talcum

Powder.” (J&J 257), Hopkins Dep., 1238:8-12.

        167.9. The report stated, “In the medicated powder, we found one fiber of chrysotile, and

we estimate that this powder contains less than 0.001 % asbestos.” J&J 252, p.2.

        167.10. The report further stated in the “Shower to Shower sample we found several

fibers which do not show the coring typical of' chrysotile. These may be fine fibers of talc or of

Ca(PO 4)2nH20 which also occur as needles. There was one very small fiber which could have

been chrysotile in a field of fine talc flakes. We were unable to obtain a diffraction pattern from

the sample, but we feel strongly that it may be chrysotile. Again, the percentage of chrysotile is

very low, in the range of p. 001-0. 0001%.” J&J 252, p.2.

        167.11. At his October 17, 2018, deposition, Dr. Hopkins testified as follows:

                “Q: Is it the fourth entry. The fourth entry. My bad.

                A. Yes.




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               Q. ‘Fiber of chrysotile.’ Do you see that?

               A. Yes.

               Q. Okay. Under the Johnson & Johnson definition that's behind you, that would

               be asbestos, correct, chrysotile?

               A. Chrysotile fiber would be asbestos, yes.” Hopkins Dep., 1072:1-13.

168.   In a March 17, 2016, letter to the United States Food and Drug Administration, Johnson

& Johnson’s, Vice President of Regulatory Affairs North America, Jethro Ekuta, responded to the

FDA’s February 25, 2016 “Request for Information on Talc.” Ekuta stated: “JJCI talc is also

evaluated for a number of additional impurities…”

       168.1. Table two in the letter lists impurity testing for JJCI body powders, which

included asbestos.

       168.2. On the subject of asbestos, Ekuta specifically states: “No asbestos-form

structures have ever been found during any testing.” [emphasis added] JNJ 000636145, p.12

(PLT-00131).

       168.3. Rather than sharing JNJ’s test results with the FDA, Ekuta cited FDA surveys to

the FDA: “FDA summarized its 2009 exploratory survey of marketed cosmetic grade raw

material talc and finished cosmetic products containing talc, including JJCI products

(Johnson’s® Baby Powder and Shower to Shower® Morning Fresh Absorbent Body Powder).

FDA indicated that no asbestos fibers or structures were found in samples of cosmetic-grade raw

material talc or cosmetic products containing talc including eye shadow, blush, foundation, face

powder, and body powder.” JNJ 000636145, p.6 (PLT-00131).

       168.4. Ekuta references no other results in the letter than FDA results, which FDA

already had.




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       168.5. In my opinion, JNJ’s representation to the FDA in their March 17, 2016, letter that

no asbestos-form structures have ever been found during any testing was false and misleading.

       D.          JNJ defended its products to health agencies by representing that its
                   products were asbestos-free and safe

              i.          JNJ attempted to remove talc from NTP list of carcinogenic
                          substances

169.   In a July 12, 2001, email titled “NTP – A Strategic Proposal,” from Imerys’ Director of

Environment and Safety, Rich Zazenski, Mr. Zazenski states that “[w]ith regard to human data on

‘talc not containing asbestos’ [TNCA], clearly the epidemiology studies linking cosmetic talc and

ovarian cancer have been the most troublesome. While everyone admits the relative risk ratios are

borderline, there are simply too many studies with these low RR’s to be ignored.” Zazenski states:

       169.1. “[A]dmittedly we did not grasp upon the significance of this ‘flaw’ anytime in the

past 10-15 years when these studies were being published.

       169.2. “The NTP draft background document brought to life the uncertainty of the purity

of the ‘cosmetic’ talcs used by the women in these study groups.”

       169.3. “If we can “invalidate” most, if not all, of the published epidemiology studies by

demonstrating that sufficient doubt exists as to the purity of the cosmetic talc used prior to the mid-

1970s, then it is likely that NTP might defer any reconsideration of ‘talc not containing asbestos

(TNCA).’

       169.4. “In order to accomplish this objective, two key technical points are required. One,

the published literature on the quality of cosmetic talcs prior to the 1970’s must be sufficient and

persuasive (in that cosmetic talc may have contained asbestos). Secondly, there must be published

data that authenticates that asbestos is a risk factor for ovarian cancer. I believe we can document

both of these points sufficiently to construct a well-referenced ‘White Paper’ for NTP . . .




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        169.5. “Our ‘White Paper’ can effectively invalidate the only ‘troublesome human data

that NTP has for TNCA. I am going to investigate the literature on crystalline silica and ovarian

cancer to see if this can ‘compound’ the quality dilemma . . . That would mean that cosmetic talcs

(in the past) might have contained two substances that have been declared known human

carcinogens. This type of information would irrefutably invalidate the conclusion of the

epidemiology studies for TNCA.”

        169.6. “Last thought – I recognize the potential dangers in digging up this information –

but were it not for this specific quality issue, we would be preparing now for a very dim future in

the talc business.” IMERYS239757-8.

170.    A January 2, 2002, Luzenac63 document titled “Principal Argument for Adopting Luzenac

America's NTP Strategy” states, “We engaged the council of the Center for Regulatory

Effectiveness (‘CRE’) in November 2000 for the purpose of providing us direct assistance in

developing a business strategy to challenge the NTP talc review. CRE ‘knows’ NTP.

        170.1. “From the beginning, CRE has recommended that we adopt an aggressive

(professional) approach with NTP. Our technical (and legal) arguments have alternated between

Luzenac and CRE letterhead - designed to maximize the intended effect.

        170.2. “CRE believes the request for by Dr. Olden (NTP Director) presents us with an

opportunity to 'proactively' submit a detailed literature research paper that not only directly

addresses the unresolved issues (mineralogy), but also other controversial issues that we anticipate

will (or should) resurface (epidemiology, causation, consistency of results). It affords us the

opportunity to initiate the agenda for discussions with NTP.




63
  Luzenac Group was a wholly owned subsidiary of Rio Tinto from 1988 until August 2011, when it was sold to
Imerys. It was the sole supplier of J&J talc during that time period.


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       170.3. “In November 2000, Luzenac discovered the “fatal flaw” in the NTP report. With

the help of CRE we exploited this issue with NTP which ended in the deferral decision by the NTP

Executive Committee. The public record will reflect that Luzenac America was the only talc-

interested-party who recognized this fatal flaw (and winning strategy).

       170.4. “KEY POINTS . . . I am not at all concerned about angering CTFA or any of its

members who might be customers. With our entire business literally at stake, we have the

‘standing’ to do what we feel is necessary in this battle for survival. As an aside, only [JNJ] and

possibly one other company expressed interest in further funding of the consultants utilized by

CTFA last December.” Pltf_LUZ_00000093-4;LUZ000566-7.

171.   In a presentation by Steve Jarvis, Head of Health, Safety and Environmental matters for

Luzenac American, following NTP’s final review, he stated, “Now realistically . . . there are some

health issues with talc. For nearly 20 years, epidemiologists have been finding a weak, but

persistent statistical link between the hygienic use of talc and ovarian cancer. However . . . . the

studies are weakened by no one being able to offer any feasible ‘causal’ explanations as to how

and why talc would cause ovarian cancer . . . . but not a multitude of other cancers in the human

anatomy.

       171.1. “But now we had only two months to prepare for the third NTP review meeting . .

. a public meeting of the influential Board of Scientific Counselors Subcommittee. This occurred

in December of last year and we achieved a very dramatic turnaround. The BSC subcommittee

voted 7-3 not to list talc. [emphasis in original]

       171.2. “Our successful defense strategy was threefold . . . Secondly . . . and this was our

secret weapon, engage the services of the Washington based Center for Regulatory Effectiveness,

CRE. Since its formation in 1996 by several ex-high ranking officials in the OMB, CRE has grown




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into a nationally recognized . . . and relatively respected . . . regulatory watchdog organization.

Federal agencies frequently come to them for assistance. CRE has also taken NTP to court.

         171.3. “And thirdly, we decided to be aggressive. This was a fight we simply could not

lose. As such, we retained expert legal counsel to ensure we would have a solid foundation for a

legal challenge if necessary . . . it was the same firm which assisted CRE in their court battle with

NTP . . . and we also became very aggressive in our communication with NTP and other federal

agencies. We didn't let the windows of ‘formal comment periods’ become restrictive. We sent e-

mails, faxes, overnight letters, and even telephones calls to key players in this battle . . . right up

until hours before the final Executive Committee meeting. And we believe these strategies paid-

off.

         171.4. “While we certainly would have preferred a total victory - where NTP declared talc

was not a human carcinogen . . . we were relieved to at least get the review process ‘derailed’ for

now . . . at least we have some ‘breathing space’ to prepare a thorough, scientific defense of talc.

         171.5. “One of the issues we plan to focus on is demonstrating to NTP that virtually all of

the epidemiology studies they previously used must be declared invalid for use in assessing talc

‘not containing asbestos.’ This will be an expansion of the ‘Fatal Flaw’ defense Luzenac employed

in the first review on talc. Additionally, we believe the latest epidemiology study which IS valid

with regard to talc quality . . . it’s called the Gertig study64 . . . and which happens to be the largest




64
   Gertig, published in 2000 reported data from the Nurses’ Health Study. Gertig accepted that “[c]osmetic talc may
have been more likely to contain asbestos fibers prior to 1976, before voluntary guidelines were proposed”, citing
Harlowe, a 1992 case-control study Gertig also affirmed the migration of talc into the peritoneal cavity and ovaries,
stating “Talc is able to migrate through the genital tract and gain access to the ovaries because talc fibers have been
detected in benign and malignant ovarian tissue.” Gertig found an increased, but not statistically significant, risk of
all epithelial cancer with ever use of perineal talc (RR 1.09 (0.86-1.37)) and a statistically significant association
with ever talc use and serous ovarian cancer (RR 1.40 (1.02-1.91)), the most common subtype of epithelial ovarian
cancer – accounting for >50%.


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study as well . . . shows no increased risk of ovarian cancer. The significance of this study must

be more heavily weighted than prior studies.

       171.6. “One last point……lest we get complacent……regardless of what happens with

NTP, we also have to keep an eye out for IARC. IARC reviewed talc back in 1986 and concluded

there was insufficient evidence of talc carcinogenicity in humans. We are hoping that this NTP

activity doesn’t stimulate IARC conduct an ‘end-run’ around NTP declare talc a possible human

carcinogen . . . because I think you all know, we do not have the ability to become an active

participant in that relatively ‘closed’ process. Pltf_IMERYS_00044439; IMERYS-A_0021921.

172.   These documents show that talc manufacturers argued to the NTP that talc prior to 1970’s

had asbestos and that was the reason for the increased risk in epidemiologic studies. They imply

that something changed in the manufacturing process that yielded asbestos free talc.

173.   If it was the voluntary adoption of the CTFA testing standard in 1976 that changed, that

supports the notion that the talc mines always contained asbestos, and it was the testing that

improved the quality of the talc.

174.   According to industry reviewers, “In 1976, specifications for cosmetic talc requiring that

no detectable fibrous, asbestos mineral be present were developed. Therefore, this report will only

address the safety of talc that does not contain asbestos. Because the specification was developed

in 1976, that year was used in determining what data are more likely relevant to the safety of

cosmetic talc; therefore, some studies performed prior to 1976 may not be relevant to talc as

currently used in cosmetics, and they might not be included in this assessment.” Fiume 2015.

             ii.       JNJ attempted to preempt IARC’s designation of talc as carcinogenic
                       and didn’t update MSDS based on the IARC designation

175.   IARC found in 1987 that there was sufficient evidence for talc containing asbestiform

fibers to be considered carcinogenic (Group 1 known human carcinogen); the evidence was


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considered insufficient for talc not containing asbestiform fibres (Group 3 not classifiable).

IARC 1987.

176.   In 2006, the Working Group met again to consider the evidence for talc without

asbestiform fibres, considering evidence up until 2006. Although JNJ described the IARC

process as “relatively closed,” JNJ still attempted to influence the process.

177.   In an email discussion with CPCUS (JNJ Consumer Products Division) members

regarding having input into the IARC process dated August 29, 2005, the following was

considered:

       177.1. “It is VERY difficult to have any impact on the IARC, and this has recently

become more difficult by rule changes that make industry input difficult and suspect. CTFA

advised that the best we can do was to ask Dr. John Hopkins to follow a process called “Self-

Nomination.” And offer his name to IARC as a talc expert. I have asked John to do this and he

agreed. I provided John with the proper weblink. We have some hope that [JNJ]’s reputation and

our major commitment to talc might make John a valuable asset to the IARC (maybe?). CTFA

also advised that Dr. Muscat is already involved with another IARC committee. Dr. Muscat and

Huncharek are experts that are working with us on white papers for NTP and whom we respect.

CTFA will ask Dr. Muscat and Huncharek to also self nominate for IARC. We would be happy if

one of these experts was involved in the process.” JNJ000003911.

178.   In an email dated October 17, 2005, titled IARC Talc Review, CTFA sought support for

the cost of Observers near the IARC Working Group meeting from JNJ. A “war room was to be

operated near the IARC facility to serve as a meeting and communication site where Observers

can go research issues.” JNJ 000003915; JNJ000004015.




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179.    Although not a member of the Working Group, Dr. Muscat, a JNJ consultant, attended the

meetings as an observer and confidentially reported back to Luzenac through the law firm

Crowell & Moring. (P334 JNJ000003969). On February 8, 2006, Dr. Muscat relayed the

Working Groups epidemiology discussion including his “introduction into the discussion of the

fact that the talc-diagram studies (supported by JNJ) did not show a relationship; with the

scientific premise that talc-coated diaphragm would be a more plausible and direct route of

exposure than perineal dusting. Evidently, the Working Group was not going to consider, or even

be aware, of the negative talc-diaphragm studies . . . . It is critical that the Support Team provide

scientific reasoning to knock the underpinnings from the Cramer et al. studies. P334

JNJ000003969.

180.    IARC listed talc without asbestiform fibers as a possible carcinogen (Group 2b).

Following the designation, Imerys added the following to its Material Safety Data Sheet (MSDS)

for talc:

        180.1. “IARC (2006 in preparation) Has [sic] concluded that perineal use of talc based

body powder is possibly carcinogenic to humans (Group 2B). This is not a route of exposure

relevant for workers and applies to one specific use of talc only.” IMERYS 049953.

181.    In a January 19, 2005, email Dana Mickel (CPCUS) with the subject “MSDS

Carcinogenic Rating,” stated:

        181.1. “I wanted to bring to your attention that a new field has been added to the Wercs

(the system that is used to generate product MSDS) that identifies carcinogenic or suspected

carcinogenic ingredients. Three of our products for the February launch have been flagged thus

far with this warning. One of the products is Shower to Shower® Shimmer Effects Body

Powder, Project Shimmer has been identified with 41.95% Talc. The other two are Aveeno® Lip




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Relief Medicated Therapy, Project Angelina and Aveeno® Lip Relief Medicated Therapy Stick,

Project Jagger both having Camphor at 1.1%. I do believe that a few other products will be

flagged upon Scott's review later this week as well. The attached spreadsheet will help you

identify where the carcinogenic classification of ingredients is derived from. JNJ 000390337.

           181.2. The email contained two attachments:

                    181.2.1.         “ProjectShimmer.rtf” that stated, “The below component(s) have

been defined as a cancer-suspect agent by a worldwide reputable agency” and lists Talc.

JNJ000390340

                    181.2.2.         “J&JCaringenciList.xls” [sic]65 the following excerpt




JNJ 000390346.

 In a second tab labeled “REG,” TALC is listed as A1 (ACGIH) and 3 (IARC). TALC

(MG3H2(SIO3)4) is listed as A4 (ACGIH) and 3 by IARC. JNJ 000390346.

           181.3. In response, Robert A. Predale stated, “Do NOT send out any MSDS with this

statement on it!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!! I will discuss with Joan, Steve and Paul and get

back to you.” JNJ 000390337.



65
     The email gives the legend as follows:
      “K- 'The below component(s) have been defined as a human carcinogen by a worldwide reputable agency.'
       0 - 'The below component(s) have been defined as a cancer-suspect agent by a worldwide reputable agency.'
      Under review- 'The below component(s) are under review for carcinogenic effects by a worldwide reputable
      agency.'”


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       181.4. On February 2, 2005, Joan Casalvieri responded, “Talc is listed as both ACGIH

A4 and IARC class 3 - again not classified as a human carcinogen. There is another listing for

talc that is class 1 ‘confirmed human carcinogen’ but we suspect this must be the grade that is

known to contain asbestos. Please clarify if you know what this listing is. Cosmetic talc that we

use in our products does not contain asbestos and is not carcinogenic. We are aware that the NTP

is looking at talc as part of the 12th ROC. We are very involved in that exercise and will be on

top of the findings.” JNJ 000390347.

       181.5. She further states, “I would suggest that the Wercs system needs to be modified so

that materials that are not classified are not identified as requiring a warning statement. As

toxicologists we need to be able to make assessment calls on our finished products based on the

intended use. We do a very thorough internal safety assessment on our products and are assured

that they are safe in general and specifically do not contain cancer causing ingredients. The

scientific data and our safety assessment do not warrant that a warning statement be placed on

our products.” JNJ 000390347.

182.   In 2006, IARC upped its classification of talc not containing asbestiform fibers to 2B,

“Possibly carcinogenic to humans.” IARC 2007.

183.   Even after the 2006 classification, JNJ did not add a warning to its MSDS for talcum

powder products.

184.   In a letter dated July 12, 2006, Eric Turner, VP of Health and Sustainability with

Luzenac/Imerys wrote to Mark Ellis, President of Industrial Minerals Association of North

America regarding Luzenac’s decision to forego any further funding of the University of

Vermont talc study (re: “Mossman” study). Turner explained, “When IARC concluded their

review and classified ‘perineal use of talc-based powders’ as a Group 2b carcinogen, we began to




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question the value of proceeding any further with the Mossman study. To put it in the vernacular,

the ‘horse has already left the barn.’ Due to the considerable costs involved and deadlines no

longer a factor, Luzenac (Rio Tinto Minerals) made the business decision that the potential value

of this study was greatly diminished and did not warrant any further pursuit at this time.”

LUZ001443.

        184.1. A deleted sentence stated, “one of their primary arguments is that there are simply

too many positive epidemiology studies published to stem the tide of negative sentiment.”

LUZ001443.

              iii.        JNJ attempted to prevent actions by Health Canada to remove talcum
                          powder products from the market

185.    Following the release of a draft Health Canada report, “Screening Assessment Talc

(Mg3H2(SiO3)4),66” JNJ submitted a briefing document that was critical of Health Canada’s

process and conclusions and defending the absence of asbestos in talc even though Health

Canada made their conclusions based on a non-asbestos containing talcum powder. Johnson’s

Baby Powder: A Comprehensive Review is dated March 17, 2020. JNJTALC001465273.

        185.1. In April 2021, Health Canada published its Final Assessment67 regarding the

health risks of the genital use of talcum powder, in particular, ovarian cancer. Based on the

information provided in the CIR review article (see discussion), Health Canada stated:

“Historically, some talc source materials were contaminated with asbestos. However, in 1976, the

Cosmetic Toiletry and Fragrance Association (CTFA) set purity standards for cosmetic-grade talc

resulting in a reduction in asbestos levels in cosmetic products. (Fiume et al. 2015).



66
   https://www.canada.ca/en/environment-climate-change/services/evaluating-existing-substances/draft-screening-
assessment-talc-mg3h2sio34.html
67
   Screening Assessment Talc (Mg3H2(SiO3)4), Chemical Abstracts Service Registry Number 14807-96-6,
environment and Climate Change, Health Canada, April 2021.


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       185.2. “Cosmetic-grade talc should comply with USP standards that require a limit of

20ppm lead and an absence of asbestos (Fiume et al. 2015) . . . “The cosmetic-grade talc used in

the health effect studies in this assessment were considered to be free of asbestos.” Nonetheless,

Health Canada found: “With regards to perineal exposure, analyses of the available human

studies in the peer-reviewed literature indicate a consistent and statistically significant positive

association between perineal exposure to talc and ovarian cancer. The available data are

indicative of a causal effect.” The human health effects portion of the Assessment underwent

external peer review.

186.   JNJ made the argument in front of Health Canada that talc and asbestos were different.

       186.1. JNJ’s table compares the characteristics of asbestos and talc




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       186.2. JNJ also stated, “[i] n order to distinguish between asbestos and other minerals

and confirm the absence of asbestos in Johnson’s Baby Powder, [JNJ] uses highly advanced,

reliable, and reproducible techniques, including x-ray diffraction, polarized light microscopy, and

transmission electron microscopy. JNJTALC001465273, p. 14.

       186.3. “[JNJ] uses talc that meets or exceeds standards for both cosmetic and

pharmaceutical grade talc. [JNJ] has rigorous testing standards and has never confirmed the

presence of asbestos in Johnsons Baby Powder or any other [JNJ] product containing talc.”

JNJTALC001465273, p. 14.

       186.4. JNJ argued in front of Health Canada “Regarding Potential Ovarian Findings:”

            -   “Proposed conclusions represent a complete reversal from previous scientific

                engagement;

            -   “Perhaps influenced by civil litigation outcomes in the US (not science based);

            -   “More appropriate and comprehensive application of Bradford Hill

                considerations required;

            -   “Explore all likely explanations for epidemiological findings (balanced by

                considerations for mode of action and biological plausibility);

            -   “Appropriate weighting of unpublished, non‐peer reviewed studies (critical

                studies selection) is necessary” P-1206.

       186.5. JNJ further argued “Additional General Considerations”: “Proposed conclusions

regarding ovarian toxicity do not consider the full body of scientific evidence and are at odds

with other bodies of largely the same scientific evidence (US FDA, NCI, CR, etc.). P-1206.

187.   In the late 70’s, Vernon Zeitz, the Director of Research at JNJ’s Windsor Minerals, in a

handwritten letter to his colleagues, including Dr. Hildick-Smith, wrote in frustration after the




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then Department of Health Education and Welfare contacted him about a government study of

Vermont talc workers: “I am also aware that this approach is not the way that [JNJ] does things,

however, most wars are not won at peace talks around the conference table, but are won on the

battle field by legions who are the most ruthless who have the greatest desire to win, along with

possessing the best overall strategy and weapons. If we are to be those legions, it is imperative

we overcome the inertia of our past to modernize and mobilize our defenses and offenses so we

enter into battle with the outcome assured.” WTALC00007366, PX9718, J&J-87.

188.      In my opinion, JNJ decided in the 1970’s to aggressively defend its product. That

strategy kept their product on the market for fifty years but put the public’s health at risk. It need

not have been that way if JNJ was willing to bear any additional cost and reformulate the

product.

189.      In my opinion, a reasonable and prudent company, would have reformulated the product

in the 1970’s.

          E.     JNJ through CTFA created the impression beginning in 1976 that changes in
                 testing resolved the asbestos controversy in talc; yet JNJ claimed its testing
                 never found asbestiform particles

190.      In a 1977 Status Report – Defense of Talc Safety, written by J&J’s George Lee, Mr. Lee

states:

          190.1. “The past two months have seen no disruptive influences and to the contrary, the

cosmetic talcs have enjoyed confirming reassurance from several independent authoritative

sources that they are assessed to be free of hazard for normal consumer use.

          190.2. “We attribute this growing opinion to the fact that (1) the existence of CTFA’s

self-regulating cosmetic grade talc specification has become common knowledge and that (2)

favorable data from the various [JNJ] sponsored studies have been disseminated effectively to



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the scientific and medical communities in the U.K. and U.S.” J&J-0146266-69;

JNJMX68_000013482-85.

191.   In my opinion, the problems with the CTFA testing methodology J4-1 were: 1) it did not

address chrysotile; 2) it had some very significant detection limits because it did not include

transmission electron microscopy; 3) it was not apparently accompanied by any changes in

mining or manufacturing which made the product safer; 4) and it failed to report fibrous talc.

Moreover, the repeated assertion by JNJ that there have never been any positive tests for

asbestiform particles suggests that the CTFA testing methodology J4-1 did not accomplish

anything. To be useful CTFA’s testing methodology would have to detect some positive samples

for asbestiform particles.

192.   JNJ continued to tell the public that its testing methodologies made the product asbestos-

free and that no asbestos-form structures have ever been found during any testing. JNJ

000636145, p. 12 (PLT-00131).

       192.1. A 2013 draft for the Home Page of JNJ’s SafetyandCareCommitment.com

website included a heading with these remarks and edits:

       1. “Talc has over 100 years of safe use in personal care products.

       2. JOHNSON’S talc products are made using Pharmacopeial (USP) grade talc to ensure

           it meets the highest-quality, purity and compliance standards. Our talc-based

           consumer products are have always been (we cannot say “always”) asbestos free, as

           confirmed by regular testing conducted since the 1970s.

       3. We also make JOHNSON’S Baby Powder that contains cornstarch.

JNJTALC000067661(P-83).




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193.    Numerous epidemiologic studies accepted the concept that talcum powder became

asbestos free beginning in 1976, for example:

        193.1. Gertig (2000): “Cosmetic talc may have been more likely to contain asbestos

fibers prior to 1976, before voluntary guidelines were proposed.”

        193.2. Huncharek (2003): “Voluntary guidelines were established by the cosmetic

industry in 1976 to limit the content of asbestiform fibers in commercial talc preparations,

although the magnitude of the risk of ovarian cancer as a result of perineal exposure to talc

remains unclear.”

        193.3. Berge (2017): “Furthermore, talcum powders for domestic use in the USA have

been virtually asbestos free since the 1970s (Rohl et al., 1976).”

        193.4. Schildkraut (2016): “Although particles of asbestos have been found in older

body powder formulations, particularly prior to 1976, more recent body powder formulations no

longer contain asbestos.”

        193.5. Cramer (1982): “Generic ‘talc’ is seldom pure and may be contaminated with

asbestos, particularly in powders formulated prior to 1976.”

194.    Health agencies also accepted the concept that talcum powder became asbestos-free

beginning in 1976:

        194.1. Health Canada stated, “Historically, some talc source materials were

contaminated with asbestos. However, in 1976, the Cosmetic Toiletry and Fragrance

Association (CTFA) set purity standards for cosmetic-grade talc resulting in a reduction of

asbestos levels in cosmetic products.”68




68
  Screening Assessment Talc (Mg3H2(SiO3)4), Chemical Abstracts Service Registry Number 14807-96-6,
environment and Climate Change, Health Canada, April 2021.


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           194.2. The American Cancer Society Website “Talcum Powder and Cancer” states, “[i]n

1976, the Cosmetic, Toiletry, and Fragrances Association (CTFA), the trade association

representing the cosmetic and personal care products industry, issued voluntary guidelines

stating that all talc used in cosmetic products in the United States should be free from detectable

amounts of asbestos according to their standards.”69

195.       In my opinion, the acceptance of JNJ’s concept that changes in testing resolved the

asbestos controversy in talc by researchers and health agencies impeded the resolution of

important safety issues.

           F.      JNJ defended its product by representing that there could be safe levels of
                   asbestos when there was no known threshold

196.       On September 6, 1974, Dr. Nashed of JNJ wrote to Dr. Schaffner at FDA, stating that

“[JNJ] has been cooperating with the Cosmetic, Toiletry and Fragrance Association

Subcommittee on Asbestos in Talc,” copying multiple individuals. JNJNL61_000013575.

           196.1. He further states that: “In an effort to answer the question about the required

degree of sensitivity of the method of assay for asbestos in talc, our statistical group has made an

estimation of a theoretical safe level of asbestos fiber in baby powder utilizing the TLV for

asbestos and the data on dusting of baby powder.” JNJNL61_000013575.

           196.2. He concluded: “Therefore, methods capable of determining less that 1% asbestos

in talc are not necessary to assure the safety of cosmetic talc.” Plaintiff’s Exhibit 2489,

JNJNL61_000013575.

197.       In a memo with letter dated February 13, 1975, on letterhead “Johnson & Johnson Baby

Products Company” reporting on a meeting with CTFA and FDA, CTFA’s Dr. Estrin “indicated




69
     https://www.cancer.org/cancer/risk-prevention/chemicals/talcum-powder-and-cancer.html


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that the purpose of our meeting was to present the analytical methodology which had been

developed by the CTFA Task Force as applicable to cosmetic talcs. Representing the FDA were

Dr. Schaffner, Mr. Eiermann, Dr. Yates, and others. Representing CTFA were Dr. Estrin, Mr.

Sandland, Mr. Lee, and others. Discussions at the meeting included:

       197.1. “When questioned as to FDA efforts and progress in the approach of

‘concentrating asbestos’ to increase the level of sensitivity, Dr. Yates replied in a tone of

frustration that all attempts have met with failure; they had investigated heavy density liquid

separation.

       197.2. “Dr. Yates did not state that efforts would be continued in this direction.

       197.3. “Dr. Schaffner agreed that no one has purported to have seen chrysotile in

cosmetic talc except Professor Lewin.

       197.4. “Dr. Berdick made the point that if chrysotile is not expected to be found in talc,

then the FDA should not propose regulations to cover chrysotile.

       197.5. “Mr. G. Sandland stated that a regulation of 1% asbestos in talc was not only

achievable by thoroughly tested methods., but also gave a safety factor of 48,000 (Silvertson

calculation). Mr. Eiermann bluntly said that the calculation was wrong since the standard of 2

fibers/cc is not a time weighted average.

       197.6. “Before we had a chance for rebuttal Dr. Schaffner said that the Silvertson

calculation was foolish since no mother was going to powder her baby with 1% of a known

carcinogen irregardless of the large safety factor.

       197.7. “Dr. Schaffner emphasized that there is an ultimate and more important need for

talc clinical safety data in order to satisfy the consumerist advocates. The writer assured him that

this would be forthcoming from [JNJ]. Plaintiff’s Exhibit 60; J&J-0089804.




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198.    In trial testimony, John Hopkins confirmed that there is no safe level of asbestos.

        Q: Now on the issue of the safe level [of asbestos] is zero, J&J agrees with that?

        A: Yes.

199.    In a January 16 memo regarding a meeting with FDA Commissioner Schmidt, JNJ’s Dr.

Nashed stated: “Our very preliminary calculation suggests that substantial asbestos can be

allowed safely in a baby powder. J&J-0132008, Plaintiff’s Exhibit 2456.

200.    In my opinion, JNJ defended its product by representing that there could be safe levels of

asbestos when there was no known threshold in the 1970’s and put the public at risk because

there is no known safe level of asbestos.

        G.        JNJ opposed testing methods that would improve the sensitivity of their
                  testing and reduce the number of false negatives

201.    As noted above, JNJ was aware that false negative results would occur with its testing

methodology, in part because these tests were not sensitive enough. In light of the fact that

asbestos was a known carcinogen with no known threshold, in my opinion, a reasonable and

prudent company would attempt to improve the sensitivity of its testing so as not to put the

public at risk.

202.    With regard to its approach to the improving of its laboratory methods, JNJ took the

following actions:

        202.1. In 1973, JNJ’s Dr. Nashed, replying to Mullen’s questions regarding 9-28-72

regulations proposed by FDA, stated, “The proposal will have no impact on our talc since the

method of analysis in the proposal will show that our talc is acceptable. However, if they change

the method, we may have problems.” JNJAZ55_000006212.

        202.2. In a May 16, 1973, letter, JNJ’s Dr. Shelley wrote to colleagues that he was

planning to meet with scientists in England regarding “specs for analyzing talc for asbestos.” The


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scientists there were considering a “method of concentrating the asbestos so as to be able to

analyze by X-ray.” JNJAZ55_000001893.

       202.3. In his letter, Dr. Shelley described the “Pooley Method” which uses “two

techniques for preconcentration of chrysotile and tremolite in talc by x-ray diffraction analysis . .

.” Dr. Shelley further stated, “The limitation of this method is that it may be too sensitive.”

JNJAZ55_000001896.

       202.4. A J&J memo dated November 24, 1976, to Mr. George Lee from W.H. Ashton

discussed “a disturbing proposal request which the FDA has currently made available to

qualified bidders.” The subject was the Separation of Asbestos in Foods, Drugs and Talc for

Identification and Determination. Mr. Ashton expressed his concerns:

               202.4.1.        “I find this proposal more disturbing than other proposals up to

now because it aims at separation and isolation of asbestos from a wide scope of products and

animal tissues. Up to now, our main problems have had to do with identification, whereas, now it

looks like the FDA is getting into separation and isolation methodology which will mean

concentration procedures.

               202.4.2.        “As I have pointed out many times, there are many talcs on all

markets which will be hard pressed in supporting purity claims, when ultra sophisticated assay

separation and isolation techniques are applied. Pltf_JNJ_00031883.

       202.5. A report from the Colorado School of Mines, prepared for JNJ titled “A Procedure

to Examine Talc for the Presence of Chrysotile and Tremolite-Actinolite Fibers” stated:

               202.5.1.        “The purpose of this document is to report the methods used at the

Colorado School of Mines Research Institute for detection of chrysotile and/or tremolite-

actinolite in samples predominantly composed of talc.




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                202.5.2.        “As the impurity level becomes very low (<<1%), it is necessary to

 examine increasingly larger amounts of sample in order to detect the impurity. As a result of the

 requirement to detect the proverbial “needle in a haystack,” we have evolved a procedure which

 preconcentrates the impurities prior to examination.

                202.5.3.        “A procedure to detect the presence of chrysotile and/or tremolite

 fibers in talc is presented. The procedure involves two heavy liquid separations to concentrate

 any chrysotile and tremolite-actinolite which may be present.

                202.5.4.        “The heavy liquid concentrates are examined by optical

 microscopy for the presence of optical size (greater than approximately 2 microns in length)

 fibers of chrysotile and/or tremolite-actinolite. The procedure is capable of detecting fibers

 present at a level of approximately 10 ppm or less. JNJ 000268039.

        202.6. In a February 1975 letter from Sloane to Dr. R. Rohl, Mr. Sloane, in commenting

 on a concentration technique, stated: “We deliberately have not included a concentration

 technique because we felt that it would not be in worldwide company interest to do this.” PX58,

 JNJ000063925, JNJ0069873.

 203.   When there is no known safe level of a carcinogenic substance, having the ability to

 detect the smallest feasible quantities is paramount.

 204.   In my opinion, when dealing with known human carcinogens, safety cannot be

 substantiated in the absence of being able to detect the smallest feasible quantities of those

 carcinogens.

 205.   In my opinion, in the absence of being able to detect the smallest quantities, there can be

 no representation that the baby powder is free of carcinogenic substances.

 206.   Yet, JNJ made repeat representations that their baby powder was asbestos free.




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 207.     Making claims that the product was asbestos free fails to tell the whole story unless the

 limit of detection is explained.

 208.     Non-detection is not equivalent to asbestos-free and can be easily misinterpreted.

 209.     Making claims to the public that Baby Powder contains no asbestos is misleading unless

 its testing methods detect the smallest quantities of asbestos.

 210.     In my opinion, making claims that its product was asbestos free without vigorous efforts

 to improve the sensitivity of the testing methods is concerning.

 211.     In my opinion, making such claims while opposing efforts to improve the sensitivity of

 the testing methods is evidence that JNJ defended its powder while putting the public at risk.

 212.     In my opinion, for more than fifty years JNJ made representations that were misleading

 and not transparent.

 213.     The sampling, detection, and interpretation of asbestos in talc is complex. A

 sophisticated company like JNJ deals with those questions all the time.

 214.     In my opinion, confronted by the laboratory, geological and epidemiological evidence in

 its possession, a reasonable and prudent company would reformulate the product or stop selling

 it.

          H.       JNJ had evidence that existing methods could lead to false negative results or
                   other irregularities that could result in negative test records

 215.     A September 13, 2011, presentation, titled “Fiber Management Overview,” discusses

 “Potential False Negatives.” The slide identifies, “[e]xisiting methods [that] may lead to false

 negative results70 if:


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   Imerys also noted the potential for false positive results: “Existing methods may lead to false positive results if:
 Chlorite is present (interference with serpentine by XRD). Zinc stearate is present in cosmetic (interference with
 amphibole by XRD. XRD is used without microscopy follow-up. Identification by morphology alone without
 PLM/Dispersion staining. Other elongated inorganic phases are present. Platy particles viewed on edge. Presence of
 organic fibers (i.e., bag house fibers).” PLT-04451, p. 14.


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         215.1. “Asbestos is present, but is below XRD detection limit.

         215.2. “Chrysotile is present, but is below resolution limit of PLM.

         215.3. “Product is ground too finely for adequate PLM characterization (not typical for

 personal care products).

         215.4. “TEM underestimates due to exclusion of larger particles.”

         215.5. Imerys continues by discussing, “[false] negative results on questionable ore can

 result in:

         215.6. “Potential worker health problem. [emphasis added]

         215.7. “Potential public health issue.”

         215.8. “Significant litigation potential.”

         215.9. Imerys also stated on a previous slide, “False negative results on questionable ore

 can result in:

                  215.9.1.      “Potential litigation risk.

                  215.9.2.      “Potential unnecessary waste of ore.”

 PLT-04451, p.14-15.

 216.    In my opinion, in light of the fact that JNJ had evidence that (a) its existing methodologies

 could produce false negatives that would fail to identify asbestos particles when they were present,

 and (b) the asbestos was a carcinogen for which there was no known safe exposure, JNJ had a

 responsibility to take all feasible steps to develop either a methodology that reduced the amount

 of false negatives as low as reasonably possible or to stop selling the talc product.

 217.    It also appears that human factors may have contributed, deliberately or not, to the

 reporting of negative test results.




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          217.1. In an email from Luzenac’s Julie Pier to Bruno Ducasse, with the subject “RE:

 Clivage [sic] fragments,” Pier writes, “R.J. Lee has a different approach to the whole thing. They

 believe that if you can find a hint of a diffraction pattern from another mineral while you are

 looking at the amphibole fiber, then you can call the fiber ‘transitional’ and not truly amphibole.

 The analyst told me that when she finds a tremolite fiber, she will tilt the stage until she can see a

 talc diffraction pattern come into view. I am very skeptical of this. There is a lot of scatter of the

 electrons and you can sometimes get interference in the diffraction patterns from adjacent particles,

 especially at a higher title. I have spoken to someone at the USGS about this, and they are also

 skeptical about the R.J. Lee philosophy.”71 IMERYS446794.

          217.2. A May 17, 2001, Confidential Draft of an Interoffice Memo from R. J. Zazenski to

 D. D. Harris with the subject “LNAO Product Certification Program,” under a heading “TEM

 Analysis Protocol,” Zazenski states, “If asbestos fibers are present above the detection limit in

 samples from current mining and production, a second sample will be prepared and re-analyzed.

 If the second analysis fails to confirm the first, the results from the sample will be formally

 recorded as ‘asbestos detected, not confirmed.’ If the second analysis confirms the first, the

 sample will be sent to RJ Lee Group for independent validation. The results of the RJ Lee analysis




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    See also May 16, 2016, letter from George Lincoln at R.J. Lee to Sid Shankar at JNJ responding to an audit. The
 letter states, “In several instances, a CAR or investigation was not opened to document why there was presence of
 chrysotile (white asbestos) in J&J analytical reports.” It also stated, “It indicated that Sample in ID# 3138494 had
 multiple chrysotile particles. Re-preparation could not duplicate the original results . . . As a result, the samples were
 re-analyzed . . .” If further states, “The re-test samples were re-analyzed using specific talc parameters on the XRF
 which should have been applied when the original samples were analyzed. They were not applied because the
 analyst who typically runs the XRF was out of the office and her backup did not apply the talc specific settings . . .
 Corrective Action, CAR-16012-XRD, has been opened in order to document the need for analyst retraining
 according to SOP XRD.019 and XRD.026 in order to provide a standard procedure” JNJ000521616. On June 28,
 2016, letter from George Lincoln at R.J. Lee to Michael Lesh at JNJ, stated, “RJ Lee Group staff acknowledge that
 communication in a formal narrative to the client in terms of re-testing irregular results prior to the issuance of a
 final report was lacking.” JNJTALC001042772. See also PLT-019, IMERYS 308446.


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 will be recorded as the formal, final result for that sample.” (emphasis in original) IMERYS

 039204.

 218.    In my opinion, there is evidence that the opportunity for bias was introduced into the

 asbestos testing programs.

 219.    It appears that it was not uncommon practice for J&J’s testing program to re-test samples

 when a positive test was reported. Re-testing would be appropriate if a pre-testing protocol

 governed such conduct and there were methods to assure that bias would not be introduced into

 the testing process. Re-testing outside of an agreed upon protocol can lead to what is known as

 “testing into compliance.” FDA has said in other contexts, “‘testing into compliance’ is unscientific

 and objectionable.”72

 220.    Certainly, a sophisticated company such as JNJ recognizes the potential for introduction of

 bias in re-testing.

 221.    As late as 2016, JNJ’s selected third party testing laboratories were arguing against using

 a “conservative” approach in talc testing. R.J. Lee’s Drew R. Van Order wrote to Dr. Stephen

 Raven of Johnson and Johnson on March 10, 2016, and stated,

         221.1. “Specification of a conservative aspect ratio (3:1) instead of a value of 20:1 to 100:1

 as is found in global analytical procedures will lead to increased variability in the reported asbestos

 content in the absence of the consideration of morphological criteria (e.g., very thin fibrils

 (generally thinner than 0.5 um) occurring in bundles or masses and often showing curvature). The

 variability results from the inclusion of non-asbestos minerals that are elongated simply due to

 fracture mechanics, not due to the growth of a fiber. These minerals may include the talc itself.”

 JNJTALC000276224-5.


 72
   “Guidance for Industry Investigating Out-of-Specification (OOS) Test Results for Pharmaceutical Production,”
 U.S. Department of Health and Human Services, October 2006, p.8.


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 222.    In my opinion, a reasonable and prudent manufacturer, when confronted with a carcinogen

 for which there is no known human threshold, would adopt procedures that were most protective

 (i.e., “conservative”) of the public health, even at the risk of increased variability.

         222.1. In contrast to the personal care product industry, the methods written for building

 materials have the included implication that a finding that amphiboles are asbestos. (“Existing

 methods written for building materials have the implication that amphibole/serpentine is asbestos.”

 IMERYS 193653.

 223.    In my opinion, while microscopists and geologists have much to add to our scientific

 understanding, the failure of JNJ to adopt a public health approach to asbestos in talc testing, even

 if that led to over-inclusion and false positives, put consumers at risk.

         I.      JNJ failed to recognize and mitigate the potential risks of fibrous talc

 224.    Cralley et al. studied 22 talcum products, finding “fiber contents ranging from 8% to 30%

 by count of the total particulates with an average of 19%. Although the specific fibrous materials

 were not identified, they were predominantly fibrous talc, as shown by X-ray diffraction, with

 the probably [sic] presence in minor amounts of other fibrous minerals such as tremolite,

 anthophyllite, chrysotile and pyrophyllite.” JNJ000018189.

 225.    In the 1973 memo from D.R. Petterson to D.D. Johnston previously discussed relating to

 Windsor Mineral and talc, asbestos fibers and talc fibers were distinguished. The memo stated:

         225.1. “As for Baby Powder, the entire thrust of our communications with the FDA has

 concentrated on asbestos as harmful fiber like material. Sophisticated techniques have been

 proposed to make sure that fiber-form materials present in samples were identified as being

 asbestos. The implication is that all other fiber-forms, if present, were talc or other minerals and

 these were safe.




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           225.2. “This posture will no longer be satisfactory. If the FDA Food Division, which is

 moving more rapidly than the Cosmetic Division, publishes a standard, it will probably be to ban

 asbestos-form fibrous materials in talc.

           225.3. “Our Baby Powder contains talc fragments classifiable as fiber. Occasionally

 sub-trace quantities of tremolite or actinolite are identifiable (optical Microscope) and these

 might be classifiable as asbestos fiber.” JNJ00000294872.

 226.      In an October 11, 1972, letter from Johnson & Johnson to the FDA, W. Nashed writes,

 “In summary, as stated above, talc itself may contain “asbestos-form” particles that are not

 asbestos. There are no specific data of other information showing that talc is carcinogenic.”

 JNJAZ55_00001362.

 227.      As discussed above, FDA and other government scientists have recognized that the health

 risks associated with particles like asbestos extend to elongated mineral particles.

 228.      Furthermore, IARC has categorized talc in fibrous form as a Group 1 carcinogen in the

 same category as asbestos.

 229.      In my opinion, JNJ’s failure to recognize and mitigate the potential risks of fibrous talc

 put the public at risk.

           J.     JNJ implemented laboratory testing methods that had criteria that risked
                  missing positive results of asbestos.

 230.      JNJ adopted a standard test method for “Analysis of Powdered Talc for Asbestiform

 Minerals by Transmission Electron Microscopy” dated March 8, 1989, that set a limit of

 quantifiable detection. Under the heading “Limit of Quantifiable Detection,” J&J’s test method

 stated:

           230.1. “The detection of five or more asbestiform minerals of one variety in an analysis

 constitutes a quantifiable level of detection.” J&J-0007920.


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         230.2. Dr. James R. Millette from Millette Technical Consulting discussed this setting of

 a quantifiable level of detection in the article, stating,

         230.3. “For lack of better statistical information at the time in 1990, the publication

 stated a rule of thumb that the detection of five or more asbestiform minerals of one variety in an

 analysis constituted a quantifiable level of detection. Subsequent method of development in the

 area of TEM analysis for asbestos has shown that the detection of less than five fibers in a

 sample can provide a statistically valid result.” Millette, James R., (2015). Procedure for the

 Analysis of Talc for Asbestos. The Microscope, Vol. 63(1), 11-20, 12.

         230.4. Generally, a detection limit means the minimum concentration of an analyte,

 substance or particles, that can be measured and reported with a certain degree of confidence that

 the analyte, substance or particles is distinguishable from the method blank results. See

 generally, for example, 40 CFR § 136.2.

         230.5. The estimated LOD, according to CDC method 7402, dated May 15 1989, is “1

 confirmed asbestos fiber above 95% of expected mean blank value.” Asbestos by TEM, Method

 7402, NIOSH Manual of Analytical Methods (NMAM), Fourth Edition, 8/15/1994, p.1.

         230.6. According to a 2019 publication of ASTM International by Bertram Price titled

 The Foundation for ASTM D6620 Standard Practice for Asbestos Detection Limit Based on

 Counts and Its Application as a Study Design Parameter stated:

                 230.6.1.        “A detection limit (DL) is often, but erroneously, thought of as a

 quantitative boundary between measurements that are reliably differentiated from background

 and measurements nor differentiable from background.




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                   230.6.2.       “That is not, however, a DL’s function; A DL is the mean value of a

 statistical distribution of measurements that have a high probability of not being confused with

 below detection measurements.”73

           230.7. In my opinion, in dealing with a known carcinogen, the test methods that are

 employed should use a level of detection that does not miss finding asbestos fibers that are

 present in the sample, taking into account the mean background level. The test methods should

 be sensitive enough to protect the public health.

           K.      JNJ’s approach to the asbestos issue in talc was to initiate studies only as
                   required by confrontation

 231.      In a “Strictly Confidential” memo, dated March 3, 1975, with Subject: “Management

 Authorization for Additional Talc Safety Studies,” Dr. Petterson writes:

           231.1. “Our current posture with respect to sponsorship of talc safety studies has been to

 initiate studies only as dictated by confrontation. This philosophy, so far, has allowed us to

 neutralize or hold in check data already generated by investigators who question the safety of

 talc.

           231.2. “The principal advantage for this operating philosophy lies in the fact that we

 minimize the risk of possible self-generation of scientific data which may be politically or

 scientifically embarrassing.

           231.3. “An alternative philosophy . . . would favor a more anticipatory approach. We

 would carry out other reasonable safety studies to continue our contradiction of generated

 negative data and to anticipate questions on safety which will probably be raised.”

 Plaintiff’s Exhibit 2514, JNJNL61_000016437.




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      See generally ASTM D6620.


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 232.    In my opinion JNJ, by adopting the approach to the asbestos issue in talc, which was to

 initiate studies only as required by confrontation, failed to substantiate the safety of its product.

         L.     JNJ created confusion and doubt when the safety of their product was
                brought into question

 233.    Per a November 13, 2000, email between Luzenac’s Rich Zazenski and Erin Turner,

 Luzenac referenced a “Critique” by Dr. Wehner by stating, “I expessed [sic] concern about the

 strident, some might say arrogant, tone of his original essay. That document failed to convince

 (although we do not know if the style contributed to that) so this time I strongly recommend we

 turn it round into a collaborative style that puts the consultants who prepared the draft in the

 firing line, not the NTP and its venerable Counsellors. The aim should be to create a reasonable

 doubt in their minds that they may not be acting on the best of advice from their consultants. It is

 not to curse them for fools in the hope they wiii [sic] agree they are fools and change their minds.

 All the points stay the same just the target of the -- critisism [sic] changes.” IMERYS 239407.

 234.    On January 4, 2001, Luzenac’s Rich Zazenski sends an email to colleague Eric Turner

 reporting on a recent CRE meeting. Strategies for approaching and influencing health agencies

 were discussed:

         234.1. CRE’s Jim Tozzi “recommended that over the coming months, we target specific

 individuals at each of the agencies on the Executive Committee who might be likely be the

 attendees for the talc review. Then we select an issue which we want that particular individual to

 become familiar with before the committee meeting. For example, we target individuals within

 the FDA and the CPSC to focus on the weaknesses of the epidemiologic studies. Then perhaps

 we target individuals at OSHA and NIOSH for pointing out the irrelevance of the NTP animal

 study, etc.




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        234.2. “We dodged a bullet in December based entirely over the definition issue.

 However, I believe that given the issue at hand, the Draft report can be amended to remove the

 ‘fatal flaw assumptions’ by accounting for the ambiguities surrounding the content of body

 powders prior to 1976 in a different context.

        234.3. “Essentially, if the report were to be rewritten to state that the possibility of

 asbestos contamination of cosmetic talc prior to 1976 should simply be accounted for as an

 additional ‘confounding’ factor in the epidemiology studies, a revote for ‘talc not containing

 fibers’ would likely go the other way.

        234.4. The additional confounding factor might simply reduce the relevance of the

 human studies from ‘sufficient’ to ‘limited.’ Limited human studies most certainly result in a

 NTP listing recommendation – regardless of the relevance of the animal study.”

        234.5. Attendee Robert Bernstein responds: “Time to come up with more confusion.”

 IMERYS 303828.

 235.   In my opinion, JNJ’s defensive strategy of creating doubt and confusion failed to resolve

 the safety issues associated with its product.

        M.      JNJ Misled doctors

 236.   JNJ had multiple communications with the medical community. Regarding the perineal

 use of talcum powder and ovarian cancer, one of the most important groups were gynecologic

 oncologists who care for women with ovarian cancer. PLT-09808.

        236.1. For example, in an email exchange in February 2016, the JNJ marketing lead for

 the SGO (Society of Gynecologic Oncology) asked for talking points for the annual SGO

 meeting. The individual was provided with the “talc facts, verbatim, that are posted on

 www.jnj.com.” JNJTALC000250188.



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        236.2. This information on the document included:

        1) “JOHNSON’S talc products do not contain asbestos. . .The talc used in all our global

             production is carefully selected and processed to be asbestos-free, which is confirmed

             by regular testing since the 1970s.

        2) “The safety of talc is based on a long history of safe use and more than 30 years of

             research by independent researchers, scientific review boards and global authorities.

        3) “The grade of talc used in cosmetics is of high purity, comparable to that used for

             pharmaceutical applications and is free from asbestos and asbestiform fibers.

             Cosmetic grade talc is only mined from select deposits from certified locations, and

             milled to relatively large non-respirable particle size (>5µm).

        4) “Our sources for talc undergo comprehensive qualification. The incoming talc is

             routinely evaluated using a sophisticated battery of tests designed to ensure quality,

             safety, and compliance with all global standards.” JNJTALC000250189-90.”

 237.   In my opinion, in light of the totality of evidence in JNJ’s possession regarding scientific

 evidence of the association of talcum powder and ovarian cancer, laboratory testing suggesting

 the presence of particles for which the safety was not established, and the complexities of the

 geologic formation of talc and asbestos, JNJ’s statements to the gynecologic oncologists and the

 medical community more broadly was misleading because they failed to tell the whole story.

        N.      JNJ Described Scientists as “Antagonistic Personalities”

 238.   By December 1972, JNJ had already identified “Antagonistic Personalities In The Talc

 Story in the U.S. A. A memo from Dr. Gavin Hildrick-Smith to colleagues, including Drs. Fuller,

 Nashed, and Petterson, made these statements:




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        238.1. “The increase in the profile of talc as a potential health hazard has been actively

 promoted for a variety of reasons.

        238.2. “The start of the attack on talc originated in England at the Tenovus Research

 Institute in Cardiff where a technician in microscopy published a paper.

        238.3. “In the U.S.A. the leading group who initiated the attack is located in New York

 City and included these scientists: Dr. Sellikoff, Dr. Langer (‘a microscopist who visually

 identifies chrysotile in most samples of talc,’ others in Dr. Sellikoff’s department ‘who have the

 same mental attitude as Dr. Sellikoff’), Dr. Weissler at FDA (‘seems particularly anxious to

 condemn talc’), and Dr. Lewin, Professor of Analytical Chemistry at New York University who

 was used as a consultant by FDA (‘insists on claiming that asbestos is present in talc found to be

 free of asbestos by other authorities’). Plaintiff’s Exhibit 2514, JNJNL61_000016437.

        O.      JNJ continues to mislead the public via their website
                www.factsabouttalc.com

 239.   The current JNJ website “Facts about Talc” states in part:

        239.1. “We continue to use talc in our products because decades of science have

 reaffirmed its safety. Your trust in Johnson’s Baby Products and your confidence using them

 every day is a huge responsibility – that’s why we only use ingredients that are deemed safe to

 use by the latest science. Research, clinical evidence and over 40 years of studies by medical

 experts around the world continue to support the safety of cosmetic talc. Health authorities

 around the world have reviewed the data on talc, and it is used widely across the globe.

        239.2. “Even with talc’s long history of safe use in consumer products, some have

 questioned whether using talcum powder can increase a person’s risk of developing cancer.

 Recently, there have been questions raised as to whether the talc used in consumer products is




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 contaminated with asbestos. The weight of the science does not support any claim that our talc

 products cause cancer.

         239.3. “Thousands of tests repeatedly confirm that our consumer talc products do not

 contain asbestos. Our talc comes from ore sources confirmed to meet our stringent specifications.

 Not only is our talc routinely tested to ensure it does not contain asbestos, our talc has also been

 tested and confirmed to be asbestos-free by a range of independent laboratories and

 universities.”74

 240.    In contrast, FDA’s website about Talc states in part:

         240.1. “Published scientific literature going back to the 1960s has suggested a possible

 association between the use of powders containing talc in the genital area and the incidence of

 ovarian cancer. However, these studies have not conclusively demonstrated such a link, or if such

 a link existed, what risk factors might be involved.

         240.2. “Cosmetics must be properly labeled, and they must be safe for use by consumers

 under labeled or customary conditions of use. The law does not require cosmetic companies to

 share safety information with FDA.

         240.3. “Both talc and asbestos are naturally occurring minerals that may be found in

 close proximity in the earth. Unlike talc, however, asbestos is a known carcinogen when inhaled.

 There is the potential for contamination of talc with asbestos.

         240.4. “In addition, questions about the potential contamination of talc with asbestos

 have been raised since the 1970s.”75

 241.    In my opinion, JNJ continues to mislead the public on its website factsabouttalc.com.


 74
    Johnson & Johnson Consumer Inc., Facts About Talc, https://www.factsabouttalc.com/ (last visited November 13,
 2023).
 75
     U.S. Food & Drug Administration, Talc, https://www.fda.gov/cosmetics/cosmetic-ingredients/talc (last visited
 November 13, 2023).


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        P.      Conclusion

 242.   In my opinion, although controversies and complexities existed, JNJ defended its product

 despite significant questions regarding its safety and put the public at risk.

 VII.   JNJ had an available alternative to talcum powder in cornstarch and had evidence
        of that in the 1970’s

 243.   In a 1964 memo with subject “Cornstarch Development” reported a meeting with JNJ’s

 W. H. Ashton, R.G. Schoel, and others, Dr. Ashton writes:

        243.1. “Mr. Schoel requested we immediately undertake the formulation and

 development of a cornstarch product which is inexpensive and free-flowing.

        243.2. “The product will use our standard perfume, P-5. It will be compounded at a level

 which gives an aroma match to our standard talc article.

        243.3. “The raw material cost of the Staley product is estimated to be 6.7 cents/lb. of

 product plus perfume.”

        243.4. Of the cornstarch products considered, “the Dry Flo has very appealing tone

 because it would open the door to a merchandising advantage which could refer to an all starch

 product, i.e. a blend of it with U.S.P. Cornstarch would have no inorganics.

        243.5. One of the largest commercial uses of Dry Flo was “as a condom lubricant where

 it replaced talc because it was found to be absorbed safely in the vagina whereas, of course, talc

 was not. JNJ 000265536-38.

 244.   A Johnson & Johnson research proposal written by W. Ashton, dated March 5, 1974, and

 titled “TALC ALTERNATIVES” stated:

        244.1. “During the past couple of years our need for a non-talc dusting powder base has

 increased as a direct results of the talc/asbestos controversy. The thrust against talc has centered




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 primarily on biological problems alleged to result from the inhalation of talc and related mineral

 problems.

        244.2. “For defensive reasons, in the event that talc must be removed from the market,

 the development of a product based on ordinary cornstarch (Formula 31) is being finalized.

        244.3. “The product concept is that Formula 31 is divorced from talc allegations since

 cornstarch is a non-mineral. The assumption is that Formula 31 will be non-reactive (i.e.,

 biodegradable) . . .” JNJNL61_000001954-66.

 245.   In JNJ’s Corn Starch Powder Fact Book dated 1976, the research and development of the

 cornstarch baby powder was described:

        245.1. “The first development period which took place between February 1964 to March

 1968 was centered on producing a medicated corn starch baby powder. JNJTALC000866115.

        245.2. It continued, “During the second phase of development which began in July 1971

 and is active presently, the effort was directed at duplicating Johnson’s Baby Powder (talc) with a

 biodegradable powder either as a replacement in even[sic] of a crisis or as an extension product.

 JNJTALC000866116.

        245.3. “The properties of corn starch and other powders did not duplicate those of talc

 but had unique and desired properties of their own. Corn Starch Baby Powder is more absorbent,

 whiter, more flowable, apparently able to retain perfume better than the talc products. It is

 lubricious but has a different texture than talc.” JNJTALC000866116.

        245.4. “Human and animal studies were found to be satisfactory.” JNJTALC000866116.

        245.5. “Johnson’s Corn Starch labeled as such was preferred over Johnson’s Baby

 Powder by 62% to 30%. The Corn Starch powder was preferred for its effectiveness, curative

 and other properties related to corn starch, i.e., absorption.” JNJTALC000866117.




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        245.6. “The data supports the conclusion that cornstarch is less reactive than talc and that

 there was a progressive loss of starch from the tissue with time. This latter observation would

 suggest that the accidental inhalation of cornstarch powder will not result in any chronic harmful

 effects.” JNJTALC000866125.

        245.7. The “Estimated Release Date” is written as “August 1976.” JNJTALC000866104.

 246.   In 1978, the FDA determined that “corn starch is safe and effective for OTC use as a skin

 protectant.” JNJ000348778; Department of Health, Education, and Welfare, Food and Drug

 Administration, Skin Protectant Drug Products for Over-The-Counter Human Use, Conditions

 for Safety, Effectiveness and Labeling; Proposed Rulemaking. August 4, 1978, Part II.

 247.   A July 18, 1977, JNJ review with the subject “JOHNSON’S Baby Powder with

 Cornstarch U/A Analysis” to C.E. LaRosa from Lauren E. Hielle-Tucker states: “In view of

 possible government legislation banning the cosmetic use of talcum powder, the Brand is test

 marketing JOHNSON’S Baby Powder with Corn Starch in Ft. Wayne, Indiana as a possible

 product replacement formula.” JNJ 0002456.

 248.   In 1984, A document titled “Johnson & Johnson Baby Powder: Questions and Answers,”

 was “developed for limited internal distribution in response to the need for clarification of issues

 relating to baby powder and talc.” JNJ 000011150. This document states:

        248.1. “Specifically, its sole purpose at this time is to provide designated company

 spokespersons with answers to questions which could be raised by the press. It is not meant for

 distribution to anyone other than the individuals who will act as company spokespersons as

 necessary.” Three executives are mentioned, including James Utaski, President of JNJ’s Baby

 Products Company. JNJ 000011151.




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        248.2. “Communication objectives are: 1) Johnson & Johnson Baby Powder, used

 properly, is safe. Extensive, scientifically documented evidence supports this claim as does the

 Food and Drug Administration (FDA), and 2) No one knows more about safe, high quality baby

 care than Johnson & Johnson Baby Products Company. To ensure continued confidence in our

 baby powder, we will conduct research as needed to reconfirm the safety of the product.” JNJ

 000011152.

        248.3. Examples of Q&A included:

                “Q: Haven’t they found traces of asbestos in talcum powder?

                A: Not in JOHNSON’S Baby Powder. Since the 1940’s, when the testing

                technology first became available, Johnson & Johnson has regularly tested its talc

                to insure no asbestos contamination. Years ago, before quality controls were in

                place, some talcum powders could have contained asbestiform particles. Since

                1976, however, the FDA has been conducting tests on a regular basis and has

                declared all talc-based baby powders to be free of such particles.

                Q: Why did you introduce a cornstarch product?

                A: While talc provides a moisture repellent barrier on the skin, cornstarch absorbs

                moisture to make skin feel dry. It was found that some consumers preferred it, and

                we wanted to provide them with a superior cosmetic grade cornstarch.

                Q: Isn’t it because it is safer?

                A: Not at all. First, the safety of talcum powder has been continuously re-affirmed

                by Johnson & Johnson, the medical community and by the government. And, we

                are always conducting research to ensure its safety. JNJ 000011156, JNJ

                000011185.




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 249.    In 2000, a review article, published in the American Journal of Obstetrics and

 Gynecology and titled “Perineal application of talc and cornstarch powders: valuation of ovarian

 cancer risk” addressed these issues and concluded:

         249.1. “In contrast to talc, cornstarch contains no asbestos and is capable of being

 removed from the peritoneal cavity, as demonstrated by in vivo studies on granuloma formation.

         249.2. “In view of the chemical nature of cornstarch, an increased risk for ovarian

 cancer as a result of perineal exposure to cornstarch, is biologically implausible. Furthermore,

 epidemiologic studies have found no association between perineal application of exclusively

 cornstarch powders and ovarian cancer.

         249.3. “Consequently, no increased risk for ovarian cancer from the use of perineal

 powder containing cornstarch exclusively is predicted from the review of the available

 literature.” JNJ000018894, Whysner John and Mohan, Melissa. Am J Obstet Gynecol 182(3).

 250.    As noted above, in my opinion, confronted by the laboratory, geological and

 epidemiological evidence in its possession, a reasonable and prudent company would

 reformulate the product or stop selling it. JNJ had evidence in its possession that cornstarch was

 a safe and effective replacement for talc. The failure to switch to cornstarch put the public at

 risk.

 VIII. JNJ BABY POWDER LABEL AND LABELING WAS FALSE AND MISLEADING

         250.1. Over decades, JNJ Baby Powder made claims that it was “clinically and

 scientifically proven,” “mild and gentle,” “pure,” “purest, mildest, gentlest,” and “most

 effective." JNJ 000364540.

 251.    Over time, JNJ’s Baby Powder made the claims that “Johnson’s the Number 1 choice of

 hospitals.” JNJ 000108692.



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 252.     JNJ for decades built an image that it associated with its products “enhancing bond

 between mom and baby” and “most trusted by parents and health care professionals.”

 JNJTALC000733349.

 253.     “That trust” was used within the company as its major asset and “golden egg.” JNJ

 000364540.

 254.     Key to JNJ’s corporate strategy was an image of trust that grew out of the mother and

 child bond.

 255.     A JNJ PowerPoint presentation titled “EQUITY,” prepared by Vice President of Global

 Marketing Marco Cirillo for “Baby Camp,” stated:

          255.1. “Agenda: Why is Baby the corporation’s #1 asset? [JNJ] is a name. [JNJ] is a

 logo. [JNJ] is a brand of products. [JNJ] is a manufacturer of branded products. [JNJ] is a large

 healthcare company. [JNJ] is a parent company. [JNJ] is more than that. It is a complex sum of

 meanings, associations, values and feelings. [JNJ] is deeply linked to baby products.”

          255.2.   A Healthcare Corporate Identity Study by Yankelovich Partners in 1995 showed

 88% of consumers linked Johnson & Johnson to “baby products”.

          255.3. An Emotional Bonding Study, comparing Johnson & Johnson with competitors,

 from 1995 associated Johnson & Johnson (Johnson’s) baby care with trust (72%) and safety

 (75%).

          255.4. “Trust is important for healthcare companies.” According to a Johnson & Johnson

 Corporate Equity Study in 1996, 95% of consumers and healthcare professionals both stated that

 trust is “Extremely/very important”.




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        255.5. From the 1996 Johnson & Johnson Architecture Study, “What is ‘Trust’ in

 healthcare?: Products that will work without any unexpected adverse physical/emotional

 effects.” [emphasis in original]

        255.6. “What is ’Trust’ in healthcare?”: Consumers depend on the company to make

 products that are “effective” and “will not harm”.

        255.7. “Johnson & Johnson has: ‘Deep, Personal Trust.’”

        255.8. A 1996 Johnson & Johnson Architecture Study, “Deep, Personal Trust” based on

 being “safe” (“Won’t hurt me”) and “personal” (“‘Familiar’ intimacy with the Company”).

        255.9. “Johnson & Johnson’s unique trust results in real business gains for the

 company.” The slide gives the following examples of public tendencies: “Consumers: Forgive

 “brand” crisis. Institution: More interested in, willingness to work with, ability to consider ideas

 from. Partners: Predisposition for likeability, credibility and authority.”

        255.10.         “What does the Johnson’s Baby brand stand for?” JNJ lists “Safe,”

 “Mild,” “Pure,” “Gentle,” . . . “Effective,” “Appealing in use,” “Trustworthy,” “Wholesome” . . .

 “Caring” and “Warm.”

        255.11.         JNJ summarizes their presentation by stating: “(1) Baby is the

 corporation’s #1 asset and the mother-infant bond is at its core; (2) Johnson’s baby is 50% heart

 and 50% mind; (3) We MUST protect and enhance the Baby Equity.” JNJTALCC000354984.

 256.   In my opinion the words JNJ used to market its baby powder created an impression that

 the company had substantiated the safety and purity of its product. That was false and

 misleading.




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 IX.         SUMMARY OF OPINIONS76

 In my opinion:

        1. Of all the products that fall under FDA’s jurisdiction, cosmetics are among the least

             regulated. This is reflected in the fact that there is no premarket approval of cosmetic

             products.

        2. A cosmetic manufacturer has a responsibility to substantiate the safety of their product or

             must warn consumers that the safety of their product has not been determined or not sell

             their product.

        3. If a health hazard may be associated with the product, a cosmetic manufacturer must

             include a warning on their product.

        4. The federal regulation of cosmetics is less stringent than the regulation of drugs, medical

             devices, and food additives. FDA’s oversight of cosmetics is also limited by resource

             constraints.

        5. Consistent with FDA regulations and statutes, a cosmetic manufacturer under the

             cosmetic industry standards must assure the safety of their ingredients. It is the

             responsibility of the cosmetic manufacturer to assure that there is reasonable certainty in

             the judgment of competent scientists that the product is safe.

        6. Manufacturers have a responsibility to assure that there is reasonable certainty there is no

             evidence to suspect their cosmetic may pose harm.

        7. If there is evidence that there are reasonable grounds to suspect that the cosmetic product

             may pose harm for the proposed conditions of use, such product does not meet the



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      This list of opinions is not exclusive. For all opinions, please see entire report.



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       industry standards for safety.

    8. Once JNJ had evidence of a) the presence of asbestos because of its known

       carcinogenicity and absence of a threshold dose; or b) the presence of non-asbestiform

       amphiboles or fibrous talc, the safety of their product was not established.

    9. Beginning in the 1970’s, the safety of JNJ’s talcum powder products had not been

       substantiated, consumers were not warned of potential health risks, and there was a

       reasonable basis to believe that such an association between the product and health risks.

    10. Beginning in the 1970’s, because the safety of their product was not established, their

       talcum powder products should not have been sold.

    11. The safety of nonasbestiform amphibole or cleavage fragments was and has not been

       established.

    12. Determination by a laboratory that certain amphibole particles were nonasbestiform in

       nature does not mean the safety of those nonasbestiform amphiboles was substantiated.

    13. The controversies and/or complexities surrounding: 1) the definition of asbestos; 2) what

       was excluded from the definition of asbestos; 3) the geologic relationship between asbestos

       and talc; 4) the inability of laboratory tests to characterize individual amphibole fibers as

       asbestiform or non-asbestiform; 5) whether cleavage fragments of similar dimensions to

       asbestiform fibers pose similar risks; 6) the ability to distinguish between asbestiform and

       cleavage fragments; 7) the limitations of detection by various laboratory measurements; 8)

       epidemiological results; 9) the inability over the decades of FDA to arrive at a definitive

       testing method for asbestos in talc; 10) the significance of talc fibers; and 11) the extent

       and routes of exposure, reinforce the conclusion that the safety of the product had not been

       established.



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    14. Unable to substantiate the safety of their talcum powder products, JNJ was required to

       place the following conspicuous statement on the principal display panel: “Warning-The

       safety of this product has not been determined.” 21 CFR §740.10.

    15. Based on the totality of evidence, JNJ’s findings and notice of naturally occurring mineral

       silicate fibers of the serpentine and amphibole series including, but not limited to, tremolite

       fibers, actinolite fibers, anthophyllite fibers, amphibole asbestos, chrysotile (serpentine

       asbestos), fibrous talc and non-asbestiform amphibole in talc samples prohibited JNJ from

       selling JNJ talcum powder products because they contained poisonous and deleterious

       substances, which “may render” the products “injurious to users under the conditions of

       use described in the labeling thereof or under such conditions of use as are customary or

       usual . . . ,” and were therefore adulterated. 21 U.S.C. §361.

    16. Based on the totality of evidence, at a minimum, Johnson & Johnson’s findings and notice

       of naturally occurring mineral silicate fibers of the serpentine and amphibole series

       including, but not limited to, tremolite fibers, amphibole asbestos, chrysotile (serpentine

       asbestos), fibrous talc and non-asbestiform amphibole in talc samples prohibited the

       company from determining that the safety of Johnson & Johnson talcum powder products

       had been substantiated.

    17. In light of a) the FDA’s 2014 petition response acknowledging that there remains some

       evidence to suspect or question the safety of talcum powder products, b) the totality of

       the medical literature since 2014 that continues to raise safety questions; and c) IARC’s

       classification, defendants failed to substantiate the safety of their talcum powder

       products.




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    18. JNJ decided in the 1970’s to aggressively defend its product. That strategy kept their

       product on the market for fifty years but put the public’s health at risk. It need not have

       been that way if JNJ was willing to bear any additional cost and reformulate the product.

    19. A reasonable and prudent company, would have reformulated the product in the 1970’s.

    20. JNJ through CTFA created the impression beginning in 1976 that changes in testing

       resolved the asbestos controversy in talc.

    21. The problems with the CTFA testing methodology J4-1 were: 1) it did not address

       chrysotile; 2) it had some very significant detection limits because it did not include

       transmission electron microscopy; 3) it was not accompanied by any changes in mining

       or manufacturing which made the product safer; 4) and it failed to report fibrous talc.

       The repeated assertion by JNJ that there have never been any positive tests for

       asbestiform particles indicates that the CTFA testing methodology J4-1 did not

       accomplish anything.

    22. The acceptance of JNJ’s concept that changes in testing resolved the asbestos controversy

       in talc by researchers and health agencies impeded the resolution of important safety

       issues.

    23. JNJ defended its product by representing that there could be safe levels of asbestos when

       there was no known threshold and put the public at risk because there is no known safe

       level of asbestos.

    24. In light of the fact that asbestos was a known carcinogen with no known threshold, a

       reasonable and prudent company would attempt to improve the sensitivity of its testing so

       as not to put the public at risk.




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    25. Making claims that its product was asbestos free without vigorous efforts to improve the

       sensitivity of the testing methods is concerning.

    26. Opposing efforts to improve the sensitivity of the testing methods is evidence that JNJ

       defended its powder while putting the public at risk.

    27. For more than fifty years JNJ made representations that were misleading and not

       transparent.

    28. Confronted by the laboratory, geological and epidemiological evidence in its possession,

       the only prudent and reasonable option was to reformulate the product or stop selling it.

    29. In light of the totality of evidence in JNJ’s possession regarding scientific evidence of the

       association of talcum powder and ovarian cancer, laboratory testing suggesting the

       presence of particles for which the safety was not established, and the complexities of the

       geologic formation of talc and asbestos, JNJ’s statements to the gynecologic oncologists

       and the medical community more broadly were misleading because they failed to tell the

       whole story.

    30. JNJ, by adopting the approach to the asbestos issue in talc, which was to initiate studies

       only as required by confrontation, failed to substantiate the safety of its product.

    31. In light of the fact that JNJ had evidence that (a) its existing methodologies could produce

       false negatives that would fail to identify asbestos particles when they were present, and

       (b) the asbestos was a carcinogen for which there was no known safe exposure, JNJ had a

       responsibility to take all feasible steps to develop either a methodology that reduced the

       amount of false negatives as low as reasonably possible or to stop selling the talc product.

    32. There is evidence that the opportunity for bias was introduced into the asbestos testing

       programs.




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    33. A reasonable and prudent manufacturer, when confronted with a carcinogen for which there

       is no known human threshold, would adopt procedures that were most protective (i.e.

       “conservative”) of the public health, even at the risk of increased variability.

    34. While microscopists and geologists have much to add to our scientific understanding, the

       failure to adopt a public health approach to asbestos in talc testing, even if that led to over-

       inclusion and false positives, put consumers at risk.

    35. In dealing with a known carcinogen, the test methods that are employed should use a level

       of detection that does not miss finding asbestos fibers that are present in the sample, taking

       into account the mean background level. The test methods should be sensitive enough to

       protect the public health.

    36. JNJ’s failure to recognize and mitigate the potential risks of fibrous talc put the public at

       risk.

    37. JNJ’s defensive strategy of creating doubt and confusion failed to resolve the safety

       issues associated with its product.

    38. JNJ continues to mislead the public on its website factsabouttalc.com.

    39. JNJ failed to report to the FDA that laboratory tests found evidence of naturally occurring

       mineral silicate fibers of the serpentine and amphibole series. That failure misled the

       FDA over the last half a century.

    40. JNJ’s representation to the FDA in their March 17, 2016, letter that no asbestos-form

       structures have ever been found during any testing was false and misleading.

    41. Although controversies and complexities existed, JNJ defended its product despite

       significant questions regarding its safety and put the public at risk.




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    42. Confronted by the laboratory, geological and epidemiological evidence in its possession,

       a reasonable and prudent company would reformulate the product or stop selling it. JNJ

       had evidence in its possession that cornstarch was a safe and effective replacement for

       talc. The failure to switch to cornstarch put the public at risk.




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                                              ______________________________________




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            SCHEDULE I: EPIDEMIOLOGICAL LITERATURE TABLE




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   I.      COHORT STUDIES

    AUTHOR             STUDY DESCRIPTION                          FINDINGS                     LIMITATIONS              DISCUSSION AND CONCLUSIONS

Gertig (2000)   Cohort Study (Nurses’ Health Study         2000 (1st Report):           OVERALL                         2000:
                “NHS”)                                     •Ever Talc Use – R.R.        The questions on talcum         Prospective Study
Gates (2008)                                               1.09 (0.86 – 1.37)           powder use referred to ever     No overall association between “ever
                Study of 121,700 registered nurses         •Invasive Serous             use and cannot determine the    use” of talcum powder and total risk
Gates (2010)    between ages 30-55 years from across       Ovarian Cancer – R.R.        age at which women began        for ovarian cancer (R.R. 1.09; 95% CI
                US. Talc use determined by self-           1.40 (1.02 – 1.91)           using talc or the duration.     .86 – 1.37)
                administered 1982 questionnaire.                                                                        40% Increased risk for serous invasive
                Asked women if they had ever               Gates 2008 Follow-up         Relatively short follow-up.     cancer with any (ever) history of talc
                commonly used talcum, baby powder,         (2nd):                       Tubal ligation questions        use which comprises the majority of
                or deodorizing powder on their             •Epithelial OC = 1.36        asked as part of                ovarian cancer (R.R. 1.40; 95% CI
                perineal. Possible responses were: no,     (1.14 – 1.63)                contraception.                  1.02 -1.9)
                daily, 1-6 times per week, or <             •Serous OC = 1.60 (1.26                                     Risk stratified by histologic sub-type
                1/week. Also asked if they had applied     – 2.02)                      2010 (2nd Follow-up)            There was no apparent dose response,
                products to sanitary napkins. “Ever                                     • Extended the follow up        although lacked information on
                talc use” classified as ever talc use on   Gates 2010 Follow-up         through 2006 but no updated     duration of use.
                either perineal area or sanitary           (3rd):                       use or exposure data
                napkins. Every two years, participants     •Results not statistically                                   2008:
                reported health updates; no updates on     significant for talc                                         •Regular talc use was associated with
                talc use were included, but self-          exposure                                                     increased ovarian cancer risk in the
                reported cases of ovarian cancer were      •All epithelial = 1.06                                       combined study population (RR, 1.36;
                adjudicated through medical record         (0.89 – 1.28)                                                95% CI, 1.14-1.63; Ptrend < 0.001).
                reviews. Exclusions for incomplete         •Serous = 1.06 (0.84 –                                       may have a higher risk of ovarian
                questionnaires on talc, if reported both   1.35)                                                        cancer associated with genital talc use.
                ovaries removed, if reported a
                hysterectomy but did not report                                                                         These results provided additional
                whether at least one ovary remaining,                                                                   support for a main effect of genital
                or history of radiation therapy.                                                                        talc exposure on risk of epithelial
                                                                                                                        ovarian cancer. The presence of a
                Three publications resulted from this                                                                   significant trend between frequency of
                study.                                                                                                  talc use and risk of total and serous
                                                                                                                        invasive ovarian cancer in the NECC
                The first, published in 2000, included                                                                  and pooled analysis further
                78,630 women, of whom 307 cases of                                                                      strengthens the evidence for an
                ovarian cancer were diagnosed. Ever                                                                     association, as most previous studies
                                                                                                                        have not observed a dose-response



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AUTHOR            STUDY DESCRIPTION                FINDINGS           LIMITATIONS       DISCUSSION AND CONCLUSIONS

         use of talc was reported by 40.4% of                                           with increasing frequency or duration
         the cohort; 14.5% ever used talc daily.                                        of talc use.
                                                                                        Inflammatory response in vivo
         The second report from the Nurses'
         Health Study was in 2008. This was a                                           In vitro study where cells undergo cell
         pooled analysis post-NHS: 2 phases                                             proliferation, neoplastic
         (1992-1997; 1998-2003). Results from                                           transformation and cellular generation
         the Nurses’ Health Study were                                                  of reactive oxygen species increasing
         combined with other cases and                                                  with increased exposure to talc.
         controls from case-control studies.
         Study updated talc analysis from                                               Although no prior studies have
         NHS, including 8 additional years of                                           examined gene-talc interactions, the
         follow-up. Analysis included 1,175                                             indication of a possible
         cases and 1,202 controls from a New                                            immune-related mechanism between
         England-based case-control study and                                           talc and ovarian carcinogenesis and
         210 cases and 600 controls from the                                            the evidence for gene-asbestos
         prospective Nurses’ Health                                                     interactions suggest that genes
                                                                                        involved in detoxification and
         Study.                                                                         inflammatory pathways could be
                                                                                        important in the response to talc.
         Additional support for the presence of
         a significant trend between the                                                2010
         frequency of talc use and risk of total                                        The incomplete data for a few
         and serous ovarian cancer                                                      exposures, in particular talc use
                                                                                        and family history of ovarian cancer,
         The third Nurses’ Health Study report                                          also are weaknesses because the
         was published in 2010. This analysis                                           limited data may have influenced the
         included women from two separate                                               observed associations for these
         cohorts; the exact numbers of women                                            exposures. The association with talc
         and cases with exposure data                                                   use in our analysis differed from the
         regarding talc was not specified.                                              association in a previous
                                                                                        analysis of the NHS cohort (34),
                                                                                        possibly because of a greater
                                                                                        degree of exposure misclassification
                                                                                        over 24 years of followup. However,
                                                                                        the suggestive positive association
                                                                                        with the mucinous subtype may reflect
                                                                                        a longer latency period between talc


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    AUTHOR              STUDY DESCRIPTION                       FINDINGS                     LIMITATIONS                DISCUSSION AND CONCLUSIONS

                                                                                                                        exposure and development of
                                                                                                                        mucinous tumors.
                                                                                                                        Finally, the use of a single summary
                                                                                                                        measure for certain exposures, such as
                                                                                                                        physical activity, also may have
                                                                                                                        limited our ability to detect an
                                                                                                                        association.
                                                                                                                        Associations differ by subtype.
Houghton (2014)   Cohort Study (Women’s Health            • Use of genital powders    Asked about duration of use       Ever perineal powder use was not
                  Initiative)                             for >20 years resulted in   only. The study may have          associated with ovarian cancer risk,
                                                          a RR 1.06, 95% CI           been comparing long-term          nor was it associated with ovarian
                  • Enrolled 93,676 women between         (0.87-1.28)                 infrequent users with short       cancer when assess by area of
                  1993-1998                               • Risk of serous invasive   term frequent users.              application, duration of use, or ovarian
                  • 61,576 post-menopausal participants   cancer was increased by     Lack of information               cancer subtype.
                  in the study cohort                     a non-statistically         regarding oophorectomy after
                                                          significant 13% (hazard     baseline
                  • 429 total ovarian cancer cases        ratio 1.13, 95% CI 0.84 -   Non-differential
                  • Average age at time completed         1.51).                      misclassification (need to
                  questionnaire of talc use 62-63.3                                   recall past use and duration);
                  • Follow up for disease ascertainment                               leading to a bias toward the
                  was a mean of 12.4 years                                            null
                  • Included post-menopausal women                                    Information on use was not
                  between 50 & 79                                                     collected after baseline.
                  • Talc use assessed at baseline with                                Assumed women remained in
                  self-reporting questionnaires                                       same exposure group for 12
                                                                                      years
                                                                                      Information of powder use
                                                                                      not collected after baseline
                                                                                      Short follow-up period (12.4
                                                                                      years)
                                                                                      Obtained information on
                                                                                      duration of use via
                                                                                      interviews, but unknown
                                                                                      during which years powder
                                                                                      used (i.e. application on
                                                                                      genital area, sanitary napkins
                                                                                      and diaphragm)



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    AUTHOR              STUDY DESCRIPTION                        FINDINGS                    LIMITATIONS                DISCUSSION AND CONCLUSIONS

                                                                                      Queried general powder use
                                                                                      rather than talc powder and
                                                                                      had no specific information
                                                                                      regarding the content of talc
                                                                                      in products used.


Gonzalez (2016)   Cohort Study (Sister Study)             •Talc - H.R. 0.73 (0.44 –   Not specifically a talc or        Douching, not talc use, associated
                                                          1.2)                        ovarian cancer study.             with increased risk of ovarian cancer
                  The Sister Study, launched in 2003,     •Douching – O.R. 2.1        Baseline questionnaire
                  enrolled 50,884 women who had a         (2.0 – 2.3)                 inquired of douching and talc
                  sister diagnosed with breast cancer                                 use during the previous 12
                   Participants included 154 exposed                                  months of study initiation
                  cases with ovarian cancer who did not                               Questionnaire did not inquire
                  have diagnosis of breast cancer but                                 about lifetime exposures
                  sister had breast cancer                                            37% of cases had no medical
                  Enrollees were ages 35-74 years                                     records 84% white women;
                  At baseline, participants asked about                               56% post-menopausal
                  talc and douching use during the                                    Short follow-up 6.6 years
                  previous 12 months                                                  Reported prevalence of talc
                  52% menopausal                                                      use was 14%.



  II.     CASE CONTROL STUDIES

    AUTHOR         STUDY DESCRIPTION                       FINDINGS                   REPORTED LIMITATIONS              AUTHORS’ DISCUSSION AND
                                                                                                                        CONCLUSIONS
Cramer (1982)     Case Control Study.           Adjusted for parity and menopausal    Potential biases include that     The argument linking talc and
                  Population based.             status, any perineal talc exposure    menstrual characteristics may     ovarian cancer includes four
                  Evaluated 215 women with      reported a relative risk of 1.92      differ between women with         elements: the chemical relationship
                  epithelial ovarian cancer     (1.27-2.89) for epithelial ovarian    ovarian cancer and controls.      between talc and asbestos, asbestos
                  and 215 age-matched           cancer. Women who had regularly       Further since talc into the       as a cause of pleural and peritoneal
                  control from greater          engaged in both perineal use and on   pelvic cavity is prevented by     mesotheliomas, the possible relation
                  Boston, MA area. Talc         sanitary napkins had an adjusted      hysterectomy or tubal             between epithelial ovarian cancers
                  exposure was determined       relative risk of 3.28 (1.68-6.42)     ligation inclusion of subjects    and mesotheliomas, and the
                  by questionnaire regarding    compared to women with neither        with pelvic surgery may
                  “regular” talc use on the     exposure.                             obviate any association


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                    perineum and/or on                                                      between talc and ovarian           ability of talc to enter the pelvic
                    sanitary napkins. 42.8% of                                              cancer. Other confounders          cavity. The mineral talc is a specific
                    ovarian cancer patients                                                 include potential for selection    hydrous magnesium silicate
                    reported regular use of talc                                            bias. Etiology may derive          chemically related to several
                    (prior to developing                                                    from asbestos content of talc      asbestos group minerals and
                    ovarian cancer) compared                                                or uniqueness of the ovary         occurring in nature with them.
                    to 28.4% of controls.                                                   which make it susceptible to       Generic “talc” is seldom pure and
                                                                                            carcinogenesis from both talc      may be contaminated with asbestos,
                                                                                            and other particulates. Recall
                                                                                                                               particularly in powders formulated
                                                                                            bias is also a potential
                                                                                                                               prior to 1976.
                                                                                            limitation.
                                                                                                                               This study provides some support for
                                                                                                                               an association between talc and
                                                                                                                               ovarian cancer hypothesized because
                                                                                                                               of the similarity of ovarian cancer to
                                                                                                                               mesotheliomas and the chemical
                                                                                                                               relation of talc to asbestos, a known
                                                                                                                               cause of mesotheliomas.
Hartge (1983)       Case Control Study.            The authors reported that women          The analysis was based on          Data indicate no overall association
(Letter to the      Hospital based.                who reported any talc use (body          only 7 cases and 3 controls.       between all talc use and risk of
Editor)             Evaluated 135 women with       powder or diaphragm) had an              Chance, bias in selection or       ovarian cancer. Although a small
                    epithelial ovarian cancer      estimated relative risk of 0.7 (0.4-     observation, or confounding        group of women who specifically
                    and 171 controls from the      1.1), while use on their genitals had    may have influenced these          reported genital use of body talcum
                    Washington, DC area. Talc      an estimated relative risk of 2.5        estimates. Further, patients       powders showed an excess relative
                    exposure was ascertained       (0.70-10.0) compared with never          with ovarian cancer may            risk, use of talc on a diaphragm, which
                    via questionnaire, but the     users.                                   have or perceived a greater        would be closest to the ovaries, did
                    authors did not provide                                                 need for using body powder         not seem to elevate risk.
                    detail as to questions                                                  in the genital area for reasons
                    asked.                                                                  related to their ovarian cancer
                                                                                            or life style.
Whittemore (1988)   Case Control Study.            Women who reported using talcum          The study results should be        The data show a trend of increasing
                    Hospital based.                powder to the perineum showed a          interpreted cautiously based       risk with increasing frequency of
                    Evaluation included 188        relative risk of 1.45 (0.81-2.60). Use   on the studies’ failure to         perineal talc exposure, but the trend
                    ovarian cancer cases and       on sanitary pad was associated with      interview all eligible             was not statistically significant. Thus,
                    539 controls in the San        a non-statistically significant 38%      controls, potential pitfalls in    while these data do not exonerate talc
                    Francisco, CA area.            reduce risk and use on diaphragms        combining two studies and          as an ovarian carcinogen, neither do
                    Exposure to talc was           was associated with a non-               the two control groups in the      they provide strong evidence to
                    determined through             statistically significant 50%            second study. The is also the      implicate it.
                    structured personal            increased risk. The relative risk for    possibility of confounding by
                    interviews and documented      ovarian cancer increased with            unmeasured variables.
                    type of use including,         increasing applications of talc per


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                perineum, sanitary pads,      month; relative to nonusers, the
                diaphragm or some             relative risk for 1-20 times per
                combination of these uses.    month was 1.27, and the relative
                Duration of talc use was      risk for 20 or more times per month
                also ascertained.             was 1.45. None of these values was
                                              statistically significant. The
                                              increased relative risk was apparent
                                              for women who had never had tubal
                                              ligation or hysterectomy, but not for
                                              women who had had one of these
                                              procedures. Compared with non-
                                              users, women with 1-9 years of use
                                              had a relative risk of 1.6 (1.00-
                                              2.57), but women with greater years
                                              of use had only a relative risk of
                                              1.11 (0.74-1.65).
Booth (1989)    Case Control Study.           The authors reported women who          As the design is case control     The evidence linking talc with ovarian
                Hospital based.               used talc in the genital area had the   there may have been some          cancer is controversial. In this study,
                Evaluated 235 cases with      following relative risk for ovarian     misclassification of controls.    women who reported talc use in the
                ovarian cancer and 451        cancer based on the frequency of        The women were not asked          genital area more than once a week or
                controls in the UK. A         exposure:                               how long they had been            daily had higher risks of ovarian
                questionnaire ascertained     Rarely use: 0.9 (0.3-2.4)               using talc (duration).            cancer than women who used talc less
                the frequency of exposure     Monthly: 0.7 (0.3-1.8)                                                    frequently. The women were not
                to talc in the genital area   Weekly: 2.0 (1.3-3.4)                                                     asked how long they used talc. It is
                (never, rarely, monthly,      Daily: 1.3 (0.8-1.9)                                                      possible that because of their
                weekly, daily).                                                                                         symptoms talc use by the cases may
                                              Cases and controls did not differ by                                      not have reflected their frequency of
                                              percentage who kept diaphragms in                                         past use. Since these and other results
                                              talc.                                                                     (Cramer 1982; Hartge 1983) are
                                                                                                                        insufficient to reject an association,
                                                                                                                        further work is need on the relation
                                                                                                                        between genital use of talc and
                                                                                                                        ovarian cancer.
Harlow (1989)   Case Control Study.           Women who used deodorizing              The elevated risk among           Given the clues provided by this study
                Population based.             powders had a relative risk of 2.8      women who specifically used       regarding the possible importance of
                Evaluated 116 women with      (1.1-11.7) for borderline ovarian       deodorizing powders could         deodorizing powders, it would be
                serous or mucinous            tumors, while any perineal exposure     have been due to chance or        advisable for future studies to elicit
                borderline ovarian cancer     to powder showed a relative risk of     applicable only to borderline,    information on brand name of talc-
                identified through a          1.1 (0.7-2.1)                           not malignant ovarian             containing powders and the timing
                Western Washington                                                    tumors.                           and duration of such use. Although



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                  population-based cancer       No data were presented regarding                                         these data need replication, they raise
                  registry, as well a           frequency or duration of                                                 the possibility that the risk of ovarian
                  population-based sample of    talc/powder use.                                                         tumors in women who apply
                  158 control women. The                                                                                 deodorizing powder to the perineum
                  study used an open-ended                                                                               may not relate to talc per se but rather
                  question asking women to                                                                               to asbestos contamination and/or a
                  specify the types of powder                                                                            substance or substance used
                  they used for perineal                                                                                 specifically for deodorization.
                  application after bathing,                                                                             An association between talc use and
                  on sanitary napkins, and                                                                               ovarian neoplasms seems biologically
                  for diaphragm storage.                                                                                 plausible, since particulates
                  Powder was categorized as                                                                              contaminating the vaginal area may
                  baby powder, deodorizing                                                                               migrate into the pelvic cavity and
                  powder, other/unspecified                                                                              since particles of talc have been
                  talcum/dusting powders or                                                                              observed within ovarian tissue.
                  as cornstarch.
Chen (1992)       Case Control Study.           Seven cases and 5 controls reported    Given the nature of the           Similar to previous studies, a threefold
                  Population based.             using “dusting powder” to the lower    cancer registry in China,         increased risk was associated with
                  Interviewed 112 women         abdomen and perineum for 3 or          some of the ovarian cancer        perineal talc exposure. It is interesting
                  with ovarian cancer and       more months. After adjusting for       patients may not have been        that that similar results are obtained
                  224 community controls in     education and parity, the users of     ascertained for study. Also,      from quite different parts of the world.
                  Beijing, China. A             “talc-containing” dusting powder       potentially damaging were
                  questionnaire was             showed a relative risk of 3.9 (0.9-    the high rate of loss due to
                  developed to obtain           10.6).                                 deaths. A third limitation was
                  histories and data was                                               the exclusion of controls with
                  collected via face-to-face                                           current health problems. The
                  interviews. No information                                           small number of subjects of
                  was provided about how                                               exposed to talc is another
                  women were asked about                                               limitation.
                  talc-containing dusting
                  powder product use prior
                  to 3 years before diagnosis
                  (for cases) and a
                  comparable date in
                  controls.
Harlow & Cramer   Case Control Study.           Perineal talc use was associated       Authors stated that this study    Because the overall association
(1992)            Population based.             with an odds ratio for epithelial      failed to answer a key issue      between genital use of talc and
                  Interviewed 235 white         ovarian cancer of 1.5 (1.0-2.1)        in talc-ovarian cancer            ovarian cancer remains weak, it is
                  women diagnosed with          when adjusted for parity, education,   association: whether the risk     unlikely that this exposure-disease
                  ovarian cancer in the         marital status, religion, use of       pertains to all cosmetic talc     pathway is the principal one involved



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                    Boston, MA metropolitan        sanitary napkins, douching, age,        or only to certain                  in ovarian cancer etiology. The
                    area. Tumors were              and weight. Direct perineal             preparations likely to be           authors concluded that they calculate
                    confirmed through an           application showed an odds ratio of     contaminated with asbestos.         that by applying these odds ratios to
                    independent pathology          1.7 (1.1-2.7). Use of talc on a daily                                       the exposure rate among cases, the
                    review. Talc exposure was      basis increased the odds ratio for      The variation in risk among         proportion of ovarian cancer incidence
                    determined through in-         ovarian cancer to 1.8 (1.1-3.0) and     histologic subtypes may             attributable to this level of talc
                    person interviews. Talc use    use for more than 10 years 1.6 (1.0-    reflect a chance finding or a       exposure is about 10%. They further
                    was reported as any            2.7). For women who had more than       need to examine endometroid         state that given the poor prognosis for
                    genital application, type of   10,000 applications while               and borderline tumors more          ovarian cancer, any potentially
                    application (sanitary          menstruating had an odds ratio of       carefully for evidence of           harmful exposures should be avoided,
                    napkin/underwear, via          2.8 (1.4-5.4).                          foreign body effect.                particularly those with limited
                    partner or application to      Using techniques of metaanalysis,                                           benefits. For that reason, they
                    diaphragm, via dusting to      the authors calculated an OR of 1.3     Authors cannot rule out the         discouraged the use of talc in genital
                    perineum), number of           (1.1-1.6) for any perineal exposure     possibility of differential over    hygiene, particularly as a daily habit.
                    applications per month,        and ovarian cancer risk.                or under reporting of talc
                    years of use, age at first                                             exposure their cases and
                    use, years since last use,                                             controls, especially in those
                    whether use was before or                                              with reproductive events that
                    after 1960, brand of                                                   enhance ORs.
                    application, estimated total
                    lifetime applications,                                                 Authors presume that
                    estimated applications                                                 responders and non-
                    excluding use after                                                    responders were similar in
                    hysterectomy or tubal                                                  characteristics, but validity
                    ligation, and estimated                                                depends on that presumption.
                    applications excluding use
                    after hysterectomy or tubal                                            Adjustments were made to
                    ligation and use during                                                account for confounding, but
                    nonovulatory months.                                                   authors cannot rule out the
                                                                                           presence of unknown factors
                                                                                           might have influenced the
                                                                                           observed associations.
Rosenblatt (1992)   Case Control Study.            Women who were exposed to               Given its small sample size         The authors stated that the results of
                    Hospital based.                genital fibers greater than or equal    and the potential selection         their study and others suggested that
                    Evaluated a total of 77        to 37.4 years had an increased odds     bias stemming from the              genital fiber exposure may be
                    cases of ovarian cancer and    ratio for ovarian cancer of 2.4 (1.0-   inclusion of patients from          associated with an adverse effect, but
                    46 controls, who were          5.8). Exposure to talc on sanitary      only one hospital, further          further study is needed to determine if
                    treated for non-               napkins resulted in an increase odds    research needs to be                this relationship is causal in nature.
                    gynecologic/non-malignant      ratio of 4.8 (1.3-17.8). Use of         performed in order to
                    diseases from Baltimore,       genital bath talc was associated with   confirm the findings.



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                MD. Participants were          an odds ratio of 1.7 (0.7-3.9).                                           Tubal ligation may protect against
                interviewed via                Diaphragm use with powder showed                                          ovarian cancer by inhibiting
                questionnaire (questions       an odds ratio of 3.0 (0.8-10.8).                                          carcinogenic action of talc through
                provided in Appendix 1 of      A negative association was observed                                       blockage of the fallopian tube or
                publication) about presence    for antecedent tubal ligation with an                                     through screening effect.
                and length of genital fiber    odds ratio of 0.15 (0.027-0.88).
                and respiratory fiber
                exposure. Fiber exposure
                was defined as exposure to
                asbestos, talc, and
                fiberglass. The “dose” of
                exposure was determined
                by adding the number of
                years of each type of
                genital or respiratory
                exposures from all sources.
                Further, only exposure
                prior to tubal ligation (for
                women who had that
                procedure) was counted.


Tzonou (1993)   Case Control Study.            After adjusting for variable, talc      The study has the power           The results of the present study do not
                Hospital based.                application in the perineum was         limitation associated with its    support an association between talc
                Evaluated189 women with        associated with a relative risk of      moderate size and, as in any      and ovarian cancer but, given the
                ovarian cancer and 200         1.05 (0.28-3.98) based on 6 cases       case-control study, there         overlapping range of the confidence
                controls in Greater Athens,    and 7 controls reported using talc in   exists a possibility of           intervals, they are not incompatible
                Greece area. Exposure was      the perineal area.                      selection and, less likely, of    with it.
                ascertained by asking if                                               information bias. The
                women used of talc in the                                              possibility that ovarian
                perineal area (no; yes).                                               cancer may be caused by
                                                                                       exposure to asbestos has be
                                                                                       raised by other authors who
                                                                                       pointed out that mineral talc
                                                                                       is closely related asbestos
                                                                                       and presented clinical and
                                                                                       experiments evidence linking
                                                                                       exposure to talc with ovarian
                                                                                       cancer.




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Purdie (1995)   Case Control Study.            Use of talc around                      Selection and recall biases       Regular use of talc in the region of the
                Population based.              abdomen/perineum was associated         and potential confounders         abdomen or perineum was associated
                Evaluated 824 cases of         increase risk for ovarian cancer        were considered.                  with a slight increase (and positively
                epithelial ovarian cancer      with an odds ratio of 1.27 (1.04 -                                        associated) in the risk of ovarian
                and 860 controls from          1.54).                                                                    cancer.
                gynecological oncology
                treatment centers in three
                Australian states. Talc
                exposure was determined
                through use of a
                questionnaire via face-to-
                face interviews.
Cramer (1995)   Case Control Study.            Use of talc “in genital hygiene” was    Authors considered recall         Authors reported a protective effect of
                Population based.              associated with an increased risk for   bias and confounding              prior hysterectomy or tubal ligation
                Evaluated 450 women            ovarian cancer with an odds ratio                                         for ovarian cancer and offer several
                diagnosed with ovarian         1.6 (1.2-2.1).                                                            explanations including blockage of
                cancer in Boston, MA area                                                                                vaginal contaminants.
                hospitals, and 454 controls                                                                              Thus tubal effluences or vaginal
                selected from the general                                                                                contaminants are no longer able to
                population. Examined the                                                                                 reach the pelvic cavity and ovaries.
                association between                                                                                      Although many vaginal contaminants
                ovarian cancer and prior                                                                                 could be proposed, talc use in genital
                hysterectomy or tubal                                                                                    hygiene may be an important one.
                ligation.

Chang (1997)    Case Control Study.            Women with any regular talc             Differences in talc               This investigation supports previous
                Population based.              exposure had an increased risk of       concentration among various       contentions that exposure to talc may
                Evaluated 450 patients         developing ovarian cancer with an       baby powders, body powders        increase risk of ovarian carcinoma.
                with borderline or invasive    odds ratio of 1.42 (1.08-1.86). Use     and deodorizing powders           Dusting with talcum powder is not an
                ovarian cancer and 564         of cornstarch was not associated        were not investigated in this     unusual practice for women and,
                population controls in         with increased risk, but there were     study. Furthermore, reporting     given the heterogeneity of the etiology
                Ontario, Canada. A             small numbers in this exposure          error in reported talc use and    and course of ovarian carcinoma, any
                questionnaire was used         group. Use of talc on sanitary          failure to interview all          possible harmful practices,
                during an in-person            napkins was associated with an odds     eligible case and control         particularly those with little benefit,
                interview. Questions about     ratio of 1.26 (0.81-1.96), and use of   subjects may have led to          should be deliberated.
                regular talc use and type of   talc after bathing showed an odds       biases. As with any case          A questionable dose-response
                talc use, as well as           ratio of 1.31 (1.00-1.73). Dose         control study, the possibility    relationship was observed between
                questions from which           response data revealed an odds ratio    of selection bias and             duration or frequency of exposure and
                information about duration     per 10 years of use at 1.06 (0.99-      information bias exists,          risk.
                and frequency of exposure      1.14).                                  although the consistency of


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               were included. Women                                                 this study with others that
               were questioned about the                                            have addressed reproductive
               application of talc to the                                           factors and ovarian
               perineum and about use of                                            carcinoma is reassuring.
               talc on sanitary napkins.
               They also ascertained the
               use of cornstarch on the
               perineum and sanitary
               napkins.
Green (1997)   Case Control Study.           Women who had ever used talc in        Recall of use of talc among      Despite the limitation, these results
               Population based.             the perineal region had an increased   older women may not have         add support to the body of evidence
               Included 824 women with       risk for ovarian cancer with a         been accurate, tending to        implicating talc as a factor in the
               ovarian cancer who were       relative risk 1.3 (1.1-1.6). Further   reduce the estimated RRs;        pathogenesis of peritoneal epithelial
               identified through cancer     the authors found that compared        moreover, the actual quantity    neoplasia.
               registries and 855            with women who had neither used        of talc used was unknown.        Our findings support the theory that
               population-based controls     talc nor had surgical sterilization,                                    contaminants from the vagina, such as
               from 3 Australian states. A   risk was highest among talc users                                       talc,… gain access to the peritoneal
               Questionnaire was used to     without surgery with a relative risk                                    cavity through patent fallopian tubes
               determine perineal talc       1.3 (1.0-1.7) and lowest among                                          and may enhance malignant
               exposure but no details       women with a history or tubal                                           transformation of the ovarian surface
               were provided on the          sterilization or hysterectomy who                                       epithelium. Surgical tubal occlusion
               specific questions posed      had not applied talc to the perineum                                    may reduce the risk of ovarian cancer
               regarding talc use.           with a relative risk 0.6 (0.5-0.84).                                    by preventing the access of such
               Duration and particular                                                                               agents.
               ages/years used were also                                                                             In view of this particular finding
               obtained.                                                                                             (reduction of risk of ovarian and
                                                                                                                     peritoneal tumors) and the evidence
                                                                                                                     presented here and elsewhere that
                                                                                                                     pelvic contaminants such as talc are
                                                                                                                     associated with ovarian cancer, we
                                                                                                                     conclude that closure of the fallopian
                                                                                                                     tubes by surgery prevents chronic
                                                                                                                     contact between these agents and
                                                                                                                     ovarian epithelium. It seem likely that
                                                                                                                     peritoneal irritants act as co-
                                                                                                                     carcinogens by increasing the
                                                                                                                     accumulated number of mutational
                                                                                                                     events in ovarian surface epithelial
                                                                                                                     cells.




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Cook (1997)   Case Control Study.           Use of any of the genital powder         Study reported that it is           These results offer support for the
              Population based.             applications (perineal application,      difficult to postulate that an      hypothesis, raised by prior
              Evaluated 313 cases of        sanitary napkins, genital deodorant      increased risk for ovarian          epidemiologic studies, that powder
              ovarian cancer identified     sprays, diaphragms resulted in a         cancer may specifically be          exposure from perineal dusting
              through a cancer registry     relative risk 1.5 (1.1-2.0). The risk    due to powder and associated        contributes to the development of
              and 422 population-based      was highest in women who dusted          constituents when some of           ovarian cancer.
              controls in Western           perineal areas with powder, with a       the deodorant sprays do not         Given the common practice (28-51%
              Washington. Women were        relative risk 1.8 (1.2-2.9). Compared    contain aerosolized powder.         of women), even the modest elevation
              questioned about storing      with never users of genital                                                  in ovarian cancer risk by most
              diaphragms in powder,         deodorant sprays, women who used         Limitations of the present          epidemiological studies could have a
              dusting perineal areas with   these products for 12 months or less     study include the fairly low        notable impact on the incidence of
              powder after bathing,         had a relative risk for ovarian cancer   proportion of eligible women        ovarian cancer in the US.
              powdering sanitary            of 1.5, while those who used them        who participated and the
              napkins, and using genital    for more than 12 months had a            potential differential recall of
              deodorant sprays. Women       relative risk of 2.7. Compared with      powder usage.
              were also questioned about    never users of genital deodorant
              duration and frequency of     sprays, women who used an
              powder application and        estimated 500 lifetime applications
              about types of powder         or less of genital deodorant sprays
              applied.                      had a relative risk for ovarian cancer
                                            of 1.7, while those who had an
                                            estimated lifetime applications
                                            greater than 500 had a relative risk
                                            of 2.6. Both of these dose-response
                                            trends were statistically significant
                                            (p < 0.05). None of the other types
                                            of perineal talcum powder product
                                            use showed trends to greater risk
                                            with greater estimated duration used
                                            or applications. The authors then
                                            categorized powders into specific
                                            types: cornstarch, talcum powder,
                                            baby powder, deodorant powder,
                                            and scented body/bath powder
                                            (assuming talcum powder was likely
                                            a constituent of the latter three as
                                            well). Exclusive use of cornstarch
                                            only or of deodorizing powder only
                                            were associated with no increase in
                                            risk for ovarian cancer, but the



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                                               numbers of cases were very small (5
                                               and 9, respectively). Exclusive use
                                               of other types of powder increased
                                               risk between 20 and 60 percent, but
                                               the results were not statistically
                                               significant. Risk for serous ovarian
                                               cancers increased in women who
                                               ever used any genital powder with a
                                               relative risk 1.7 (1.1-2.5). The
                                               relative risk for “other tumors”
                                               among ever users was 1.8 (1.1-2.8),
                                               while risks for mucinous or
                                               endometrioid tumors were not
                                               increased in genital powder users.

Godard (1998)   Case Control Study.            Women who had ever used perineal                                           Perineal talc used was a nonsignificant
                Population based.              talc had an increased risk for                                             risk factor (RR 2.49, P=.064). Talc has
                Evaluated 170 women with       ovarian cancer with a relative risk                                        previously been implicated in the
                ovarian carcinomas or          2.49 (0.94-6.58). The relative risk                                        development of ovarian cancer.
                borderline tumors and 170      for sporadic ovarian cancer 2.45                                           Although there are reports of talc
                controls in Montreal,          (0.85-7.07), and a relative risk of                                        embedded in human ovarian tissue
                Canada.                        3.25 (0.85-12.4) for familial ovarian                                      and of talc migrating through the
                The authors used               cancer.                                                                    human female reproductive tract, the
                questionnaires, but talc use                                                                              literature reviewed does not provide
                questions were not                                                                                        any convincing evidence that pure
                described in the                                                                                          cosmetic talc, when used as intended,
                publication. However, the                                                                                 presents a health risk to women.
                variable of “ever” versus
                “never” perineal use of talc
                was reported.

Wong (1999)     Case Control Study.            Women with ever use of talc in           The study has two potential       A significant association between the
                Hospital based.                genital or thigh region had an odds      weaknesses. First, as with        use of talcum powder and the risk of
                Evaluated 499 patients         ratio of 1.0 (0.8-1.3) and both talc     any retrospective study using     developing epithelial ovarian cancer is
                with ovarian cancer and        applied to those region and sanitary     data collected from the           not demonstrable, even with
                755 patients with non-         napkin has an odds ratio of 1.1 (0.7-    patients’ recall of evens,        prolonged exposure.
                gynecological                  1.7). For duration of use of talc, a     potential ascertainment and
                malignancies in Buffalo,       use of 1-9 years reported an odds        recall bias may exist. Second,
                NY. Exposure to talc was       ratio of 0.9 (0.6-1.5); 10-19 years at   condoms and diaphragms are
                determined using a self-                                                potential sources of talc


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                administered questionnaire.   1.4 (0.9-2.2) and greater than or       exposure. The questionnaire
                Women were queried on         equal to 20 years of 0.9 (0.6-1.2).     asked about these forms of
                site of talc use (sanitary                                            contraception but does not
                napkin vs. genital/thigh                                              ask about the frequency or
                area) and duration of use.                                            duration of usage.
                But, the study did not                                                Consequently, the study is
                report the questions asked.                                           limited to the use of talc on
                                                                                      the perineum or sanitary
                                                                                      napkins and does not address
                                                                                      potential talc exposure from
                                                                                      condom or diaphragm use.
Cramer (1999)   Case Control Study.           Women with any genital exposure         The relatively weak odds          In summary, we have demonstrated a
                Population based.             had an adjusted odds ratio of 1.60      ratios observed could reflect     consistent association between talc
                Evaluated 563 women with      (1.18-2.15). For frequency per          potential biases, especially      and ovarian cancer that appears
                ovarian cancer and 523        month, women with less use less         recall and confounding.           unlikely to be
                controls in eastern MA and    than 30 had an odds ratio of 2.21       Recall bias is possible           explained by recall or confounding.
                NH areas. Exposure to         (1.37-3.56) whereas with 40+ use        because talc exposure in          The dose-response relationship is
                body powders was              had an odds ratio of 1.57 (0.8-3.10).   these studies is based on         weak but improved by considering
                ascertained through           Women with serous invasive              person recollection.              factors such as closure of the female
                personal interview.           ovarian cancer had an adjusted odds     However, recall bias seems        tract, ovulation and exposure prior to
                Women were asked if they      ratio of 1.7 (1.22-2.39)                more likely to affect             pregnancy, and we
                had “regularly used talc,                                             exposures that have occurred      have outlined a plausible biologic
                baby or deodorizing                                                   over a short term than those      rationale for this association. We
                powders dusted or                                                     that have occurred over long      estimate that avoidance of talc in
                sprayed” to feet, arms, or                                            term. If publicity regarding      genital hygiene might reduce the
                other non-genital areas, to                                           the association correlated        occurrence of a highly lethal form of
                the genital or rectal area,                                           with selective recall, one        cancer by at least 10%. Balanced
                on sanitary napkins or on                                             might expect a trend for cases    against what are primarily aesthetic
                underwear. A husband’s                                                from more recent studies to       reasons for using talc in genital
                use of powder in his                                                  report higher exposure rate.      hygiene, the risk benefit decision is
                genital area was also                                                 As to confounding, the            not complex.
                assessed. Age at first use,                                           authors found no evidence         Appropriate warnings should be
                types of powders,                                                     that genital talc exposure        provided to women about the
                applications per month and                                            varied by key risk factors for    potential risks of regular use of talc in
                total years of use were                                               ovarian cancer such as age,       the genital area.
                assessed. Potential                                                   parity, OC use. The
                exposure from condoms or                                              demonstrated consistent
                diaphragms was not                                                    association between talc and
                assessed.                                                             ovarian cancer appears to be




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                                                                                   unlikely to be explained by
                                                                                   recall or confounding.
                                                                                   In attempting to address the
                                                                                   lack of a clear dose response,
                                                                                   the authors point out that it is
                                                                                   difficult to quantify the
                                                                                   amount of powder actually
                                                                                   used and degree of perineal
                                                                                   dusting that might constitute
                                                                                   an “application of talc,”
                                                                                   Other considerations include
                                                                                   the use during ovulation and
                                                                                   closure of tract as a result of
                                                                                   tubal ligation or
                                                                                   hysterectomy.
Ness (2000)   Case Control Study.          Compared with never-users, women        A limitation of the study was       Talc use on all areas of the body
              Hospital based.              who used talc in genital/rectal areas   the somewhat low                    elevated ovarian cancer risk, even
              Evaluated women with         had an elevated odds ratio for          participation rate among            after adjustment for potentially
              ovarian cancer ascertained   ovarian cancer of 1.5 (1.1-2.0).        cases and controls. Another         important confounding factors.
              from 39 hospitals in         Users on sanitary napkins had an        limitation is the potential for
              Eastern Pennsylvania,        increased risk for ovarian cancer       recall bias, which is a             Environmental factors and medical
              Southern New Jersey, and     with an odds ratio 1.6 (1.1-2.3). Use   concern with any case-              conditions that increased the risk
              Delaware. 767 cases of       on underwear increased risk to an       control study. However, in          included talc use…. The spectrum of
              ovarian cancer were          odds ratio of 1.7 (1.2-2.4). Use on a   this study recall bias is           associations provides support for the
              interviewed, with 1,367      diaphragm/cervical cap or by a male     unlikely to explain factors         hypothesis that inflammation may
              population-based controls.   partner did not increase risk. Among    that appear to be protective,       mediate ovarian cancer risk.
              Talc exposure was            those who used in the genital/rectal    which was the case for many
              determined by asking         or other body areas did not show        of the associations found. A
              women if they ever used      increasing risk with increasing         final limitation is that many
              talc, baby, or deodorizing   numbers of years of use.                of the effect sizes were
              powder at least once per                                             modest.
              month for 6 or more
              months in their genital or
              rectal area, on sanitary
              napkins, on underwear, on
              a diaphragm or cervical
              cap, or on non-genital
              areas. They also were
              asked about male partner




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                 use of talc to the genital
                 area or underwear.

Mills (2004)     Case Control Study.           Ever use of perineal talc had an       The sample size was                This study provides some support for
                 Population based.             increased risk for ovarian cancer      relatively small and the           the hypothesis that perineal talc use is
                 Evaluated 256 cases from      with an odds ratio 1.37 (1.02-1.85).   response fraction lower than       associated with an increased risk for
                 cancer registries and 1,122   Increasing frequency of use was        ideal. Recall bias has been        epithelial ovarian cancer.
                 population-based controls     associated with increasing risk-       implicated…. It has also been      The precautionary principal should be
                 from in 22 counties of        women using talc 4-7 times per         suggested that use of talc is      invoked, especially given that this is
                 Central California. Women     week had an odds ratio of 1.74         habitual versus memorable          serous form of cancer, usually
                 were queried about their      (1.14-2.64) for ovarian cancer         and not likely to be subject to    associated with a poor prognosis, with
                 talcum powder use in the      (p=0.015). There was an indication     recall bias. Treatment effect      no current effective screening tool….
                 genital area, years of use,   of trend with duration of use up to    is also a limitation.              Unlike other forma of environmental
                 frequency of use, and total   4-12 years OR 1.86 (1.16-2.98), but                                       exposures, talcum powder use is
                 duration of use.              the number of years beyond that did                                       easily avoidable.
                 Invasive and borderline       not increase risk further. A similar
                 tumors were studied.          relationship was found for
                                               cumulative dose (frequency x
                                               duration) and risk peaked in second
                                               and third quartiles (p=0.051). Risk
                                               for women with serous invasive
                                               tumors had an odds ratio of 1.77
                                               (1.12-2.81).

Merritt (2008)   Case Control Study.           Ever use of talc in the perineal       Low response rate for              Former studies together with the
                 Population based.             region was associated with an odds     controls (47%), which could        current findings support the
                 Evaluated 1,576 women         ratio of 1.17 (1.01-1.36). The         have resulted in selection         hypothesis that talc particles are
                 with ovarian cancer and       increase was strongest for serous      bias and possibly lead to an       transported to the ovaries via
                 1,509 population-based        with an odds ratio 1.21 (1.03-1.44)    over-representation of health      unobstructed fallopian tubes.
                 controls from Australia.      and was also seen for endometrioid     subjects among the controls.       Focusing on talc use, we found that
                 Women provided                with an odds ratio 1.18 (0.81-1.70).   Additionally, the analysis of      any use of perineal talc was associated
                 information on self-          A trend for duration of use greater    the medical conditions was         with a small but significantly
                 administered                  than 25 years was seen for all cases   based entirely on self-            increased risk of ovarian cancer
                 questionnaires. To            with an odds ratio of 1.29 (1.04-      reported medical history and       overall and specifically amongst the
                 determine use of talcum       1.58) p=0.021).                        as a result the accuracy of        invasive and LMP serous tumours
                 powder in the perineal                                               these reports could not be         although no clear dose-response with
                 region, participants were                                            confirmed, although self-          increasing duration of use was
                 asked if they had ever used                                          reports of these                   identified. This finding is consistent
                 powder or talc in the                                                miscellaneous conditions are       with results of previous studies.
                 genital area, on underwear,


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                 or on sanitary                                                           unlikely to be influenced          We conclude that on balance chronic
                 pads/diaphragms. They                                                    greatly by case/control status.    inflammation does not play a major
                 were also asked about age                                                                                   role in the development of ovarian
                 at first use and years of talc                                                                              cancer.
                 use in these areas. Duration
                 of talcum powder use prior
                 to and after surgical
                 sterilization was
                 calculated, and all analyses
                 were limited to the time
                 when the fallopian tubes
                 would have been patent.
                 Use of talc on arms, chest
                 or abdomen was also
                 collected.
Moorman (2009)   Case control.                    After adjusting for age there was an    The North Carolina Ovarian         The relative importance of ovarian
                 Population based.                increased risk for ovarian cancer       Cancer Study included more         cancer risk factor may differ for
                 Investigated 1,114 cases         with (ever/never) talc use reported     African-American women             African-American women but
                 with histopathologically         for both whites with an odds ratio of   that any other study of            conclusions were limited by the small
                 confirmed tumors as part         1.04 (0.82 -1.33) and African           ovarian cancer, but the            sample.
                 of the North Carolina            American of 1.19 (0.68-2.09).           relatively small sample made
                 Ovarian Cancer Study                                                     it difficult to ascertain which
                 conducted in a 48-county                                                 association were true
                 region of North Carolina.                                                associations and which were
                 Control women were                                                       due to chance findings. Other
                 frequency-matched by age                                                 limitations included the case-
                 and race/ethnicity. Talc                                                 control method. The
                 exposure was ascertained                                                 possibility of bias being
                 through in-person                                                        introduced due to
                 interviews and                                                           nonparticipation of ovarian
                 questionnaire conducted by                                               cancer cases and controls
                 nurses.                                                                  should be considered.
Wu (2009)        Case control.                    After adjusting for race, age,          Confounding, bias.                 The role of talc in the development of
                 Population based.                education, tubal ligation, family                                          ovarian cancer has been studied
                 Evaluated 609 women with         history, menopausal status, use of                                         extensively. In a 2006 review by the
                 newly diagnosed epithelial       oral contraceptives, and parity ever                                       International Agency for Research on
                 ovarian cancer and 688           perineal use of talc was associated                                        Cancer (IARC), talc was classified as
                 population-based control         with an increased relative risk of                                         possibly carcinogenic to humans (i.e.,
                 women residing in Los            ovarian cancer 1.53 (1.13-2.09).                                           Group 2B) on the basis that most of
                 Angeles county, CA. Talc         The risk of ovarian cancer                                                 the 20 epidemiological studies on talc



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                    exposure was determined        increased signiﬁcantly with                                                 and ovarian cancer show consistently
                    through a comprehensive        increasing frequency and duration                                           a 30--60% increased risk associated
                    questionnaire that used a      of talc use; compared to never users                                        with talc use.
                    reference date of 2 years      risk and was highest among long                                             However, only about half of the
                    before the date of             duration (20 years), frequent (at                                           studies examined exposure response
                    diagnosis (or date of          least daily) talc users with an                                             relationships and the evidence for this
                    interview for controls).       adjusted relative risk of 2.08 (1.34-                                       is less consistent. This study adds to
                    Subjects were asked if they    3.23). The association between talc                                         small group of studies that have
                    ever used talc at least once   use and risk of ovarian cancer was                                          investigated the combination of
                    per month for 6 months or      strongest for serous ovarian cancer                                         frequency and duration of talc use and
                    more. If the response was      with a relative risk for any use of                                         ovarian cancer. Results show a
                    positive, they were asked if   1.70 (1.27-2.28).                                                           significant trend with increasing
                    they had ever used talc in                                                                                 number of total applications. The
                    non-perineal areas,                                                                                        results also suggest that talc use prior
                    perineal areas or on                                                                                       to 1976 may be more important.
                    underwear or sanitary                                                                                      The lack of sufficient information on
                    pad/diaphragm. Questions                                                                                   frequency, duration and calendar
                    on talc use included age at                                                                                period of talc use may have
                    first use, frequency of use                                                                                contributed to misclassification of this
                    (times per month) and                                                                                      exposure variable in some previous
                    years of talc use.                                                                                         studies.
                                                                                                                               OK

Rosenblatt (2011)   Case control.                  Risk of ovarian cancer with genital      The validity of all of these       IARC has designated perineal
                    Population based.              powder was associated with an odds       studies, including this may be     exposure to talc as a possible
                    Evaluated a total of 812       ratio 1.27 (0.97-1.66). The risk for     influenced by the level of         carcinogen in women. A modest
                    women with ovarian             borderline ovarian tumors showed         non-response among cases           association of ovarian cancer with this
                    cancer identified through a    an odds ratio of 1.55 (1.02-2.37)        and controls and by the            exposure was seen in the study and in
                    cancer registry and 1,313      and for invasive ovarian cancers the     potential for misclassification    some previous ones, bur the
                    controls from the western      odds ratio was 1.27(0.87-1.58). Use      (differentials and non-            association generally has not been
                    Washington population.         of powder on either sanitary napkins     differential) of exposure          consistent with or among studies.
                    Sources of genital powder      or diaphragms did not increase risk.     status.                            Therefore, no stronger adjective than
                    were ascertained, including    Use of vaginal deodorant spray                                              “possible” appears warranted at this
                    direct perineal application,   showed an odds ratio 1.15 (0.85-                                            time.
                    use on sanitary napkins and    1.56). None of the dose-response or                                         It is not evident how (or if) additional
                    diaphragms, and use of         time variables (years of use, lifetime                                      investigation will be able to resolve
                    deodorant vaginal spray.       number of applications, age at first                                        the issue of whether perineal exposure
                    For powder use on sanitary     use, age at last use, calendar year of                                      to talc predisposes to ovarian
                    napkins and use of vaginal     first use, time since first year, time                                      malignancy. Further case-control
                    deodorant sprays, the          since last use) showed evidence of                                          studies will continue to be hindered by



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               authors recorded the total    increasing relative risk of ovarian                                       the limitations mentioned above. Data
               number of months or years     cancer with increasing level of                                           from additional cohort studies would
               in which these products       exposure to talcum powder                                                 be welcome, but without details
               were used. For use of         products. Similarly, there was no                                         concerning the composition of the
               perineal powder, the          evidence of increased risk for                                            powders used by cohort members –
               investigators recorded the    ovarian cancer with increasing dose                                       details that many participants may not
               age began and ended,          of powder use on sanitary napkins,                                        be able to provide – the results of such
               number of weeks or            or of vaginal deodorant sprays.                                           studies may similarly be ambiguous in
               months of use per year, and                                                                             their interpretation.
               average days per week                                                                                   OK
               used. Study participants
               were also asked about the
               types of powder used,
               including talcum, baby,
               cornstarch, deodorant,
               body/bath, and other or
               unknown. The authors then
               calculated the lifetime
               duration of use, and
               estimated lifetime number
               of applications.

Kurta (2012)   Case Control.                 Use of perineal talc showed an         Reliance on self-reported use      Concludes that risk of ovarian cancer
               Population based.             increased risk for ovarian cancer      of study drugs and talc- recall    is significantly associated with talc
               Evaluated 902 cases of        with an odds ratio 1.40 (1.16–1.69).   bias.                              use.
               women with ovarian                                                                                      Compared to Caucasians, African
               cancer and 1,802 controls                                                                               Americans had a significantly
               from resident of Western                                                                                increased risk of ovarian cancer. The
               Pennsylvania, Eastern                                                                                   following variables were also
               Ohio, and Western New                                                                                   significantly associated with ovarian
               York State. Perineal talc                                                                               cancer risk: age at menarche, OC use,
               use was defined as ever                                                                                 parity, gravidity, duration of
               using dusting powder or                                                                                 breastfeeding, perineal talc use, and
               deodorizing spray on the                                                                                tubal ligation.
               genital or rectal areas, on                                                                             OK
               sanitary napkins, on
               underwear, or on
               diaphragms or cervical
               caps.




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Wu (2015)       Case Control. Population       Use of genital talc for one year or     Small sample sizes for            Population attributable risk
                based.                         more in combined ethnicities was        Hispanics and African             percentages (PAR%s), deﬁned as
                Investigated the               associated with an increased risk for   Americans                         the percentages of disease in the
                associations of risk of        ovarian cancer with an odds ratio                                         population that are attributable to a
                ovarian cancer and talcum      1.46 (1.27-1.69). Similar relative                                        given risk factor (or set of risk
                powder products use and        risks were seen in non-Hispanic                                           factors), were calculated. The risk
                other risk factors. 1,701      white, Hispanic, and African-                                             associations with six well-accepted
                cases were identified          American women. For 5 years                                               factors (parity, oral contraceptive use,
                through the SEER               increments of genital talc use, the                                       tubal ligation, endometriosis, family
                population-based               risk for ovarian cancer increased                                         history of ovarian cancer, and talc use)
                University of Southern         with an odds ratio of 1.14 (1.09-                                         were comparable and significant in
                California cancer registry.    1.20).                                                                    Hispanics, AA, and non-Hispanic
                and 2,319 controls were                                                                                  whites.
                recruited from the cases’                                                                                As expected, each of these six risk
                neighborhoods using                                                                                      factors had statistically significant
                random selection from                                                                                    effects on risk in all three groups.
                population lists.
                In-person interviews were
                conducted. To determine
                use of talcum powder,
                women were asked if they
                ever used talc at least once
                per month for 6 months or
                more. If the response was
                positive, they were asked
                whether they had ever used
                talc in non-perineal areas
                (feet, arms, chest or back),
                perineal areas, or on
                underwear or sanitary
                pads/diaphragm. Questions
                on talc use included age at
                first use, frequency of use
                (times per month) and
                years of talc use.
Cramer (2016)   Case control.                  Genital talc use was associated with    Recall bias. There are no         Overall, there is an association
                Population based.              an increased risk of ovarian cancer     external records to validate      between genital talc use and EOC and
                Reported on association        with an odds ratio of 1.33 (1.16-       talc use reported by study        a significant trend with increasing
                between genital talc use       1.52). Reported a significant trend     participants to assess whether    “talc years” of use.
                and risk of ovarian cancer.    for greater ovarian cancer risk with    our degree of



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                     Evaluated 2,041 cases of       increasing talc-years of use. > 7,200   misclassification is              Among many epidemiologic
                     ovarian cancer from tumor      apps (equivalent to >20 years of        reasonable. Whether the           variables, no confounders for the
                     boards and registries in       daily use showed an odds ratio 1.49     association is a result of        association were identified.
                     Eastern Massachusetts and      (1.06-2.10).                            confounding must be               The association may be stronger in
                     Massachusetts and 2100                                                 addressed. No evidence of         AA women.
                     controls identified from the                                           confounding was identified        OK
                     sample population as                                                   but authors did find several
                     controls. Participants were                                            examples of effect
                     asked if they “regularly” or                                           modification that have
                     “at least monthly” applied                                             biological relevance:
                     powder to the genital or                                               prolactin may be mediator.
                     rectal area, sanitary
                     napkins or tampons,                                                    There are inherent limitations
                     underwear, or non-genital                                              quantifying a dose–response
                     areas. Type of powder, age                                             due to a lack of metrics for
                     begun, years used, and                                                 how much talc is in an
                     applications per month                                                 “application,” how much
                     were ascertained. Lifetime                                             enters the vagina, and how
                     exposure was estimated by                                              much reaches the upper
                     multiplying frequency of                                               genital tract where,
                     applications per month by                                              presumably, any deleterious
                     months used, and talc-                                                 effect is mediated. This may
                     years was calculated.                                                  account for the failure to
                     Participants were then                                                 identify a dose–response in
                     divided into quartiles                                                 many papers on talc and
                     according to these                                                     ovarian cancer.
                     variables. Participants were
                     also asked if their partners
                     dusted or sprayed powder
                     to their genital or rectal
                     areas. Condom and
                     diaphragm use were
                     ascertained as potential
                     sources of genital talc
                     exposure.

Schildkraut (2016)   Case control.                  Use of genital powder was               Result could have been            Study showed that genital powder use
                     Population based.              associated with an odds ratio 1.44      spurious do to underreporting     was associated with ovarian cancer
                     Investigated the association   (1.11-1.86). A dose response was        of genital talc and sample        risk in AA women and are consistent
                     between body powder use        found for duration of use (> 20                                           with localized chronic inflammation



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and ovarian cancer in         years was associated with an odds      size may have been too    in the ovary due to particulates that
African American women        ratio of 1.52 (1.11-2.07) and number   small.                    travel through a direct transvaginal
in 11 geographic areas of     of lifetime applications (P trend                                route. The dose response observed for
the U.S. Evaluated 584        1.14) and daily use of genital                                   duration of genital powder use
case identified through       powder showed an odds ratio of                                   provides further evidence for the
SEER cancer registries or     1.71 (1.26-2.33.) Histological                                   relationship between genital powder
through hospital              analysis revealed an odds ratio of                               and overall EOC risk. Data suggest an
departments and 745           1.38 (1.03-1.85) for serous and                                  increased risk for serous and non-
controls. Controls were       genital use of powder and 1.63                                   serous subtypes with use of genital
randomly selected from the    (1.04-2.55) for non-serous.                                      powder.
same populations as the
cases. Participants were                                                                       The results of the current study
questioned via phone                                                                           suggest that the use of body powder
interview whether they had                                                                     is an especially important
ever regularly used talc,                                                                      modiﬁable risk factor for EOC in AA
cornstarch, baby, or                                                                           women.
deodorizing powders.
Women were classified as
“regular users” if they
reported using any of these
powders at least monthly
for at least 6 months, and
“never users” otherwise.
Regular users were asked
about frequency and
duration of use; use on
genital areas, underwear,
sanitary napkins, or
diaphragms; and use on
non-genital areas. Lifetime
number of applications was
estimated as number of
applications per month
times number of months
used. Occupational
exposure (yes/no) was
ascertained for a subset of
participants.




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  III.    META-ANALYSES AND POOLED STUDIES

    AUTHOR            STUDY DESCRIPTION                       FINDINGS             REPORTED LIMITATIONS                    AUTHORS’ DISCUSSION AND
                                                                                                                                    CONCLUSIONS
Harlow (1992)   Meta-Analysis of 6 studies with 1106   Statistically significant   Cannot rule out the                  Because the overall association
                cases                                  OR of 1.3 for any           possibility in differential          between genital use of talc and
                                                       perineal talc exposure      over- or under-reporting of          ovarian cancer remains weak, it is
                                                       Daily vs. <daily talc use   talc exposure in cases and           unlikely that this exposure-disease
                                                       and talc use >10 years      controls                             pathway is the principal one involved
                                                       vs. <10 years were                                               in ovarian cancer etiology. The
                                                       associated with greater                                          authors concluded that they calculate
                                                       risk for ovarian cancer.                                         that by applying these odds ratios to
                                                                                                                        the exposure rate among cases, the
                                                                                                                        proportion of ovarian cancer incidence
                                                                                                                        attributable to this level of talc
                                                                                                                        exposure is about 10%. They further
                                                                                                                        state that given the poor prognosis for
                                                                                                                        ovarian cancer, any potentially
                                                                                                                        harmful exposures should be avoided,
                                                                                                                        particularly those with limited
                                                                                                                        benefits. For that reason, they
                                                                                                                        discouraged the use of talc in genital
                                                                                                                        hygiene, particularly as a daily habit.
Gross & Berg,   OR = 1.27                              1.27 (95%CI, 1.09-1.48)     Other risk factors were not          The body of knowledge found in the
1995            Pooled 10 studies – 614 cases                                      adjusted for in a consistent         medical literature does not
                Supported by J&J                                                   manner across studies.               unequivocally support the hypothesis
                                                                                   Selection bias and differential      that talc use by women puts them at
                                                                                   bias were not addressed              an increased risk of ovarian cancer.
                                                                                   specifically in the studies.         However, the results of the meta-
                                                                                                                        analyses do suggest the possibility of
                                                                                                                        an increased risk of ovarian cancer
                                                                                                                        due to perineal talc use. Further
                                                                                                                        research in this area is warranted by
                                                                                                                        these results.
Cramer, 1999    Meta-analysis                          1.36 (95%CI, 1.24-1.49)     Recall: Recall bias                  There is a consistent association between
                Pooled 14 studies plus Cramer 1999                                 seems more likely to affect          talc and ovarian cancer that appears
                Attributable Risk of 10-11%                                        exposures that have occurred         unlikely to be explained by recall or
                Ruled out recall bias                                              over a short term than those that    confounding. The dose-response
                                                                                   have occurred over a long term.      relationship is weak but improved by
                Grant by NCI                                                       Since average duration of talc       considering factors such as closure of the



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                                                                                  use exceeded 20 years in both        female tract, ovulation and exposure prior
                                                                                  cases and controls in our current    to pregnancy, and we have outlined a
                                                                                  study, genital talc exposure may     plausible biologic rationale for this
                                                                                  be less likely to be subject to      association. Authors estimated that
                                                                                  recall bias. Furthermore, if         avoidance of talc in genital hygiene might
                                                                                  publicity regarding the              reduce the occurrence of a highly lethal
                                                                                  association correlated with          form of cancer by at least 10%.
                                                                                  selective recall, one might          Balanced against what are primarily
                                                                                  expect a trend for cases from        aesthetic reasons for using talc
                                                                                  more recent studies to report        in genital hygiene, the risk benefit decision
                                                                                  higher exposure rates, but the       is not complex.
                                                                                  exposure rates reported do not       Appropriate warnings should be provided
                                                                                  suggest this is the case. It also    to women about the potential risks of
                                                                                  seems reasonable that selective      regular use of talc in the genital area.
                                                                                  recall would lead to cases
                                                                                  reporting all types of talc
                                                                                  exposure more frequently than
                                                                                  controls, but our study found
                                                                                  that cases did not report a
                                                                                  significant excess of talc use in
                                                                                  non-genital areas compared
                                                                                  to controls.
                                                                                  Confounding: Authors found
                                                                                  no evidence that genital talc
                                                                                  exposure varied by key risk
                                                                                  factors for ovarian cancer such
                                                                                  as age, parity or OC use and
                                                                                  little variability of the
                                                                                  association by these and other
                                                                                  variables.
Huncharek, 200377   Meta-analysis                       1.33 (95%CI, 1.16-1.45)   The meta-analysis presented          Despite the finding of a positive
                    RR = 1.33                                                     shows inconsistencies in the         association, demonstration of a dose-
                    16 studies                                                    available data.                      response relationship is an important
                    No disclosure regarding industry                                                                   criterion for making causal inferences
                    relationship.                                                                                      from epidemiological data. If no

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     Dr. Muscat and Huncharek were consulting with Johnson & Johnson at the time of this publication. In October 2000, Dr. Huncharek solicited
  finding for an Ovarian Cancer Meta-Analysis from J&J to be performed by he and Dr. Muscat and he provided J&J with “preliminary results” of
  his analysis in November 2000. Deposition of Susan Nicholson, dated July 26, 2018; Deposition of Linda Loretz, Ph.D., dated October 1, 2018.
  In November 2000, J&J, through its senior scientist, John Hopkins provided editorial comments to Dr. Huncharek’ s preliminary results that would
  more strongly refute the relationship between asbestos and talc and causation. JNJ 000377405. These 2000 J&J comments were ultimately
  incorporated into the final Huncharek Meta-Analysis which was submitted in 2002 and published in 2003.This relationship was not disclosed.


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                                                                                 The summary relative risk        relationship exists, a causal link
                                                                                 may be spurious due to bias      between exposure and disease is
                                                                                 or uncontrolled confounding.     questionable.

                                                                                                                  Asbestos contamination of talc has
                                                                                                                  been identified in the past but current
                                                                                                                  production methods limit or
                                                                                                                  completely eliminate contamination.

                                                                                                                  In summary, pooling data from the
                                                                                                                  sixteen available observational studies
                                                                                                                  examining the relationship between
                                                                                                                  perineal use of cosmetic talc and the
                                                                                                                  development of invasive epithelial
                                                                                                                  ovarian cane.er failed to show evidence
                                                                                                                  of a causal relationship.

Langseth, 2008   Meta-analysis                         1.35 (95%CI, 1.26-1.46)   Methodological factors such      The evidence in favor of an association, a
                 20 case-control studies; one cohort   Pooled OR = 1.35 (1.26-   as recall bias should            very large number of studies have found
                 (Gertig)                              1.46)                     always be considered in case-    that women who used talc experienced
                 No studies below 1.0 RR                                         control studies. It              excess risks of ovarian cancer; some
                                                                                                                  results were
                 IARC review                                                     could have been a problem        statistically significant and some were not.
                 Financed by the Cancer Registry of                              had there been widespread        There was some indication in the cohort
                 Norway                                                          publicity about the possible     study of an increase in serous tumours.
                                                                                 association                      The evidence of talc migrating to the
                                                                                 between use of body powder       ovaries lends credibility to
                                                                                 and cancer. The                  such a possible association. The main
                                                                                 International Agency for         epidemiological evidence
                                                                                 Research on Cancer               against the association is the absence of
                                                                                 (IARC) working group             clear exposure-response
                                                                                                                  associations in most studies, as well as the
                                                                                 considers that there has         absence of an overall
                                                                                 not been widespread public       excess risk in the cohort study.
                                                                                 concern about this               On balance, the epidemiological
                                                                                 issue and therefore considers    evidence suggests that use of
                                                                                 it unlikely that such a          cosmetic talc in the perineal area may be
                                                                                 bias could explain the           associated with ovarian cancer risk. The
                                                                                 consistent findings. Another     mechanism of carcinogenicity may be
                                                                                 source of recall bias could      related to inflammation.
                                                                                 result from the fact that        High degree of consistency among studies.
                                                                                                                  The carcinogenicity of non-asbestiform
                                                                                                                  talc was assessed by a monograph working



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                                                                                     women with the cancer tend             group at IARC in 2006. After considering
                                                                                     to remember or overreport              biases and possible confounding factors,
                                                                                     their use of body powder.              the IARC working
                                                                                     The influence of                       group concluded that the epidemiological
                                                                                                                            studies provided limited evidence for the
                                                                                     this type of recall bias cannot        carcinogenicity of perineal use of talc-
                                                                                     be ruled out.                          based body powder, and classified this use
                                                                                                                            as possibly carcinogenic to human beings
                                                                                                                            (that is, group 2B).
                                                                                                                            The current body of experimental and
                                                                                                                            epidemiological evidence
                                                                                                                            is insufficient to establish a causal
                                                                                                                            association between perineal
                                                                                                                            use of talc and ovarian cancer risk.
Berge, 2017      Meta-analysis                         Summary RR =1.22              The heterogeneity of results           This meta-analysis
                 24 case-control studies and three     (95%CI, 1.13-1.30)            by study design and the lack           resulted in a weak but statistically
                 cohort studies                        Case-control studies =        of a trend for duration and            significant
                 302,705 women                         RR 1.26; cohort studies       frequency of use, however,             association between genital use of talc
                                                       = 1.02                        detract from a causal                  and ovarian cancer,
                                                       Serous carcinoma RR =         interpretation of this                 which appears to be limited to serous
                                                       1.24                          association.                           carcinoma.
                                                       There was no trend in
                                                       RR with either duration
                                                       or frequency of genital
                                                       talc use.


Penninkilampi,   Meta-analysis                         Any perineal talc             A limitation of this study is that     Hence while case–control studies are low-
2018             24 case-control (13, 421 cases) and   use was associated with       it pools nonrandomized                 level evidence, they have been
                 three cohort studies (890 cases,      increased risk of ovarian     studies, primarily case–control        preferred in the investigation of the
                 181,860 person-years)                 cancer (OR = 1.31; 95% CI     studies. The retrospective nature      association between talc use and ovarian
                                                       = 1.24, 1.39). More than      of case–control studies                cancer. They also have the important
                                                       3600 lifetime applications    introduces the potential for recall    advantage of not requiring 15 or more
                                                       (OR = 1.42; 95% CI = 1.25,    bias. In this case, it is entirely     years of follow-up, as is necessary for a
                                                       1.61) were slightly more      possible that patients with            cohort study to sufficient detect cases of
                                                       associated with ovarian       ovarian cancer may be more             ovarian cancer relative to certain
                                                       cancer than <3600 (OR =       aware of their previous talc use       exposures. One potential way to overcome
                                                       1.32; 95% CI = 1.15, 1.50).   and hence be more likely to            this limitation in future studies is to ensure
                                                       An association with ever      report higher past use. It is          that talc use is always included in
                                                       use of talc was found in      possible to attempt to overcome        questionnaires of any cohort studies
                                                       case–control studies (OR =    this by blinding the participants      investigating ovarian cancer. It is
                                                       1.35; 95% CI = 1.27, 1.43),   to the nature of the study, usually    important not only that talc use be
                                                       but not cohort studies (OR    by asking spurious questions;          investigated but also the precise location,



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                                                  = 1.06; 95% CI = 0.90,         however, the effectiveness of       duration, and frequency of use. As it
                                                  1.25). However, cohort         this approach may be limited.       stands, a meta-analysis of observational
                                                  studies found an association   Many of the studies in this         studies such as the present study provides
                                                  between talc use and           review recorded data about talc     the highest level of evidence practically
                                                  invasive serous type           use as part of a more extensive     feasible for this research question.
                                                  ovarian cancer (OR = 1.25;     questionnaire focused on other
                                                  95% CI = 1.01, 1.55).          associations, which may reduce      The results of this review indicate that
                                                                                 the potential for recall bias.      perineal talc use is associated with a 24%–
                                                                                 However, since the initiation of    39% increased risk of ovarian
                                                                                 lawsuits in 2014, there has been    cancer. While the results of case–control
                                                                                 extensive media coverage            studies are prone to recall bias, especially
                                                                                 regarding this association, and     with intense media attention following the
                                                                                 the potential for recall bias in    commencement of litigation in 2014, the
                                                                                 case–control studies conducted      confirmation of an association in cohort
                                                                                 since then may be exacerbated.      studies between perineal talc use and
                                                                                                                     serous invasive ovarian cancer is
                                                                                                                     suggestive of a causal association.
Terry, 2013   Pooled analysis                     Any perineal talc              Differences in the wording of       In conclusion, our large pooled analysis of
              RR = 1.24 (1.15-1.33)               use was associated with        questions about genital             case-control studies shows a small-to-
              8 population based studies; 8,525   increased risk of ovarian      powder use and retrospective        moderate (20–30%) increased risk of
              cases and 9,859 controls (2600      cancer (OR =                   nature of the exposure              ovarian cancer with genital-powder use,
                                                  1.31; 95% CI = 1.24, 1.39).                                        most clearly pertaining to non-mucinous
              exposed cases)                      More than 3600 lifetime
                                                                                 ascertainment. This results in      epithelial ovarian tumors. More work is
              Pooled study; authored by OCAC      applications                   varying levels of                   needed to understand how genital powders
                                                  (OR = 1.42; 95% CI = 1.25,     misclassification of true           may exert a carcinogenic effect, and which
                                                  1.61) were slightly more       exposure.                           constituents (e.g. talc) may be involved.
                                                  associated                     There was missing data, but         Since there are few modifiable risk factors
                                                  with ovarian cancer than       was not likely to bias results,     for ovarian cancer, avoidance of genital
                                                  <3600 (OR = 1.32; 95% CI       according to authors                powders
                                                  = 1.15, 1.50).                                                     may be a possible strategy to reduce
                                                  An association with ever                                           ovarian cancer incidence.
                                                  use of talc was found in
                                                  case–control studies (OR =                                         The biologic plausibility for the observed
                                                  1.35; 95% CI = 1.27, 1.43),                                        association between genital-powder use
                                                  but not cohort studies (OR                                         and ovarian cancer risk has been
                                                  = 1.06; 95% CI = 0.90,                                             challenged because evidence for dose-
                                                  1.25). However, cohort                                             response has been inconsistent. The lack
                                                  studies found an association                                       of significant dose-response may reflect
                                                  between talc use and                                               the difficulty inherent in accurate
                                                  invasive serous type                                               recollection of specific details of
                                                  ovarian cancer (OR = 1.25;                                         frequency and duration of
                                                  95% CI = 1.01, 1.55).                                              genital-powder use. Alternatively, the
                                                                                                                     association between genital-powder
                                                                                                                     exposure and ovarian cancer risk may not




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                                                                                                                           be linear and a modest exposure may be
                                                                                                                           sufficient to increase cancer risk.

                                                                                                                           When unexposed group was included in
                                                                                                                           the analysis there was a clear dose
                                                                                                                           response w/ increased number of
                                                                                                                           applications.
O’Brien, 2020   Data were pooled from 4 large, US-       The pooled sample               This study has several            “In this analysis of pooled data from
                based cohorts: Nurses’ Health Study,     included 252 745 women          limitations”: 1) the included     women in 4 cohorts, there was not a
                Nurses’ Health Study II, Sister Study,   (median age at baseline, 57     cohorts varied widely in how      statistically significant association
                and Women’s Health Initiative            years) with38% self-            they assessed exposure,           between self-reported use of powder
                                                         reporting use of powder in
                Observational Study. Ever, long-term     the genital area. Ten percent
                                                                                         particularly the duration and     in the genital area and incident
                (>20 years, and frequent (>1/week)       reported long-term use, and     frequency of powder use; 2)       ovarian cancer. The HR for the
                use of powder in the genital area were   2 2% reported frequent use.     use of powder in the genital      association between ever powder use
                studied. The primary analysis            During a median of 11.2         area could not be assess as a     and incident ovarian cancer was 1.08
                examined the association between         years of follow-up (3.8         time-varying factor, as none      (95% CI, 0.99 to 1.17) . . . When
                ever use of powder in the genital area   million person-years at         of the four studies collected     restricted to women with patent
                and self-reported incident ovarian       risk), 2168 women               data on use after baseline; 3)    reproductive tracts at baseline, the HR
                cancer.                                  developed ovarian cancer        specific exposure windows         was 1.13 (95% CI, 1.01 to 1.260.” . . .
                                                         (58 cases/100 000person-        could not be examined, nor        “However, the study may have been
                                                         years). Ovarian cancer
                                                         incidence was 61 cases/100
                                                                                         could type of powder used or      underpowered to identify a small
                                                         000 person-years among          patency status at time of         increase in risk.”
                                                         ever users and 55 cases/100     powder use; 4) as with all
                                                         000 person-years among          observational studies,
                                                         never users (estimated risk     residual confounding is
                                                         difference at age 70 years,     possible; 5) the study may
                                                         0.09% [95% CI, −0.02% to        have limited generalizability;
                                                         0.19%]; estimated HR, 1.08      6) confounding by indication
                                                         [95% CI, 0.99 to 1.17]).The     is another potential
                                                         estimated HR for frequent
                                                         vs never use was 1.09 (95%
                                                                                         limitation, and it would occur
                                                         CI, 0.97 to 1.23) and for       if women with other
                                                         long-term vs never use, the     underlying conditions that
                                                         HR was 1.01 (95% CI, 0.82       were associated with ovarian
                                                         to 1.25). Subgroup analyses     cancer were also more likely
                                                         were conducted for10            to use powder in the genital
                                                         variables; the tests for        area; 7) because tests to
                                                         heterogeneity were not          confirm patency were not
                                                         statistically significant for   performed, it is possible that
                                                         any of these comparisons.
                                                         While the estimated HR for
                                                                                         not all women categorized as
                                                         the association between         having a patent reproductive
                                                         ever use of powder in the



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                                                            genital area and ovarian      tract in this analysis had truly
                                                            cancer risk among women       patent tubes.
                                                            with a patent reproductive
                                                            tract was 1.13(95% CI, 1.01
                                                            to 1.26), the P value for
                                                            interaction comparing
                                                            women with vs without
                                                            patent reproductive tracts
                                                            was .15.
Davis (2021)   We used data from five studies in the        The prevalence of ever        Limitations of our study must be       In conclusion, in this consortium analysis
               Ovarian Cancer in Women of African           genital powder use for        considered. Recall bias was not        of AA and White women, while the
               Ancestry consortium. Participants included   cases was 35.8% among         a concern for the cases and            prevalence of ever genital body powder
               620 African-American cases, 1,146            African-American women        controls included in our study         use was higher among AA women in the
               African-American controls,2,800 White        and 29.5% among White         from the prospective study             OCWAA consortium, the association
               cases, and 6,735 White controls who          women. Ever use of genital    (WHI). However, for case–              between genital powder use and ovarian
               answered questions on genital powder use     powder was associated with    control studies, recall bias can be    cancer risk was similar among AA and
               prior to 2014. The association between       higher odds of ovarian        a concern for some exposures.          White women. Furthermore, there was not
               genital powder use and ovarian cancer risk   cancer among African-         This is particularly true for          a dose-response relationship between
               by race was estimated using logistic         American women                genital powder use with the            frequency or duration of genital powder
               regression.                                  [OR:1.22;95% confidence       advent of talc related lawsuits in     use and ovarian cancer risk or any
                                                            interval (CI): 0.97–1.53]     2014.All our analyses excluded         significant differences in association by
                                                            and White women (OR:          interviews from case–control           histotype.
                                                            1.36; 95% CI: 1.19–1.57).     studies after 2014 to address this
                                                            In African-American           issue of recall bias. Genital body
                                                            women, the positive           powder use was self-reported in
                                                            association with risk was     each of the contributing
                                                            more pronounced among         OCWAA studies. It is possible
                                                            high-grade serous tumors      that there were systematic
                                                            (OR: 1.31; 95% CI:1.01–       differences in the way
                                                            1.71) than with all other     participants remember or report
                                                            histotypes (OR:1.05; 95%      genital body powder and there
                                                            CI:0.75–1.47). In White       were differences in the wording
                                                            women, a significant          of the genital powder questions
                                                            association was observed      in the various studies. However,
                                                            irrespective of histotype     the definition of genital body
                                                            (OR:1.33; 95% CI:1.12–        powder exposure was the same
                                                            1.56 and OR: 1.38; 95%        for cases and controls in each of
                                                            CI:1.15–1.66,                 the individual OCWAA studies
                                                            respectively).”               and we did not observe
                                                                                          heterogeneity across studies in
                                                                                          the effect estimates, highlighting
                                                                                          that the results from our
                                                                                          included prospective study
                                                                                          (WHI) were not materially
                                                                                          different from the four



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                                                                                            retrospective case–control
                                                                                            studies. It is likely that with the
                                                                                            exclusion of interviews
                                                                                            conducted in 2014 and later, any
                                                                                            misclassification would be non-
                                                                                            differential with respect to the
                                                                                            outcome, resulting in bias
                                                                                            toward the null.
Woolen (2022)   A systematic review and meta-analysis        Initial database searches      The primary strength of our            In this analysis of pooled data 10 case-
                was conducted according to meta-analysis     returned 761unique             study is our focus on frequent         control studies and a single cohort study,
                of observational studies in epidemiology     citations and after review,    users of perineal talcum powder.       the frequent use of perineal talcum powder
                guidelines. . . case-control and cohort      eleven studies describing      Among women who report                 use is associated with increased risk of
                studies were included if they reported       66,876 patients, and 6542      talcum powder use, the most            ovarian cancer. These results support
                frequent perineal talcum powder use and      cancers were included          common frequency is                    women avoiding the frequent use of
                an adjusted odds ratio or hazard ratio for   (Cohen’s κ= 0.88).             dailyuse,13and this is the first       talcum powder in the perineal area. We
                ovarian cancer.                              Publication quality was        systematic review to focus on          found frequent use of perineal talcum
                                                             high (median NOS = 8,          multiple times per week users.         powder is associated with an increased
                                                             range: 4 to 9). Frequent       The results were highly                risk of ovarian cancer, with a pooled
                                                             talcum powder use was          consistent and homogenous, and         adjusted odds ratio of 1.47 (95% CI 1.31,
                                                             associated with an elevated    the included studies were of high      1.65).
                                                             risk of ovarian cancer         quality. The work has limitations
                                                             (adjust-ed pooled summary      as well. We constructed our
                                                             odds ratio 1.47 (95% CI        selection criteria prospectively
                                                             1.31, 1.65, P<0.0001).         to include studies with multiple
                                                             There was no evidence of       times per week and as close to
                                                             bias and low heterogeneity     daily talcum powder exposure as
                                                             (I2= 24%, P=0.22). There       possible. However, this meant
                                                             was no meaningful              that cohort and case-control
                                                             difference limiting analysis   studies that might have frequent-
                                                             to publications with a NOS     use patients were excluded if the
                                                             quality score of 8 or 9 or     questionnaire did not explicitly
                                                             limiting studies based on      capture this information. The
                                                             study design.                  definition of talcum powder use
                                                                                            varied by frequency and duration
                                                                                            between the case-control and
                                                                                            cohort studies. Additionally,
                                                                                            studies by Cook et al., Mills et
                                                                                            al, Rosenblatt et al, and
                                                                                            Schildkraut et al.17were unable
                                                                                            to differentiate between use of
                                                                                            perineal powders and the small
                                                                                            subset using cornstarch
                                                                                            (estimated at 1.5%). However,
                                                                                            the differences in definition and
                                                                                            small inclusion of cornstarch



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                                          likely did not affect the results as
                                          there was no evidence for
                                          statistical heterogeneity in our
                                          study. The included studies were
                                          adjusted for multiple covariates.
                                          The possibility of additional
                                          confounders to the studies likely
                                          exists.




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                             APPENDIX A: RESUME




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                               DAVID A. KESSLER


 1969-1973      AMHERST COLLEGE, Amherst, Massachusetts
                Bachelor of Arts, magna cum laude (B.A. Independent Scholar, 1973)

 1973-1979      HARVARD MEDICAL SCHOOL, Boston, Massachusetts
                Doctor of Medicine (M.D. 1979)

 1975-1977      UNIVERSITY OF CHICAGO LAW SCHOOL, Chicago, Illinois
                Doctor of Law (J.D., 1978), Harvard Law School, 1977-1978

                NEW YORK UNIVERSITY GRADUATE SCHOOL OF BUSINESS
 1984-1986
                ADMINISTRATION (Manhattanville), Purchase, New York
                Advanced Professional Certificate in Management
 EMPLOYMENT


 2021-2023      CHIEF SCIENCE OFFICER, COVID-19 RESPONSE
                OPERATION WARP SPEED, COUNTERMEASURES
                ACCELERATION GROUP

 2003-present   UNIVERSITYOF CALIFORNIA, SAN FRANCISCO
                Professor of Pediatrics, Epidemiology and Biostatistics

 2003-2007      Dean, School of Medicine
                Vice Chancellor of Medical Affairs

 1997-2003      YALE UNIVERSITY SCHOOL OF MEDICINE
                Dean
                Professor of Pediatrics, Internal Medicine, and Public Health

 1990-1997      UNITED STATES FOOD AND DRUG ADMINISTRATION
                Commissioner
                (Appointed by President George H. W. Bush, Reappointed by President
                William J. Clinton)

 1984-1990      THE HOSPITAL OF THE ALBERT EINSTEIN COLLEGE
                OF MEDICINE
                Medical Director

 1986-1990      COLUMBIA UNIVERSITY
                Julius Silver Program in Law, Science and Technology Lecturer
                on Law

                MONTEFIORE MEDICAL CENTER
 1982-1984
                Special Assistant to the President

 1981-1984      UNITED STATES SENATE COMMITTEE ON LABOR AND
                HUMAN RESOURCES, Consultant to the Chairman
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 HONORARY DEGREES

 1992           AMHERST COLLEGE, Amherst, Massachusetts
                Doctor of Science honoris causa

 1992           GEORGE WASHINGTON UNIVERSITY, Washington, D.C.
                Doctor of Science honoris causa

 1993           PHILADELPHIA COLLEGE OF PHARMACY AND SCIENCE, Philadelphia,
                Pennsylvania, Doctor of Science honoris causa

 1993           DICKINSON COLLEGE OF LAW, Carlisle, Pennsylvania
                Doctor of Laws honoris causa

 1995           ALBANY MEDICAL COLLEGE, Albany, New York
                Doctor of Science honoris causa

 1997           NORTHEASTERN UNIVERSITY, Boston, Massachusetts
                Doctor of Science honoris causa

 1998           MOUNT SINAI SCHOOL OF MEDICINE, New York, New York
                Doctor of Humane Letters honoris causa

 1998           COLGATE UNIVERSITY, Hamilton, New York
                Doctor of Science honoris causa

 1998           YALE UNIVERSITY, New Haven, Connecticut
                Master of Arts privation

 1999           CONNECTICUT COLLEGE, New London, Connecticut
                Doctor of Humane Letters honoris causa

 2001           DICKINSON COLLEGE, Carlisle, Pennsylvania
                Doctor of Science, honoris causa

 2001           UNION COLLEGE, Schenectady, New York
                Doctor of Laws, honoris causa

 2002           UNIVERSITY OF LOUISVILLE, Louisville, Kentucky
                Doctor of Public Service, honoris causa

 2005           STATE UNIVERSITY OF NEW YORK, Syracuse, NY
                Doctor of Science, honoris causa
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 2012           DREXEL UNIVERSITY, Philadelphia, PA
                Doctor of Science, honoris causa

 2013           CLAREMONT GRADUATE UNIVERSITY, Claremont, CA
                Doctor of Science, honoris causa

 2021           ALBERT EINSTEIN COLLEGE OF MEDICNE


 HONORS

                NATIONAL ACADEMY OF SCIENCES, Public Welfare Medal,
                Honorary Member

                INSTITUTE OF MEDICINE, Member

                AMERICAN SOCIETY OF CLINICAL ONCOLOGY
                Distinguished Service Award for Scientific Achievement

                AMERICAN ACADEMY OF ARTS AND SCIENCES, Fellow

                PHI BETA KAPPA, Amherst College

                UNIVERSITY OF CHICAGO LAW REVIEW, Associate Editor

                2008 PUBLIC HEALTH HERO AWARD, UC Berkeley

                SIGMA XI, The Scientific Research Society of North America

                BARNARD COLLEGE Barnard
                Medal of Distinction

                CASPAR PLATT AWARD, The University of Chicago Law School

                HARVARD BLODGETT AWARD IN BIOLOGY, Amherst College

                WHITING FOUNDATION GRANT-IN-AID for research at
                Sloan-Kettering Institute

                NATIONAL SCIENCE FOUNDATION FELLOWSHIP (declined)

                JOHN WOODRUFF SIMPSON FELLOWSHIP, awarded by Amherst
                College for the study of medicine

                ALVAN T.--VIOLA D. FULLER AMERICAN CANCER SOCIETY
                JUNIOR RESEARCH FELLOW (declined)

                NATIONAL INSTITUTES OF HEALTH TRAINING FELLOWSHIP
                RECIPIENT Marine Biological Laboratory,
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                Woods Hole, Massachusetts

                PHI DELTA THETA SCHOLARSHIP
                DISTINGUISHED PUBLIC SERVICE AWARD
                The George Washington University School of Medicine and Health Sciences

                UNITED STATES DEPARTMENT OF JUSTICE, CIVIL DIVISION
                Special Citation

                AMERICAN SOCIETY OF PUBLIC ADMINISTRATION
                National Capitol Area Chapter
                President's Award for Outstanding Achievement

                AMERICAN FEDERATION FOR AIDS RESEARCH (AmFAR)
                Sheldon W. Andelson Public Policy Achievement Award

                THE WOODROW WILSON AWARD FOR DISTINGUISHED
                GOVERNMENT SERVICE Johns Hopkins University

                HAL OGDEN AWARD
                Association of State and Territorial Directors of Health Promotion and
                Public Health Education and the U. S. Centers for Disease Control

                NATIONAL ORGANIZATION FOR RARE DISEASES (NORD)
                Outstanding Service to the Public Health Award

                MARCH OF DIMES
                Franklin Delano Roosevelt Leadership Award

                CHILDREN'S HOSPITAL NATIONAL MEDICAL CENTER
                Children's Research Institute Award of Academic Excellence

                AMERICAN HEART ASSOCIATION
                National Public Affairs Special Recognition Award for Food Labeling

                ISRAEL CANCER RESEARCH FOUNDATION
                President's Award

                INSTITUTE FOR ADVANCED STUDIES IN IMMUNOLOGY AND AGING
                Lifetime Public Service Award

                AMERICAN LUNG ASSOCIATION
                Special Recognition Award

                UNIVERSITY OF CHICAGO ALUMNI ASSOCIATION
                Professional Achievement Award (Washington, D.C. Chapter)

                U. S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
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                Secretary's Award for Excellence in Public Service

                NATIONAL KIDNEY CANCER ASSOCIATION
                Progressive Leadership Award

                JOHNS HOPKINS UNIVERSITY SCHOOL OF PUBLIC HEALTH
                Dean's Medal

                AMERICAN CANCER SOCIETY
                Medal of Honor

                AMERICAN HEART ASSOCIATION
                Meritorious Achievement Award

                WORLD HEALTH ORGANIZATION Pan
                American World Health Organization World
                No Tobacco Day Award

                AMERICAN HEART ASSOCIATION
                National Public Affairs Special Recognition Award for Tobacco

                PROFESSIONAL ACHIEVEMENT CITATION, University of
                Chicago Alumni Association

                PENNSYLVANIA HOSPITAL Molly
                and Sidney N. Zubrow Award

                AMERICAN LUNG ASSOCIATION OF CONNECTICUT
                Humanitarian Award

                AMERICAN COLLEGE OF PREVENTIVE MEDICINE
                Special Recognition Award

                ASSOCIATION OF AMERICAN MEDICAL COLLEGES AND THE ROBERT
                WOOD JOHNSON FOUNDATION
                David E. Rogers Award for Improving Health and Healthcare of the American
                People

                JACOBS INSTITUTE OF WOMEN'S HEALTH
                Excellence in Women's Health Award

                NARAL PRO-CHOICE AMERICA
                Lifetime Achievement Award

                THE ASSOCIATION OF STATE AND TERRITORIAL CHRONIC DISEASE
                PROGRAM DIRECTORS
                Joseph W. Cullen Award for Outstanding Contributions to Chronic Disease
                Prevention and Control
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 David A. Kessler                                                                   Page 6


                THE COLLEGE OF WILLIAM & MARY LAW SCHOOL
                2005 Benjamin Rush Medal

                CALIFORNIA CENTER FOR PUBLIC HEALTH ADVOCACY
                David Kessler Award for Extraordinary Contribution to the Public
                Health

                BOOKS FOR A BETTER LIFE AWARD

 INTERNSHIP & RESIDENCY

  1981-1982     SENIOR ASSISTANT RESIDENT, Department of Pediatrics,
                The Johns Hopkins Hospital

 1980-1981 ASSISTANT RESIDENT, Department of Pediatrics,
           The Johns Hopkins Hospital

 1979-1980 INTERN, Department of Pediatrics,
           The Johns Hopkins Hospital


 ACADEMIC APPOINTMENTS

 2003-          UNIVERSITY OF CALIFORNIA, SAN FRANCISCO
 present        Professor of Pediatrics
                Professor of Epidemiology and Biostatistics

 1997-          YALE UNIVERSITY
 2003           Professor of Pediatrics
                Professor of Internal Medicine
                Professor of Public Health

 1990-          ALBERT EINSTEIN COLLEGE OF MEDICINE
 1997           Department of Pediatrics
                Department of Epidemiology and Social Medicine
                Associate Professor of Pediatrics
                Associate Professor of Epidemiology and Social Medicine

 1988-          ALBERT EINSTEIN COLLEGE OF MEDICINE
 1990           Department of Epidemiology and Social Medicine
                Assistant Professor

 1986-          COLUMBIA UNIVERSITY SCHOOL OF LAW
 1990           Julius Silver Program in Law, Science and Technology
                Lecturer on Law
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 1982-          ALBERT EINSTEIN COLLEGE OF MEDICINE
 1990           Department of Pediatrics
                Assistant Professor

SPECIAL STUDY

June          JOHNS HOPKINS SCHOOL OF HYGIENE AND PUBLIC HEALTH
1987          Graduate Summer Program in Epidemiology - Pharmacoepidemiology

June          YALE SCHOOL OF ORGANIZATION AND MANAGEMENT
1985          Advanced Management Studies in Health Care Management

1977-1978     HARVARD LAW SCHOOL, Special Student

RESEARCH EXPERIENCE

Summers         SLOAN-KETTERING INSTITUTE FOR CANCER RESEARCH
1970-1972       Division of Drug Resistance, New York, New York
                Research Asst

Summer          MARINE BIOLOGICAL LABORATORY, Woods Hole, Massachusetts
1972            Physiology course

1974-1975       CHILDREN'S HOSPITAL MEDICAL CENTER
                Department of Surgical Research, Boston, Massachusetts
                Research Associate

Summer         DEPARTMENT OF HEALTH, EDUCATION and WELFARE
1976           Office of the General Counsel, Chicago, Illinois
               Law Clerk


VISITING COMMITTEE

1992-1994      UNIVERSITY OF CHICAGO LAW SCHOOL


UNIVERSITY ACCREDITATION


2008-2012       WESTERN ASSOCIATION OF SCHOOLS AND COLLEGES,
                Chair of LLU Accreditation Committee

2013-2015      NORTHWEST COMMISSION ON COLLEGES AND UNIVERSITIES
               University of Washington
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SPECIAL PROJECTS

1982-1988      THE ROBERT WOOD JOHNSON FOUNDATION
               Program for Hospital Initiatives in Long-Term Care,

1989-1990      THE PEW CHARITABLE TRUSTS
               THE ROBERT WOOD JOHNSON FOUNDATION
               Program to Strengthen Hospital Nursing Co-Director


 CORPORATE BOARD AND ADVISORY POSITIONS AND COMMITTEES

 2020               ELLODI PHARMACEUTICALS

 2011 - 2020        IMMUCOR
                    Member of Board, Chairman of Compliance Committee

 2008 - 2020        TPG Senior Advior
 2011 - 2014        APTALIS HOLDINGS
                    Member of Board, Chairman of Compliance Committee

 2009 –2017         TOKAI
                    Member of Board

 2007               GOOGLE HEALTH ADVISORY COUNCIL

 2007               REVOLUTION HEALTH GROUP
                    Medical Advisory Board

 2007               PERSEUS LLC
                    Advisory Board

 2003 – 2014        FLEISHMAN HILLARD INTERNATIONAL COMMUNICATIONS
                    International Advisory Board

 2000 - 2003        PERSEUS-SOROS BIOTECHNOLOGY FUND Scientific Advisory Board


 ADVISORY COMMITTEES

 2007               THE RHODES TRUST, THE RHODES SCHOLARSHIPS
                    Chair, California Selection Committee
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 2006               CENTER FOR THE ADVANCED STUDIES ON AGING, UNIVERSITY OF
                    MIAMI External Advisory
                    Group

 2005 -2015 BROAD MEDICAL RESEARCH PROGRAM
            Advisory Board

 2005               CLINTON SCHOOL OF PUBLIC HEALTH, UNIVERSITY OF ARKANSAS
                    FOR MEDICAL SCIENCES
                    National Advisory Board

 2003, 2013         HEINZ AWARDS (HEINZ FAMILY FOUNDATION)
                    Awards Juror

 2003               MARCH OF DIMES
                    Chair, Prematurity Campaign in Northern California

 2002 - 2004        CENTER ON ALCOHOL MARKETING AND YOUTH AT GEORGETOWN
                    UNIVERSITY Advisory Board

 2001 -             UNIVERSITY OF CHICAGO LAW REVIEW
                    Editorial Advisory Board

 2000 - 2005        JOURNAL OF THE AMERICAN MEDICAL ASSOCIATION
                    Oversight Committee

 2000               GOVERNOR'S BLUE RIBBON COMMISSION ON MENTAL HEALTH,
                    STATE OF CONNECTICUT
                    Honorary Chair

 2000               FILM AID INTERNATIONAL, INTERNATIONAL RESCUE COMMITTEE
                    Advisory Board

 1999               WORLD HEALTH ORGANIZATION
                    Expert Panel on Tobacco

 1997               ADVISORY COMMITTEE ON TOBACCO AND PUBLIC HEALTH
                    (Co-Chairman with C. Everett Koop)

 1993               GOVERNMENT UNIVERSITY INDUSTRY ROUNDTABLE
                    National Academy of Sciences

 1990               ADVISORY COMMITTEE ON THE FOOD AND DRUG ADMINISTRATION
                    Chairman, Drugs and Biologics Subcommittee

 1988 - 1989 NATIONAL ADVISORY COUNCIL ON HEALTH CARE TECHNOLOGY
             ASSESSMENT, Department of Health and Human Services, Washington, D.C.
             Chairman, Patient Outcomes Subcommittee
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 PRIOR FEDERAL COMMITTEE MEMBERSHIPS

                WHITE HOUSE COMMISSION ON PRESIDENTIAL SCHOLARS

                NATIONAL COUNCIL ON SCIENCE AND TECHNOLOGY
                Committee on Health, Safety and Food R&D, Vice Chair

                INSTITUTE OF MEDICINE
                Forum On Drug Development and Regulation

                INSTITUTE OF MEDICINE
                AIDS Roundtable

                NATIONAL TASK FORCE ON AIDS DRUG DEVELOPMENT

                OFFICE OF SCIENCE AND TECHNOLOGY POLICY Federal Coordinating
                Council for Science, Engineering and Technology Committee on Life Science
                and Health Biotechnology Research Subcommittee, Member ex officio


 BOARDS OF DIRECTORS

    Past

                CENTER FOR SCIENCE IN THE PUBLIC INTEREST

                      Chairman of Board

                DRUG STRATEGIES

                AMHERST COLLEGE BOARD OF TRUSTEES

                ELIZABETH GLASER PEDIATRIC AIDS FOUNDATION

                      Chairman, Board of Directors
                NATIONAL CENTER FOR ADDICTION AND SUBSTANCE ABUSE
                COLUMBIA UNIVERSITY

                INTERNATIONAL PARTNERSHIP FOR MICROBICIDES INDEPENDENT
                CITIZENS OVERSIGHT COMMITTEE OF THE CALIFORNIA INSTITUTE
                FOR REGENERATIVE MEDICINE

                HENRY J. KAISER FAMILY FOUNDATION

                DOCTORS OF THE WORLD
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                YALE-NEW HAVEN HOSPITAL

                CONSUMERS UNION

                NATIONAL COMMITTEE FOR QUALITY ASSURANCE

                NEW YORK COUNTY HEALTH SERVICE REVIEW ORGANIZATION

                COMPREHENSIVE MEDICAL REVIEW ORGANIZATION


 FELLOWSHIP

                YALE COLLEGE Fellow,
                Calhoun College


 LECTURESHIPS

                THE REGIS J. FALLON LECTURE SERIES ON HEALTH AND LAW
                University of Chicago

                GRAYSON DISTINGUISHED LECTURE
                Southern Illinois University School of Law

                WEINBERG SYMPOSIUM LECTURE
                Harvard Medical School

                THE THOMAS B. FERGUSON LECTURE
                Society of Thoracic Surgeons

                GEORGE E. ALTMAN, M.D. LECTURE
                Beth Israel Hospital

                BETH AND RICHARD SACKLER LECTURE
                University of Pennsylvania

                MARTIN W. WITTE LECTURE
                Newport Beach Public Library and Newport Beach Public Library Foundation

                HERBERT L. ABRAMS LECTURE
                Harvard Medical School

                GEORGE GOODMAN LECTURE
                State University of New York at Stony Brook

                EVNIN LECTURE
                Princeton University, Woodrow Wilson School
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                BOYARSKY LECTURE
                Law, Medicine, and Ethics, Kenan Ethics Program, Duke University

                CHARTER LECTURE
                The University of Georgia

                GARDERE & WYNNE LECTURE
                Health Law and Policy Institute, University of Houston

                DISTINGUISHED LECTURE IN NATIONAL SERVICE
                University of Miami

                TENTH ANNUAL JOHN O. VIETA, MD LECTURE
                Lenox Hill Hospital

                HARPER FELLOWSHIP LECTURE
                Yale Law School

                DR. JAMES STEWART KAUFMAN MEMORIAL LECTURE
                The Mt. Sinai Health Care Foundation

                DULCY B. MILLER MEMORIAL LECTURE
                Smith College

                JEAN MAYER LECTURE IN NUTRITION AND FOOD POLICY
                Tufts University

                HENRY BARNETT DISTINGUISHED LECTURESHIP
                Albert Einstein College of Medicine

                MARTIN A. CHERKASKY DISTINGUISHED LECTURESHIP
                Robert Wagner Graduate School of Public Service New York
                University

                ALPHA OMEGA ALPHA DISTINGUISHED LECTURESHIP
                Cornell Medical School--New York Hospital

                ST. GEORGE SOCIETY LECTURESHIP
                Johns Hopkins Medical School

                GOVERNOR WINTHROP ROCKEFELLER DISTINGUISHED
                LECTURESHIP University of Arkansas Medical School

                MOLLY AND SIDNEY N. ZUBROW LECTURE
                Pennsylvania Hospital

                LEROY HOECK M.D. DISTINGUISHED LECTURESHIP
                Children's Hospital National Medical Center
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                JULES AND JANE HIRSH HEALTH POLICY ADDRESS
                George Washington University

                JOHN S. LATTA LECTURESHIP
                University of Nebraska Medical
                School

                PAUL K. SMITH MEMORIAL LECTURE
                George Washington University

                WOLK HEART FOUNDATION LECTURE
                Colgate University

                HASTINGS LECTURE
                Association for the Advancement of Medical Instrumentation
                National Heart, Lung and Blood Institute

                INSTITUTE OF MEDICINE 25TH DISTINGUISHED LECTURESHIP University
                of Washington

                RALPH CAZORT LECTURESHIP
                Meharry Medical School

                DAVID M. IFSHIN MEMORIAL LECTURE
                Potomac, Maryland

                CHARLES C. LEIGHTON MEMORIAL LECTURE
                Leonard David Institute of Health Economics
                University of Pennsylvania

                D. W. HARRINGTON LECTURE State
                University of New York At Buffalo School of
                Medicine and Biomedical Sciences

                SAMUEL RUBIN LECTURE FOR THE ADVANCEMENT OF LIBERTY
                Columbia University

                LEO S. WEIL MEMORIAL LECTURE
                Tulane Medical Center, Touro Infirmary,
                and Louisiana State University School of Medicine

                THOMAS PARRIN LECTURE
                University of Pittsburgh School of Public Health

                DAVID PACKARD LECTURE
                Uniformed Services University of the Health Sciences

                NORMAN E. ZINBERG LECTURE
                Harvard Medical School
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                JOHN H. ERSKINE LECTURE
                St. Jude's Children's Research Hospital

                MARTIN V. BONVENTRE MEMORIAL LECTURE
                The Brooklyn Hospital Center

                PURVES LECTURE
                Woodbridge Library, Woodbridge, Connecticut

                VISITING SCHOLAR LECTURE University of
                Oklahoma - Board of Regents Oklahoma Scholar
                Leadership Extension Program

                J. ROSWELL GALLAGHER LECTURER
                Society of Adolescent Medicine

                KATHERINE BOUCOT STURGIS LECTURESHIP
                American College of Preventive Medicine

                HELMUT SCHUMANN LECTURE
                Dartmouth-Hitchcock Medical Center

                50TH ANNIVERSARY COMMUNICATION LECTURE
                Centers for Disease Control and Prevention

                5TH JAMES BORDLEY III MEMORIAL LECTURE
                Mary Imogene Bassett Hospital

                TURNER LECTURE
                University of California

                MARIE SHULSKY MEMORIAL LECTURE ON HEALTH AND
                SOCIAL RESPONSIBILITY
                Fifth Avenue Synagogue, New York, New York

                GERTRUDE AND G.D. CRAIN, JR. LECTURE SERIES
                Medill School of Journalism, Northwestern University

                GEORGE ARMSTRONG LECTURE
                Ambulatory Pediatric Society

                ARCO FORUM OF PUBLIC AFFAIRS
                Institute of Politics, John F. Kennedy School of Government
                Harvard University

                PAUL LEVINGER LECTURE AND PROFESSORSHIP PRO TEM IN THE
                ECONOMICS OF HEALTH CARE Brown University
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                ARNOLD J. SCHWARTZ MEMORIAL HEALTH LECTURE
                Robert F. Wagner Graduate School of Public Service New York
                University

                RONALD ALTMAN MEMORIAL LECTURE
                Festival of Arts, Books and Culture, Cherry Hills, New Jersey

                SAMUEL MARTIN, M.D. III MEMORIAL LECTURE Division of
                General Internal Medicine and Leonard Davis Institute University of
                Pennsylvania

                CARL J. MARTINSON, M.D. MEMORIAL LECTURESHIP ON HEALTH
                PROMOTION AND DISEASE PREVENTION University of Minnesota

                LEONARD SILK MEMORIAL LECTURE Mt.
                Desert Island Biological Laboratories

                CALDWELL LECTURE
                American Roentgen Ray Society

                RICHARD H. DENT LECTURE St.
                George's School

                ROBERT T. WONG DISTINGUISHED PROFESSORSHIP
                University of Hawaii, Manoa

                NIDA/American Psychiatric Association Obesity Symposium

                HARVARD OBESITY COURSE

                STANFORD BARIATRIC COURSE

                AMERICAN BARIATRIC SOCIETY

                RHODES ENDOWED LECTURE

                STAFFORD LITTLE LECTURE PUBLIC LECTURES AT
                PRINCETON

                GERALD AND SALLY DENARDO LECTURESHIP, SANTA
                CLARA UNIVERSITY

                ALEX AND LENA CASPER MEMORIAL LECTURE, MIAMI
                UNIVERSITY

                UNIVERSITY OF VERMONT FOOD SYSTEMS
                LEADERSHIP

                GOOGLE LECTURE
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                GLOBAL STUDIES SYMPOSIUM, WHITMAN COLLEGE
                Excellence in Public Service

                DONALD DUNPHY LECTURE, MCCONE HOSPITAL,
                UNIVERSITY OF NORTH CAROLINA

                CENTER FOR GLOBAL HEALTH, STANFORD MEDICAL
                SCHOOL

                STANFORD UNIVERSITY: THE ETHICS OF FOOD & THE
                ENVIRONMENT

                STANFORD MEDICAL SCHOOL, DEPARTMENT OF
                MEDICINE, GRAND ROUNDS

                LEGACY WARNER SERIES LECTURE ON IMPACT OF
                FAMILY AND SMOKING PREVENTION AND CONTROL
                ACT

                LEADING VOICES IN PUBLIC HEALTH, EAST
                TENNESSEE STATE UNIVERSITY

                92ND STREET YMCA PUBLIC LECTURE, NEW YORK

                COMMONWEALTH CLUB OF CALIFORNIA

                SAN FRANCISCO PUBLIC LIBRARY LECTURE

                KANSAS CITY PUBLIC LIBRARY

                YALE ROBERT WOOD JOHNSON CLINICAL SCHOLARS
                PROGRAM


 COMMUNITY/PUBLIC SERVICE AWARDS

                NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                PEOPLE
                Montgomery County Chapter
                Person of the Year

                LEAGUE OF WOMEN VOTERS, NEW YORK
                Carrie Chapman Catt Award

                COMMON CAUSE
                Public Service Achievement Award
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                AMERICAN ACADEMY OF PEDIATRICS
                Excellence in Public Service

                BUSINESS WEEK
                Best in Public Service

                GEORGE ORWELL AWARD FOR HONESTY AND CLARITY
                IN PUBLIC LANGUAGE
                National Conference of Teachers of English

                ANTI-DEFAMATION LEAGUE OF B'NAI BRITH
                Man of Achievement Five Towns, New York

                GOLDEN SLIPPER CLUB OF PHILADELPHIA
                Golden Slipper Award

                NATIONAL FATHER'S DAY COMMITTEE
                Father of the Year Award

                UNITED SENIORS HEALTH COOPERATIVE
                Seniors Advocate Award

                NATIONAL ASSOCIATION OF GOVERNMENT COMMUNICATORS
                Communicator of the Year Award

                NATIONAL CONSUMERS LEAGUE
                Trumpeter Award

                THE INTERNATIONAL PLATFORM ASSOCIATION
                George Crile Award

                AMERICAN LUNG ASSOCIATION of New York
                Life and Breath Award in Public Health

                CONSUMER FEDERATION OF AMERICA
                Philip Hart Public Service Award

                CAMPAIGN FOR TOBACCO FREE KIDS
                Distinguished Service Award

                MEDICAL SOCIETY OF NEW YORK, 1st District Branch
                Public Service Award

                ONCOLOGY NURSING SOCIETY
                Public Service Award

                PUBLIC VOICE FOR FOOD & HEALTH POLICY
                Special Recognition Award for Advancing the Consumer Interest in Food and
                Agriculture Policy
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 David A. Kessler                                                                    Page 18


 ATTENDING PEDIATRICIAN

 2003 - 2013        UNIVERSITY OF CALIFORNIA, SAN FRANCISCO MEDICAL
                    CENTER

 1997-2003          YALE-NEW HAVEN HOSPITAL

 1982-1990          BRONX MUNICIPAL HOSPITAL CENTER

 1982-1990          NORTH CENTRAL BRONX HOSPITAL

 1982-1990          MONTEFIORE MEDICAL CENTER

 1982-1990          HOSPITAL OF THE ALBERT EINSTEIN COLLEGE OF MEDICINE


 COMMUNITY ACTIVITIES

                 SCARSDALE SCHOOL DISTRICT, Scarsdale, New York

 1986-1990       Legislative Affairs Advisory Committee 1988-
                 1990 Buildings and Facilities Advisory
                 Committee

 1990            SCARSDALE STUDENT TRANSFER EDUCATION PLAN, Board of Trustees



 GENERAL INFORMATION

 Address:                                                              Office Phone:
         9 Oxford Street                                               (415)310-8084
         Chevy Chase, Maryland 20815

 Married:                                                             Born:
            Paulette Kessler                                          May 31, 1951
            Two children - Elise and Ben


 MEDICAL LICENSURE
          California
          Connecticut (non-active)
          Maryland
          New York (non-active)
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                       被绑架的心灵
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                         Translated and Adapted:
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                         Perché mangianmo troppo (e come fare per smetteria
                         Laat je niet volvreten: Hoe de voedselindustgrie schade toebrengt ann
                             onze gexondheid
                         Das Ende des groben Fressens Wie die Nahrungsmittelindustrie Sie zu
                             ubermaBigem Essen berleitet und was Sie dagegen tun konnen
                         Muszáj annyit enni? Hadüzenet a só, a zsír és a cukor ellen
                         Also: Romania, Canada, UK, Australia, India
                         Your Food is Fooling You: How Your Brain is Hijacked by Sugar Fat
                             and Salt (US Young Adult Version)
                         Hijacked: How Your Brain is Fooled by Food (Canadian Young Adult
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                      APPENDIX B: PRIOR TESTIMONY




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 Dr. David Kessler testified at trial or deposition as an expert in the following cases over more
 than the last twelve years through November 15, 2023:
      •   In re Risperdal, Philadelphia, PA and Texas cases, including No. 2012CCV-61916-1
          (Tex. Dist. Ct. filed Oct. 2, 2012 and Pledger and Walker); Wolken JCCP 4775
      •   Wells v. Allergan, Inc. No. 12-973 (W.D. Okla. filed Sept. 4, 2012);
      •   Drake v. Allergan, Case No. 2013 vv00234 (U.S. Dist. Ct. Burlington, Vermont)
      •   In re C.R. Bard, Inc., Pelvic Repair Sys. Prods. Liab. Litig., MDL No. 2187 (S.D.W.V.
          filed July 15, 2010)
      •   SB v. Ortho-McNeil-Janssen Pharm., Inc. (In re Risperdal Litig.), No. 100503629
          (Pa. Ct. Com. Pl. filed May 27, 2010)
      •   In re Yaz & Yasmin (Drospirenone) Marketing, Sales Practices & Prods. Lib.
          Litig., MDL No. 2100 (J.P.M.L. filed July 30, 2009)
      •   In re Flonase Antitrust Litigation (American Sales Company, Inc. v. Smithkline
          Beecham Corp.), 08-cv- 3149, United States District Court, Eastern District of
          Pennsylvania
      •   Pharmathene, Inc. v. Siga Techs., Inc., No. 2627 (Del. Ch. filed Dec. 20, 2006)
      •   Commonwealth v. Merck & Co., No. 09-1671 (Ky. Cir. Ct. filed Sept. 28, 2009) (and
          Utah)
      •   State v. Merck & Co., No. 05-3700 (E.D. La. filed Aug. 5, 2005)
      •   Commonwealth Care Alliance v. AstraZeneca Pharm. L.P., No. SUCV2005-269
          (Mass. Super. Ct. filed Jan. 25, 2005)
      •   Smith & Nephew, Inc. v. N.H. Ins. Co., No. 04-3027 (W.D. Tenn. filed Dec. 17, 2004)
      •   In re Neurontin Marketing, Sales Practices & Prods. Liab. Litig., MDL No. 1629
          (D. Mass. filed June 9, 2004)
      •   Brown v. Am. Brands, Inc., No. 711400 (Cal Super. Ct. filed June 10, 1997)
      •   In re: Actos (Pioglitazone) Prods. Lib. Litig., No. 11-md-2299 (W. D. La. filed Dec. 29,
          2011)
      •   Brown v RJ Reynolds Tobacco Company et al., No. 2007 CA 002855 (Fla. Cir. Ct. filed
          Nov. 28, 2007)
      •   In re Merck & Co., Inc. Sec., Deriv. & “ERISA” Litig., MDL No. 1658, No. 05-
          2367 (D.N.J. filed May 5, 2005)
      •   In re Prograf Antitrust Litigation, MDL No. 2242 (U.S. District Court, District of
          Massachusetts
      •   In re Nexium Antitrust Litigation, MDL No. 2419 (U.S. District Court, District of
          Massachusetts)
      •   Cabana v. Stryker. Superior Court of State of California, Los Angeles
      •   In Re: Fosamax Litigation, Civil Action No. 282, (Superior Court of New Jersey,
          Atlantic County) and Case No. 30-2012-00547764 (Superior Court of California,
          Orange County)
      •   Western Sugar Coop et al v. Archer-Daniels-Midland Co, et al, No. 11-03473
          (U.S. District Court, Central District of California)
      •   H.B., et al. v. Abbott Laboratories, No. #15-cv-702-NJR-SCW (U.S. District
          Court, Southern District of Illinois, filed June 26, 2015)
      •   In re New England Compounding Pharmacy, Inc. Products Liability Litigation,



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         MDL No. 2419 (U.S. District Court, District of Massachusetts, filed 2/14/13)
     •   In re: DePuy Orthopaedics, Inc., Pinnacle Hip Implant Prods. Liab. Litig., MDL
         No. 3:11-md-02244 (U.S. District Court, Northern District of Texas, filed May 24,
         2011)
     •   In re: Tropicana Orange Juice Mktg. & Sales Practices Litig., MDL No. 2353, No.
         2:11-cv-07382 (U.S. District Court, District of New Jersey, filed Aug. 10, 2012)
     •   In re Cipro Cases I and II, Nos. 4154 & 4220 (Cal. Super. Ct., filed Feb. 25, 2002)
     •   Anders v. Medtronic, Inc., et al., No. 1322-CC10219-02 (Mo Cir. Ct.)
     •   Austin v. C.R. Bard, Inc., et al., Case No. 15-cv-8373 (Circuit Court of the 17th
         Judicial Circuit (Div. 7), Broward County, Florida).
     •   In re Bard IVC Filters Products Liability Litigation, Case No. 2:15-MD- 02641-
         DGC.
     •   In re: Zoloft Litigation, JCCP No. 4771 (Superior Court of California, Orange County)
     •   In re: Testosterone Replacement Therapy Product Liability Litigation, MDL No.
         2545 (U.S. District Court, Northern District of Illinois – Eastern Division)
     •   In re: Xarelto Products Liability Litigation, MDL No. 2592 (U.S. District Court,
         Eastern District of Louisiana – New Orleans Division); Philadelphia County Court
         of Common Pleas
     •   In re: Benicar (Olmesartan) Product Liability Litigation, Civil No. 15-2606
         (U.S. District Court, District of New Jersey)
     •   In re: Cook Medical, Inc. IVC Filters Marketing, Sales Practices and Product
         Liability Litigation, MDL No. 2570 (U.S. District Court, Southern District of
         Indiana – Indianapolis Division)
     •   State of Texas, ex rel. v. AstraZeneca LP, et al., Case No. D-1-GN-13-003530
         (District Court of Travis County, Texas)
     •   Council for Education and Research on Toxics v. Starbucks Corp. et al., case
         number BC435759
     •   In re: Asacol Antitrust Litigation, Case No. 1:15-cv-12730-DJC (U.S. District Court for
         the District of Massachusetts)
     •   United States v. Merck. ex rel., In re: Merck Mumps Vaccine Antitrust Litigation
         (U.S. District Court, Eastern District of Pennsylvania)
     •   Blue Cross Blue Shield v GlaxoSmithKline (U.S. District Court, Eastern District of
         Pennsylvania)
     •   Tinsley v. Streich (Circuit Court City of Charlottesville, Virginia))
     •   People of the State of California v. Johnson & Johnson, et al., Case No. 37-2016-
         00017229-CU-MC-CTL (Superior Court of the State of California, County of San
         Diego)
     •   In re: Taxotere (Docetaxel) Products Liability Litigation, MDL No. 2740 (U.S. District
         Court, Eastern District of Louisiana)
     •   In re: National Prescription Opiate Litigation, MDL No. 3804 (U.S. District Court,
         Northern District of Ohio)
     •   The Hospital Authority of Metropolitan Government of Nashville and Davidson
         County, Tennessee v. Momenta Pharmaceuticals, et al., Case No. 3:15-cv-01100 (U.S.
         District Court, Middle District of Tennessee)
     •   Coordinated Proceeding Essure Product JCCP 4887, Superior Ct of California,
         Alalameda


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     •   In re: Davol, Inc./C.R. Bard, Inc., Polypropylene Hernia Mesh Products Liability
         Litigation, 2:18-md-2846 (U.S. District Court, Southern District of Ohio)
     •   People of the State of New York v. Opioid Manufacturers, Distributors and
         Pharmacies Supreme Court of the State of New York, County of Suffolk
     •   In re: Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litigation, Case No.
         1:18-md-02819 (U.S. District Court, Eastern District of New York)
     •   Hamilton v. Novartis, et. al., Case No. 37-2013-00070440 (California Superior Court)
     •   Hofferth v. Janssen Pharmaceuticals, Case No. 3:17-01560 (U.S. District Court, D.
         South Carolina, Columbia Division)



  Dr. David Kessler provided sworn expert statements in the following cases:


     •   DePuy ASR Hip System Cases, No. CJC-10-4649 (Cal. Super. Ct. filed Dec. 22, 2010)
     •   Cordero v. Endoscopy Ctr. of S. Nev. LLC (In the Matter of Endoscopy Ctr. &
         Associated Businesses), No. 08-A-558091-C (Nev. Dist. Ct. filed Feb. 28, 2008)
     •   Jenkins et. al. v. Medtronic, Inc. et al., Case No. 2:13cv02985 (U.S. District Court,
         Western District of Tennessee)
     •   People of the State of California v. Purdue Pharma L.P., et al., Case No. 30-2014-
         00725287-CU-BT-CXC (Superior Court of the State of California, County of Orange)
     •   N.C.minor v. Hain Celestial Group et al. Superior Court for the State of California,
         County of Los Angeles Case No. 21STCV22822




 Hourly rate: $1,250/hr




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                   APPENDIX C: MATERIALS CONSIDERED




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   21 CFR 310.545
   21 CFR 73.1550
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   21 CFR 895.103
   21 CFR 895.104
   21 USC §331(a)
   21 USC §361
   30(b)(6) Deposition and Exhibits of Donald Hicks taken on 6.28.18 and 6.29.18
   30(b)(6) Deposition and Exhibits of John Hopkins taken on 8.16.18, 8.17.18, 10.17.18, 11.05.18
   30(b)(6) Deposition and Exhibits of Joshua Muscat taken on 9.25.18
   30(b)(6) Deposition and Exhibits of Julie Pier taken on 9.12.18 and 9.13.18
   30(b)(6) Deposition and Exhibits of Linda Loretz taken on 7.17.18, 10.1.18 and 10.2.18
   30(b)(6) Deposition and Exhibits of Margaret Gurowitz taken on 7.12.18
   30(b)(6) Deposition and Exhibits of Mark Pollack taken on 8.29.18
   30(b)(6) Deposition and Exhibits of Pat Downey taken on 8.7.18 and 8.8.18
   30(b)(6) Deposition and Exhibits of Robert Glenn taken on 10.18.18
   30(b)(6) Deposition and Exhibits of Susan Nicholson taken on 7.26.18 and 7.27.18
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   All Matthew Sanchez deposition and trial testimony and exhibits.
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   DX13033 - Compilation of exhibits DX-7309, DX-7142, DX-8187, et seq.
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   FDA_FOIA_005535
   FDA_FOIA_005549
   FDA_FOIA_005593
   FDA_FOIA_005631
   FDA_FOIA_005647
   FDA_FOIA_005767
   FDA_FOIA_009003
   FDA_FOIA_009373

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   Hopkins 110 (13 pages of various assorted bates #s; begins at JNJ 000250901)
   Hopkins 12
   Hopkins 124 (45 pages of various assorted bates #s)

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   Hopkins 128 (168 pages of various bates #s)
   Hopkins 13
   Hopkins 133 (781 various assorted bates #s beginning at JNJMX68_000000434)
   Hopkins 134 (314 various assorted bates #s; begins at JNJI4T5_000000692)
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   Hopkins 24
   Hopkins 25; JNJNL61_000013575
   Hopkins 26; JNJNL61_000021693
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   IMERYS 049953
   IMERYS 050651
   IMERYS 068497
   IMERYS 077676
   IMERYS 081025
   IMERYS 117597
   IMERYS 124796
   IMERYS 140471
   IMERYS 145558
   IMERYS 173520
   IMERYS 193653
   IMERYS 196407
   IMERYS 219720
   IMERYS 219721
   IMERYS 239407
   IMERYS 242497
   IMERYS 245837
   IMERYS 248208
   IMERYS 271483
   IMERYS 281625
   IMERYS 299322
   IMERYS 300644
   IMERYS 303828
   IMERYS 308446
   IMERYS 309325
   IMERYS 330548
   IMERYS 393976
   IMERYS 414536
   IMERYS 416192
   IMERYS 416201
   IMERYS 416215
   IMERYS 418290
   IMERYS 418301
   IMERYS 422062
   IMERYS 422992
   IMERYS 426609

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   IMERYS 430404
   IMERYS 436972
   IMERYS 437013
   IMERYS 437016
   IMERYS 437017
   IMERYS 441158
   IMERYS 441186
   IMERYS 442002
   IMERYS 443102
   IMERYS 444294
   IMERYS 446059
   IMERYS 446417
   IMERYS 446794
   IMERYS 446967
   IMERYS 447074
   IMERYS 447341
   IMERYS 448613
   IMERYS 542261
   IMERYS 542268
   IMERYS 550153
   IMERYS_00057325
   IMERYS_422064
   IMERYS026527
   IMERYS028813
   IMERYS034215
   IMERYS038563
   IMERYS040759
   IMERYS051370
   IMERYS056686
   IMERYS074844
   IMERYS074887
   IMERYS081025
   IMERYS099495
   IMERYS136822
   IMERYS136824
   IMERYS138675

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   IMERYS152814
   IMERYS205540
   IMERYS208853
   IMERYS209398
   IMERYS209930
   IMERYS210472
   IMERYS210707
   IMERYS239749
   IMERYS239757
   IMERYS239791
   IMERYS239883
   IMERYS240286
   IMERYS240342
   IMERYS240415
   IMERYS244415
   IMERYS244677
   IMERYS250192
   IMERYS250983
   IMERYS251651
   IMERYS255224
   IMERYS255384
   IMERYS265231
   IMERYS269418
   IMERYS279682
   IMERYS280786
   IMERYS281179
   IMERYS284935
   IMERYS288545
   IMERYS288588
   IMERYS299277
   IMERYS299322
   IMERYS303828
   IMERYS303841
   IMERYS303861
   IMERYS306274
   IMERYS306387

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   IMERYS308446
   IMERYS309326
   IMERYS324700
   IMERYS325989
   IMERYS363871
   IMERYS418290
   IMERYS422289
   IMERYS437666
   IMERYS442501
   IMERYS446794
   IMERYS456885
   IMERYS462959
   IMERYS467511
   IMERYS467736
   IMERYS-A_0005946
   IMERYS-A_0010837
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   J Hopkins D-25
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   J Hopkins D-27
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   J Hopkins D-6
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   J Hopkins D-8
   J Hopkins D-9
   J Hopkins Imerys 05
   J Hopkins PM Imerys 07
   J Hopkins PM J&J 201
   J Hopkins PM J&J 225
   J Hopkins PM J&J 283
   J Hopkins PM J&J 287
   J Hopkins PM J&J 297
   J Hopkins PM J&J 299
   J Hopkins PM J&J 301
   J Hopkins PM J&J 303
   J Hopkins PM J&J 305
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   J Hopkins PM J&J 327
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   J Hopkins PM J&J 331
   J Hopkins PM J&J 334
   J Hopkins PM J&J 340
   J Hopkins PM J&J 341
   J Hopkins PM J&J 342
   J&J 0005925
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   J&J 0007919; JNJ 000291563
   J&J 0012116; JNJ 000338279
   J&J 0017054; JNJZ55 000015437; Plaintiff Exhibit 2226-1
   J&J 0018692
   J&J 0023059; JNJMX68 000015818
   J&J 0023063; JNJMX68 000015819
   J&J 0023507; JNJMX68 000015892
   J&J 0023533; JNJMX68 000015898
   J&J 0023545; JNJ 000315161
   J&J 0023551; JNJ 000315164
   J&J 0023554; JNJ 000315167
   J&J 0023558; JNJ 000315170
   J&J 0023562; JNJ 000315173
   J&J 0023570; JNJ 000315179
   J&J 0023574; JNJMX68 000315182
   J&J 0023578; JNJ 000315185
   J&J 0023582; JNJ 000315188
   J&J 0023590; JNJ 000315194
   J&J 0023595; JNJMX68 000315197
   J&J 0023608; JNJMX68 000015916
   J&J 0023633; JNJMX68 000015922
   J&J 0023637; JNJMX68 000015923

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   J&J 0023641; JNJMX68 000015924
   J&J 0023778; JNJ 000315321
   J&J 0023782; JNJ 000315324
   J&J 0024162; JNJ 000315520
   J&J 0024166; JNJ 000315523
   J&J 0024174; JNJMX68 000016021
   J&J 0024239; JNJMX68 000016037
   J&J 0024248; JNJMX68 000016039
   J&J 0024313; JNJMX68 000016053
   J&J 0024337; JNJMX68 000016059
   J&J 0024413; JNJMX68 000016074
   J&J 0024431; JNJMX68 000016078
   J&J 0024440; JNJMX68 000016080
   J&J 0024456; JNJ 000315730
   J&J 0024464; JNJMX68 000016085
   J&J 0024485; JNJ 000315751
   J&J 0024501; JNJ 000315763
   J&J 0024509; JNJMX68 000016096
   J&J 0024513; JNJ 000315772
   J&J 0024523; JNJ 000315778
   J&J 0024526; JNJ000315781; D 0428 0001
   J&J 0024530; JNJ 000315784
   J&J 0024534; JNJ 000315787
   J&J 0024538; JNJ 000315790; D 0422 0001
   J&J 0024538; JNJMX68 00001612; D 0427 0001
   J&J 0024542; JNJ 000315793; D 0425 0001
   J&J 0024546; JNJ 000315796
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   J&J 0024567; JNJ 000315811; D 0415 0001
   J&J 0024571; JNJ 000315814; D 0414 0001
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   J&J 0025005; JNJMX68 00016129
   J&J 0025014; JNJMX68 000016132
   J&J 0025058; JNJMX68 000016150
   J&J 0025075; JNJMX68 000016157
   J&J 0025107; JNJMX68 000016169
   J&J 0025155; JNJMX 000016186
   J&J 0025168; JNJMX68 000016189
   J&J 0025201; JNJMX68 00016196
   J&J 0025214; JNJMX68 000016199
   J&J 0026063; JNJMX68 000016152
   J&J 0037447; JNJMX68 000011090
   J&J 0037466; JNJMX68 000011106
   J&J 0037475; JNJNL61_000037723
   J&J 0037477; JNJMX68 000011109
   J&J 0037480; JNJMX68_000011111
   J&J 0037492; JNJMX68 000011116
   J&J 0037504; JNJMX68 000011124
   J&J 0037512; JNJNL61_000037726
   J&J 0037519; JNJMX68_000011126
   J&J 0037540; JNJNL61_000037730
   J&J 0037541; JNJNL61_000037731
   J&J 0037542; JNJNL61_000037732
   J&J 0037543; JNJNL61_000037733
   J&J 0037544; JNJNL61_000037734
   J&J 0037546; JNJ 000280852
   J&J 0037547; JNJNL61_000037737
   J&J 0037548; JNJNL61_000037738
   J&J 0037623; JNJNL61_000037763
   J&J 0037625; JNJNL61_000037765
   J&J 0037626; JNJNL61_000037766
   J&J 0037627; JNJNL61_000037767
   J&J 0037628; JNJNL61_000037768

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   J&J 0037642; JNJNL61_000037770
   J&J 0037644; JNJNL61_000037771
   J&J 0037645; JNJNL61_000037772
   J&J 0037646; JNJNL61_000037773
   J&J 0037647; JNJNL61_000037774
   J&J 0037651; JNJNL61_000037775
   J&J 0037653; JNJNL61_000037777
   J&J 0044937; JNJ 000292066
   J&J 0049150; JNJNL61 000052427
   J&J 0059869; JNJMX68_000012023; Plaintiff Exhibit 2451-1
   J&J 0066332; JNJ 000327788; Pltf JNJ 00062458
   J&J 0066447; JNJNL61 000063476
   J&J 0070071; JNJMX68_000012063
   J&J 0070263; JNJAZ65 000014444
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   J&J 0073843; JNJTALC000138
   J&J 0073930; JNJ 000329832; Plft JNJ 00063125
   J&J 0083118; JNJNL 61 000062534
   J&J 0083362; JNJH29W_000010709
   J&J 0084545; JNJNL61_000062953
   J&J 0084587; JNJNL61 000062964; Schmitz Pltfs Ex 0647
   J&J 0087535; JNJAZ55_000017891
   J&J 0087625; JNJNL61 000064937
   J&J 0089804; JNJAZ55_000013775
   J&J 0090798; JNJNL61 000048137
   J&J 0093588; JNJAZ55_000011185
   J&J 0095138; JNJ 000033761; Plft JNJ 00006478
   J&J 0096500; JNJTALC000172085
   J&J -0096500; JNJTALC000376774; JNJTALC000172086
   J&J 0106409; JNJNL61 0000053191
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   J&J 0110820; JNJNL61 000067469
   J&J 0111727; JNJ 000334161; Pltf JNJ 000000034161
   J&J 0112675; JNJ 000065211
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   J&J 0146303; JNJAZ55 000013489
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   J&J 0148312; JNJNL61 000058192
   J&J 0149688; JNJMX68_000015773
   J&J 0150033
   J&J 0150033; JNJ 000304421
   J&J 0151109; JNJ 000343318
   J&J 0151109; JNJ 000343318; Hopkins 87
   J&J 0152253
   J&J 0152253; JNJ 000064511
   J&J 0163917; JNJNL61 000042443
   J&J 0164224; JNJ 000064649
   J&J 0164227; JNJ 000064652
   J&J 02
   J&J 04
   J&J 09
   J&J 10
   J&J 100
   J&J 105
   J&J 107
   J&J 108
   J&J 11
   J&J 111
   J&J 112
   J&J 121
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   J&J 148425; JNJNL61 000058245; Plaintiff Exhibit 2398-1
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   J&J 18
   J&J 182
   J&J 184
   J&J 185
   J&J 19
   J&J 190
   J&J 194
   J&J 198
   J&J 200
   J&J 201
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   J&J 207
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   J&J 216
   J&J 217
   J&J 219
   J&J 220
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   J&J 224
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   J&J 255
   J&J 256
   J&J 256; JNJAZ55_00000606 (bates# cut off)
   J&J 257
   J&J 258
   J&J 26
   J&J 262
   J&J 263
   J&J 267
   J&J 28
   J&J 29
   J&J 296
   J&J 298
   J&J 31
   J&J 33
   J&J 335
   J&J 34
   J&J 34; J&J-0005509
   J&J 35
   J&J 36
   J&J 38
   J&J 39
   J&J 44
   J&J 46
   J&J 47
   J&J 49
   J&J 57
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   J&J Healthwashing Babies For 100 Years
   J&J_0148425; JNJNL61_000058245
   J&J-00037531; JNJNL61_000037729
   J&J-0004370; JNJ000065570
   J&J-0004453; JNJ 000578888
   J&J-0004454; JNJ 000065627
   J&J-0004479; JNJ 000065646; DX-7202
   J&J-0004667; JNJH29W_000078719
   J&J-0004724; JNJNL61_000078757
   J&J-0005504; JNJ000346836
   J&J-0005504; JNJNL61_00007880
   J&J-0005694; JNJNL61_000078916
   J&J-0005912; JNJ 000577872
   J&J-0005925; JNJMX68_000012745
   J&J-0005925; JNJMX68_000012745; Plaintiff Exhibit 2620-1
   J&J-0005925; JNJMX68_000012745; PLT-00036-0001
   J&J-0006986; JNJ 000346992
   J&J-0007007; JNJ 000346999
   J&J-0007013; JNJNL61_000078978
   J&J-0007042; JNJ000347002
   J&J-0007064; JNJ000341705
   J&J-0007507; JNJMX68_000012803
   J&J-0007590; JNJ 000291467 (E-0564 - bates #s are out of order and assorted)
   J&J-0007785; JNJMX68_0000128749
   J&J-0007794; JNJMX68_000012851
   J&J-0007920
   J&J-0008053; JNJMX68_000012905
   J&J-0008356; JNJ 000291787
   J&J-0011098; JNJNL61_000053641

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   J&J-0017054; JNJ 000309861
   J&J-0018692; JNJ 000346335; Pltf_JNJ_00068182
   J&J-0020224; JNJNL61_000052948
   J&J-0020831; JNJ 000064241
   J&J-0021092
   J&J-0030343; JNJ 000312967
   J&J-0034263; JNJ 000314226
   J&J-0034263; JNJ 000314226; Hopkins 137
   J&J-0034299; JNJ 000684541
   J&J-0034484; JNJNL61_0000134004
   J&J-0034593; JNJNL61_000043235
   J&J-0034609; JNJ 00031425 (cut off)
   J&J-0034630
   J&J-0034630; JNJMX68_000013019
   J&J-0034643; JNJNL61_000043240
   J&J-0034677; JNJ 000314255
   J&J-0036693; JNJ 000031001
   J&J-0037209; JNJMX68_000011026
   J&J-0037376; JNJ 000280750
   J&J-0037377; JNJ 000280751
   J&J-0037380; JNJ 000280754
   J&J-0037381; JNJ 000280755
   J&J-0037382; JNJ 000280756
   J&J-0037383; JNJ 000280757
   J&J-0037388; JNJ 000280759
   J&J-0037390; JNJ 000280761
   J&J-0037391; JNJ 000280762; Pltf_JNJ (bates # illegible)
   J&J-0037394; JNJ 000280765
   J&J-0037395; JNJ 000280766
   J&J-0037404; JNJ 000280772
   J&J-0037404; JNJMX68_000011056
   J&J-0037405; JNJ 000280773
   J&J-0037406; JNJ 000280774
   J&J-0037407; JNJ 000280775
   J&J-0037409; JNJ 000280777
   J&J-0037410; JNJ 000280778

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   J&J-0037417; JNJ 000280782
   J&J-0037420; JNJ 000280785
   J&J-0037421; JNJ 000280786
   J&J-0037425; JNJ 000280790
   J&J-0037439; JNJ 00071234
   J&J-0037440; JNJTALC000071235
   J&J-0037474; JNJ 00071242
   J&J-0037476; JNJ 00071243
   J&J-0037478; JNJ 000280820
   J&J-0037479; JNJ 00071244
   J&J-0037481; JNJ 000280822
   J&J-0037482; JNJ 00071245
   J&J-0037486; JNJ 00071247
   J&J-0037488; JNJ 000280825
   J&J-0037489; JNJ 000280826
   J&J-0037497; JNJ 00071250
   J&J-0037500; JNJ 00071250
   J&J-0037503; JNJ 00071252
   J&J-0037511; JNJ 00071255
   J&J-0037512; JNJ 00071256
   J&J-0037514; JNJ 00071257
   J&J-0037515; JNJ 00071258
   J&J-0037516; JNJ 00071259
   J&J-0037517; JNJ 00071260
   J&J-0037518; JNJ 00071261
   J&J-0037521; JNJ 00071262
   J&J-0037526; JNJNL61_000037727
   J&J-0037528; JNJNL61_000037728
   J&J-0037532; JNJ 00071266
   J&J-0037533; JNJ 00071267
   J&J-0037534; JNJ 00071268
   J&J-0037535; JNJ 00071269
   J&J-0037536; JNJTALC000071270
   J&J-0037537; JNJ 00071271
   J&J-0037538; JNJ 00071272
   J&J-0037624; JNJNL61_000037764

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   J&J-0037632; JNJ 000683572
   J&J-0037633; JNJ 000683573
   J&J-0037648; JNJ 000683579
   J&J-0043656; JNJ 000347203
   J&J-0043746; JNJ 00031431
   J&J-0043746; JNJMX68_000015709
   J&J-0043746; JNJMX68_000015709; Hopkins 112
   J&J-0043753
   J&J-0043753; JNJ 000314315
   J&J-0043753; JNJMX68_00015711; Hopkins 111
   J&J-0044096; JNJNL61_000043286
   J&J-0044780; JNJMX68_000013066
   J&J-0044793; JNJMX68_00013067
   J&J-0044840; JNJ 000292059
   J&J-0044868; JNJ 000314361
   J&J-0044868; JNJMX68_000015726
   J&J-0044934; JNJ 000063285
   J&J-0044934; JNJMX68 000013080
   J&J-0044937; JNJMX68_00013082
   J&J-0045013; JNJMX68_010913
   J&J-0049150; JNJNL61_000052427
   J&J-0049807; JNJ 000064087
   J&J-0049964; JNJ000064591
   J&J-0055341; JNJNL61_000074060
   J&J-0056679; JNJAZ55_000018511
   J&J-0056679; JNJTALC000301073
   J&J-0059869; JNJMX68_000012023
   J&J-0060851; JNJTALC000171588
   J&J-0060870; JNJ000294461
   J&J-0060888; JNJ 000294462
   J&J-0060938; JNJ 000294507; PLT-04497-0001
   J&J-0060957; JNJMX68_000013398
   J&J-0061460; JNJH29W_000009932
   J&J-0061460; JNJH29W_000009932; Hopkins 93
   J&J-0063313; JNJNL61_000076240
   J&J-00700701; JNJMX68_000012063

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                                 PageID: 194505



   J&J-0070071; JNJMX68_000012063
   J&J-0070263; JNJAZ55_000014444
   J&J-0070812; JNJ 000303042
   J&J-0070812; JNJH29W_000008569
   J&J-0070812; JNJMX68_000014190
   J&J-0073766; JNJMX68_000017758
   J&J-0073883; JNJ 000329803
   J&J-0073930; JNJ 000329832; Pltf_JNJ_00063125
   J&J-0073975; JNJNL61_000064375
   J&J-0076514; JNJAZ55_000012423
   J&J-0077385
   J&J-0077385; JNJ 000063951
   J&J-0082407; JNJ 000046762; Pltj_JNJ_00008906
   J&J-0082492; JNJAZ55_000016555
   J&J-0082492; JNJAZ55_000016555; Hopkins 77
   J&J-0082756; JNJH29W_000010514
   J&J-0082779; JNJNL61_000062372
   J&J-0083118; JNJNL61_000062534
   J&J-0083120; JNJ 000325951
   J&J-0083129; JNJNL61_000062639
   J&J-0083381; JNJ 000326125
   J&J-0084545
   J&J-0084545; JNJNL61_000062953; PLT-00058-0001
   J&J-0084587; JNJ000326963
   J&J-0084611; JNJNL61_000062982
   J&J-0084692; JNJMX68_000017515
   J&J-0085506
   J&J-0086337; JNJMX68_000018543
   J&J-0086339
   J&J-0086339; JNJMX68_000018545
   J&J-0086491; JNJTALC000102293
   J&J-0087625; JNJNL61_000064937
   J&J-0088056; JNJTALC000471186
   J&J-0089804; Plaintiff's Exhibit 60
   J&J-0090656; JNJ 000300297
   J&J-0090834; JNJ 000300436; Pltf_JNJ_00051924

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   J&J-0093588; JNJAZ55_000011185
   J&J-0095138; JNJ 000033761
   J&J-0096500; JNJTALC000376774
   J&J-0098861; JNJAZ55_000015021
   J&J-0101371; JNJNL61_000067306
   J&J-0102399; JNJ 000297377
   J&J-0104613; JNJNL61_000047375
   J&J-0104613; JNJNL61_000047376
   J&J-0106161; JNJ 000289953
   J&J-0106244; JNJ 000033681; Pltf_JNJ_00006016
   J&J-0106453; JNJNL61_000053222
   J&J-0109225; JNJAZ55_000013621
   J&J-0109238; JNJ 000063581
   J&J-0109238; JNJ 000063581; Hopkins 120
   J&J-0109926; JNJ 000308358
   J&J-0111752; JNJNL61_000067711
   J&J-0111862; JNJNL61_000067783
   J&J-0123238; JNJNL61_000079334
   J&J-012338; JNJNL61_000079334
   J&J-0129763; JNJNL61_000063992
   J&J-0129835; JNJMX68_000011214
   J&J-0130530; JNJAZ55_000017552
   J&J-0130530; JNJTALC000300260
   J&J-0132008; JNJMX68_000017147
   J&J-0141179; JNJMX68_000015598
   J&J-0141525; JNJ 000284176
   J&J-0141625; JNJ 000284275
   J&J-0141654; JNJ 000284303
   J&J-0141657; JNJ 000284306
   J&J-0141688; JNJ 0002843337
   J&J-0142149; JNJTALC000295905
   J&J-0142694; JNJMX68_000011557
   J&J-0142694; JNJMX68_000011557; Hopkins 126
   J&J-0142783; JNJ000285111
   J&J-0142803; JNJ 000285131
   J&J-0142816; JNJTALC00007133

                                         215
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   J&J-0142830; JNJ000285154
   J&J-0144932; JNJ000285446
   J&J-0145030; JNJ 000285541
   J&J-0145040; JNJ 000285551
   J&J-0145055; JNJ 000285566
   J&J-0145060; JNJ 000285571
   J&J-0145151
   J&J-0145303
   J&J-0145685; JNJ 000294872; Pltf_JNJ_00050035
   J&J-0145685; JNJ 000294872; Pltf_JNJ_00050035; PLT-00040-0001
   J&J-0145685; JNJMX68_000013464
   J&J-0146266
   J&J-0146266; JNJMX68_000013482
   J&J-0147505; JNJTALC000471205
   J&J-0147606; JNJ 000312709
   J&J-0147727; JNJAZ55_000015519
   J&J-0148425; JNJNL61_000058245
   J&J-0148425; JNJN61_000058245
   J&J-0148425; JNJNL61_000058245
   J&J-0149149; JNJ 000035171
   J&J-0149674;JNJ 000314559
   J&J-0149688; JNJMX68_000015773
   J&J-0149699; JNJ000314584
   J&J-0149699; JNJ000314584; Hopkins 82
   J&J-0150033
   J&J-0150033; JNJ 000304421
   J&J-0150033; JNJ000304421
   J&J-0150089; JNJ 000063955; Pltf_JNJ_00007386
   J&J-0151607; JNJNL61_000057638
   J&J-0153295
   J&J-0157876; JNJ000318396
   J&J-0161635; JNJNL61_000065569
   J&J-0163874; JNJH29W_000007641
   J&J-0163911; JNJNL61_000042441
   J&J-0163917; JNJNL61_000042443
   J&J-0163931; JNJ 000288585

                                         216
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   J&J-0163931; JNJ 000288585; Hopkins 106
   J&J-0163944; JNJNL61_000042448
   J&J-0164278; JNJMX68_000016961
   J&J-0166451; JNJ 000058767
   J&J-017870; JNJ 00003550
   J&J-0312008; JNJMX68_000017147
   J&J-044521; JNJ 000063266; Pltf_JNJ_0006449
   J&J-044925; JNJ 000063284
   J&J-069607
   J&J-090834; JNJ 000300436
   J&J1
   J&J100
   J&J141
   J&J15
   J&J164
   J&J-164
   J&J169
   J&J17
   J&J175
   J&J177
   J&J-177
   J&J182
   J&J-182
   J&J184
   J&J185
   J&J-188
   J&J19
   J&J190
   J&J2
   J&J202
   J&J-202
   J&J220
   J&J23
   J&J255
   J&J256
   J&J257

                                          217
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   J&J258
   J&J-260
   J&J-263
   J&J28
   J&J-28
   J&J29
   J&J-29
   J&J-305
   J&J31
   J&J-31
   J&J-327
   J&J33
   J&J44
   J&J47
   J&J57
   J&J58
   J&J65
   J&J66
   J&J74
   J&J-74
   J&J75
   J&J-87
   J&J89
   J&J9
   J&J-9; J&J-0005141; JNJAZ55_00015127
   J&J97
   jh081618
   jh081718
   jh101718
   jh110518
   JJCI Invest Summary- 3DEC2019.pdf
   JNJ 000 315152; J&J (Bates # cut off)
   JNJ 000 315155; J&J (Bates # cut off)
   JNJ 000 315158; J&J (Bates # cut off)
   JNJ 000000119
   JNJ 000000316089; J&J-0025176 (bates # cut off)

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   JNJ 000000497
   JNJ 000000523
   JNJ 000000636
   JNJ 000000704
   JNJ 000001403
   JNJ 000002302 (P287 - bates #s cut off)
   JNJ 000002303
   JNJ 000002303; Plft JNJ 00000205
   JNJ 000002348
   JNJ 000002351; Plft JNJ 00000212
   JNJ 000002412
   JNJ 0000024568
   JNJ 000003401
   JNJ 000003405
   JNJ 000003405; Plft JNJ 00000258
   JNJ 000003478
   JNJ 000003618
   JNJ 000003628; Plft JNJ 00000294
   JNJ 000003632
   JNJ 000003753
   JNJ 000003911; Plft JNJ 00000322
   JNJ 000003915
   JNJ 000003916
   JNJ 000003916; Plft JNJ 00000324
   JNJ 000003934
   JNJ 000003934; Plft JNJ 00000330
   JNJ 000003948
   JNJ 000003948; Plft JNJ 00000335
   JNJ 000003954 (Bates #s cut off) - P326
   JNJ 000003954; Plft JNJ 00000337
   JNJ 000003964
   JNJ 000003969
   JNJ 000003985
   JNJ 000003987 (Bates #s cut off) - P338
   JNJ 000004113
   JNJ 000004225

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   JNJ 000004225; Plfr JNJ 00000377
   JNJ 000004464
   JNJ 000004541
   JNJ 000004581
   JNJ 000004641; Pltf_JNJ_00000450
   JNJ 000004682
   JNJ 000004712
   JNJ 000004797
   JNJ 000005180; Hopkins 88
   JNJ 0000060681
   JNJ 000006201
   JNJ 000010648
   JNJ 000011150
   JNJ 000011151
   JNJ 000011152
   JNJ 000011156
   JNJ 000011185
   JNJ 000011708
   JNJ 000011916
   JNJ 000013963
   JNJ 000013964
   JNJ 000014309
   JNJ 000014317
   JNJ 000015538
   JNJ 000015543 (bates # cut off but deduced with page count)
   JNJ 000015573 (bates # cut off but deduced with page count)
   JNJ 000015750; Pltf_MISC_00000197
   JNJ 000016381
   JNJ 000016604
   JNJ 000016645
   JNJ 000016908
   JNJ 000017775
   JNJ 000018265
   JNJ 000019616; Pltf_JNJ_ (bates # illegible)
   JNJ 000020733; Pltf_JNJ_00000001
   JNJ 000021008

                                             220
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   JNJ 000021035
   JNJ 000021090
   JNJ 000021092
   JNJ 000021093
   JNJ 000022050
   JNJ 000022307; Plft JNJ 00002617
   JNJ 000022679 (bates # cut off but deduced with page count)
   JNJ 000023186
   JNJ 0000239703
   JNJ 000024462
   JNJ 000024495
   JNJ 000024568
   JNJ 000024701
   JNJ 000026241
   JNJ 00002693
   JNJ 000029640
   JNJ 000029970
   JNJ 000030679
   JNJ 000037468
   JNJ 000040596; J&J-0115053
   JNJ 000058760
   JNJ 000059401; Pltf JNJ 00003973
   JNJ 000060260
   JNJ 000060624
   JNJ 000060818
   JNJ 000061131
   JNJ 000061164
   JNJ 000061342
   JNJ 000061617
   JNJ 000061832
   JNJ 00006201; Plft JNJ 00000758
   JNJ 000063281; J&J-0044777
   JNJ 000064190; J&J-0164319
   JNJ 000064439; J&J-0044836
   JNJ 000064762; J&J-303
   JNJ 000065646; J&J-0004479

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   JNJ 000069507
   JNJ 000069510
   JNJ 000069513
   JNJ 000069516
   JNJ 000069519
   JNJ 000069522
   JNJ 000069525
   JNJ 000069528
   JNJ 000069531
   JNJ 000069534
   JNJ 000069537
   JNJ 000069540
   JNJ 000069543
   JNJ 000069546
   JNJ 000069549
   JNJ 000069552
   JNJ 000069555
   JNJ 000069558
   JNJ 000069561
   JNJ 000069564
   JNJ 000069567
   JNJ 000069570
   JNJ 000069573
   JNJ 000069576
   JNJ 000069579
   JNJ 000069582
   JNJ 000069585
   JNJ 000069588
   JNJ 000069591
   JNJ 000069594
   JNJ 000069597
   JNJ 000069600
   JNJ 000069603
   JNJ 000069606
   JNJ 000069609
   JNJ 000069612

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   JNJ 000069615
   JNJ 000069618
   JNJ 000069621
   JNJ 000069624
   JNJ 000069627
   JNJ 000069630
   JNJ 000069633
   JNJ 000069637
   JNJ 000069641
   JNJ 000069644
   JNJ 000069647
   JNJ 000069650
   JNJ 000069653
   JNJ 000069658
   JNJ 000069661
   JNJ 000069664
   JNJ 000069667
   JNJ 000069670
   JNJ 000069673
   JNJ 000069676
   JNJ 000069679
   JNJ 000069682
   JNJ 000069685
   JNJ 000069688
   JNJ 000069691
   JNJ 000069694
   JNJ 000069697
   JNJ 000069700
   JNJ 000069703
   JNJ 000069706
   JNJ 000069709
   JNJ 000069712
   JNJ 000069715
   JNJ 000069718
   JNJ 000069724
   JNJ 000069727

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   JNJ 000069730
   JNJ 000069736
   JNJ 000069739
   JNJ 000069742
   JNJ 000069745
   JNJ 000069748
   JNJ 000069751
   JNJ 000069754
   JNJ 000069757
   JNJ 000069760
   JNJ 000069763
   JNJ 000069766
   JNJ 000069769
   JNJ 000069771
   JNJ 000069772
   JNJ 000069775
   JNJ 000069778
   JNJ 000069784; D 0423 0001
   JNJ 000069787; D 0426 0001
   JNJ 000069790
   JNJ 000069793
   JNJ 000069796; D 0420 0001
   JNJ 000069799; D 0421 0001
   JNJ 000069805; D 0416 0001
   JNJ 000069811; D 0412 0001
   JNJ 000069814; D 0410 0001
   JNJ 000069817; D 0408 0001
   JNJ 000069820; D 0413 0001
   JNJ 000069826
   JNJ 000069829
   JNJ 000069832
   JNJ 000069835
   JNJ 000069838
   JNJ 000069841
   JNJ 000069844
   JNJ 000069847

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   JNJ 000069850
   JNJ 000069853
   JNJ 000069856
   JNJ 000069859
   JNJ 000069862
   JNJ 000069865
   JNJ 000069868
   JNJ 000069871
   JNJ 000069874
   JNJ 000069880
   JNJ 000069883
   JNJ 000069886
   JNJ 000069887
   JNJ 000069889
   JNJ 000069892
   JNJ 000069895
   JNJ 000069898
   JNJ 000069901
   JNJ 000069904
   JNJ 000069907
   JNJ 000069910
   JNJ 000069913
   JNJ 000069916
   JNJ 000069919
   JNJ 000069925
   JNJ 000069928
   JNJ 000069931
   JNJ 000069934
   JNJ 000069937
   JNJ 000069940
   JNJ 000069943
   JNJ 000069946
   JNJ 000069952
   JNJ 000070044
   JNJ 000070047
   JNJ 000070162

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   JNJ 000070169
   JNJ 000070173
   JNJ 000070178
   JNJ 000070182
   JNJ 000070187
   JNJ 000070191
   JNJ 000070195
   JNJ 000070199
   JNJ 000070203
   JNJ 000070205
   JNJ 000070210
   JNJ 000070214
   JNJ 000070218
   JNJ 000070223
   JNJ 000070227
   JNJ 000070232
   JNJ 000070236
   JNJ 000070239
   JNJ 000070242
   JNJ 000070245
   JNJ 000070248
   JNJ 000070251
   JNJ 000070254
   JNJ 000070260
   JNJ 000070263
   JNJ 000070268
   JNJ 000070272
   JNJ 000070275
   JNJ 000070278
   JNJ 000070281
   JNJ 000070285
   JNJ 000070288
   JNJ 000070291
   JNJ 000070294
   JNJ 000070297
   JNJ 000070300

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   JNJ 000070303
   JNJ 000070306
   JNJ 000070309
   JNJ 000070312
   JNJ 000070315
   JNJ 000070318
   JNJ 000070321
   JNJ 000070324
   JNJ 000070327
   JNJ 000070330
   JNJ 000070333
   JNJ 000070336
   JNJ 000070339
   JNJ 000071263; J&J-0037527
   JNJ 000071264; J&J-0037529
   JNJ 000071265; J&J-0037530
   JNJ 000084970
   JNJ 000085114; Pltf_JNJ_00013482
   JNJ 000085294; Pltf_JNJ_00013566
   JNJ 000086540
   JNJ 000086587
   JNJ 000086612
   JNJ 000086638
   JNJ 000087425
   JNJ 000087825
   JNJ 000087952
   JNJ 000087991
   JNJ 000088012
   JNJ 000089413
   JNJ 000089770; Pltf_JNJ_00015068
   JNJ 000093555
   JNJ 000093556; Pltf_JNJ_00015498
   JNJ 000108692
   JNJ 000132581
   JNJ 000135529; J&J-0024774 (bates # cut off)
   JNJ 000135541; J&J-0024191

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   JNJ 000221052
   JNJ 000221699
   JNJ 000221705
   JNJ 000222859
   JNJ 000223449
   JNJ 000223509; Pltf_JNJ_ (bates # illegible) ; PLT-04716-0001
   JNJ 000224459; Hopkins 71
   JNJ 000227834
   JNJ 000227834; Hopkins 141
   JNJ 000227883
   JNJ 00023
   JNJ 000231284
   JNJ 000231334
   JNJ 000231419
   JNJ 000231479
   JNJ 000231543
   JNJ 00023155
   JNJ 000231766; Pltf_JNJ_00028745
   JNJ 000232501
   JNJ 000232501; Pltf_JNJ_00028989
   JNJ 000232679
   JNJ 000232679; Pltf_JNJ_00029049
   JNJ 000232852 (bates # cut off but deduced with page count)
   JNJ 000232996
   JNJ 000232996; Pltf_JNJ_00029144
   JNJ 000233714; Pltf_JNJ (bates illegible)
   JNJ 000235197
   JNJ 000235207; Pltf_JNJ_(bates # illegible)
   JNJ 000235235 (bates # cut off but deduced with page count)
   JNJ 000235393; Hopkins 102
   JNJ 000236073
   JNJ 000236135
   JNJ 000237200
   JNJ 000237227
   JNJ 000237229
   JNJ 000237244

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   JNJ 000237264
   JNJ 000237272
   JNJ 000237275
   JNJ 000237278
   JNJ 000237281
   JNJ 000237285
   JNJ 000237291
   JNJ 000237293
   JNJ 000237298
   JNJ 000237299
   JNJ 000237310
   JNJ 000237318
   JNJ 000237322
   JNJ 000237332
   JNJ 000237334
   JNJ 000237336
   JNJ 000237340
   JNJ 000237341
   JNJ 000237344
   JNJ 000237345
   JNJ 000237347
   JNJ 000237369
   JNJ 000239634
   JNJ 000239703 (bates # cut off but deduced with page count)
   JNJ 000239823
   JNJ 000239824
   JNJ 000239825
   JNJ 000240311
   JNJ 000240739
   JNJ 000240739; Pltf_JNJ (bates # illegible)
   JNJ 000241394
   JNJ 000241394; Pltf_JNJ_00031718
   JNJ 000242147
   JNJ 000242147; Pltf JNJ 00031883
   JNJ 000242789
   JNJ 000243003; JPltf_JNJ_00032154

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   JNJ 000244013
   JNJ 000244358
   JNJ 000244743
   JNJ 000244743; DX-7058
   JNJ 000244773
   JNJ 000245155
   JNJ 000245520
   JNJ 000245526
   JNJ 000245548
   JNJ 0002456
   JNJ 0002456
   JNJ 000245678; Pltf_JNJ_00032929
   JNJ 000246135
   JNJ 000246159
   JNJ 000246180
   JNJ 000246183
   JNJ 000246272
   JNJ 000246294
   JNJ 000246309
   JNJ 000246329
   JNJ 000246445
   JNJ 000246863
   JNJ 000247504
   JNJ 000247504; DX7073
   JNJ 000248615
   JNJ 000248953
   JNJ 000249322; Pltf JNJ 00034286
   JNJ 000250047
   JNJ 000250250
   JNJ 000250495
   JNJ 000250539
   JNJ 000250604; Pltf_JNJ_00034656
   JNJ 000250897
   JNJ 000250919
   JNJ 000251322
   JNJ 000251888

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   JNJ 000251923
   JNJ 000252339
   JNJ 000252636
   JNJ 000252694; Pltf JNJ 0000000252694
   JNJ 000252948
   JNJ 000253056
   JNJ 000253056; Pltf_JNJ (bates # illegible)
   JNJ 000255905
   JNJ 000255906
   JNJ 000255916
   JNJ 000257537
   JNJ 000257631
   JNJ 000257707
   JNJ 000258113
   JNJ 000259267; Pltf JNJ 00037754
   JNJ 000260285; Pltf JNJ 00000002060285
   JNJ 000260473
   JNJ 000260700
   JNJ 000260833
   JNJ 000260833; Pltf_JNJ_00038325
   JNJ 000261010
   JNJ 000261816
   JNJ 000261816; DX8373.0001
   JNJ 000261816; Hopkins 116
   JNJ 000263849
   JNJ 000264495; Pltf_JNJ_00039476
   JNJ 000264500 (pages out of order; first pg is JNJ 000264510)
   JNJ 000264500 (pgs out of order; first pg is JNJ 000264509)
   JNJ 000264617
   JNJ 000264620
   JNJ 000264673
   JNJ 000264708
   JNJ 000264721
   JNJ 000264725
   JNJ 000264728
   JNJ 000264731; Pltf_JNJ_00039587

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   JNJ 000264733
   JNJ 000264734
   JNJ 000264747
   JNJ 000264813
   JNJ 000265133; Hopkins 169
   JNJ 000265139
   JNJ 000265173
   JNJ 000265344
   JNJ 000265404
   JNJ 000265536; Pltf JNJ 00039857
   JNJ 000265782
   JNJ 000266375
   JNJ 000266428
   JNJ 000266448
   JNJ 000266479
   JNJ 000266498
   JNJ 000266500
   JNJ 000266519
   JNJ 000266524
   JNJ 000266529
   JNJ 000266534
   JNJ 000266544
   JNJ 000266554
   JNJ 000266559
   JNJ 000266587
   JNJ 000266591; Ex 39 - 243 various bates
   JNJ 000266592
   JNJ 000266597
   JNJ 000266602
   JNJ 000266607
   JNJ 000266612
   JNJ 000266617
   JNJ 000266622
   JNJ 000266627
   JNJ 000266632
   JNJ 000266637

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   JNJ 000266642
   JNJ 000266651
   JNJ 000266656
   JNJ 000266670
   JNJ 000266687
   JNJ 000266688
   JNJ 000266691
   JNJ 000266692
   JNJ 000266693
   JNJ 000266694
   JNJ 000266698
   JNJ 000266699
   JNJ 000266700
   JNJ 000266701
   JNJ 000266702
   JNJ 000266706
   JNJ 000266708
   JNJ 000266710
   JNJ 000266711
   JNJ 000266713
   JNJ 000266713 is first page (Ex 17 - 195 of various bates #s)
   JNJ 000266719
   JNJ 000266720
   JNJ 000267602
   JNJ 0002680 (bates # cut off)
   JNJ 000268037
   JNJ 000268037; Pltf_JNJ_ (bates # illegible)
   JNJ 000268548
   JNJ 000268964
   JNJ 000268988
   JNJ 00026953
   JNJ 000270070
   JNJ 00027008
   JNJ 00027008 (bates # cut off) Exhibit 6611
   JNJ 000270083
   JNJ 000270084

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   JNJ 000270390 (bates # cut off but deduced with page count)
   JNJ 000270495; Plf_JNJ_00041555
   JNJ 000271546
   JNJ 000273650
   JNJ 000273664
   JNJ 000273729
   JNJ 000273759
   JNJ 00027409
   JNJ 000274273; Pltf_JNJ_00042548
   JNJ 000274510
   JNJ 000274547
   JNJ 000274634
   JNJ 000274706
   JNJ 000275518
   JNJ 000276515
   JNJ 000277158
   JNJ 000277175
   JNJ 000277537
   JNJ 000277555
   JNJ 000280690; J&J-0037209
   JNJ 000280750; J&J-0037376
   JNJ 000280751; J&J-0037377
   JNJ 000280754; J&J-0037380
   JNJ 000280755; J&J-0037381
   JNJ 000280756; J&J-0037382
   JNJ 000280757; J&J-0037383
   JNJ 000280758; J&J-0037384
   JNJ 000280765; J&J-0037394
   JNJ 000280766; J&J-0037395
   JNJ 000280774; J&J-0037406
   JNJ 000280777; J&J-0037409
   JNJ 000280785; J&J-0037420
   JNJ 000280786; J&J-0037421
   JNJ 000280824; J&J-0037485
   JNJ 000280826; J&J-0037489
   JNJ 000280852; J&J-0037546

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   JNJ 000281816
   JNJ 000285031; J&J 159
   JNJ 000285133; J&J-0142805
   JNJ 000285248
   JNJ 000285249
   JNJ 000285302; J&J-0144367; Leavitt Pltfs' Ex JJ-3584 pg 1; Hopkins 24
   JNJ 000287009
   JNJ 000287099
   JNJ 000287264
   JNJ 000290049; J&J-0106581
   JNJ 000291602; J&J-0007992
   JNJ 000291632; J&J-0008042
   JNJ 000292058; J&J-0044831
   JNJ 000292062; J&J-0044894
   JNJ 000301719
   JNJ 000304716; J&J-0038831
   JNJ 000306944; J&J-0098163
   JNJ 000309430; J&J-0164283
   JNJ 000312709
   JNJ 000314849; J&J-0023059
   JNJ 000314852; J&J-0023063
   JNJ 000314855; J&J-0023067
   JNJ 000314858; J&J-0023071 (bates # cut off)
   JNJ 000314859; J&J-0023075 (bates # cut off)
   JNJ 000314862; J&J-0023080 (bates # cut off)
   JNJ 000314865; J&J (bates # cut off)
   JNJ 000315131; J&J (bates # cut off)
   JNJ 000315134; J&J (bates # cut off)
   JNJ 000315137; J&J (bates # cut off)
   JNJ 000315140; J&J (bates # cut off)
   JNJ 000315143
   JNJ 000315146
   JNJ 000315149
   JNJ 000315191; J&J-0023586
   JNJ 000315198; J&J-0023600
   JNJ 000315201; J&J-0023604

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   JNJ 000315204; J&J-0023608
   JNJ 000315207; J&J-0023612
   JNJ 000315207; J&J-0023612
   JNJ 000315210; J&J-0023616
   JNJ 000315213; J&J-0023620
   JNJ 000315216; J&J-0023624
   JNJ 000315219; J&J-0023629
   JNJ 000315222; J&J-0023633
   JNJ 000315225; J&J-0023637
   JNJ 000315231; J&J-0023645
   JNJ 000315390; J&J-0023903
   JNJ 000315460; J&J-0024021
   JNJ 000315517; J&J-0024158
   JNJ 000315526; J&J-0024170
   JNJ 000315532; J&J-0024178
   JNJ 000315535; J&J-0024182
   JNJ 000315538; J&J-0024186 (bates # cut off)
   JNJ 000315544; J&J-0024195
   JNJ 000315547; J&J-002419 (bates # cut off)
   JNJ 000315550; J&J-0024203
   JNJ 000315556; J&J-0024211
   JNJ 000315562; J&J-0024218
   JNJ 000315565; J&J-0024223 (bates # cut off)
   JNJ 000315568; J&J-0024227
   JNJ 00031557; J&J-0024239
   JNJ 000315571; J&J-00242 (bates # cut off)
   JNJ 000315574; J&J-0024236 (bates # cut off)
   JNJ 000315580; J&J-0024243
   JNJ 000315583; J&J 0021248
   JNJ 000315586; J&J-0024263
   JNJ 000315589; J&J-0024257
   JNJ 000315592; J&J-0024261 (bates # cut off)
   JNJ 000315595; J&J-0024265
   JNJ 000315601; J&J-0024274
   JNJ 000315604; J&J-0024278 (bates # cut off)
   JNJ 000315610; J&J-0024286 (bates # cut off)

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   JNJ 000315613; J&J-0024281
   JNJ 000315616; J&J-0024295
   JNJ 000315619; J&J-0024299
   JNJ 000315622; J&J-0024304
   JNJ 000315625; J&J-0024309
   JNJ 000315628; J&J-0024 (bates # cut off)
   JNJ 000315631; J&J-0024317
   JNJ 000315634; J&J-0024321
   JNJ 000315637; J&J-0021325
   JNJ 000315640; J&J-0024328
   JNJ 000315643; J&J-0024333
   JNJ 000315649; J&J-0024341
   JNJ 000315655; J&J-0024350
   JNJ 000315658; J&J-0024 (bates # cut off)
   JNJ 000315670; J&J (bates # cut off)
   JNJ 000315673; J&J (bates # cut off)
   JNJ 000315676; J&J (bates # cut off)
   JNJ 000315676; J&J-0024337
   JNJ 000315685; J&J-0024393
   JNJ 000315688; J&J (bates # cut off)
   JNJ 000315691; J&J (bates # cut off)
   JNJ 000315694; J&J (bates # cut off)
   JNJ 000315697; J&J (bates # cut off)
   JNJ 000315700
   JNJ 000315703; J&J (bates # cut off)
   JNJ 000315708; J&J (bates # cut off)
   JNJ 000315709; J&J (bates # cut off)
   JNJ 000315712; J&J (bates # cut off)
   JNJ 000315715; J&J (bates # cut off)
   JNJ 000315718; J&J (bates # cut off)
   JNJ 000315721; J&J (bates # cut off)
   JNJ 000315727; J&J (bates # cut off)
   JNJ 000315733; J&J (bates # cut off)
   JNJ 000315736; J&J (bates # cut off)
   JNJ 000315739; J&J (bates # cut off)
   JNJ 000315742; J&J (bates # cut off)

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   JNJ 000315745; J&J (bates # cut off)
   JNJ 000315748; J&J-00240 (bates # cut off)
   JNJ 000315757; J&J (bates # cut off)
   JNJ 000315766; J&J-0024505
   JNJ 000315841; J&J-0024609
   JNJ 000315844; J&J 0024614
   JNJ 000315847; J&J-0024618
   JNJ 000315863; J&J-0025005 (bates # cut off)
   JNJ 000315870; J&J (bates # cut off)
   JNJ 000315877; J&J-002626 (bates # cut off)
   JNJ 000315880; J&J (bates # cut off)
   JNJ 000315881; J&J (bates # cut off)
   JNJ 000315886; J&J (bates # cut off)
   JNJ 000315974; J&J (bates # cut off)
   JNJ 000315994; J&J (bates # cut off)
   JNJ 000315998; J&J (bates # cut off)
   JNJ 000316000; J&J (bates # cut off)
   JNJ 000316004
   JNJ 000316009; J&J (bates # cut off)
   JNJ 000316013; J&J (bates # cut off)
   JNJ 000316017; J&J (bates # cut off)
   JNJ 000316022; J&J (bates # cut off)
   JNJ 000316026; J&J (bates # cut off)
   JNJ 000316031; J&J (bates # cut off)
   JNJ 000316037; J&J (bates # cut off)
   JNJ 000316040; J&J 025111(bates # cut off)
   JNJ 000316043; J&J (bates # cut off)
   JNJ 000316046; J&J (bates # cut off)
   JNJ 000316049; J&J (bates # cut off)
   JNJ 000316052; J&J (bates # cut off)
   JNJ 000316058; J&J-0025135
   JNJ 000316061; J&J-0025139 (bates # cut off)
   JNJ 000316070; J&J-0025151
   JNJ 000316076; J&J-0025159
   JNJ 000316078; J&J-0025163
   JNJ 000316083; J&J-0026168

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   JNJ 000316085; J&J (bates # cut off)
   JNJ 000316101; J&J-0025 (bates # cut off)
   JNJ 000316104; J&J-0025201
   JNJ 000316107; J&J-0025205
   JNJ 000316111; J&J-0025214
   JNJ 000317600; J&J-0061460
   JNJ 000324759; J&J-0058754
   JNJ 000324762; J&J-0005857
   JNJ 000324795; J&J-0058790
   JNJ 000326106: J&J-66
   JNJ 000326107; J&J-66
   JNJ 000332579
   JNJ 000346335
   JNJ 000346748; J&J-0004742
   JNJ 000347203; J&J-0043656
   JNJ 000347440; J&J-0123035
   JNJ 00035508; Pltf JNJ 00035508
   JNJ 000356204
   JNJ 000356232
   JNJ 000357359
   JNJ 000364540
   JNJ 000369649
   JNJ 000370144
   JNJ 000370144;
   JNJ 000370144; Plaintiff Exhibit 2291-1
   JNJ 000370144; Hopkins 129
   JNJ 00037313
   JNJ 000375382
   JNJ 000375389
   JNJ 0003763
   JNJ 000379229
   JNJ 000381975
   JNJ 000383282; Pltf_JNJ_00076427
   JNJ 000389261
   JNJ 000389261; Pltf_JNJ_00077274
   JNJ 000389973; Pltf_JNJ_00077390

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   JNJ 000390337
   JNJ 000390346
   JNJ 000390347
   JNJ 000405425
   JNJ 00040596
   JNJ 000422053
   JNJ 000426237
   JNJ 000426315; Pltf JNJ 00081620
   JNJ 000438939
   JNJ 000438940
   JNJ 000438941
   JNJ 000444737; Pltf JNJ_00084026
   JNJ 000448866
   JNJ 000456993
   JNJ 000457161
   JNJ 000468753
   JNJ 000468783
   JNJ 000468863 (bates # cut off but deduced with page count)
   JNJ 000470363; Pltf_JNJ_00087036
   JNJ 000470365; Pltf_JNJ_00087037
   JNJ 000488207
   JNJ 000488207; Leavitt Pltfs' Ex. LE-0852
   JNJ 000488208
   JNJ 000489313
   JNJ 000490055
   JNJ 000519841
   JNJ 000519842
   JNJ 000519843
   JNJ 000521581
   JNJ 000521602
   JNJ 000521616
   JNJ 000557904
   JNJ 000558343
   JNJ 000558360
   JNJ 000558372
   JNJ 000558382

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   JNJ 000558568
   JNJ 000558731
   JNJ 000558931
   JNJ 000558970
   JNJ 000559770
   JNJ 000576297
   JNJ 000577860; J&J-0163919
   JNJ 000577861; J&J-0163920
   JNJ 000577862; J&J-0163921
   JNJ 000631351
   JNJ 000636145
   JNJ 000636145; PLT-00131
   JNJ 000645424
   JNJ 00064658; J&J-0164240
   JNJ 000648488
   JNJ 000683572; J&J-0037632
   JNJ 000683573; J&J-0037633
   JNJ 000683579; J&J-0037648
   JNJ 000695224
   JNJ 000872667
   JNJ 000877145
   JNJ 000877372
   JNJ 000877441_0001
   JNJ 000879224
   JNJ 000880026
   JNJ 000881713
   JNJ 000881859_0001
   JNJ 000881899
   JNJ 000881905
   JNJ 000881917
   JNJ 000882142
   JNJ 000883004
   JNJ 000885696
   JNJ 000886031
   JNJ 000886826
   JNJ 000886933 (bates # cut in half/illegible)

                                                   241
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   JNJ 0083118; JNJNL61 000061 (no bates # but deduced with page count)
   JNJ_000245868; Pltf_JNJ_00033024
   JNJ000000022
   JNJ000000112
   JNJ000000251
   JNJ00000049
   JNJ000000636
   JNJ000000767
   JNJ000000935
   JNJ000001400
   JNJ000002484
   JNJ000002527
   JNJ00000294872
   JNJ000003911
   JNJ000004015
   JNJ000004349
   JNJ000007936
   JNJ000011704
   JNJ000014476
   JNJ000015565
   JNJ000015573
   JNJ000016326
   JNJ000016393
   JNJ000016566
   JNJ000016645
   JNJ000017587
   JNJ000017613
   JNJ000018189
   JNJ000018407
   JNJ000018894
   JNJ000019157
   JNJ000019158
   JNJ000019228
   JNJ000019415
   JNJ000019709
   JNJ000020298

                                           242
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   JNJ000020656
   JNJ000020728
   JNJ000020759
   JNJ000020907
   JNJ000021004
   JNJ000021008
   JNJ000021285
   JNJ000022597
   JNJ000023191
   JNJ000024397
   JNJ000024418
   JNJ000024462
   JNJ000025132
   JNJ000026092
   JNJ000026764
   JNJ000030027
   JNJ000030036
   JNJ000030476
   JNJ000031001
   JNJ000033761
   JNJ000035173
   JNJ000035707
   JNJ000036519
   JNJ000038327
   JNJ000040596
   JNJ000042593
   JNJ000047005
   JNJ000047066
   JNJ000050364
   JNJ000063925
   JNJ000066259
   JNJ000066264
   JNJ000085114
   JNJ000086531
   JNJ000087989
   JNJ000087991

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   JNJ000088278
   JNJ000092224
   JNJ000133095
   JNJ000221062
   JNJ000231207
   JNJ000231422
   JNJ000232574
   JNJ000232996
   JNJ000237115
   JNJ000238358
   JNJ000238365
   JNJ000239315
   JNJ000239387
   JNJ000242147
   JNJ000242147
   JNJ000245216
   JNJ000245488
   JNJ000248160
   JNJ000248584
   JNJ000248615
   JNJ000249213
   JNJ000249322
   JNJ000250399
   JNJ000250666
   JNJ000251888
   JNJ000253027
   JNJ000254361
   JNJ000257836
   JNJ000259267
   JNJ000260697
   JNJ000260833, J&J-34
   JNJ000261557
   JNJ000261640
   JNJ000263103
   JNJ000263852
   JNJ000265404

                                    244
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   JNJ000265536
   JNJ000266504
   JNJ000267139
   JNJ000267823
   JNJ000268037
   JNJ000269042
   JNJ000270084
   JNJ000284107
   JNJ000294872; Pltf JNJ 00050035
   JNJ000300223
   JNJ0003007294
   JNJ000304364
   JNJ000304421
   JNJ000304716
   JNJ000304864
   JNJ000307413
   JNJ000308280
   JNJ000314657
   JNJ000315799
   JNJ000326795
   JNJ000330448
   JNJ000336835
   JNJ000343580
   JNJ000343611
   JNJ000343612
   JNJ000343613
   JNJ000343614
   JNJ000343946
   JNJ000346836
   JNJ000348778
   JNJ000349424
   JNJ000356521
   JNJ000367482
   JNJ000367483
   JNJ000368327
   JNJ000368353

                                        245
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   JNJ000369269
   JNJ000374512
   JNJ000375389
   JNJ000376770
   JNJ000377123
   JNJ000377125
   JNJ000377405
   JNJ000382894
   JNJ000383006
   JNJ000383057
   JNJ000385468
   JNJ000390340
   JNJ000405087
   JNJ000405610
   JNJ000422578
   JNJ000426237
   JNJ000441710
   JNJ000447755
   JNJ000458312
   JNJ000468813
   JNJ000468930
   JNJ000471544
   JNJ000488208
   JNJ000489313
   JNJ000519460
   JNJ000521602
   JNJ000521616
   JNJ000523964
   JNJ000523967
   JNJ000542058
   JNJ000566815
   JNJ000566816
   JNJ000576624
   JNJ000576831
   JNJ000592573
   JNJ000598569

                                    246
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   JNJ000623908
   JNJ000635886
   JNJ000636886
   JNJ000636887
   JNJ000636921
   JNJ000636932
   JNJ000636949
   JNJ000636972
   JNJ000637555
   JNJ000639691
   JNJ000648485
   JNJ000681690
   JNJ000682019
   JNJ000682120
   JNJ000682134
   JNJ000682228
   JNJ000801383
   JNJ000877320_0001
   JNJ00250919; Pltf_JNJ_00034825
   JNJ0069873
   JNJ19L61_000021692
   JNJ55 0000000088
   JNJA255_000002042
   JNJAZ000009378
   JNJAZ000009380
   JNJAZ5 000004875
   JNJAZ55 000000024
   JNJAZ55 000000088
   JNJAZ55 000001096
   JNJAZ55 000001096; Schmitz Pltfs Ex 0692
   JNJAZ55 000001583
   JNJAZ55 000001607
   JNJAZ55 000001856
   JNJAZ55 000001871
   JNJAZ55 000002042
   JNJAZ55 000003312

                                          247
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   JNJAZ55 000003320
   JNJAZ55 000003548
   JNJAZ55 000003585
   JNJAZ55 000003635
   JNJAZ55 000003645
   JNJAZ55 000004904
   JNJAZ55 000004959
   JNJAZ55 000005743
   JNJAZ55 000006061
   JNJAZ55 000006212
   JNJAZ55 000009050
   JNJAZ55 000009057
   JNJAZ55 000009059
   JNJAZ55 000009126
   JNJAZ55 000009127
   JNJAZ55 000009432
   JNJAZ55 000009434
   JNJAZ55 000010706
   JNJAZ55 000020377
   JNJAZ55_ 000001101
   JNJAZ55_ 000009347
   JNJAZ55_0000000049
   JNJAZ55_000000027
   JNJAZ55_000000049
   JNJAZ55_000000081
   JNJAZ55_000000087; Hopkins 63
   JNJAZ55_0000002042
   JNJAZ55_0000002042; Plaintiff Exhibit 2523-1
   JNJAZ55_000000280
   JNJAZ55_000000367
   JNJAZ55_000000388
   JNJAZ55_000000577
   JNJAZ55_000000577; Hopkins 79
   JNJAZ55_0000006228
   JNJAZ55_000000797
   JNJAZ55_000000797; Hopkins 78

                                           248
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   JNJAZ55_0000008386
   JNJAZ55_000000840
   JNJAZ55_000000840; Hopkins 75
   JNJAZ55_000000905
   JNJAZ55_000000905; Hopkins 73
   JNJAZ55_000001013; JNJAZ55_000000049 - JNJAZ55_000000051
   JNJAZ55_000001014
   JNJAZ55_000001032
   JNJAZ55_000001032; Hopkins 72
   JNJAZ55_000001073
   JNJAZ55_000001073; Plaintiff Exhibit 2356-1
   JNJAZ55_000001095
   JNJAZ55_000001096
   JNJAZ55_000001096
   JNJAZ55_000001096 (no bates # on first page but deduced with page count)
   JNJAZ55_000001096; Plaintiff Exhibit 2595-1
   JNJAZ55_000001101
   JNJAZ55_000001114
   JNJAZ55_000001195 (P-2342 - 6 various bates #s)
   JNJAZ55_000001223
   JNJAZ55_000001282
   JNJAZ55_000001283
   JNJAZ55_000001283; J&J-00000943
   JNJAZ55_000001583
   JNJAZ55_000001583; Plaintiff Exhibit 2541-1
   JNJAZ55_000001587
   JNJAZ55_000001588
   JNJAZ55_000001607
   JNJAZ55_000001687
   JNJAZ55_000001819
   JNJAZ55_000001866
   JNJAZ55_00000187
   JNJAZ55_000001871
   JNJAZ55_000001871; Plaintiff Exhibit 2496-1
   JNJAZ55_000001885
   JNJAZ55_000001885; Plaintiff Exhibit 2580-1

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   JNJAZ55_000001892
   JNJAZ55_000001893
   JNJAZ55_000001896
   JNJAZ55_000002037
   JNJAZ55_000002038
   JNJAZ55_000002042
   JNJAZ55_000002190
   JNJAZ55_000002541
   JNJAZ55_000002542
   JNJAZ55_000002550
   JNJAZ55_000002560
   JNJAZ55_000002561
   JNJAZ55_000002882
   JNJAZ55_000003021
   JNJAZ55_000003239
   JNJAZ55_000003312
   JNJAZ55_000003320
   JNJAZ55_000003357
   JNJAZ55_000003381
   JNJAZ55_000003496
   JNJAZ55_000003545
   JNJAZ55_000003548
   JNJAZ55_000003548; Plaintiff Exhibit 2439-1
   JNJAZ55_000003553
   JNJAZ55_000003576; Leavitt Pltfs' Ex. ITV-4096 pg1
   JNJAZ55_000003585
   JNJAZ55_000003635
   JNJAZ55_000003635; Plaintiff Exhibit 2447-1
   JNJAZ55_000003645
   JNJAZ55_000003645; Hopkins 62
   JNJAZ55_000003645; Plaintiff Exhibit 2446-1
   JNJAZ55_000003828; Hopkins 84
   JNJAZ55_000004156
   JNJAZ55_000004172
   JNJAZ55_000004563
   JNJAZ55_000004573

                                           250
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   JNJAZ55_000004614
   JNJAZ55_000004628
   JNJAZ55_000004628
   JNJAZ55_000004643
   JNJAZ55_000004644
   JNJAZ55_000004804; Plaintiff Exhibit 2404-1
   JNJAZ55_000004875
   JNJAZ55_000004875; Leavitt Pltfs' Ex L-0110
   JNJAZ55_000004904
   JNJAZ55_000004959
   JNJAZ55_0000050
   JNJAZ55_000005015
   JNJAZ55_000005015; Plaintiff Exhibit 2455-1
   JNJAZ55_000005041
   JNJAZ55_000005081
   JNJAZ55_000005084
   JNJAZ55_000005253
   JNJAZ55_000005261
   JNJAZ55_000005725
   JNJAZ55_000005743
   JNJAZ55_000005743; Plaintiff Exhibit 2382-1
   JNJAZ55_000005839
   JNJAZ55_000005914
   JNJAZ55_000005914; Plaintiff Exhibit 2565-1
   JNJAZ55_000005957
   JNJAZ55_000005957 (108 various bates numbers)
   JNJAZ55_000005957 (134 pages of assorted various bates #s)
   JNJAZ55_000005957 (D-7481 - 134 pages of assorted various bates #s)
   JNJAZ55_000005958
   JNJAZ55_000005967
   JNJAZ55_000005980
   JNJAZ55_000006060
   JNJAZ55_000006061
   JNJAZ55_000006061; Plaintiffs Exhibit 2371-1
   JNJAZ55_000006075
   JNJAZ55_000006081

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   JNJAZ55_000006088
   JNJAZ55_000006088; Plaintiff Exhibit 2375-1
   JNJAZ55_0000060880
   JNJAZ55_000006090
   JNJAZ55_000006145
   JNJAZ55_000006196
   JNJAZ55_000006212
   JNJAZ55_000006341
   JNJAZ55_000006344
   JNJAZ55_00000653
   JNJAZ55_000006532
   JNJAZ55_000006914
   JNJAZ55_000007436
   JNJAZ55_000008118; Plaintiff's Exhibit 90219.00
   JNJAZ55_000008177
   JNJAZ55_000008241
   JNJAZ55_000008888
   JNJAZ55_000008893
   JNJAZ55_000009057
   JNJAZ55_000009127
   JNJAZ55_000009265
   JNJAZ55_000009265; Plaintiff Exhibit 2617-1
   JNJAZ55_000009314
   JNJAZ55_000009320
   JNJAZ55_000009378; Plaintiff Exhibit 2578-1
   JNJAZ55_000009380
   JNJAZ55_000010175
   JNJAZ55_000010175; Hopkins 123
   JNJAZ55_000010177
   JNJAZ55_000010259
   JNJAZ55_000010568
   JNJAZ55_000010662
   JNJAZ55_000010706
   JNJAZ55_000010707
   JNJAZ55_000013489
   JNJAZ55_00001362

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   JNJAZ55_000019613; Hopkins 107
   JNJAZ55_000020366
   JNJAZ55_000020377
   JNJAZ55_000020437
   JNJAZ55_000020530
   JNJAZ55_000020531
   JNJAZ55_00004643
   JNJAZ55_0000596
   JNJAZ55_0000596
   JNJAZ56_000001892
   JNJAZ65 000006061
   JNJAZ65_000005743
   JNJH29W 000008569; J&J-0070812
   JNJH29W 000008569; J&J-0070812; Hopkins 70
   JNJH29W_000000025
   JNJH29W_000002618
   JNJH29W_000002618; Hopkins 86
   JNJH29W_000003085
   JNJH29W_00003081
   JNJI4T5 000004096;
   JNJI4T5 000004096; Plaintiff Exhibit 2261-1
   JNJI4T5 000004097
   JNJI4T5 000004097 (no bates # on first page but deduced with page count)
   JNJI4T5_000000386
   JNJI4T5_000000692
   JNJI4T5_000000816
   JNJI4T5_000000826
   JNJI4T5_000000837
   JNJI4T5_000000883
   JNJI4T5_000000938
   JNJI4T5_000000957
   JNJI4T5_000000994
   JNJI4T5_000001061
   JNJI4T5_000001076
   JNJI4T5_000001138
   JNJI4T5_000004090

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   JNJI4T5_000004090; TALC KCRA-TV 3
   JNJI4T5_000004097
   JNJI4T5_000004099
   JNJI4T5_000004251
   JNJI4T5_000004293
   JNJI4T5_000004302
   JNJI4T5_000004336
   JNJI4T5_000004345
   JNJI4T5_000004354
   JNJI4T5_000004386
   JNJI4T5_000004396
   JNJI4T5_000004406
   JNJI4T5_000004485
   JNJJNL61 000007330
   JNJJNL61 000013301
   JNJJNL61 000017453
   JNJJNL61 000021202
   JNJJNL61 000029410
   JNJJNL61 000029410; Schmitz Pltfs Ex 0740
   JNJL4T5 000004485
   JNJL4T5 00000944
   JNJL61_000001535; factsabouttalc.com 0144.pdf
   JNJL61_0000020439
   JNJL91000106449
   JNJMC 000000364
   JNJMC 000028491; Hopkins 130
   JNJMC 000120267; Hopkins 131
   JNJMX60_000009120
   JNJMX66 000002659
   JNJMX68 000012851
   JNJMX68 000000130
   JNJMX68 000000131
   JNJMX68 000000132
   JNJMX68 000000135
   JNJMX68 000000158
   JNJMX68 000000168

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   JNJMX68 000000177
   JNJMX68 000000182
   JNJMX68 000000187
   JNJMX68 000000190
   JNJMX68 000000210
   JNJMX68 000000226
   JNJMX68 000000242
   JNJMX68 000000257
   JNJMX68 000000261
   JNJMX68 000000268
   JNJMX68 000000311
   JNJMX68 000000312
   JNJMX68 000000313
   JNJMX68 000000332
   JNJMX68 000000334
   JNJMX68 000000336
   JNJMX68 000000343
   JNJMX68 000000344
   JNJMX68 000000434
   JNJMX68 000002659
   JNJMX68 000003579
   JNJMX68 000003597
   JNJMX68 000003678
   JNJMX68 000003687
   JNJMX68 000003699
   JNJMX68 000005963
   JNJMX68 000005973
   JNJMX68 000008474
   JNJMX68 000008782
   JNJMX68 000015907
   JNJMX68 000016111; D 0417 0001
   JNJMX68 000018726; J&J-012421
   JNJMX68 00005982
   JNJMX68_0000000440
   JNJMX68_000000295
   JNJMX68_000000298

                                      255
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   JNJMX68_000000430
   JNJMX68_000000434
   JNJMX68_000000439
   JNJMX68_000000451
   JNJMX68_000000454
   JNJMX68_000000746
   JNJMX68_000000758
   JNJMX68_000000860
   JNJMX68_000000871
   JNJMX68_000001313
   JNJMX68_000001483
   JNJMX68_000001878
   JNJMX68_000002 (P-5794 - bates #s cut off)
   JNJMX68_000002659
   JNJMX68_000002666
   JNJMX68_000002666, J&J-65
   JNJMX68_000002873
   JNJMX68_000002913
   JNJMX68_000003239
   JNJMX68_000003258
   JNJMX68_000003579
   JNJMX68_000003587
   JNJMX68_000003591
   JNJMX68_000003597
   JNJMX68_000003611
   JNJMX68_000003613 (Ex 35 - 36 various bates numbers)
   JNJMX68_000003619
   JNJMX68_000003621
   JNJMX68_000003622
   JNJMX68_000003624
   JNJMX68_000003625
   JNJMX68_000003626
   JNJMX68_000003627
   JNJMX68_000003628
   JNJMX68_000003632
   JNJMX68_000003667

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   JNJMX68_000003687
   JNJMX68_000003699
   JNJMX68_000003728
   JNJMX68_000003965
   JNJMX68_000004242
   JNJMX68_000004247
   JNJMX68_000004248
   JNJMX68_000004249
   JNJMX68_000004296
   JNJMX68_000004346
   JNJMX68_000004614; Hopkins 97
   JNJMX68_000004624
   JNJMX68_000004646
   JNJMX68_000004646; Hopkins 61
   JNJMX68_000004826
   JNJMX68_000004830
   JNJMX68_000004865
   JNJMX68_000004882
   JNJMX68_000004907
   JNJMX68_000004915
   JNJMX68_000004921 (Ex 40 - 168 various bates)
   JNJMX68_000004937
   JNJMX68_000004947
   JNJMX68_000004996
   JNJMX68_000005032
   JNJMX68_000005032; Plaintiff Exhibit 2256-1
   JNJMX68_000005036 (no bates # on first page but deduced with page count)
   JNJMX68_000005051
   JNJMX68_000005056
   JNJMX68_000005057
   JNJMX68_000005964
   JNJMX68_000005969
   JNJMX68_000006016
   JNJMX68_000006301
   JNJMX68_000006446
   JNJMX68_000006930

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   JNJMX68_000006930; Hopkins 95
   JNJMX68_000006930; Leavitt Pltfs' Ex C-5909 pg 1
   JNJMX68_000006930; Plaintiff Exhibit 2450-1
   JNJMX68_000006935
   JNJMX68_000006935; Plaintiff Exhibit 2452-1
   JNJMX68_000006996
   JNJMX68_000007001
   JNJMX68_000007007
   JNJMX68_000007031
   JNJMX68_000007040
   JNJMX68_000007044
   JNJMX68_000007236
   JNJMX68_000008189
   JNJMX68_000008235
   JNJMX68_000008235 (EXH 90305.00 - pages stamped out of order)
   JNJMX68_000008235 (P-0176 - pages stamped out of order)
   JNJMX68_000008235 (pages stamped out of order)
   JNJMX68_000008725
   JNJMX68_000008782
   JNJMX68_000008964
   JNJMX68_000008981
   JNJMX68_000008981; Plaintiff Exhibit 2708-1
   JNJMX68_000009097
   JNJMX68_000009120
   JNJMX68_000009127
   JNJMX68_000009139
   JNJMX68_000009139
   JNJMX68_000009139; PLT-04767-00001
   JNJMX68_00001 (bates # cut off); J&J-0163931
   JNJMX68_00001 (bates # cut off); J&J-0163931; Pooley 6
   JNJMX68_00001 (bates #s cut off); J&J-0163931
   JNJMX68_00001 (cut off); J&J-0163931
   JNJMX68_000010608
   JNJMX68_000010608; Plaintiff Exhibit 2484-1
   JNJMX68_000010692
   JNJMX68_000010778

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   JNJMX68_000011067; J&J-0037418
   JNJMX68_000011072; J&J-0037423
   JNJMX68_000011078; J&J-0037431
   JNJMX68_000011081; J&J-0037434
   JNJMX68_000011084; J&J-0037441
   JNJMX68_000011090; J&J-0037447
   JNJMX68_000011093; J&J-0037450
   JNJMX68_000011120; J&J-0037498
   JNJMX68_000011122; J&J-0037501
   JNJMX68_000011124; J&J-0037504
   JNJMX68_000012745
   JNJMX68_000012745 (J&J-89)
   JNJMX68_000012745, J&J-89
   JNJMX68_000013082
   JNJMX68_000013482
   JNJMX68_000015840; J&J-0023292
   JNJMX68_000015843; J&J-0023308
   JNJMX68_000015847; J&J-0023325
   JNJMX68_000015853; J&J-0023352
   JNJMX68_000015859; J&J-0023380
   JNJMX68_000015862; J&J-0023392
   JNJMX68_000015867; J&J-0023414
   JNJMX68_000015871; J&J-0023431
   JNJMX68_000015876; J&J-0023453
   JNJMX68_000015884; J&J-0023492
   JNJMX68_000015909; J&J-0023578
   JNJMX68_000015928; J&J-0023659
   JNJMX68_000015936; J&J-0023693
   JNJMX68_000015951; J&J-0023764
   JNJMX68_000015956; J&J-0023816
   JNJMX68_000015988; J&J-0023935
   JNJMX68_000015994; J&J-0023963
   JNJMX68_000016000; J&J-0023999
   JNJMX68_000016005; J&J-0024021
   JNJMX68_000016012; J&J-0024050
   JNJMX68_000016015; J&J-0024063

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   JNJMX68_000016319; J&J-0025384
   JNJMX68_000016320; J&J-0025388
   JNJMX68_000016327; J&J-0025417
   JNJMX68_000016329; J&J-0025425
   JNJMX68_000016332; J&J-0025438
   JNJMX68_000016335; J&J-0025451
   JNJMX68_000016338; J&J-0025465
   JNJMX68_000016342; J&J-0025486
   JNJMX68_000016349; J&J-0025515
   JNJMX68_000016352; J&J-0025529
   JNJMX68_000016359; J&J-0025559
   JNJMX68_000016367; J&J-0025594
   JNJMX68_000016372; J&J-0025616
   JNJMX68_000016375; J&J-0025629
   JNJMX68_000016379; J&J-0025646
   JNJMX68_000020276
   JNJMX68_000021315
   JNJMX68_000021317
   JNJMX68_000021318
   JNJMX68_000021319
   JNJMX68_00002662
   JNJMX68_00007031
   JNJMX68_00009103 (D-7485 - 54 pages of assorted various bates #s)
   JNJMX68_00009103 (D-8200 - 52pages of various bates #s)
   JNJMX68_00009103 (Ex 37 - 54 pages of various bates)
   JNJMX68_00009499
   JNJMX68_000098729
   JNJMX68_000314981; J&J-0023279
   JNJMX68_000315064; J&J-0023409
   JNJMX88__000004646; Ex. J&J-19
   JNJMZ68 000000151
   JNJN61_000078806; J&J-0005504
   JNJNL 000005496
   JNJNL_000006792
   JNJNL_61_000009898
   JNJNL61 _000013575

                                            260
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   JNJNL61 000001123
   JNJNL61 000001123; Plaintiff Exhibit 2430-1
   JNJNL61 000001534
   JNJNL61 000001534; Plaintiff Exhibit 2357-1
   JNJNL61 000001954
   JNJNL61 0000022019
   JNJNL61 0000029410
   JNJNL61 000005032
   JNJNL61 000005496
   JNJNL61 000007290
   JNJNL61 000008084
   JNJNL61 000012330
   JNJNL61 000013350
   JNJNL61 000013575
   JNJNL61 000013575; Plaintiff Exhibit 2586-1
   JNJNL61 000014431
   JNJNL61 000016344
   JNJNL61 000016437
   JNJNL61 000016471
   JNJNL61 000018340
   JNJNL61 000018722
   JNJNL61 000018722; Plaintiff Exhibit 2659-1
   JNJNL61 000020012
   JNJNL61 000020012 (D-8201- 100 pages various bates #s)
   JNJNL61 000020469
   JNJNL61 000020521
   JNJNL61 000021162
   JNJNL61 000021203
   JNJNL61 0000216
   JNJNL61 000021692
   JNJNL61 000021692; Plaintiff Exhibit 2653-1
   JNJNL61 000021695
   JNJNL61 000021796
   JNJNL61 000021796; Plaintiff Exhibit 2690-1
   JNJNL61 000032 (Bates # cut off)
   JNJNL61 000035499

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   JNJNL61 000035728
   JNJNL61 000043150
   JNJNL61 000095941
   JNJNL61 000095945
   JNJNL61 00106449
   JNJNL61_00000006
   JNJNL61_0000001114
   JNJNL61_000000126
   JNJNL61_0000001341
   JNJNL61_0000001369
   JNJNL61_0000001369; Hopkins 76
   JNJNL61_000000167
   JNJNL61_000000266
   JNJNL61_000000492
   JNJNL61_000001 ( bates # cut off)
   JNJNL61_000001123
   JNJNL61_000001139
   JNJNL61_00000126
   JNJNL61_000001341
   JNJNL61_000001369
   JNJNL61_000001480
   JNJNL61_000001480; Hopkins 80
   JNJNL61_000001489
   JNJNL61_000001526
   JNJNL61_000001534
   JNJNL61_000001634
   JNJNL61_000001954
   JNJNL61_000002474
   JNJNL61_000003621
   JNJNL61_000004925
   JNJNL61_000004930
   JNJNL61_000005032
   JNJNL61_000005032; Hopkins 108
   JNJNL61_000005496
   JNJNL61_000006032
   JNJNL61_000006431

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   JNJNL61_000006431; Glasgow 53
   JNJNL61_000006726
   JNJNL61_000006785
   JNJNL61_000007290
   JNJNL61_000007330
   JNJNL61_000008084, J&J-100
   JNJNL61_000008111
   JNJNL61_000008340
   JNJNL61_000008390
   JNJNL61_000008624
   JNJNL61_000008633
   JNJNL61_000008742
   JNJNL61_000008749
   JNJNL61_0000093558
   JNJNL61_000009483
   JNJNL61_000009766
   JNJNL61_000009897
   JNJNL61_000009898
   JNJNL61_0000100282
   JNJNL61_000011789
   JNJNL61_000012050
   JNJNL61_000012099
   JNJNL61_000012110
   JNJNL61_000013350
   JNJNL61_000013350; Hopkins 135
   JNJNL61_000013575
   JNJNL61_000013746; JNJNL61_000014013-JNJNL61_000014014
   JNJNL61_000013947
   JNJNL61_000014431
   JNJNL61_000014437; PLT-07580-0007
   JNJNL61_000015083
   JNJNL61_000016002
   JNJNL61_000016276
   JNJNL61_000016358
   JNJNL61_000016437
   JNJNL61_000016437, Plaintiff's Exhibit 2514

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   JNJNL61_000016437; Plaintiff Exhibit 2614-1
   JNJNL61_000016536
   JNJNL61_000016536 and JNJAZ55_000006145
   JNJNL61_000016911
   JNJNL61_000016916
   JNJNL61_000016922
   JNJNL61_000016930
   JNJNL61_000016948
   JNJNL61_000016953
   JNJNL61_000016958
   JNJNL61_000018213
   JNJNL61_000018722
   JNJNL61_000019271; Pooley 12
   JNJNL61_000019288
   JNJNL61_000019573
   JNJNL61_000020012
   JNJNL61_000020012 (D-7484 - 90 pages of assorted various bates #s)
   JNJNL61_000020392
   JNJNL61_000020414
   JNJNL61_000020469
   JNJNL61_000020521
   JNJNL61_000020522
   JNJNL61_000020530
   JNJNL61_000020544
   JNJNL61_000021162
   JNJNL61_000021162; DX7144
   JNJNL61_000021203; Hopkins 122
   JNJNL61_000021235
   JNJNL61_000021368; Hopkins 121
   JNJNL61_000021543
   JNJNL61_000021623
   JNJNL61_000021692
   JNJNL61_000021695
   JNJNL61_000021695; DX7119.0001
   JNJNL61_000021695; Hopkins 91
   JNJNL61_000021796

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   JNJNL61_000021978
   JNJNL61_000022019
   JNJNL61_000024417
   JNJNL61_000024417; Hopkins 125
   JNJNL61_000029172
   JNJNL61_000029184
   JNJNL61_000029184 (Ex 45 - 313 various bates)
   JNJNL61_000029184 (11 assorted various bates #s)
   JNJNL61_000029209
   JNJNL61_000029254
   JNJNL61_000029257
   JNJNL61_000029410
   JNJNL61_000029411
   JNJNL61_000029422;Schmitz Pltfs EX 0740
   JNJNL61_000030041
   JNJNL61_000030069
   JNJNL61_000030078
   JNJNL61_000030078; Hopkins 136
   JNJNL61_000032375
   JNJNL61_000032876
   JNJNL61_000032876 (D-7483 - 168 pages of assorted various bates #s)
   JNJNL61_000032876 (Ex 20 - 136 pages of various bates #s)
   JNJNL61_000032876 is 1st pg (Ex 38 - 168 pages various bates)
   JNJNL61_000034842
   JNJNL61_000035499
   JNJNL61_000035499; Hopkins 89
   JNJNL61_000035499; Pooley 18
   JNJNL61_000035728
   JNJNL61_000036350
   JNJNL61_000036527
   JNJNL61_000037724; J&J-0037483
   JNJNL61_000039831; J&J-0141621
   JNJNL61_000039855; J&J-0141660
   JNJNL61_000040531; J&J-0144475
   JNJNL61_000043150
   JNJNL61_000045174

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   JNJNL61_000052427
   JNJNL61_000054212
   JNJNL61_000064366, J&J-92
   JNJNL61_000067348
   JNJNL61_000079335; J&J-97
   JNJNL61_000088731
   JNJNL61_000103055
   JNJNL61_000103086
   JNJNL61_00010421
   JNJNL61_000106449
   JNJNL61_000107929
   JNJNL61_000109139
   JNJNL61_000112188
   JNJNL61_000112189
   JNJNL61_000112217
   JNJNL61_000118282; Hopkins 113
   JNJNL61_000119155
   JNJNL61_00012048
   JNJNL61_00012098
   JNJNL61_00012109
   JNJNL61_00019288
   JNJNL67_000006496
   JNJNMX68_000003591
   JNJS71R_000000780
   JNJTACL0000160672 (bates # nearly illegible)
   JNJTACL0000165993 (bates # nearly illegible)
   JNJTAL000912770
   JNJTALC0000062062
   JNJTALC000008859
   JNJTALC000018919
   JNJTALC0000580245
   JNJTALC000061199
   JNJTALC000061900; Hopkins 99
   JNJTALC0000627
   JNJTALC000062785
   JNJTALC000062894

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   JNJTALC000067661
   JNJTALC000067661 (PLT-00001 - no bates # on face of document)
   JNJTALC000070307
   JNJTALC000071246; J&J-0037484
   JNJTALC000071258; J&J-0037515
   JNJTALC000071261; J&J-0037518
   JNJTALC0000751
   JNJTALC000089631; Plaintiff Exhibit 2354-1
   JNJTALC000090135
   JNJTALC000090275
   JNJTALC000091181
   JNJTALC000091746
   JNJTALC000093003
   JNJTALC000120730
   JNJTALC000129140
   JNJTALC000129216
   JNJTALC000165870
   JNJTALC000169805
   JNJTALC000173802
   JNJTALC000173803
   JNJTALC000178819
   JNJTALC000186146
   JNJTALC000186566
   JNJTALC000196139
   JNJTALC000196176
   JNJTALC000196252
   JNJTALC000196576
   JNJTalc000215579
   JNJTALC000217062
   JNJTALC000217067
   JNJTALC000217111
   JNJTALC000217126
   JNJTALC000217155
   JNJTALC000217164
   JNJTALC000217169

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   JNJTALC000217211
   JNJTALC000217256
   JNJTALC000217264
   JNJTALC000217276
   JNJTALC000217284
   JNJTALC000218768
   JNJTALC000218978
   JNJTALC000237200
   JNJTALC000250188
   JNJTALC000250188; PLT-090808-0001
   JNJTALC000250189
   JNJTALC000276223
   JNJTALC000276224
   JNJTALC000283403
   JNJTALC000289190
   JNJTALC000289268
   JNJTALC000291475
   JNJTALC000292656
   JNJTALC000292917
   JNJTALC000294278
   JNJTALC000327308
   JNJTALC000341336; PLT-09558-0001
   JNJTALC000341338
   JNJTALC000352537
   JNJTALC000355057 (partially illegible - P-30)
   JNJTALC000355541
   JNJTALC000359711
   JNJTALC000359850
   JNJTALC000376583
   JNJTALC000387085
   JNJTALC000387116
   JNJTALC000387140
   JNJTALC000387143
   JNJTALC000387182
   JNJTALC000387211
   JNJTALC000387236

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   JNJTALC000387254
   JNJTALC000387334
   JNJTALC000387515
   JNJTALC0003876 (PX2724 - bates # cut off)
   JNJTALC000387656
   JNJTALC000387660
   JNJTALC000387698
   JNJTALC000397344
   JNJTALC000398656
   JNJTALC000413069
   JNJTALC000413104
   JNJTALC000437220
   JNJTALC000452609; Leavitt Pltfs' Ex JJ-3587; Hopkins 27
   JNJTALC000461499
   JNJTALC000494340
   JNJTALC000533553
   JNJTALC000587252
   JNJTALC000587252; DX-8111
   JNJTALC000634631; Leavitt Pltfs Ex D-1886
   JNJTALC000733349
   JNJTALC000777136
   JNJTALC000777137
   JNJTALC000852994
   JNJTALC000866104
   JNJTALC000866105
   JNJTALC000866115
   JNJTALC000866116
   JNJTALC000866117
   JNJTALC000866125
   JNJTALC000873044
   JNJTALC000884800
   JNJTALC000906383
   JNJTALC001042772
   JNJTALC001281991
   JNJTALC001284148
   JNJTALC001288729

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   JNJTALC001298411
   JNJTALC001427814
   JNJTALC001446337
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   JNJTALCC000354984
   JNJZ55 000001282; Plaintiff Exhibit 2245-1
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